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  11253. BPy Mr. SMITII: Petition signed by Mr. A. W. John-               S. J. Res. 110. Joint resolution to provide for accepting, rati-
son and 21 other citizens of Buhl, Idaho, protesting against the        fying, and confirming the cessions of certain islands of the
enactIl(ent of compuinlsory Sunday observance legislation; to the       Samoan group to the United States, and for other purposes.
(Clummittee on the District of ('olumbin.                               REPORT OF   PERSONNEL   CLASSIFICATION   BOARD ON SURVEY   OF FIELD
   11251. I;y Mr. SWING: Petition of residents of San Diego                                           SERVICES
and Nation:ll City. Calif., protesting against House bill 78,
                                                                          The VICE PRESIDENT laid before the Senate a communi-
compulsory Sunday observ.iace; to the Committee on the Dis-
                                                                        cation from the Chairman of the Personnel Classification Board,
ti itt of Columbia.
                                                                        tentatively reporting, pursuant to law, relative to a survey of
    11255. .By Mr. Tii'IISS'I'ON: Petilion of W. C. Borrell and
others, of (Chariton, Io\,    protesting against any change in the      positions in the several field services of the Federal Government
                                                                        "exclusive of the Postal Service, Foreign Service, and em-
present tarilT on hides and lea ther used in the manufacture of         ployees in the mechanical and drafting groups whose wages are
shlos: to lie ('onmmiilee on Ways anid Means.
                                                                        now or have heretofore been fixed by wage boards or similar
   1125i. By Mr. W\)ODP: Petition of many cilizens of La Fay-
         ind.,   and viceinity, asking that no changes be made in the   authority," and submitting a preliminary report thereon, which,
 tcte,                                                                  with the accompanying papers, was referred to the Committee
present immigrationi   law unless it would be to make them more
                                                                        on Civil Service.
(Irastic iln their provisions;  th te Committee oni Immigration
and Natuiralization.                                                                PHYSICIAN IN   CHARGE OF NARCOTICS DIVISION
   11257. Ily Mr. WYANT: Petition of Pittsburgh Wholesale                  The VICE PRESIDENT laid before the Senate a communi-
Lumblier Dealers' Association. oppolsing tie levying of a duty          cation from the Secretary of the Treasury, recommending the
on timber, ilumlnri, lath, and shingles itmported into the United       passage of legislation making the physician in charge of the
States; to the Committee on Ways and Means.                             Narcotics Division of the United States Public Health Service,
   1125iS. Also, letition of Retail Lumber Dealers' Association         while so serving, an Assistant Surgeon General in that service,
of \western Pennsylvania, opposing the levying of a duty on             etc., which, with the accompanying papers, was referred to the
timb'er. Iumber. ,lath,and shingles into tie United States; to the      Committee on Finance.
('Ciommittee oil Ways and Meanis.
                                                                                        FINAL ASCERTAINMENT OF ELECTORS
   11259. Also,Ipetition of Jolhn Brady, jr., Camp No. 84, United
Spanlish War Veterans, Greensburg, Pa., favoring passage of                The VICE PRESIDENT laid before the Senate a communi-
Ilouse bill 14676; to the Committee on Pensions.                        cation from the Secretary of State, dated February 12. 1929,
                                                                        transmitting, pursuant to law, an authenticated copy of the cer-
                                                                        tificate of the final ascertainment of electors for President and
                                 SENATE                                 Vice President. appointed in the State of Mississippi at the
                                                                        election held November 6, 1928, which was requested to he
                     SATURDAY, February 16,      1929)                  substituted for the certificate transmitted on January 18, 1929.
           (Lcriisi.tive•   day of Friday, February 15, 1929)           which, with the accompanying papers, was ordered to lie on the
                                                                        table.
   The Senate met at 12 o'clock meridian, on the expiration of                              PETITIONS AND MEMORIALS
the recess.
   The VICE PRESIDIENT. The Senate will receive a message             Mr. TYSON. I present a resolution adopted at the January
from thle House of Representatives.                                term of the Knox County (Tenn.) quarterly court, relative to
                                                                    the location of a summer home for the President of the United
                     MESSAGE FROM TIIE HOUSE                        States, which I ask may be printed in the RECORD and lie on
   A message from the House of Representatives by Mr. Farrell,     the table.
Its enrdolling clerk, announced that the House had passed the         There being no objection, the resolution was ordered to lie
following hills and joint resolution, in which it requested the    on the table and to be printed in the RECORD, as follows:
concurrence of the Senate:                                            Mr. Chairman and members of the Knox County court, conditions
   I. t. 16926. An act granting preference within the quota to     come and go, likewise suggestions that are often made by both high
certain aliens trained and skille(l in a particular art, craft,    officials and sometimes humble citizens, that have a great deal of
technique, business, or science:
    11.R. 16927. An act to clarify the law relating to the tempo- merit,    but neithei     press or the public become impressed or inter-
                                                                   ested and unless the individual making such suggestion Is so wedded
 rary admission of aliens to the United States; and
     1..I.Res. 379. Joint resolution extending the benefits of the to This
                                                                       the idea to keep it before the public It will soon be forgotten.
                                                                             preamble is to get you members to become interested in what
 provisions of the act of ('ongress approved May 1, 1920, the I am going to suggest and present to you.
 ant of (ongress approved July 3, 1920, and the act of Congress       Mr. Chairman and members of the court, some days ago I saw and
 approved May 23.', 1928, to the Missouri Militia who served read a suggestion from the President of the United States, Calvin
 during the Civil War.                                             Coolidge, that the Government should build a permanent summer and
             ENROLLED BILLS AND JOINT RESOLUTION SIGNED            rest home for the President. Since that suggestion I have not seen.
   The message also announced that the Speaker had affixed his heard, or read a word of comment; yet it impressed me so deeply that
 signature to the following enrolled bills and joint resolution, I have thought the idea was one of the wisest suggestions made by a
 and they were signed by the Vice President:                       President il times of peace for a public improvement or necessity.
   S. 1281. An act to amend section 7 (a) of the act of March 3, President Coolidge frankly, wisely, and truthfully stated the facts, and
 1925 (43 Stat. 1119), as amended by section 2 of the act of that he could recommend a permanent summer home for the President
 July 3, 1926 (44 Slat. 812), so as to provide operators' permits of the United States without any selfish motive.
free of cost to enlisted men of the Army, Navy, Marine Corps,         He stated that the altitude at Washington was virtually sea level
and ('oast (Guard operating (Government-owned vehicles in the and when the President took an outing on the ocean it was virtually
District of ('olubia ;                                             the same altitude, and it did not give the rest and vigor that was
   S. 4441. An act to amend the laws relating to assessment and needed. I was very mich interested and very deeply impressed with
collection of taxes in the District of Columbia, and for other the remarks of the President suggesting a permanent out-of-Washing-
purposes;                                                          ton home to be known as The President's Summer Home. With
   II. It. 5491. An act to amend an act entitled "An act making his suggestions carried out, it would forever eliminate the annoyance
appropriations for the naval service for the liscal year ending of the President selecting a palace or cottage donated by some kind
June 30, 1922, and for other purposes," approved July 12, 1921; citizen where he will spend his vacation. The Government has always
   H1. It. 8748. An act for the relief of James W. Bass, collector maintained the President's Mansion, known as the White House, ever
of internal revenue, Austin, Tex.;                                 since the founding of our present Capital. Now, to think we have 4S
   H. R. 13795. An act for recognition of meritorious service per- States and not a place provided where the President can go for rest
formed by Lieut. Commander Edward Ellsberg, Lieut. Henry and recreation-such a condition should no longer exist.
Hartley and Boatswain Richard E. Hawes;                               At the present time it is more difficult for the President to decide
   H. I. 15809. An act to authorize a preliminary survey of Mud where he is going to spend his vacation than It is whether be will
Creek. in Kentucky, with a view to tile control of its floods;     approve or veto a tariff bill.
   H. R. 16162. An act to extend the times for commencing and         There are two questions for Congress to consider. First, should
completing the construction of a bridge across the Mississippi there be an isolated home for the Itresident of the United States.
River between New Orleans and Gretna. La.: and                     where he can go for a rest as well as being isolated from disturbing
   H. R. 16301. An act making appropriations for the Executive elements, and where he may be given undisturbed time in the prepara-
Oflice and sundry independent executive bureaus, boards, com- tion of very important messages to be submitted to Congress?
missions, and offices for the fiscal year ending June 30, 1930,       The second question, If we are going to have a President's summer
and for other purposes; and                                        and rest home, where shall it be located? It-seems such a home' h0uld




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be located on a Government domain and as close and accessible to               Mr. WARREN presented the following joint memorial of the
Washington as possible to get the altitude needed, as suggested by        Legislature of the State of Wyoming, which was referred to
President Coolidge.                                                       the Committee on Agriculture and Forestry:
   Mr. Chairman and members of the court, I do not hesitate to suggest    Enrolled Joint Memorial 1, Senate, Twentieth Legislature of the State of
that no other place on the map of our lands could be more ideal for          Wyoming, petitioning the Department of Agriculture of the Gov-
the location of such a home than on the lands of the Great Smoky             ernment of the United States to open certain lands in the Teton Na-
Mountain National Park. Altitude just right, climate finest of the           tional Forest, in Teton County, Wyo., for the purpose of sheep
fine, mountain springs pure as melted snow, the foliage of millions of       grazing
trees and shrubs, 137 species, with more tints and colors and more           Whereas considerably more than 75 per cent of the area of Teton
gorgeous than could be found in an art gallery. The autumn presented      County, Wyo., is embraced within the boundaries of the Teton National
by Old Smoky is the most beautiful picture painted by the band of         Forest and is, therefore, under the administration of the Government
nature. Five hundred and sixty-five varieties of wild flowers permeat-    of the United States;
ing the air with fragrance. The sweetest of all nature.                      Whereas by far the most and better part of the grazing lands of said
   This is where we suggest that a summer home be located, a rest         county are within the boundaries of said national forest, and sheep
resort for a tired and overworked President; where he can dwell and       belonging to the citizens and residents of said county are now by
live with nature and enjoy the blessings of an undisturbed day. And       departmental regulation excluded from said forest;
when he becomes tired in body he can go to the many tops of Old              Whereas the citizens and residents of Teton County are thus deprived
Smoky and there see the sun of day come riding in on the waves of         of the advantages which were enjoyed by the pioneers and settlers of
the Atlantic and emerging through the foliage of the forest dripping      other counties and States to whom the public domain was and is open for
with the honeydew of the morning, spreading the smiles of day and         the grazing of livestock, and, since they are dependent for their liveli-
kissing with unfelt lips the slumbering and God-loving people whom        hood upon the livestock industry, said citizens and residents of Teton
le has loved and protected through the night from their visions of        County are consequently suffering a great hardship by reason of the
beauty and dreams of excitement to a day of happiness and joy; and        san. exclusion of sheep from the said forest;
with the dawn of the morning embark on the lap of nature to enjoy            Whereas the county of Teton and the State of Wyoming are deprived
the laughter of the day's journey; and from the smiles of the morning     by the said policy of exclusion of a considerable income that would
 to the laughter of the evening behold the most beautiful panorama        normally be derived from the taxation of largely increased bands of
view stretching from the incoming waves of the Atlantic to the banks      sheep if grazing were permitted in said forest;
of the Father of Waters-the greatest commercial-carrying stream of           Whereas the tract of land hereinafter described offers abundant forage
 the world. And at the end of day dip the torch of light into the         suitable for sheep but not suitable for cattle owing to the presence
bosom of the great Mississippi and there pronounce to his people a        of larkspur which is poisonous to cattle but nutritious for sheep;
benediction-sweet visions and dreams. This is the place beneath              Whereas the opening of said tract would provide a profitable use, in
these trees in the cluster of these shrubs, surrounded by these wild      wintering sheep, for the large annual hay crop, grown on said lands, for
flowers and enrapt with the honeysuckle of fragrance and under the        which there is no present market; and
shadows of Old Smoky, where he can enjoy the wild life of the moun-          Whereas the said tract is not now used by elk or game, nor in any
tains, the developed life of the valleys, surrounded with the protection  manner by tourists, visitors, or campers, being suitable only for sheep:
of a people devoted to liberty, freedom, and peace: Therefore be it       Therefore be it
   Resolved, That we memorialize Congress through our Senators and           Resolved by the Senate of the Twentieth Wyoming Legislature (the
Representatives to assist in carrying out President Coolidge's sugges-    House of Representatives concurring), That the Department of Agricul-
tion, and then to have said home located in the Smoky Mountain            ture of the United States Government be, and it is hereby, most earnestly
 National Park.                                                           requested to open the following described tract of land for the grazing
   Respectfully submitted.                                                of sheep under the rules and regulations of the United States Bureau
                                               SAM HARRISON,              of Forestry:
                                             Justice of the Peace,            All of that portion of the Teton National Forest lying within the
                                   Second District, Knox County, Tenn.    boundaries of Teton County, Wyo., south of the south line of Range 42,
STATE OF TENNESSEE,                                                        Wyoming, or its projection westward, and west of the Snake River; Be
             County of Knto, ss:                                          it further
   I, L. M'. Kennedy, clerk of the county court fof the aforesaid county,     Resolved, That certified copies of this memorial be forwarded to the
                                                                           President of the United States, the Secretary of Agriculture, the Chief
do hereby certify that the foregoing is a true and perfect copy of the
                                                                                                                    member of the Wyoming delega-
resolution unanimously adopted at the January term of the Knox Forester of the United States, to each
                                                                           tion in the Congress of the United States, and to the Honorable Vincent
County quarterly court, in re: The location of a summer home for the
                                                                                                   elect.
President of the United States, as the same appears of record in my Carter, Representative
office.                                                                                                               FRANK O. HORTON,
                                                                                                                          President of the Senate.
   Witness my hand and official seal in Knoxville, Tenn., this 17th day                                               MAanvN L. BISHsOP, Jr.,
of January, 1929.                                                                                                           Speaker of the House.
   [SEAL.]                                          L. M. KENNEDY,
                                            Clerk of the County Court.        Approved at 10.54 p. m., February 11, 1929.
                                                                                                                     FRANK C.   EMERsoN,
  Mr. FESS presented the following joint resolution of the                                                                         Governor.
Legislature of the State of Ohio, which was referred to the                     Mr. BURTON presented the petition of sundry calf-leather
Committee on Interstate Commerce:                                             workers of Girard, Ohio, and vicinity, praying for the imposition
Senate joint resolution memorializing the Congress of the United States       of a fair tariff duty on imports of finished leather, which was
  to distribute radio-broadcasting facilities equitably in accordance with    referred to the Committee on Finance.
  the population of the States                                                  Mr. ROBINSON of Arkansas presented petitions of sundry
  Whereas under General Order No. 40, issued by the Federal Radio members of the parent-teachers' associations of Jonesboro and
Commission on August 30, 1928, and subsequent orders assigning fre- Arkadelphia, in the State of Arkansas, praying for the passage
quencies, powers, licenses, and hours of operation to the broadcasting of the bill (S. 1584) to create a Federal department of educa-
stations of the United States, Ohio did not receive its equitable share tion, which were referred to the Committee on Education and
of these facilities in accordance with the letter and spirit of the Davis Labor.
amendment; and                                                               He also presented a letter in the nature of a petition from
  Whereas the inequalities and injustice which have resulted from the W. G. Bate, of Stevens Point, Wis., praying that a route for a
reallocation as promulgated by the Federal Radio Commission are the new Isthmian canal be selected about 30 miles east of the
results of using the arbitrary radio zones of the 1927 act as the basis; Panama Canal, from the Gulf of San Bias on the Atlantic side
and                                                                       to the Bayana River on tile Pacific side, etc., which was referred
   Whereas no equitable distribution of broadcasting facilities, serving
                                                                          to the Committee on Interoceanic Canals.
public interest, convenience, and necessity can be brought about so                           PROPOSED TABIFF REVISION
long as equal division among the five arbitrary zones is adhered to:         Mr. WALSH of Montana. Mr. President, I clipped from the
Therefore be it                                                           Washington Post this morning an editorial from the Philadel-
  Resolved by the General Assembly of the State of Ohio, That the Con- phia Public Ledger, presumably of yesterday, stating that the
gress of the United States be, And is hereby, requested to amend the revision of the tariff to take place at the ensuing special session
Federal radio law so as to distribute broadcasting facilities equitably will not be confined to the agricultural schedule, but will be
in accordance with the population of the States; and be it further        general, and that there will be a general revision upward not-
   Resolved, That a copy of this resolution be forwarded to both of the withstanding the views supposed to be entertained by the Presi-
United States Senators and each Member of Congress from Ohio.             dent elect, Mr. Hoover. The dictatorial character of the edi-




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torial is interesting, to say the least. Verily, Mr. President, the            the better protection and highest public use of lands of the
hand is the hand of the I'ublic Ledger, but the voice is the voice             United States and adjacent lands and waters in northern Min-
of Gruidy. I ask that the editorial may be incorporated in the                 nesota for the production of forest products, and for other pur-
IECORIU.                                                                       poses, reported it with amendments and submitted a report (N,.
   Tlhe VIC(E PIRESIIENT. Without objection, leave is granted.                 1782) thereon.
   The editorial is as follows:                                                   Mr. COPELAND, from the Committee on the District of Co-
           I[Frum tie Washington Post, Saturday, February 16, 1929]            lumbia, to which was referred the bill (S. 5598) authorizing the
                                                                               acquisition of land in the District of Columbia and the construc-
                      REAL TAItlFF REVISION DEMANDED
                                                                               tion thereon of two modern, high-temperature incinerators for
     There was in Washington a few days ago much tall: that there would        the destruction of combustible refuse, and for other purposes,
 be no general tariff revision at the coming special session of Congress.      reported it with an amendment and submitted a report (No.
 It was said textiles might ib given a little help. Possibly steel would       1783) thereon.
 he aided. lhere and thiere a schedule would he touched up a bit. The            Mr. KENDRICK, from the Committee on Public Lands and
 farm sche(ules would be rewritten.        The farmers would be given any
                                                                               Surveys, to which was referred the bill (I. R. 479) to authorize
and every thing they wanted, as they were in the emergency tariff of           the Secretary of the Interior to grant certain oil and gas pros-
 1!»21 and the tariff act of 192-'2.                                           pecting permits and leases, reported it with amendments and
       ut -- in thle main there w.as to he no general revision. The theory
                                                                               submitted a report (No. 1784) thereon.
was that all sweeping changes would wait until the next regular ses-             Mr. McMASTER, from the Committee on Public Buildings and
sHil.       'There were emphatic intimations that Mr. Hoover wanted to         Grounds, to which was referred the bill (S. 1896) authorizing
wall.       These were strengthened when Senator SMOOT came back from
                                                                               the Secretary of the Treasury to amend the contract executed
Miami IPeach declaring lie was opposed to any complete revision.               by the Treasury Department for the construction of the Edward
     Thlere is not so much of that talk now. The House Ways and Means          Hines, jr., Hospital at Broad View, Ill., reported it with an
('oinimittee is settling the question of whether revision shall be partial
                                                                               amendment and submitted a report (No. 1785) thereon.
or general.       It has been In session for weeks. Hundreds of manufac-
                                                                                 Mr. HALE, from the Committee on Naval Affairs, to which
turers have appeared at its hearings. They have shown it is a condi-           was referred the bill (H. R. 13884) to authorize the Secretary
tion and not a theory that confronts American Industry.           They have
                                                                               of the Navy to proceed with the construction of certain public
told Iheir story, and the burden thereof Is that of insufficient protection
                                                                               works, and for other purposes, reported it with amendments and
against a reviving aindlvigorous Europe and an ambitious and pushing
                                                                               submitted a report (No. 1786) thereon.
Orient.
                                                                                  Mr. DALE, from the Committee on Commerce, to which were
    'These hearings covered the tariff schedule by schedule.     Any doubts
                                                                               referred the following bills, reported them severally with an
that did exist about the necessity of a genuine revision have been swept
                                                                               amendment and submitted reports thereon:
away.
                                                                                  A bill (S. 5583) authorizing the Iowa-Nebraska Amortized
    On io about March 10 the House committee will begin writing the
                                                                               Free Bridge Co., its successors and assigns, to construct, main-
new tariff. This will lie ready about May 1. The trend of that measure
                                                                               tain, and operate a bridge across the Missouri River at or near
may now be forecast in a general way.
                                                                               Sioux City, Iowa (Rept. No. 1788) ;
      'hanges will not lie confined to farm and textile schedules. Not all
rates will be lifted, but most of them will be raised. Where an indus-          . A bill (S. 5735) granting the consent of Congress to the city
try is suffering from the pressure of foreign competition it will get          of Wheeling, W. Va., to construct, maintain, and operate a free
further protection.                                                            highway bridge across the east channel of the Ohio River (Rept.
     It is; probable that a few articles will vanish from the free list.       No. 1790) ; and
When revisions are m:de they will be upward. Practically every sched-             A bill (S. 5758) to extend the times for commencing and
ule will b, opened for the changes that the last six years have shown as       completing the construction of a bridge across the Missouri
neccssa ry or imperative.                                                      River at or near Kansas City, Kans. (Rept. No. 1789).
    The revisions proposed are described as " conservative," except In            Mr. DALE also, from the Committee on Commerce, to which
the farm schedules. They may be too "conservative"           for the Senate,   were referred the following bills, reported them each with
which is more likely to raise than it is to lower them.                        amendments and submitted reports thereon:
     instead of merely tinkering with the tariff  the House   committee will      A bill (S. 5045) authorizing Jed P. Ladd, his heirs, legal rep-
offer a new tariff law. Its hearings have shown the stark necessity of         resentatives, and assigns, to construct, maintain, and operate
actioin.                                                                       a bridge across Lake Champlain from the town of Alburgh. Vt..
   Mlr. lloover may wish to wait a while, but the country Is not willing.      to the town of Swanton, Vt., the said right and privilege to ex-
(Genuine revision is expected as soon as this can be made. The Repub-          tend across Lake Champlain along the shore line 1 mile each
lican Party is pledged to it.     Protection was its leading issue in 1928.    way, northerly and southerly from the Central Vermont Railway
The incoming administration is bound by the pledges made last year,            Co.'s bridge on the Swanton shore and 1 mile northerly from
and t he Seventieth Congress was chosen upon the question of genuine           said bridge and southerly from said bridge to the south end of
prIutect Ion.                                                                  McGregors Point, so called, on the Alburgh shore at a point at
   This Is understood by Congress, and particularly by the House Ways          or near East Alburgh (Rept. No. 1791) ; and
and Means Commlittee.        Its duty is to revise the tariff wherever, in        A bill (S. 5764) granting the consent of Congress to E. T.
its jud'gment, clhanges are necessary. That it is preparing to do. If          Franks, his successors and assigns, to construct, maintain, and
the special session meets on or about April 13, the committee will have        operate a bridge across the Ohio River approximately midway
a measure ready within two weeks after it convenes.                            between the cities of Owensboro, Ky., and Rockport, Ind. (Rept.
   And If and when the schedules are opened, revision will be general          No. 1792).
rather than pieceneal.       That is what the country expected as soon            Mr. DALE also, from the Committee on Commerce, to which
as tet     results of the election of last November were known.        It is   were referred the following bills, reported them severally with-
what botl industry and the country assumed would be done.            In pre-   out amendment and submitted reports thereon:
paring a bill revising rates generally upward the House committee is              A bill (S. 5706) authorizing Frank A. Augsbury, his heirs.
carrying out the mandate so clearly expressed in November, 1928.               legal representatives, and assigns, to construct, maintain, anl
(Philadelphia P'ublic Ledger.)                                                 operate a bridge across the St. Lawrence River at or near
                         REPOITS OF ('OMMITTEE9E                               Morristown, N. Y. (Rept. No. 1793) ;
   Mr. COUZENS, from the Committee on Interstate Commerce,                       A bill (S. 5720) authorizing L. L. Thompsen, his heirs, legal
to whic-h was referred the bill (S. 3623) to amend section 204                 representatives, and assigns, to construct, maintain, and operate
                                                                               a bridge across the Red River at or near Montgomery,          La.
of the act entitled "\An act to provide for the termination of
Federal control of railroads and systems of transportation; to                 (Rept. No. 1794); and
provide for the settlement of disputes between carriers antl their               A bill (S. 5774) to extend the times for commencing and com-
employhees; to further amend an act entitled 'An act to regulate               pleting the construction of a bridge across the Mississippi River
commerce,' approved February 4, 1887, as amended, and for                      at or near Carondelet, Mo. (Rept. No. 1795).
other purposes," approved February 28, 1920, reported it with                    Mr. DENEEN, from the Committee to Audit and Control the
an amendment and submitted a report (No. 1780) thereon.                        Contingent Expenses of the Senate, to which was referred the
   Mr. McNARY. from the Committee on Agriculture and For-                      resolution (S. Res. 303) increasing the limit of expenditure for
estry, to which was referred the bill (S. 5743) authorizing an                 a survey of Indian conditions in the United States, reported it
appropriation of $50,000 for the purchase of seed, feed, and fer-              with an amendment.
tilizer to be supplied to farmers in the flooded sections of                     He also, from the same committee, to which were referred the
Orange County, N. Y., and for other purposes, reported it with                 following resolutions, reported them each without amendment:
amendments and submitted a report (No. 1781) thereon.                            Resolution (S. Res. 308) continuing until the end of the first
   Mr. SHIPSTEAD, from the Committee on Agriculture and                        regular session of the Seventy-first Congress Senate Resolution
Forestry, to which was referred the bill (8. 3913) to promote                  79, authorizing a general survey of Indian conditions; and




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   Resolution (S. Res. 311) continuing until the end of the first     Civilized Tribes of Indians in the Indian Territory, approved
regular session of the Seventy-first Congress Senate Resolution        March 2, 1906; to the Committee on Indian Affairs.
193. to investigate the choice of postmasters in presidential                      IIO'SE BILLS AND JOINT RESOLUTION REFERRED
offices.
                                                                         The following hills and joint resolution were severally read
        ENROLLED   BILLS AND   JOINT RESOLUTION   PRESENTED
                                                                      twice by their titles and referred as indicated below :
  Mr. GREENE. from the Committee on Enrolled Bills, reported             II. R. 16926. An act granting preference within the quota to
that that committee presented to the President of the United          certain aliens trained and skilled in a particular art, craft,
States the following enrolled bills and joint resolution:             technique. business, or science; and
  On February 15, 1929:                                                  H.R. 16927. An act to clarify the law relating to the tempo-
  S. 4257. An act to authorize the payment of certain salaries        rary admission of aliens to the United States; to the Com-
or compensation to Federal officials and employees by the treas-      mittee on Immigration.
urer of the Territory of Alaska.                                         H. J. Res. 379. A joint resolution extending the benefits of the
   On February 16, 1929:                                              provisions of the act of Congress approved May 1, 1920, the net
   S. 1281. An act to amend section 7 (a) of the act of March 3,      of Congress approved July 3, 1926. and the act of Congress
1925 (43 Stat. 1119), as amended by section 2 of the act of           approved May 23, 1928. to the Missouri Militia who served dur-
July 3, 1926 (44 Stat. 812). so as to provide operators' permits      ing the Civil War; to the Conummnittee on Militaly Affairs.
free of cost to enlisted men of the Army. Navy. Marine Corps,            REIMBURSEMENT       OF NEVADA-AMENDMENT         TO DEFICIENCY BI.LL
and Coast Guard operating Government-owned vehicles in the
District of Columbia;                                                    Mr. ODDIE submitted an amendment proposing to appropri-
  S. 4441.   An act to amend the laws relating to assessment and       ate   $595,076.53   to reimburse the State of Nevada the net hal-
collection of taxes in the District of Columbia, and for other        ance due as certified by the Comptroller General of the United
purposes; and                                                          States, etc., intended to be proposed by him to the second
  S. J. Res. 110. Joint resolution to provide for accepting, rati-     deficiency appropriation bill, which was referred to the Com-
fying, and confirming the cessions of certain islands of the           mittee on the Judiciary and ordered to be printed.
Samoan group to the United States, and for other purposes.                                       THE AMERICAN     FLAG
              BILLS AND JOINT RESOLUTIONS INTRODUCED                     Mr. HEFLIN. Mr. President, 'I have received quite a number
  Bills and joint resolutions were introduced, read the first time,    of letters recently supporting my position on the flag amend-
and, by unanimous consent, the second time, and referred as            ment which I offered to the cruiser bill. I send four of them to
follows :                                                              the clerk's desk and ask that they may be read in my time.
  By Mr. SCHALL:                                                         The VICE PRESIDENT. Without objection, the clerk will
   A hill (S. 5811) for the relief of Adelaide (Ada) J. Walker         read.
Robbins; to the Committee on Military Affairs.                           The Chief Clerk read as follows:
   By Mr. REED of Pennsylvania :                                                                         STATE COLLEGE, PA., February 7, 1929.
   A bill (S. 5812) to authorize the Secretary of War to lease         Senator IIEFLIN, OF ALABAMA.
the United States naval destroyer and submarine base, Squan-              MY DEAR SENATOR IIEPLIN : In to-day's Philadelphia Inquirer, on the
'tin, Mass.; to the Committee on Military Affairs.                     front page, is a news story of the achlevement of recognition as a
  By Mr. NORRIS (for Mr. HOWELL) :                                     temporal state by the Vatican.
  A bill (S. 5813) for the relief of Charles W. Martin; and               On the back page of the financial section of the same paper is the
  A bill (S. 5814) for the relief of Dr. J. B. Potts; to the Com-      story of your speech advocating its proper place on our ships for our
mittee on Claims.                                                      flag.
  By Mr. THOMAS of Oklahoma:                                              You will probably receive thousands of letters commending you upon,
  A bill (S. 5815) authorizing the use of tribal moneys belong-        and thanking you for, that speech; nevertheless. I wish to add my word
ing to the Wichita and affiliated bands of Indians of Oklahoma         of most sincere gratitude and appreciation for your fearlessness and
for certain purposes; and                                              watchfulness.
 A bill (S. 5816) to authorize the establishment of an employ-            As a very humble student of our history, I have a feeling that the
ment agency for the Indian Service; to the Committee on                two news items are the harbingers-even though long ahead in time-of
Indian Affairs.                                                        a deadly struggle over the principle of independence of church and
  By Mr. FESS:                                                         state. Protestantism has fought its way free once, and, given a few
  A bill (S. 5817) to authorize the unification of carriers en-        people like yourself to keep attention focused on 4hreatening dangers,
gaged in interstate commerce, and for other purposes; to the           we should be able to keep free.
Committee on Interstate Commerce.                                         Again I wish to thank you for your fine, sound American stand on
  By Mr. HALE:                                                         all matters of national policy.
  A bill (S. 5818) granting an increase of pension to Emma A.                 Cordially and respectfully yours,
Gannett; to the Committee on Pensions.                                                                       (Miss)   GERTRUDE MASON ADAMS.
  By Mr. BLACK:
  A bill (S. 5819) to authorize the erection of a United States                                               READING,   PA., Febrialty/ 10, 1929.
veterans' hospital in the State of Alabama and to authorize an         lion. J. Taos. IIEFLIN.
appropriation therefor ; to the Committee on Finance.                 DEAR BROTHER AMERICAN : I want to express may appreciation to you
  By Mr. FESS:                                                     for the good work you are doing, and have been doing for years, in
  A bill (S. 5820) to extend the times for commencing and com-     behalf of our beloved America.
pleting the construction of a bridge across the Mahoning River        I hope that every word you speak may sink into the hearts of all
at or near Warren, Trumbull County, Ohio; and                      who hear you and those who read them, and that your work will bear
  A bill (S. 5821) to extend the times for commencing and com-     fruit to the protection and preservation and honor of our country and
pleting the construction of an overhead viaduct across the         its principles, the things our earliest forefathers wove into the fiber
Mahoning River at or near Niles, Trumbull County, Ohio; to         of this land by much labor and sacrifice and prayer.
the Committee on Commerce.                                            To my mind our country has never been in greater danger than it is
   By Mr. WALSH of Massachusetts:                                  now. Our past troubles have largely been of temporal and material
   A bill (S. 5822) granting an increase of pension to Lilla V. things, but the present danger threatens the very deepest and most
Granville; to the Committee on Pensions.                           essential attribute that has helped to make America the most honorable
 . By Mr. CAPPER :                                                 of all lands.
   A joint resolution (S. J. Res. 219) to provide for the quarter-    The fact that the foes are so insidious makes them extremely danger-
ing in certain public buildings in the District of Columbia of ous. They use the press and the stage at every opportunity to glorify
troops participating in the inaugural ceremonies; to the Com- the priest and humiliate the Protestant minister.
mittee on Public Buildings and Grounds.                               If only our people can be aroused in time. It is disgusting to those
   By Mr. KEYES:                                                   of us whose ancestors have been American born for centuries and who
   A joint resolution (S. J. Res. 220) to provide for the quarter- have been pioneers in making our country what it is to be asked to
ing in cei-tain public buildings in the District of Columbia of    step aside now that the hard work Is done and let aliens of a few
troops participating in the inaugural ceremonies; to the Com- years' residence dominate us.
mittee on Public Buildings and Grounds.                               We live in the Keystone State and are of a different political faith
   By Mr. BLAINE:                                                  than yours, but at heart you and we are Americans, with the same
   A joint resolution (S. J. Res. 221) to amend the joint resolu- hopes and fears and allegiance. The last election has made us very
tion extending the tribal existence and government of the Five proud of the South. She saved the day, God bless her.

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                                                                                                                              FEBRUARY 16
  Let us ever honor the admonition of Washington to put none but                   have on my desk. This batch contains a sample of a vast num-
Amriclans on guard, and heed the words of his Farewell Address, " Be-              ber of letters received from Alabama and other States. I will
w:re of foreign influence, one of the most baneful foes of our Govern-             just print a few of them now.
ment."    Let us all stand on Jeffersonian principles.       One of Roosevelt's      The PRESIDING OFFICER (Mr. SACK=E
                                                                                                                    T in the chair).
last sayings was, " Carry on." May true Americans of every class and               Without objection, it is so ordered.
clan carry on; and may God in His mercy and power bless our efforts                 The letters referred to are as follows:
and grant us victory and deliverance from every foe.
                                                                                                                           528 EAST MAIN STREET,
         Yours for America,
                                                                                                                                Schulllkill Haven, Pa.
                              Mr. and Mrs. HARRY T. MILLER,
                                   3.5 North Front Street, Reading, Pa.               D)EARSIR: Kindly mail me a copy of your speech delivered In the
                                                                                   Senate on February 6, 1929, on to prevent the flying of a chaplain's
                                                                                   flag above the American emblem on battleships during church services
                                         BANGOR,   ME., February 8, 1929.          at sea. Keep the good work going. We 100 per cent Americans like
Senator Tl'OMAS J.    IIEFIIN.                                                     you at Washington. If you have a copy of the CONGRESSIONAL RECORD
                     Washington, D. C.                                             left for February 6, 1929, mail me one.
   D)ARaHll : lave read the press accounts of your efforts to have the                     Yours truly,
practice suppressed of flying the Roman Catholic Church flag above                                                               RAYMOND C. ROEDER.
the Stars and Stripes.
   I went over to France for that dear old flag, and though I be but                                                    ATHENS, ALA., February 9, 1929.
an humble Individual, your efforts have my entire approval and moral               lion. THOMAS HEFLIN,
support.                                                                                        Washington, D. C.
   1 only hope you will carry the fight to the country at large.                      MY DEAR SIR: Have read with pleasure in CONGRESSIONAL RECORD
       Yours truly,                                                                what you had to say in regard to the flag on our ships.
                                               WALTER A.        PALMER,               Mighty proud to know we have one man in the Senate who is not
                                         Box 1, R. F. D. 3, Bangor, Me.            afraid of Rome. Keep the fight up. You have thousands of admirers.
                                                                                      I just wonder since the Pope has been restored to temporal power
                                                         FEBRUARY    9,   1929.    what will be the stand of those Senators who opposed you in regard
   MY DEl)A SENATOR : Just wish to commend you for your recent                     to a foreign ruler's flag floating above the Stars and Stripes. In fact,
speech in the Senate concerning the United States flag. We are proud               how can that flag be there at all now since he is a civil ruler?
of "our Tom " and are with you and Alabama is for you. Clipping is                        Very truly,
from the Montgomery Advertiser-the dirtiest sheet in the United                                                                            JOHN HAYES.
States.
   Best wishes to you.                                                                          JOHNSON COUNTY KLAN NO. 82, REALM OP INDIANA,
        Yours truly,                                                                                                   Franklin, Ind., February 11, 1929.
                                                   G.   W.   LAWRENCE,             Hon. J. THOMAS HEPLIN,
                                 493 Martha Street, Montgomery, Ala.                             Washington, D. C.
                                                               DEAR SIR: Johnson County
   Mr. IIEFLIN.  There is one more letter which I wish to voted unanimously to send Klan No. 82, and the Woman's Klan No. 7,
                                                                                        letters of indorsement and congratulations
have read in my time, which came to me from a retired naval
                                                            to you and the 10 men of the Senate for the stand to uphold our flag
oldiic(er.
                                                                                   regulations, that no banner or emblem be placed above it.
   'The VICE PRESIDENT. Without objection, the letter will
                                                                                     We are wondering how our Indiana Senators happened to be off duty
 )beread.
                                                                                   at that time and place.
   The Chief Clerk read as follows:
                                                                                          Very respectfully,
                            WASHINoGTON, D. C., February 9, 1929.                                                                COMMITTEE,
lion. J. THOMAS HEFLIN,                                                                                                          J. V. DEER, Chairman.
       United States Senate, Washington, D. C.
    MY )DAUSENATOI IIEFLIN: Confirming our conversation, I have to                                             PORTLAND, OREG., February 7, 1929.
 say that I entered the Naval Academy in 1887. As late as that and a lion. J. THOMAS I1EFLIN,
 few years thereafter I do not believe it was the universal and tradi-           United States Senator from Alabama.
 tional practice or requirement on board vessels of the Navy, during          DEAR MR. IEFLIN: I have noticed your wonderful efforts upon the
 divine service, to partially lower the national flag and display the Navy floor of the Ufiited States Senate to have the papal rag placed below
 church pennant above the national flag. The above may have been the American flag. God bless you; stay with this idea until you accom-
 the custom on some vessels, but, also, it is my recollection that on some plish your undertaking.
vessels this was not done, and during divine service on board the na-         Continue to take the hide off the "Pope's tools" and stretch it over
 tional flag remained at tle is'ak or flagstaff and the church pennant the peninsula of Maryland where the gulls can roost on it.
 was also conspicuously displayed. I think the present specific require-      I have my ear close to the ground in my own little environment and
 ment was placed in the signal instructions in the nineties.               everything you say is O. K'd by all true Americans. Some sleepy
    In my opinion, reverence for Almighty God does not require the par- "Protestants" haven't awoke as yet. * * * They are a hindrance
 tial lowering of the national colors and the placing of the church pen- to the great American cause.
 niant above. lonor and' respect on national anniversaries and other          Please hold to your great courage, stay right at the helm, and steer
occasions of honor, respect, or reverence, require the national flag when the old ship of state where she belongs. I am confident you are swamped
 displayed to be displayed with no other flag above it, and such display with letters and telegrams of encouragement for your wonderful work.
 of the national flag is in itself a mark of honor and respect in such May I have a copy of your speech of the last two days on the floor
 observance. It does not appear to me that any other display of the of the Senate referring to the papal rag above the American flag on
 national flag would be an equal mark of honor or respect for the occa- our Navy? Thanking you and wishing the best there is on this earth
 sion or for the national flag.                                            for good men like you, I beg to remain,
    By decision of the Supreme Court, the United States is a Christian             Very truly yours,
 Nation. I do not believe any nation-and I have visited many of them-                                                          E. A. EASLEY,
 worships God more truly or more devoutly than does the United States                                      295 Montgomery Street, Corner Fifth.
of America, but in order that we may know just what is required of
us in order to show proper respect and reverence when we acknowledge                                            WAYCRoss, GA., February 9, 1929.
God our Supreme Being in the Senate and House of Representatives-
                                                                           Hon. THOMAS J. HEFLIN,
that is, during the invocation there-I might ask that an amendment be
                                                                                 United States Senator, Washington, D. C.
offered to some bill, and such an amendment should be germane to any
                                                                              DEAR SIR: The members of Waycross (Ga.) Klan No. 78, in konklave
bill, that the national flags flown above the Senate and House Chambers
                                                                           assembled Thursday evening, February 7, 1929, extend to you a rising
le partially lowered and that the church pennant be displayed above
                                                                           vote of thanks and appreciation for the fight you are making, and espe-
the national flags above referred to during such invocations.
                                                                           cially the speech you made Wednesday, February 7, before the
   Thei national colors on a man-of-war or anywhere else is an emblem
                                                                           Senate.
of the state. Let church-the church, any church, and all churches-
                                                                              We have so few public men who are willing to fight Rome, and we want
remain separate.
                                                                           you to know that while you are making your fight we are with you and
        Very sincerely,
                                                                           that we feel that it is going to take men of your courage and convic-
                                                       B. B. BIERER,
                                                                           tions to stay the hand of the Harlot of the Tiber in these United States
                                   Captain, United States Navy, Retired.
                                                                           of America.
   Mr. IIEFLIN. I ask unanimous consent to print in the                       May the God of Justice give you strength to "carry on" and help
IECcolo, following the letters just read, other letters which I you to be prepared every time the monster raises its head to give such




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argument as will convince and awaken our people from their slumber                                                                        FEBRUARY 9, 1929.
is our prayer for you and for those who are standing by your side.           Senator TlHOMAS J. HEFLIN,
                                WAYCROSS KLAN No. 78,                                 Congress Hall, Washington, D. C.
                           REALM OF THE INVISIBLE EMPIRE,                       MY DEAR SENATOR: I thank God for a man like you in the Senathe.
                                KNIGHTS OF THE KU-KLUX KLAN,                    What is the trouble when Protestant Senators, elected by the Prot-
                                                       WAYCBOSS,   GA.       estant votes, quake at the rustle of priestly robes and hasten to do
                           By C. M. PITTMAN, E. C.                           their bidding? I sincerely hope that your prediction to the effect that
                              W. O. LEA, Kaligraph.                          they will be replaced in the Senate by loyal Protestant men will
                                                                             come true.
                                WASHINGTON, D. C., February 11, 1929.          Those Protestant Senators who voted "nay"            on your American flag
lion. J. THOMIAS HEFLIN,                                                     amendment on Tuesday deserve the everlasting scorn of their constit-
      United States Senate, Washington, D. C.                                uents, who have every right to expect that their best interests will be
   DEAR SENATOR: It was John C. Calhoun, I believe, who said:                protected within that august body.
   "I know but one road to political success, my duty, and where that          Senator -       's remarks on the subject were particularly obnoxious
path leads me I shall follow though I go alone." He, in my humble            to me, and in view of which I wrote him a letter expressing my opinion
opinion, was exactly right in this, as well as other things.                 of his stand in no uncertain terms, a copy of which I inclose herewit h.
   * * * I am, indeed, delighted to say a word in commendation                  I am happy to take sides with you and can say "amen " to every
of the stand you are now taking.                                             statement you have made in your fight for the absolute supremacy of
   1)o what you believe to be right, even though you "go alone."             the American flag within our own domain.
   With kindest regards, I remain                                                   Very respectfully,
        Yours fraternally,                                                                                                   ALIEN F. TITIs,
                                 HOWARD LLOYD, Chevy Chase, D.      C.                   Quartermaster Sergeant. United States Marine Corps,
                                                                                                       1100 South Broad Street, Philadelphia, Pa.
                                 MIDDLETOWN, DEL., February 7, 1929.
Senator TIOMAS J. HIEFLIN.                                                                                        BENTON, ARK., February 8, 1929.
   HONORABLE SIR: Thanks for your efforts to keep the papal flag where       lIon. J. TOM III:FLIN,
it belongs. A Protestant flag would put God at the head of our Nation,                   Washington, D. C.
too. Neither should be above our national emblem, if we would keep              DEAR SIR: If not asking too much please send me copy of your b!ll
church and state separate.                                                    to prohibit raising Italian flag above the Stars and Stripes in the
   We will fight the fight to the bitter end.                                 Navy.
       Yours in unfailing bond,                                                 Wishing you much success in your noble fight for American prin-
                                                G. HARRY DAVIDSON.           ciples, I am,
                                                                                     Very truly,
                                                                                                                                           R. REID ADAMS.
                                     NEW YORK CITY, February 7, 1929.
Ilon. THOMAS J. IIEFLIN,
                                                                                            JUNIOR ORDER UNITED AMERICAN MECHANICS,
            United States Senate.
                                                                                                               PI'OTSrMOUT         COUNCIL, No. 38.
   DEAR SIR: I have read with much interest your speeches on the flag
incident and trust that you will keep up your fight against the Senators                                      Portsmouth, Ohio, February 7, 1929.
who failed to support your amendment to the cruiser bill.                    Ilon. ..THoMAs ITEFLIN,
   The news from Rome this morning should furnish you with material              United States Senate. Washington, D. C.
for further action on your part in defense of the flag.                        DEAR Sil AND BROTHER: Portsmouth Council, No. 38, of the Junior
   Is the world coming back to a medieval status? I should not be            Order United American Mechanics, wishes to extend to you their most
surprised to see the inquisition revived in Italy during the "reign" of      hearty congratulations and appreciation on your stand in behalf of
the dictator-Mussolini.                                                      the American flag. We feel that we have at least one 100 per cent
       Yours sincerely,                                                      American in the Senate that is not afraid to defend our flag when
                                                 EDWARD BARNES,
                                                                             abused.
                                                                                  *         *         *         *              *              *          *
                                        61 West Eighty-seventh Street.         Wishing you the best of success, I beg to remain,
                                                                                   Yours fraternally,
                                    NEw YORK, N. Y., February 7, 1929.                                                                    G. W. CASEY,
Senator IIEFLIN,                                                                                                            Box 144, Portsmouth, Ohio.
        Washington, D. C.
  DEAR SENATOR HEFLIN: The truth was never so well, truthfully, and                                                     Box, PA., February 7, L929.
fearlessly spoken. May God bless you, and may you live forever in the        Hon. .. THOMAS HIEFLIN.
hearts of true Americans.                                                      DEAR SIR: I am writing you these few lines to congratulate you on
       Very truly yours,                          W. D, RUSE,                the way you spoke on the flag question in the Senate.
                                             115 Washington Place.             There need be no flag flying over the Stars and Stripes.
                                                                               We know God is over all the Nation, for IIe made it, and we need no
                                PROTESTANT   LEGION OF AMERICA,              emblem to show it, and there are millions of others who think the
                             North Attleboro, Mass., February 9, 1929.       same way.
Mr. J. T. HEFLIN,                                                              God bless and keep you.
    United States Senator.                                                          Yours very truly,
  DEAR SIR AND FOREMOST AMERICAN: I have followed your words of                                                         ARNOLD VAN FOSSEN,
wisdom for a long time. * * * You have taken the right stand on                                          227 Lemonte Street, Rox, Philadelphia, Pa.
the flag question, the Stars and Stripes above all others. I congratulate
you on your noble stand for Americanism.
  May God bless and keep you.                                                                                WILKES-BARRE,         PA.,    February 7, 1929.
       Truly yours,                               JOHN M. SCHRICKER.         To the Hon. SENATOR HEFLIN,
                                                                                                   Washington, D. C.
                                     FAIRFIrLD, ALA., February 8, 1929.        MY DEAR SENATOR: I am one of thousands of ordinary citizens watch-
Hon. THOMAS HEFLIN,
                                                                             ing your fight regarding Old Glory and the Roman flag.
         Washington, D. C.                                                      May God give you health and strength to finish the glorious task you
  DEAR SENATOR: We Americans who want America for Americans                  have begun to'a successful conclusion.
                                                                      are
proud'of you and Senator BLACK.                                                Thank God for real men like you, I remain,
  Keep a bold front and work for your country and its people.                      Most respectfully yours,
  The foreign element has grown so strong in this country while                                                  J.    G.   SCHLOSSER, Audubon, N. J.
                                                                      its
people have been tolerant until it has gotten to where they attack   you
whenever you try to pass any law that will benefit Americans.                                                         AUBURN, N. Y., February 7, 1929.
  It is getting to where an American can't get work around the        big    IIon. J. THOMAS HEFLIN,
shops for the foreign element, and they are not all Catholics that    are                    Washington, D. C.
working against us.                                                            DEAR SIR: Reading in the daily papers of your bill to prevent the
  Best wishes to you and all our true-blue American Senators.                hoisting of the chaplain's flag with the " Roman cross" above the Stars
       Yours truly,                                                          and Stripes, I wish to say the boys in Auburn are with you to a man.
                                              HARRY H. PHILLIPS,                    Yours for America first,
                                                     649 Maple Street.                                                         E. M. FRIES,
  P. S.-You can always count on me for support.                                                                                   282 North Street.




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                                                                                                                                           FEBRUARY 16
                                   PITTSncBcn, PA., February 6, 1929.                    adherence to a religion and civilization which is anything but American.
lion. J. THOMAS ITFr,LN,                                                                 I am of foreign extraction and have known intimately the workings of
     rcnatce Building, iWashington, D. C.                                                the Papal Church and what it has accomplished in Catholic countries.
   DEAIR SIR: I wish to congratulate you upon the introduction of your                      We must fight that church in this country, and you are a man who
amendment to the cruiser bill, in reference to the papal flag being                      dares to do it. Your followers will back you up in your effort.
flown above Old Glory on our ships.                                                             Yours very truly,
   I think our American flag is suflcient to be flown during religious                                                                                   B. K. BASHO.
services as it stands for God, home, and native land.
   I wish we had more such sturdy Protestant gentlemen as you in                                                           [Telegram]
the United Stales Senate.                                                                                                            UPLAND, IND., February 7, 1929.
        Yours,                                                                           Senator IIEFLIN :
                                                   MALVERN E. FUHIs.                       Your speech all right.       No flag should go above American flag.
                                                                                                                                             Rev. S. E. PoLOvINA.
                                  IIOLDREGE,    NBnR., February 9, 1929.
lIon. J. 'THOMAS IIEFLIN.
         Senate Office Building, Washington, D. C.                                                                            MASONVILLE, N. J., February 6, 1929.
   DEAR S.ENAToa: I have followed you on your flag amendment of                   last   Hon. J.   THOMAS HEFLIN,
Tuesday and Wednesday, and wish to say that I am surprised at                      the         Senator from Alabama, Senate Building, Washington, D. 7.
number of Senators that voted against it. But I think you stated                   the      DEAR SIR: Permit me, as a humble American citizen, the son of an
facts to that body Wednesday in your speech.                                             American citizen, and the grandson of an American citizen, the latter
   There are a great many people out here in Nebraska that are for                you    having served the Stars and Stripes as a marine in the sixties, I having
and your flag amendment.                                                                 served my country to the best of my ability in the World War, to offer
     "         *         *          *            *              *             *          you a humble but sincere word of appreciation and encouragement in
  Again I want to congratulate you on the fight you are putting up                       your endeavors to guard our great, united Nation from the influences
against political Roman sm.                                                              of a foreign politico-religious organization.
       Very sincerely yours,                                                                Your great work, while bringing down upon your head the wrath of
                                                  M. L. HAUSNER.                         Rome, has been of undeterminable influence upon those Americans who
                                                                                         through indifference and carelessness have not been as watchful as were
                                 CLAREMONT, N. II., February 12, 1929.                   our forefathers, who guarded closely the institutions which they founded
lion. .1. rTHOMAS    IIEFLIN,                                                            by their sweat and blood.
       ,enate Office Building, Washington, D. C.                                            We in New Jersey who are not aligned with the forces of alienism
   DEAR SIR: Would It be possible for you to send me one or two copies                   are in a hopeless minority, but we can applaud the representative of
of your addresses given before the Senate last week?                                     the great Commonwealth of Alabama for his courageous convictions and
   I have read with interest what the newspapers say you said and                        heroic actions while deploring and condemning the actions of the rep-
would like to know just what you did say. I have found that they                         resentatives of our own Commonwealth.
don't always tell the whole story.                                                          Therefore the grandson of a " Yankee " who bore arms in the sixties,
        Thanking you, I remain, yours truly,                                             and who himself bore arms in 1917 in common with the grandsons of
                                                      LEON E.       NEVERS,              Lee, extends to you, sir, the appreciation of an American who admires
                                                     40 West Terrace Street.             real courage, such as it takes to espouse the cause of real Americanism
                                                                                         against the wiles and intrigues of such a master organization as the
                                  SoMIRaVILLE, IND., February 11, 1929.                  Romanist movement.
  DEAa SENATOR : I just had to send you a few words of congratulations                      May you live long to continue such service, and may your voice ever
on your brave stand for America and the Protestant cause.                                be raised in opposition to anything not strictly 100 per cent American,
   1 was just reading a Catholic-owned newspaper's account of your                       and when the time shall have arrived whereby you will no longer be
amendment to the cruiser bill. These accounts, as you know, were                         able to do so, may the sovereign State of Alabama raise up another of
just ridicule.                                                                           similar caliber, and may you find that peace, contentment, and happiness
   I don't think the good people of Indiana will soon forget how                         which always comes to him who has done his duty faithfully and well,
our own Senators stood on this.                                                          and who is conscious of that fact.
   I would like to have the names of the Senators who voted with you,                       It has been my pleasure to listen to addresses which you have made-
as I have failed to find t itn any paper.                                                once in the Senate and once or twice at gatherings of patriotic citizens-
  If It is possible, I would be glad to get the CONGRESSIONAL RECORD                     and I have been convinced that a man who fears not the wrath of
for the time your amendment was in discussion. Just keep up the                          either Rome or Tammany is the kind of man worthy of the confidence
good work. You are the only one who has the nerve.                                       and esteem of all good citizens, and therefore we, the honest citizenry
       Yours for great success,                                                          of New Jersey, feel that our sister Commonwealth of Alabama made no
                                          RoY GREEN, Iomerville, Ind.                    mistake in its choice of Senator, and wish we could say as much for our
                                                                                         own State.
                                               DETROIT, February 6, 1929.                   With the constant prayer that the Almighty will continue to be with
Senator THOMAS IIlEFLIN, of Alabama.                                                     you and that your efforts to free our Nation from Romanist intrigues
  DEAR Silt: I have noted your most recent encounter with Senator                        will he unceasing, I am,
BRUCE, as reported in our papers, and I must say I greatly admire                                Sincerely and respectfully yours,
your stand. I would like to see many more Senators like yourself,                                                                            R. C. BOUvonR,
and want you to know that I wish you the best of luck always.                                                                      P. 0. Box 215, Maine Highway.
       Sincerely,
                                                          G.   MDONGOLI,
                                                                                                                               INDIANAPOLIS, IND., February7, 1929.
                                               8738 Crocusla rt Arcnue..
                                                                                         Hon. Senator HEPLIN,
                                                                                                         Washington, D. C.:
                               (Telegram]
                                                                                            I am writing you to let you know that I have appreciated beyond
                                       ENSLEY, ALA., February 8, 1929.                   words the brave and gallant fight you made for the flag, Protestantism,
lion. J. THOMAS IIEFLIN,                                                                 and America; and while you were laughed at by some in the United
     United States Senate, Washington, D. C.:                                            States Senate, millions of patriots throughout the Nation lisped your
   Ensley Council 27, Junior Order of United American Mechanics, con-                    name in prayer that same night. You will have. their scalps hanging at
gratulates you on your stand concerning our flag. Keep up the good                       your belt in less than one year from now. The American public is
work.                                                                                    with you.
                                              G. L. BARTON, Secretary.                       *          *           S           *          *         *           5,
                                                                                                                               Rev. WILLIAM II.   BRIGHTMIRE,
                                   COI'RTLAND, VA., February 10, 1929.                                                     Room 11, No. 7 North Alabama Street.
Senator IIFLIN, of Alabama,
       United States Senate, Washington, D. C.
   MY DEAR SENATOR : I can not refrain from sending you a few lines of                                                        PHILADELPHIA, PA., February 7, 1929.
congratulation on your stand in connection with the flag of the Catholic                 Hon. Senator HEBLIN,
C'hurch floating above the American flag.                                                  MY DEAR SIR: I read with interest your speech in the Senate protest-
  Do not give up your fight. Millions of American citizens are with                      ing against the flying of a papal flag above the Stars and Stripes, and
you, even though they may not be members of the Ku-Klux Klan.                            I want to write you these few lines expressing my appreciation and my
   I am well acquainted with the aims and purposes of the Roman                          admiration for your stand in this matter and for the 10 other gentle-
Church, having spent my life in social and religious work among people                   men who stood with you. And should you put this issue up to the
coming from foreign lands to this country, bringing with them a bigoted                  country through the States, I pledge you my support. I am only a hotel




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worker, hut would gladly do what I could to support such a cause that                                                               FEnBRARY   7,    1929.
I consider of such vital interest to our country. I regret that there are    lion. J. TiHouMs IIEFLIN,
not a great many more such men as yourself. * * *                                               Washington, D. C.
       Very sincerely yours,                                                    DEAR SENATOR: With great interest we have read excerpts in the
                                             JOSEPH M.   HOPKINS,            press from your wonderful, courageous talk of yesterday. " More power
                                               SF27 Haverford Avenue.        to you."
                                                                                Desiring to read the speech in full, I ask that you kindly have mailed
                                        MICH., January 11, 1929.
                           BENTON IHARBOR,                                   to me the IREcoRD containing same.
Hon. Senator HEFLIN,                                                           Thanking you in advance,
            Washington, D. C.                                                         Yours truly,
   MY DEAn Mi. HEFLIN: I wish to thank you very kindly for your                                                                    W. A. ScuImonT,

brave and noble work you are doing. I deeply regret and feel sorry                                New Jersey State Hospital, Gr,cstonc Park, N. J.
for you when you are attacked so unjustly on the Senate floor.
   Mr. HEFLIN, I certainly admire you for your brave stand and also
                                                                                                                GREEN BAY, WIS., February 6, 1929.
the way you are able to defend yourself against men that ought to
                                                                             Hon. Senator THOMAS IIEFLIN,
have more brains and character than they have shown. You show                                     Washington, D. C.
that you are capable of handling any situation that may arise on                DEAR SIR: I am pleased to advise that myself and family have been
the Senate floor.                                                            following very closely your mighty efforts to curb the Roman Catholic
   Remember, Mr. HEFLIN, all great leaders, especially men that have
                                                                             Church in their efforts to gain control of our Federal Government. I
exposed Rome's plot, have always been fiercely attacked throughout           am writing this letter to extend to you our sincere appreciation of
the world's history, so naturally a great man like you makes no              your good work and hope you continue the fight. Wishing you success,
                           aenin nd don't lose any sleep over what some
exceptions. Pay no attention                                                 I am,
tools of Rome may say. * * * I for one will follow your advice and                  Very respectfully yours,
start early enough before the next election of Senators and Representa-                                                             C. D. BARBER.
tives and do my part in throwing some of them out of office.
   * * * Although thousands upon thousands of people are thank-
ful for your noble work, I don't imagine there are many that think                                                    DETROIT, MICH., February 7, 1929.
letting you know how thankful they are.                                        DEAR SIR: I just read in this morning's paper your brilliant speech
   May good health and happiness be yours in years to come, and may          of yesterday in the Senate, and I couldn't help writing to you and
you some day be richly rewarded for your Christian work in de-               complimenting that masterpiece of oratory. It is a pleasure to know
fending this Protestant Nation from the evil forces.        May God be       that at least one Senator has nerve enough to get up and speak what he
with you.                                                                    thinks, one who can not be scared into saying one thing and wishing
        Very sincerely yours,                                                he could say another.
                        ON- OF THE MANY ADMIRERS You HAVE,                      Now, Senator, is it true that that church is seeking to control the
                                                       Benton, Harbor.       United States? * * * I know you are fighting an up-hill battle
                                                                             and standing almost alone. We admire a man who will battle to the
            CoL. THEODORE HYATT COUNCIL, No. 573 0. O' I. A.,                last ditch for his convictions. Thanking you again, I remain,
                                   Chester, Pa., February 12 1929.                   Yours truly,
Senator J. THOMAS HEFLIN,                                                                                                 THOMAS J. VANDERVEN,
                  Washington, D. 0.                                                                                              1596 Hillger Avenue.
   DEAR SinR: At a regular meeting of the above council held February
11, 1929, an article under date of February 7, pertaining to an address      Senator J. THOMAs HEFLIN,
you made in the United States Senate, concerning the flying of flags            United States Senate Chamber, Washington, D. C.
above the American flag during religious services on board Navy vessels,      DEAR SENATOR : Smoke them out. Why should it be necessary to
was read and I, as secretary, was instructed to write you commending       raise the flag question at all? What other church or organization pre-
your stand and reminding you of your promise to introduce a bill           fers to force recognition by any such tactics? You seem to be equal to
forbidding the flying of "any flag" above the "American flag."             the whole Rome-controlled Senate. You and the people more than
   Again commending you on your stand, we, the brothers of above           matched them in the November election, and so far I hear of no re-
council, remain,                                                           treats and believe there will not be any. They are, of course, chafing
        Yours sincerely,                                                   with that overwhelming majority piled up on them, or against them.
                                  JAY W. HONNOR, 727 Maple Terrace.        The Pope can issue his own currency and print his own stamps in
                                                                           Rome, but he can't put it over us without a fight. We lost one Tom
                                  BIRMINGHAM, ALA., February 12, 1929.     who defied them, but, thanks, we have another and we are with him.
   DEAR TOM : I attach hereto an editorial from the News dated February I congratulate you.
11; also from Age-Herald dated February 12.                                       Truly,
   The News admits that you are right, so does the Age-Herald,                                                   J. J. BBIDGEs, East Atlanta, Ga.
although reluctantly.
   May you never weaken.
                                                                                                               DUBUQUE, IOWA, February II, 1929.
                                                     W. T. AVERY,
                                                                           Senator HEFLIN,
                                         8408North Thirteenth Avenue.
                                                                                Washington, D. (7.
                                                                              DEAR SIR: I read with much interest recently your remarks in the
                                             Or,t WELL SUPPLY Co.,
                                                                           Senate in which you objected to the flying of the church emblem above
                                        Bradford, Pa., February 8, 1929.   the United States flag during services at sea. You are reported to have
Hon. J. TIiOeMAS HBFLIN,                                                   attacked the Roman Catholic Church. I can understand the flying of a
                Washington, D. 0.                                          plain white flag representing God or religion in general over the
   DEAr SIR: Your recent fight for the American flag to be flown over all American flag, but to fly the emblem of any particular church in that
flags is to be commended.                                                  position is to place church above state.
   In this country, where the state and church are separate, the flag of      May I express my admiration of your fighting qualities?
the state should always be at the top.                                             Respectfully,
   If the Catholics insist on flying a flag during their service, why not                                                  H. A. BAUMHOVER,
the following argument: Have a flag adopted by the Navy to be called                                             Ninth and Main, Dubuque, Iowa.
a church flag, if there is none, and then when church is being held
aboard ship have the flags flown, with the Stars and Stripes at the top;
below that the church flag and below that the Catholic flag. That would                                    NEWPORT NEWS, VA., February 8, 1929.
indicate to anybody that it was an American ship holding church and Mr. J. THoMAS HEFLIN.
that the services were Catholic. If there is a Protestant flag let that be    DEAR FRIEND TOM: I owe you thanks of my life for the good stand
put in the place of the Catholic flag when the service changes: and a you are making for the United States of America, and I am praying
 Hebrew flag, if there be one, to be used in the same way if they hold God will reward you in the sweet heaven by and by. I can not explain
Hebrew services aboard ship.                                               the good feeling I have for you, unless love for you.
  Hoping that you are successful in carrying this point some day, I am            *           *         *         *            *          *            *

      Very sincerely yours,                                                           Yours truly,
                                                      R. A. SMITH,                                                                     ALEx KEMP,
                                     s2Pleasant Street, Bradford, Pa.                                       114 Eighteenth Street, Newport News, Va.




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                                                                                                                                    FEBRUARY 16
                                          SORENTO, ILL., February 7, 1929.                                             LIBERTYVILLE, ILL., February 7, 1929.
 lIon. J. TIIOMAS IIEFI.IN,                                                      Hon. Senator J. THOMAS HEFLIN,
       United States Henatef, Waoshlington, D. C.                                                          Washington, D. C.
    lHONOnABLE Sil: We, the undersigned members of Kessinger Post,                  IIONORABLE SIR: I noticed with interest your proposal before the Sen-
No. 713, American Legion, and ex-service men of past wars in which               ate of February 5 to forbid the flying of any flag or pennant above the
 the Iinited Slates has taken part *         * * commend you for your            Stars and Stripes, for which I commend you most highly.
 stand in regard to the floating of other emblems over the Stars and               If we had fewer weak-kneed Senators, this measure should and would
 Stripes as mentioneld in your address before the Senate.                        prevail.
    With all respect to and without prejudice toward any form of                   I am with you,         and millions of true Americans feel just as I do.
 reliilon, and realizing that God is all supreme and should be placed            Keep up the good work.
 above all else, let us not forget that Ills kingdom is spiritual while                Most truly yours,
 any country of the earth is earthly, and wherein the placing of an                                                                          THOMAS H. KERN.
cmblem, not of the Roman cross but of Christ, above the flag would be
 proper provided all works of the Army, Navy, and the entire United                                                     NEW YORK, N. Y., February 8, 1929.
 States were spiritual.     HIowever, since the United States is earthly         Senator IIEFLIN,
 then our flag, tie Stars and Stripes, should ever wave above all else                  Washington, D. C.
as the beloved emblem of our country.                                              Mr DEAR SENATOR: I want to congratulate you on your defense                    of
    We who have fought and those who have died that our country may              the American flag. I do hope your bill will pass.
stand supreme, have given of our lives the best we had that our flag                In the face of the ntaking of history in the Italian Government, with
may not ever suffer defeat; those of us making up the populace of the            its background of Catholicism and Fascism, we must be ever active
country who though not having served carry in our hearts that loyalty            and alert to the future in keeping America safe for Americans.
born in us for our country join hands with them.                                         *           *         *         *          *           *            *
    Our country and its flag are the greatest of all earthly things, and                     I am, very sincerely,
so let us not desecrate our beloved flag or.country by placing over it                                                        (Mrs.) CLARA T. HILLMAN,
any emblem of any country, creed, religion, or faction; let us keep                                                                     175Claremont Avenue.
her clian, fearless. and true-the greatest of all countries and the
most beloved flag of the universe.                                                                                         NEW YORK, February 6, 1929.
    We urge that your stand may be upheld and a bill passed that will            Hon. J. THOMAS HEFLIN.
forever keep the American flag floating above all emblems on all our                DEAR SNATOR : As an American citizen, a man of five generations or
ships, forts, buildings, and flagpoles of every description in use in this       more, 67 years of age, a Republican most of the time, but voted for
country.    * *    *
                                                                                 Wilson the first time he ran. And when you say no flag should be
     Yours sincerely,                                                            hoisted above the American flag on an American battleship, I say you
       R. E. Pierce, post commander, G. II. Sorthoff, L. V. Livesey,             are absolutely right. God was the instigator of our American flag and
           Charles F. Griffiths, Homer Garland, W. Earle Davis, James            of this country. I look upon the American flag as God's flag, even when
            File, II. H. Harper, N. Cowen, Julia Pierce, Cora Grigg,             they hold religious service on a battleship.
           Albert A. teed, Edward A. Plappert, George J. Whiteworth,                You have done a wonderful work. A Christian work for the good of
           Aaron R. Steele, Irene Griffiths, Ruth Soalhoff, Mabel John-          this great country.
           son, Mary Kirchner, Elton Redding, N. Cowen, Jr., E. W.                      Yours most respectfully,
           IIalford, I). E. McReaken, Stacy Neal, Theodore Pope, W. W.                                                                EDWARD MARTIN.
           Duncan, and J. D. Lindly, all of Sorento, Ill.                           P. S.-May God bless and take care of you. If I am classed as a
                                                                                 " bigot" because I believe In our Constitution, I want to be classed that
                                                   FEBRUARY 6, 1929.             way. In the name of our Lord and Savior Jesus Christ, amen and amen.
lion. J. THOMAS IIEFLIN:                                                                                                                 EDWARD MARTIN,
   Senator, I congratulate you on your stand for Introducing amendment                                                         50 West Forty-seventh Street.
to haul down the Pope's emblems from our ships. I would refuse to go
to war in defense of our country flying anything above the Stars and                                                 NATIONAL MILITARY HOME, KANS.,
Stripes.                                                                                                                                February 7, 1929.
                                                                                 To the Hon. TOM HELIN :
         Respectfully,                                  W. N. PEARS,                I congratulate you on the speech you made in the Senate the other
                                 1123 East Forty-third Street, Chicago, Ill.     day. Several of us old soldiers that are 100 per cent Americans were
                                                                                 very much pleased, and we said we wished there were more Senators in
                                 MARSHALL, ILL., February 7, 1929.               the Senate who would come out and say what they think as you do.
United States Senator IIEFLIN.                                                       *              $          *                    *                        *
  DEAR Sin : I have been reading your speeches since last spring and               We don't want the Pope to put his flag above Betsy Ross's United
I congratulate you on the fight you are making for the Stars and
                                                                                 States flag on our ships.
Stripes.  If all the Protestant Senators and Congressmen had the
                                                                                   Hoping that you will dig into the weak-kneed Senators, I remain, as
nerve that you have we would have a better country. * *  *
                                                                                 ever,
         Sincerely yours,                                                              Yours very truly,
                                                           H.    K. LANDRBLK.                                                           JOSEPH F.   SMITH,
                                                                                                                                                       Boo 87.
                                       EVERGREEN, ALA., February 6, 1929.
Hon. J. TuOMAs HEFLIN,
                  Washington, D. 0.                                                                                   WILSON, N. C., February 7, 1929.
   DEAR SIR: We thank you for your earnest effort to preserve the                Senator H•FLIN,
honor and dignity of our glorious flag. Your noble work Is not in vain,              United States Senator, Washington, D. C.
although the measure received a small vote it did a wonderful work                 DEAR SNATOR : I want to tell you that all of us down here are right
 nu smoking out the weak kneed. It will give the voters a better con-            with you in your fight against the Pope of Rome.
ception of their duty in the next election.                                        Carry on. Keep up the fight; you are right, and in the end right will
     *            *          *          *         *              S        S      prevail.
         Yours faithfully,                                                         I don't know what would become of us if it wasn't for you and our
                                                                F. M. WRIGHT.    own beloved Senator SIMMONS.
                                                                                         Very respectfully,
                              HUTCHINSON, KANS., February 6, 1929.                                                                   O. C. DAvIs,
Senator IIEFLIN (Alabama),                                                                                            O00Court Street, Edenton, N. 0.
                 Washington, D. 0.
  DEAR SENATOR : You are right.        Stay with it.   *    *
    •            *           *          *         *              S        S                                                  INDIANAPOLIS,    February 5, 1929.
   I am a Republican. But it makes no difference to me whether a man             Hon. THOMAS HEFLIN,
is Republican or Democrat, so as he " stands by " the traditions of the               United States Benator, Washington, D. 0.
best country on earth, the first good government the world has ever                DEAR SENATOR: I see they have been giving you h-         again. Well,
sren. * * * I watch the careers of public men very carefully,                    every knock is a boost. The red-blooded Americans who don't care a
and I want you to know how fully I indorse you as a man who stands               "rap" for the Pope are for you.
up fearlessly for his country.                                                     Perhaps you will not be appreciated rightly until after you are dead;
         Very truly yours,                                                       such is life and history. This country needs a leader that will stand
                                                                 W. B. WAITS.    foursquare against this damnable Romanized propaganda that is con-




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stantly being foisted on it, and the real fools are the weak-kneed                    Stripes on our battleships, as it is reported in the press, I wish to
Protestants who go about with their eyes shut.                                        offer at this time my sincere approval of your position in the matter
  Christ was a lot more unpopular than you, and his name lives, while                 and congratulate you and thank you for the courage and faithfulness
most of his traducers are long since "dead, rotten, and forgotten."                   you have shown.
*   *       *. The thinking patriots are back of you.                                      *             *             *          *            *            *               *

        s           *         *          *         *              *              *      I am sure that all real Democrats join with you in spirit in de-
            Fraternally,                                                              manding that Raskob's alien influences must be divorced from the
                                                 OMER S. WHITEMAN,                    Democratic Party before we can expect the people of this Nation to
                                               110 West Thirtieth Street.             ever support us again.
                                                                                        Again thanking you for your good work, and wishing you success in
                                      CLINTON, S. C., February 6, 1929.               your war against alienism, and health and prosperity for years and
lion. THOS. J. HEFLIN,                                                                years, I am,
           Washington, D. C.                                                                 Sincerely yours,
   DEAR SIR: I must congratulate you on the fine stand you have taken                                                                  C. F. HALL,
as a good American citizen. May God in his wisdom lead and guide you                                                                Post-Offce Box 1024.
for the good of mankind. Fight on-there are multitudes of patriots
                                                                                                                                      BUFFALO, N. Y., February 7, 1929.
behind you.
                                                                                      Hon. Senator J.            THOMAs HEFLIN,
   I wish every Senator had the guts that you have to stand for what is
right regardless of cost or consequences.                                                                   Senator from Alabama.
   I have not nor will I swallow anything that has to do with that                       DEAR SIR: I have followed your work and speeches while you have
gang that has ruined the great old Democrat Party. * * *                              been a Senator at Washington, and have come to the conclusion that
        Yours for God and country,                                                    you are one of the greatest Senators that has ever been in the Senate,
                                                        P. S. JPANES.                 and Alabama ought to be proud of you. And I guess they are because
                                                                                      they have put you into office until 1931; and it gives me pleasure to
                                                                                      write to you.
                                  MISsouLA, MONT., February 7, 1929.
                                                                                         I am interested in the Senate and I am -very much interested in the
Senator TOM HEBLIN,                                                                   Government of these United States. This is the home of Americans,
     United States Senate, Washington, D. C.                                          and I pray to God it will aways be so.
  DEAR Mr. HEFLIN: I glory in your valor and in your battle against                      I am 16 years old, Mr. HEFLIN, and am a loyal supporter of you.
the dominance of Rome. We will battle on. * * *                                          s * * I hope you continue to have success and happiness for the
  The Pope's flag (Roman cross) has no right near Old Glory, either                   rest of your life.
above or below.                                                                          An American, and a believer in American rights.
       Cordially yours,                                                                      I remain,
                                                    FRED D.       WHISLER,
                                                                                                                                              FREDERICK G.          ROOK,
                                                   Suite 27, Higgins Block.                                                    125 Chenango Street, Buffalo, N. Y.

                                        BOYD COUNTY COMMISSIONERS,                                                              PHILADELPHIA, PA., February6, 1929.
                                           Ashland, Ky., February 7, 1929.            Hon. J. THOMAS HEFLIN,
Hon. Senator J. THOMAs HEFLIN,                                                                         Washington, D. C.
                          Washington, D. C.                                              DEAR Sin: I wish to congratulate you on the introduction of the
   DEAR SENATOR: Just read in this morning Huntington, W. Va.,                        amendment to the cruiser bill which you offered on the floor of the
paper, the Herald Despatch, your stand in regards to the flying of the                Senate yesterday.
so-called religious flag, the cross of Rome, over the beloved flag of                    Thank God, we have some one in Washington that will stand by our
our country. Let me congratulate you on your noble and patriotic                      flag and will fight for our American principles. Keep up the fight and
stand. May you be kept in good health to keep up the good fight                       you will find many thousands of real Americans backing you to the very
for our own United States. Nothing should be above the Stars and                      last.
Stripes, except the blue canopy of heaven. I trust that you will be able                     Cordially yours,
to arouse the American people to the dangers that threaten us from                                                                       E. B. CLEMSON,
Romew                                                                                                                              1227 North Allison Street.
        Respectfully yours,
                                                   WILLIAM        H.     CARP,                                       FOUNTAIN INN, S. C., February 7, 1929.
                 Commissioner Second District, Ashland, Boyd County, Ky.              Senator J. THOMAs HEPLIN,
                                                                                                       Washington, D. C.:
                                             WORMHOUDT LUMBER CO.,                       DEAR MR. HEFLIN: As I took up the morning's paper I was attracted
                                          Ottumwa, Iowa, February 7, 1929.            by your stand on the American flag. It is not every man who will
Senator HEFLIN, Washington, D. C.                                                     stand up for his convictions. We have some who will stand for our
  DEAR MR. HEFLIN: I want to congratulate you for the fight you                       American rights, and I feel that you are one of them. * * * Keep
put up to keep the Roman Catholic flag from flying above our own                      up the good fight. There are many who are backing you and will con-
beloved American flag. There are millions of red-blooded Americans                    tinue to back you. In my humble way I will do what I can in back-
that will back you to the limit. Keep up the fight and may God                        ing a man who has such ideals as yours.
help you to keep our country free. How did the Senators from Iowa                            Truly yours,
vote on your amendment?                                                                                                                            R.   FURMAN CIILDRESS.
   One person said this morning that if Al Smith had been elected
President he would have tried to lower the immigration bars and                                                                         CoRYDON, IND., February 9, 1929.
then he would want a person who had been in this country only six                      Hon. J. THOMAS HEFLIN,
months to have the vote. I think a foreigner should live in the United                       United States Senate, Washington, D. O.
States at least 15 years before he can become a citizen. Our own boys                     DEAR TOM : As an ex-service man, as a veteran of the World War, as
have to be 21.                                                                         a disabled soldier of the World War, I salute you. I have just read an
   I have been a member of the county Republican central committee                     article in the Birmingham (Aln.) Post that stirs me up.
for the past eight years, and while the Catholics howl about the Anti-                    If there is any man in this Nation who has a perfect right to express
Saloon League and Ku-Klux Klan, etc., I know that the Knights of                       himself, then it is a veteran of the World War. You carry the great
Columbus are organized from township precinct up, and we need men                      fight that you. have alone started on the floor. I firmly believe HUGO
like yourself with the courage to stand for what is right, and keep                    BLACK and many others are with you to a fighting finish.
them from putting their schemes over at Washington.                                        *                 ,             *      *            *                *            *
   Congratulating and thanking you for your gallant fight for our                              With kindest personal regards, I am sincerely yours,
country, I remain                                                                                                                                  CHARLIE C. CROWE,
       Yours for a free America,                                                                                                                   Kintner Building.
                                                        W.   A.       PARsoNS,           P. S.-ToM, don't slack up.            Just let us boys back you up. Keel) up
                                                        1005 Chester Avenue.           the good fight.


                                   LOGAN, W. VA., February 7, 1929.                                                        BOsTON, MASs., February 7, 1929.
lon. J. THOMAs HEFLIN,                                                                 Hon. J. THOMAS HEFLIN,
                 Washington,- D. C.                                                                  Washington, D. C.
   DEAR SENATOR: Having followed with great interest your fight in                       DmEA SBB : Am glad to see you on the "job" at Washington. There is
the Senate against the using of the religious flag above the Stars and                 no doubt but that some of those Senators who voted against your flag




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amendment will receive the same dose that BRuce, of Maryland, got                      barring any flag or emblem from the same staff with the Stars and
last fall. * * *                                                                       Stripes. HEFLIN has often characterized the emblem flown with the
   Millions of Americans are with you in this battle for Americanism                   flag on naval vessels as "a Roman cardinal's colors."
and will go the limit with you.                                                           With obvious anger in their voices 68 Senators-Republicans, Demo-
            With regards to you and family, I am sincerely yours,                      crats, and Progressives-voted against HEFLIN. Only nine supported
                                                              EDWIN L.   MARSHALL.     him. They were BLACK of Alabama, BROOKHART of Iowa, HALE of
                                                                                       Maine, HARRIS of Georgia, MAYFIELD and SHEPPARD of Texas, SWANSON
                                               ST. PAUL, IND., February 11, 1929.      of Virginia, THOMAs of Oklahoma, and TRAMMEILL of Florida.
Ilon. J.     T'IIOMASIIEFLIN,                                                            REED of Pennsylvania interrupted TYDINGS to suggest that the
                    Washington, D. 0.                                                  people of every State agreed with those of Maryland in condemning the
   I)DEASIR: Referring to your amendment relative to a certain class                   spirit alleged to be behind HEFLIN'S amendment. BORAH of Idaho was
carrying a chaplain's flag above "Old Glory." Those Senators who                       another who demanded the opportunity to vote directly on the Hefin
turned you down knew they were wrong. * * * They are afraid of                         proposal.
the Roman boycott and don't realize that Americans are waking up and                                               BITTERLY   FLAYED
are going to demand, as George Washington said, "that only Americans                      But it was TYDINGS, a comparative newcomer, who administered
be put on guard." If good old Alabama will only keep " Fighting Tom"                   the rebuke before crowded galleries.
In the Senate it won't be many years until all Senators will follow your                  " I am tired," he said, " of the so-called Christian element that would
American policy or some of them will be forgotten and real Americans                   crucify their fellow men. It Is the product of an Ignorant mind, of a
will fill their seats. May God speed the day.                                          brain that has been hidden from the sunlight during all the years when
        *           *            *         C              *         C          *
                                                                                       mankind has been struggling upward. It is the same thing that was
            With best wishes,                                                          brought here a year ago by a Member of this body. It Is the klansman's
                                                                   BURLET EVANS.       klan against God's klan.
                                                                                          "I recognize that under the rules and the Constitution every man
                                         CRAFTON, PA., February 7, 1929.               has a right to make a damn fool of himself. For my part I hope we
lion.    'THOMAS IIEFLIN,                                                              will always place our God before our country, and if that be un-
        United Statcs Senator, Washington, D. 0.                                       patriotic let them make the most of It."
   MY DEAR SIR: Let the newspapers and young TYDINGS say what they                        IIEFLIN gripped the sides of his chair with both bands, but made no
please, there are thousands of people in these United States of America                protest.
who will applaud your sentiment that no flag should ever float above
the Stars and Stripes. I have been much among patriotic societies in                     Mr. HEFLIN. Now I ask that the clerk may read in my time
the last 25 years, and I know whereof I speak. What occasion is there                  an article, which is not very long, from the New Leader en-
for any kind of an emblem over a prayer meeting, except to flaunt a cer-               titled "The      American Appeal."         It is headed     "Mussolini's
tain type of religion in the faces of other people. I was raised entirely              American Intrigues-Fascist Terrorization Extends Its Sway to
among Protestants, but I am entirely willing that any man may prac-                    Citizens of the United States."
tice this, that, or any other creed as he pleases. The Catholics are                      The PRESIDING OFFICER. Without objection, the clerk
the only ones who wear their creed on their hat band, so as to be seen                 will read.
of men. After the hard slap they got last November one would think                        Mr. HEFLIN. I trust that all Senators will give close atten-
they would be a little more modest. But from the Catholic press                        tion to the reading of this article in order that they may learn
I sei that instead of reading the handwriting on the wall they attribute               what foreign influences are at work in the United States that
their defeat to "bigotry."       Well, those of us who read history now                perhaps they did not know about.
and then may prefer to be bigoted rather than blind. Isn't Papa fight-                    The Chief Clerk read as follows:
ing just now to save a little of his prestige in Italy? Haven't the                    [From the New Leader (the American Appeal), Saturday, February
priests and nuns been scattered like sheep in Mexico?            Isn't Spain                                       16, 1929]
seething with revolution?         Wasn't England obliged to bar Roman                  MUSSOLINI'S   AMERICAN    INTRIGUES-FASCIST      TERRORIZATION    EXTENDS
Catholics from the succession? Have we forgotten Tetzel and Tor-                                  ITS   SWAY   TO CITIZENS    OF THE   UNITED   STATES
 lquctnada, Bruno and Galileo, the thumb-screw and the inquisition, the                   Italian Fascism extends to the United States and American citizens
liguenots and the Albigenses? TynusNs talks of placing "God above
                                                                                       of Italian birth are regarded as the subjects of Mussolini. Fascist
our country." Our Constitution recognizes God, and the Stars and
                                                                                       bands operate on American soil and terrorize Italians and Italian-
SlrIpes are its appropriate emblem. The Virgin Mary is not God and
tie flag they run up should be red and black, not white. This would                    Americans who fail to swear allegiance to Mussolini. Fascist dictator-
 ie more truly emblematic of 'ope, priest, religion, and more in accord                ship is taught,and attempts to enforce it are made through the boycott,
with history. Let the Presbyterians, Methodists, or Baptist adopt some                 intimidation, and the use of physical force. Italian business houses,
distinguishing emblem anl float it above our own flag and every Catholic               Italian banks, and Italian professional men are compelled to support
elditor, priest, and bishiop in the country would yell their lungs out.                Fascism or face ruin. The official organizer of Italian Fascism hns
   More power to you and the nine who voted with you. You have the                     traveled freely In the United States, instructing his Fascist bands in
same stuff in you as the seven bishops who risked their lives rather than              the technique of dictatorship.
surrender their rights.                                                                   Why this strange toleration of Fascism by Government officials? If
         V'ery truly yours,                                                            Moscow were to openly send an organizer of the Communist Interna-
                                               M. H. STEVENSON,                        tional to this country he would not be admitted. Piero Parini, secre-
                                                  40 Maplewood Avenue.                 tary-general of Mussolini's Fascist Organizations in Foreign Lands, has
                                                                                       been in the United States for several weeks. A protest was filed with
                [FSromn the Pittsburgh Press, February 6, 1929]                        the Labor Department against his admission, but Parini continued his
                                                                                       work without molestation. Having looked after his force squads, he
IlFI.IN TAKES WORST LASHING OF LONG CAREER-BITTERLY FLAYED AS
                                                                                       sailed for Italy on February 8. Fascist dictatorship was strengthened
      " FuOL." FINDS SELF SHOUTED DOWN AND OPPOSED, 68 TO 9
                                                                                       by the toleration shown Parini by the officials at Washington.
               By Ray Tucker, Scripps-IIoward staff writer                                While Parini was at work in this country his bands in New York
  WASIIINGTON,    February 6.-Senator IIEFLIN was smarting to-day                      City were doing an important job. There is one anti-Fascist daily in
under the worst tongue lashing and legislative licking he has suffered                 the world, II Nuovo Mondo, published in this city. Mussolini has
in all his 22 years in House and Senate.                                               ordered its destruction. It has been raided by Fascist bands a number
   Dhuring the stormy war years he was.knocked over a House bench                      of times. On February 5 it was again raided, its machines damaged,
by raw-boned ex-Reprcsentative Pat Norton, of Minnesota.       He was                  and the plant crippled. Since its establishment several years ago this
formally castigated in a committee report for insinuations that certain                paper which has refused to bow to the brute who rules Italy has been
Senators were attending a gauibling house where German bribe money                     the victim of raids, intimidation, boycott, and terror. Did Parini
was being slipped into their palms.                                                    order this latest raid on II Nuovo Mondo four days before he returned
   But not until young Senator TYDINGS, of Maryland, arose to defend                   to his master? Who knows?
Senator BRIa:c, of the same State, against the Alabama Member and                                              LINCOLN   VERSUS   MUSSOLINI
denounce his activities as designed to foment religious prejudices had                    We have just been celebrating the birthday of Abraham Lincoln.
IIEFI.IN ever heard himself called a "danmn fool." Both HEFLIN and                     Compare the Emancipator with Mussolini. * * * Compare Lincoln
the Senate gasped at the Marylander's audacity, but there was no                       with Mussolini, organizer of massacres, director of the murder of Mat-
word of protest against the language as unparliamentary.                               teotti, assassin of Italian liberty, the paranoiac who sneers at democracy,
                                 REPLY   DROWNED    OUT                                who has destroyed popular elections, and who has transformed Italy
  When HEFLIN arose to reply to TYDINGS cries of "vote"                      drowned   into a slave state. One man the liberator and the other an enslaver.
him out, and the ballot         was taken so hurriedly as to silence him. Pre-         While we pay our tribute of affection to Lincoln, Mussolini's force
viously there had been           an insistent demand that a roll call be taken         squads do the work of Parini in the heart of New York City.
on IIEFLIN'S proposal,          apparently in order to dispose of it and him              Nor is this all. Italian Fascism openly demands the allegiance of
once and for all. The            Heflin proposition consisted of an amendment          Italian-Americans to the dictator of Italy. Italians in this country,




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whether American citizens or not, are regarded as colonies of the                Fascism is reversion back to the sad days of absolutism. It prosti-
Fascist Government. They must swear allegiance to Mussolini and to            tutes the whole intellectual life of a people to the will of murderous
Fascism. An Italian in the United States may be enrolled as a Repub-          fanatics. It is a crime in Italy for the human mind to function.
lican, a Democrat, or a Socialist, but this does not have any signifi-        Italian journalism has become a brothol. Administration of justice
cance for Mussolini. The Italian-American is enrolled as a subject of         simply legalizes Fascist lynching. Political parties have been destroyed
the Fascist Government. Terror dogs his heels if he does not agree.           by force. The club and castor-oil bottle have become the symbols
   Here is an example of this amazing insolence. Mr. Santo Modica is          of sovereignty. Labor organizations and cooperatives have been con-
secretary of the Italian hospital at 617 East Eighty-third Street, New        scripted to the service of fanatics. Italian Fascism Ihas Ibcorme a mon-
York City. He is an American citizen and enrolled as a member of the          strous Caliban that must be quarantined as we quarantine healthy com-
Republican Party. He is the head of the New York section of the               munities against leprosy.
Sons of Italy and as such he refused to send a telegram of allegiance            Congress owes a duty to the American people to investigate this
to Mussolini. For that act of "disloyalty" to the Italian dictators           hateful and unspeakable thing or admit that Italian-American citizens
Fascists have threatened him with injury and have tried to drive him          have no rights that are higher than the will of the bandit who rules
out of office.                                                                Italy.
                      FASCISTS TIREATEN VIOLENCE
                                                                                Mr. HEFLIN. Mr. President, to follow the article which has
   II Grido della Stirpe is a Fascist organ published in this city. It sup-   just been read, I ask to have read a short editorial from the
ports the whole creed of Fascist dictatorship. It has waged war against       Washington Post of Friday, February 15, 192), entitled "Italy's
Modica and its columns have been devoted to inciting violence against         Novel Experiment."
him. " Fascism has been too lenient and generous," declared this organ          The PRESIDING OFFICER. Without objection, the clerk
with reference to Modica. " We hoped that things would change without         will read, as requested.
resorting to extreme measures."                                                 The Chief Clerk read as follows:
   Evidently the force squads of Mussolini regard themselves as an                                      ITALY'S NOVEL EXPERIMENT
extension of the police department of Rome. Modica and other Italian-
American citizens must obey this force agency of Mussolini or be pre-            Interest in the pact between the Italian Government and the Vatican,
pared to accept " extreme measures." In all our history we have never         which at first centered on the fact that the 60-year-old controversy had
had such brazen insolence. The next step of the force bands will be to        ended in establishment of an independent state for headquarters of the
insist that Italian-American citizens pay dues to the Fascists to show        Roman Catholic Church, has now swung to the possible moral effect of
their allegiance to Mussolini.                                                the agreement on the Italian people.
                                                                                    *          *          C        *         *          *       $
   No claim has been made that Modica is not an efficient official. His
sole offense is "disloyalty" to the Italian dictator. All groups of,             Strict censorship of motion pictures will be enforced; literature
Italians in this country, whether they have become citizens or not, are       which is looked upon with disfavor from the Vatican will be sup-
called " colonies." The Italian may be an American voter, he may be           pressed, and the newspapers will have to be even more circumspect in
a good citizen and comply with every requirement of American citizen-         the publication of sensational stories than they have been under
ship and yet he lives in fear of his life if he does not agree with the       Mussolini's censorship.
castor-oil bandit who rules Italy. If this is to continue the State De-          Dispatches indicate that Protestant, Greek Orthodox, and Jewish
partment at Washington should at least make this extension of Fascist         sects will be tolerated in Italy, but will no longer be able to carry on
power to this country legal by treaty with Mussolini. Having done that        religious propaganda. This appears to be a renunciation of the prin-
the next thing in order is to prohibit celebration of Lincoln's birthday      ciple of religious freedom which has gained a strong foothold through-
and make the castor-oil bandit our ideal of democracy.                        out the civilized world. All nations will be interested in the experi-
                        LABOR OPPOSES FASCISM
                                                                              ment and its results. It remains to be seen whether a people can be
                                                                              forced into righteousness through legislation and curtailment of re-
   Labor organizations in this country without any exception whatever         ligious liberties under a dictatorial form of government.
are recorded against extension of this police, spy, and terror activities
of Italian Fascism. The American Federation of Labor news service of             Mr. HEFLIN. Mr. President, I have had these two important
February 9 points out that the " property of any Italian living abroad        articles read for the purpose of giving some Senators who do
is seized in the event that he opposes the Fascist in his adopted coun-       not appear to be apprised of the insiduous efforts that are being
try." Relatives of Italian-Americans who live in Italy are also victims       made by certain dangerous influences in America to overthrow
of the terror if Fascism is opposed here. Such relatives in Italy are         this Government. I have had those two articles read for the
practically hostages who may be struck down or be imprisoned because          purpose of getting them in the RECORD, SO that they may go out
of any "disloyalty " here.                                                    into every State in the Union, where the people back home may
   The American Federation of Labor news service goes on to say:              be informed as to what is being done to the hurt and injury
   "The Fascists use honeyed words in this country to conceal their           of this great Republic. I do that for the purpose that they may
philosophy. They assure Americans that their party is no different            begin to write to their Senators who seem to be either asleep
than the Democratic or Republican Party, when, in fact, the Fascist con-      or deaf and dumb on this subject.
trol Italy. They have seized the Italian Government, abolished free             I saw some of them a few days ago vote against their flag
press, speech, and popular assemblage, made Parliament a puppet, and          being first and uppermost on its own staff.          I saw them vote de-
supplanted trade unions by Fascist labor organizations controlled by the      liberately to lower it every time some one wants to fly the
state. No Italian can be a candidate for Parliament without the               Roman cross above it.           By a vote of 68 to 10 in the greatest
approval of the Fascist grand council."                                       deliberative body in the world certain Senators went on record
   Labor, the weekly publication of the railroad labor organizations,         to do that, while Catholic priests in the gallery smiled their
carries a story of the astonishing indifference of the Federal Government     hearty approval.
 to the activities of Parini in the United States, and an Italian trade         Mr. President, that was a sad day to me, for a great many of
unlonist, makes the following observations in its columns:                    these Senators are good men, and I believe, in the main, are
   " Our Government must know what Mussolini's agents are doing in            good Americans; but it is a fact that we have got a lot of men
this country. The dictator takes the position that the Italian who            in public life who are afraid of the political influence of the
becomes an American citizen still owes allegiance to Italy, or rather to      Catholic machine in the United States, and we have got to meet
Mussolini himself. He even insists that American-born children of             that question; and the sooner we do it openly and determinedly
Italian parents are Italians and not Americans.                               the better it will be for all who really love our country.
   "Fascist organizations in this country have only one object-to spread        Every Catholic reporter in the press gallery has attacked me
a propaganda which is hostile to our scheme of government.                    most viciously since my speech the other day in behalf of the
   " Secretary of State Kellogg would get terribly excited if the chief       American flag. I showed here on a former occasion testimony
propaganda agent of Bolshevism were to attempt to get in, but he will         to the effect that Catholic newspaper reporters had been in-
not raise a finger to bar Parini, whose work seriously menaces the peace      structed to "go after HE'LN," and they are still carrying out
and happiness of Italians who are citizens of this country and love its       their Catholic instructions.
institutions."                                                                  They and other Catholic agencies are still carrying on their
   It is time that Congress made a thorough investigation of the activities   false and vicious propaganda against me. They have marked
of the Fascist bands in the United States. They have become a scandal         me for political slaughter, and they have threatened to murder
and a disgrace. If Italian-Americans are to be terrorized for support         me.       I receive insulting and threatening letters from them now,
of the democracy of Lincoln against the dictatorship of Mussolini it is       written by unprincipled persons who are too cowardly to sign
time that we should have sbme official confirmation of this policy. We        their names to them. They have resolved and they have baldly
are inclined to think that an investigation will show that the trail of       boasted that they are going to pick out a candidate to oppose me
Fascist activities leads directly to the door of the Italian Ambassador.      for the Senate in Alabama in 1930. I welcome the opportunity
It is certain that no representative to a foreign government will be          to discuss before the people of Alabama the issues that threaten
appointed by Mussolini who is not in full accord with the despotic creed      free Government in America. I am willing to go to the mat with
of Fascism,                                                                   whoever they select and fight it out with him.




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    Mr. President, I feel that it is the duty of every Senator to      tions to Mussolini and expressed to him their allegiance-citi-
 tell t he Senate and the country of anything and everything          zens of the United States? Did you get the full meaning of
 Ihat concerns the welfare of this country. I repeat what I            that article read from the desk about an Italian-American-a
 said hero the other day: I do not object to the Catholic having      Republican, too, if you please-who refused to send a telegram
 the religion of his choice. But I do object to the secret and        of allegiance to Mussolini, and Mussolini had ordered his news-
 Insidious activities of the Roman Catholic political machine.        paper plant in New York destroyed; that Fascists, Mussolini's
 That political machine is the vehicle used by Roman Catholic         followers in the United States, had gone there and attacked him
 leaders to carry forward into governmental affairs the               in person two or three times; they had injured his printing
Roman Catholic purpose to bring this Government under Catholic        press, and they have sworn that he shall be driven out of
 control. That that church has its program already laid out to        business?
 capture America, no discerning man doubts, and that their                Senators, wake up-you Senators who are sitting around here
 plan is to control at an early day the United States, no informed    sound asleep on this question. You may not be willing to con-
 citizen can doubt for a moment.                                      sider it here; but, thank God, you are soon going into an open
    But you have a situation in the United States, and right          forum where you will have to consider it. The people out
 here at this Capitol, that is alarming and dangerous. When           yonder are coming to know about these dangerous, un-American
 a measure comes up affecting the Catholic political program          activities and they are going to demand that you wake up.
 Senators and Members of the House are besieged. And some-                I have received probably 2,000 letters-maybe 3,000--from
 how or other they always have somebody in this body to speak         men and women all over this country since this flag issue was
 for them.                                                            up in the Senate a few days ago.
   A few days ago, when I raised the question here of permit-             I have eliminated the references to Senators in letters from
ting the United States flag to remain on its own hoist, ma-            their States; but you may get an idea how the people back
jestically alone, proudly flying at the top of the staff, when         home feel about this from the parts of the letters that I have
I said there was no excuse for lowering it to fly anybody's           printed this morning, just a few out of the thousands of letters
pennant or banner above it, the Senator from Maryland [Mr.             I have received from 26 or 27 States of this Union. I will print
 BR•ucEl rose in this body and asked me what flag is now               some of the letters from the other States later. I am not attack-
permitted to fly above it? "Oh," I said, "I am not discussing          ing the individual Catholic. Let the Catholic have his religion.
any particular flag. I do not want any flag or banner to fly           God knows I would not deprive him of it. I want him to be
above it." The Senator said, " Is it not a fact that the Catholic     permitted to approach the throne of grace as he pleases to do it.
flag is the only one that flies above it?" I said, "That is the        If it suits him to confess to a priest, let him do it; but, Mr. Presi-
only one that I have seen fly above It." I exhibited a picture        dent, I want to tell you that the history of Roman Catholic rule
here of the battleship Florida that showed that to be the case,       all over this world is the history of intolerance, persecution,
and, following that disclosure, you voted to continue that             bloodshed, and murder.
practice.                                                                 Look what happened the other day in Mexico! Obregon-
   The issue is plain and you can not dodge it, Senators. I           one of the strongest men Mexico has ever produced; upstanding,
 respect you all and am fond of many of you, personally, but this     brave, fearless-he and his friend Calles gave stability to that
American issue must be met. We can not afford to be asleep            country, brought it out of darkness and chaos and put it upon
any longer. The American people must be aroused to a full             its feet, and delivered Mexican peons out of the bondage of
sense of the danger that threatens.                                    Roman Catholic slavery. Four hundred years of Catholic rule
    It is now admitted that the cross tl t flies above our flag       had benighted and enslaved them. They were groping ignor-
is the cross of St. George, and he was A Roman Catholic. It            antly and helplessly in the dark gloom of Catholic rule, and
is admitted even by some of these Catholic pen pushers in the          Calles and Obregon stretched forth the healing rod and gave
press gallery that it is a Latin cross. The churches of the           that land deliverance. Still the country is cursed with Catholic
 United States have never agreed upon any particular pennant          intrigue and murder. The Catholic Church leaders, the priests,
to fly above the United States flag on our battleships during         and nuns are seeking to overthrow the present constitutional
religious services, and yet when Protestants and Jews aboard          Government in Mexico; and how are they going about it? When
our ships have service now, under your vote the other day,            Obregon was elected President recently they sent a cowardly cur,
 they have to pull down the American flag and fly the Roman           a Mexican Roman Catholic, to the dining room where Obregon
cross.                                                                was taking his meal, and they had the Catholic assassin feign
    Senators, the day is not far distant when you are not going       as an artist who was pleading for an opportunity to exhibit pic-
to be afraid to look a Roman Catholic in the face and tell him         tures to President Obregon; and Obregon, the brave, big-hearted
that you are against his plan and purpose to Catholicize              man that he was, wanting to encourage the boy in his work as
America and place this Government under Catholic rule.                an artist, said, " Yes; I will be glad to look at his pictures and
   1 told you a year ago what was going to happen in Italy.           help him along."
Perhaps some of you do not remember it. I will remind you                 He comes around with his pictures and with that deadly
of what I said then. I told you that Mussolini was a crook.           weapon hid away, draws it, and shoots Obregon to death at the
I told you that he was an unscrupulous scoundrel, and that he         table where he was eating his meal. While he was shooting
was playing into the Roman Catholic Pope's hands, and that            him Catholic band players were playing the band so loud that
lie would deliver that Government to him before he was through;       some of the people in the dining room never heard the shots.
and now he has done it. I told you that the Rome newspaper            When that cowardly and miserable wretch, scum of the earth
reports to the effect that Mussolini and the Pope were not on         and vagabond, was cornered by Mexican officers of the law, he
good terms was all a hoax. I told you that that was the              .confessed that a Catholic nun and a Catholic priest inspired that
impression they wanted to make until the day of delivery              dastardly deed; and finally, when they got him ready to march
should come; and now, since Italy has been beaten to her knees        him out and shoot him, as they should have shot him, against
and all her independent, fighting, patriotic forces are prone         the wall, the Catholics paraded him in the newspaper columns
upon the ground and her free speech and free press and right          as a martyr, and the Catholic-controlled press of Mexico City
of public assembly have been destroyed, and Masons have been          deliberately tried to use the incident as propaganda to stir up
butchered like hogs in the market place, and the grand master         opposition to the Mexican Government. Why, they described
of that order put in prison, Mussolini. like a thief in the night,    him as marching forth calmly, when the fact is that he was
slips over and delivers the Government of Dante and Garibaldi         scared to death when he heard the noise of the mob outside.
into the control of the Roman Catholic Pope, who is now a             They had him saying to the barber, "Come, go over my face
king, a Roman Catholic king, extending his canon law all              again; it is still a little rough," just like he was some great
over the Government of Italy; and now the Roman press over            spirit; that is what they would have us think he was. He did
there tells us that Mussolini and the Pope have been good             not care. They would have us believe he was calm and serene-
friends ever since Mussolini took control of Italy.                   drunk on the whisky they had given him, perhaps! Why, even
   It is plain and simple now; everybody can understand it.           that part of the report said he drank half a pint of cognac
Now, what have we right here in the United States? We have            brandy. He could not tell whether there were any whiskers
this dangerous, tyrannical dictator of the Italian Government,        left on his face or not after that. But, Mr. President, after he
with his agents in the United States operating and terrorizing        was shot, sent down to death for murdering the President of the
the people in various places, and particularly in Chicago; his        Mexican Republic, the Catholic press played up a Roman Cath-
Fascist bands are holding up the people there; and I bid God-         olic priest going in to the dead assassin with his handkerchief
speed to the able Senator from Illinois [Mr. DENEEN], who is          and dipping it into his blood to preserve it as a sacred relic, a
leading the fight against the bandits and the outlaws in Chicago.     memento of a martyred Catholic! Think of it! It is all shock-
   Senators, did you know that the Fascist organization in the        ing and sickening.
United States had their national convention a few months ago              Senators, this Nation is in for trouble with that same un-
at Philadelphia and wired their compliments and congratula-           scrupulous and ambitious power; and the United States, this




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young giant of the western world, is the world's hope to preserve    and vote against him if he did or did not do certain things.
religious liberty. America, in her determination to preserve         That is all true; they will. But I want the Americans who read
civil and religious liberty, fears no foreign pope or potentate.     my speech and who get what I am saying here to-day to learn-
America is not afraid of the Catholic assassin, although three of    I pray to God they may-and whenever the Catholics threaten
them have killed three American Presidents.                          a Protestant Senator and tell him they will beat him if he
   If ever such a thing occurs again in our country there must       does not do the bidding of the Roman Catholic(s, I want theai
be a house cleaning in the high places of those who bring it         to rise up and say, ' W\e American Protestants and Jews, Amer-
about.                                                               ican Italians and other Americans, will punish you for raising
   Just recently, when President-elect Hoover was visiting in this   that question and trying to control this country." That is
God-loving and God-fearing country, down in the sunny land of        what is going to happen, and you are going to hear from it.
Florida, amongst as fine people as live, represented by two as       My letters indicate that very strongly every day.
fine Senators as ever sat in this body, Senator FTErTCnER and           I ask that the clerk read the letter which I send to the desk.
 Senator TRAMMELT., two Italian Catholics saw him, and one of        I have stricken the name and the address of the person writing
them said. "I don't like the looks of that guy; let's throw a        it from the letter.
bomb under him," and talked about assassinating a President as          The PRESIDING OFFICER (Mr. PIlrris in the chair).
they would talk about killing a housefly. Is it not time that we     Without objection, the clerk will read.
were taking stock of the un-American groups in our country?             The Chief Clerk read as follows:
In the name of Washington and Jefferson and Lincoln and Lee,                                                            FEBRlUARY 11, 1920.
what are we coming to in the United States? Let us say to the        Senator THOMAS HIFLIN,
Catholic, " You will not be disturbed in your religious worship.         United States Senate, Wajhington, D. C.
Nobody has any desire to disturb you in that regard. But we             DEAR SENATOR: I am now in business and no longer in newspaper
are not going to permit you to teach to Catholic children in the     work, so that I can speak frankly, * * * and I wish to say that I
United States the union of church and state and we are not           am sure you express in the Senate what a great many Protestants
going to permit you to strike down religious freedom and set up      think. There are more men behind you than you dream of * * *
the Catholic state in the United States."                            and yours is the voice thousands-millions-welcome.
   The Roman Catholic political machine can not deceive true           There is one point I wish to present. Do you realize that the tre-
Americans by displaying a religious banner and harping on            mendous demonstrations at the execution of Obregon's murderer in
religious intolerance, while underneath its cloak it has a deadly    Mexico was fostered by the Catholics? Did you read the Associated
dirk for religious freedom for all American denominations that       Press account of where the priest dipped his handkerchief in the mur-
do not accept a Roman Catholic Italian Pope as God's exclusive       derer's blood? This is propaganda pure and simple, and it follows
representative on earth. Go read the History of Civilization,        naturally that the Catholics promoted and (or)    incited the attempt on
by Buckle, and you will find he tells that when Spain reached        President Gil's life in the bombing of his train.
the climax and crowning glory of her civilization she was pulled       Isn't it strange, too, that the treaty giving the Pope temporal power
down and destroyed by Roman Catholic priests. Go read Gib-           and including the church "canons" in the civil law of Italy should
bons' Decline and Fall of Rome and you will find that the fall       come after our own presidential campaign? No! This merely is part
of Rome was helped and hastened by the doings and the teach-         of the Catholic set-up. You can see this and I can see Ihis. You are in
ings of Roman Catholic priests. Yet some of you seem to be           touch, doubtless, with influential Protestants. Please, for the cause you
sound asleep. When this question was broached the other day          so admirably represent and which affects millions of true Protestants in
two or three veteran Senators rose up and trembling said they        this country, do something to counteract this Roman propaganda. Mil-
would have to vote against the flag because somebody had             lions are looking to you to speak their minds.        Don't fail in this
injected the Catholic religious issue.                               immediate emergency.
   Senators, how long, how long will it take us who are here               Yours sincerely,
to defend and safeguard the rights and interests of this Re-
public to wake up to the dangers that threaten it? Roger Wil-
liams, the heroic leader of religious freedom in the early days         Mr. HEFLIN. Mr. President, I omitted publishing the name
in the United States, a Baptist, was set aside the other day to      of that splendid former newspaper man because of what I
give place to some Catholic in Baltimore, and the Senator from       feared would happen to him. He is a northern man.
Rhode Island, Mr. GERRY, permitted it to be done. He did not            Mr. President, a year ago I received a letter from a man in
defend him.                                                          Massachusetts commending my course, and it was printed in
   I want to know if you are going to follow the voice of the        the RECORD. As soon as the CONGRESSIONAL RECORD could reach
dead or the voice of the living. The main ones of those who          that place a newspaper man came to my office and wanted to
championed that movement the other day to continue to fly the        see the original of that letter. My secretary told me about it,
Roman cross-the Pope's cross-above the American flag were            and I told him not to let him see it. I said, " The Roman Catho-
two Senators who had been defeated. They are going out. And          lies are after making trouble for that man." This man was in
you who sit here supposed to represent your people, misrepre-        business, and the Catholics were threatening to boycott him,
sented them on that day, as my letters indicate. It would open       and the man signed a statement to them that lie had not written
your eyes to read some of my letters, and some of them are so        me a letter, but that somebody had written it and signed his
strong regarding some of you that I will not publish them, but       name to it.
the people are talking about what they are going to do regarding        Senators, in the name of God, what are we coming to in these
you when they get you before the electorate again.                   United States? A Protestant or Jew can not write a Senator
   Mr. President, the Senator from Maryland injected the re-         who is seeking to have the Constitution of the United States
ligious question when my flag amendment was before the               observed and the flag upheld without having Roman Catholics
Senate. Many Senators have said to me since, "You did not            pouncing on him and seeking to punish him for doing what
inject the religious question; Senator BRUCE did it." I said,        he has a right to do as an American citizen. That man was in
"Of course he did." But, as I said the other day, that was           business, and they were going to punish him because he wrote
the signal. Word had already been passed around. These               me that letter; and when he signed a statement saying he had
priests had not been sitting around here so thick for nothing,       not written it, they sent that newspaper man back to my office
poking out their necks and peeking about in this body. My            to see the other letter and compare the signatures, and I would
amendment had been printed for a week; they knew it was              not let him see it. They wanted to punish him and make an
going to be offered at the proper time at the end of the bill.       example of him in the community and intimidate other Ameri-
When that time came I was utterly surprised; I have never            cans into silence.
been so astounded in my life that an American Senate would              Think of it! And, as I have said before, this is the land
stand up and order, by their vote, that our flag be pulled down.     where Washington led his Continental Army-barefooted, half
to fly above it the Roman cross-the Catholic king's cross.           clad, and half fed--over the frozen ground at Valley Forge,
   After I finished my speech here you went on record in a           fighting for American liberty. This is the land where southern
way that you will wish to God you never had gone; I am telling       men and northern men died on the battle fields in order to
you now, and you see if I am not right; the people will not          fix and determine for all time the status of constitutional gov-
permit that kind of subserviency to the Roman Catholic po-           ernment in the United States. And some of th'eir sons, a pam-
litical power in the United States; and that is what it is. It       pered race of men, seem to have dwindled down until half the
is not religious power; it is political power. It is a double-       men in public life to-day at the Capitol act as if they have no
headed thing. One part calls itself religion and the other is        American courage at all. Many of them stand in fear and
a bold and brazen political serpent; and some of you are as          trembling before a Roman Catholic priest, and they shudder in
afraid of it as you are of death.                                    their shoes when threatened with the opposition of the Roman
   I have had Senators talk to me, and Members, too, at times-       Catholic political machine.
and this has been going on some time-about having Catholics             Senators. did you get the point made in the letter just read?
in their districts at home; and that they would punish a fellow      Why did they not crown the Pope King last fall when Alfred




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Smith. the Pope's annointed, was running for President of the            that when the Catholic Church is strong enough here to do it
I'nited Slalces? They said. "O i, no; if you pull that thing off         they are going to proscribe other denominations. Some of the
      you will help defeal Smith."
  ,now.                                  God knows they did not need     language used is just like the language used in the Pope's recent
                                                                         concordat. He said, " We will proscribe other denominations.
  ny help to defeat himi. Six and a half million majority, with
                                                                         We will not permit them to carry on the general propaganda.
six million and iahalf Democrats, voting against him. He polled
                                                                         We will set up the Catholic state." Then he asks, " What
lut :l3.00.(0(0 Demiocratic votes in the South and West, North
and East.                                                                chance would they have against the Catholic state?"
                                                                            Mr. President, what chance have the Protestants and the
  Those six or seven million Catholic votes he got are not real
DlienMrats and will not lih cast for the Democratic ticket if            Greek Orthodox people and the Jews against the Catholic state
anything is said by anybody on the ticket which the Catholic             with Mussolini standing over their prone bodies with a tyrant's
leaders do not like. That is plain talk, but you know it is the          dirk in his hand? We are told by an appointee of the Pope-
plain truth. and tie time Ihas cone to talk the plain truth.             Doctor Ryan, a Catholic priest-that that is what they will do
  What did we say here in th(edebate last year, or, rather,              here when they get strong enough. Now you can begin to
what did I say?     You did not take any part. I am going to             understand why they did not pull off this tyranny last fall.
relate to   yuou   again a startling thing in the life of our Nation,       It would have hurt Mr. Alfred Smith's chances. The Ameri-
talllt
   not one   of you over there commented on it. I presented a            can people would have been brought face to face with the truth,
case where Ihree hundred and odd Catholics, American citizens,           and they would have been frightened. They would have said:
in the State of Rhode Island, who had been robbed by a Catholic          "Look what happened in Italy. They are going to do that to
  ishop ad an (Catholic priest ; that is what they said had hap-         us when they get strong enough to do it." And I feel it my duty
liened to them.    lThey liad collected hundreds of thousands of          to tell you that when they are strong enough they will do it;
dollars from Roman      Catholics generally up there. and 300 of         but they are not going to be strong enough to do such a thing
them had tilecourage to march into open court in Rhode Island            in the United States. The Congress has got to legislate on
and demand that that bishop and priest he brought in for an              certain questions, and I am in favor of a law that will expel
accmunting. They were brought in. The case was started, the              from the Government of the United States every Fascist who
trial commenced, and then there was a postponement, a court              is shown to have expressed his allegiance to Mussolini and his
adjournment ; and what lois happened in the meantime? While              r6gime in Italy.
that case was li'nding, under the Stars and Stripes, in a sov-              Mr. President, America has got to be kept safe for Americans.
ereign State of the United States of America, that Catholic              Mr. Hoover is going to have a great opportunity to serve and
bishop and that Catholic priest took those 300 names and went            preserve American ideals and institutions, and he is going to
to Rome with them iand tried those men in their absence before           meet some trying and difficult problems. If he deals frankly,
a college of cardinals. a Catholic Church court, condemned them,         wisely, and courageously with this threatening and dangerous
repudiated thliem, and excommunicated them, and, so far as they          Roman Catholic political question, he will in all probability be
coul, consigned their souls to hell.                                     reelected in 1932. But if he dallies and plays with it, the issue
   What happened? One of them was the editor of a paper in               in 1932 will not be a political question submitted by two political
Rhode Island, Degnault, and in that decree rendered by a for-            parties, but it will be the question of Roman Catholic control
eign potentate, while the case was pendling in the United States,         of the Government of the United States.         Mr. President, I am
where American citizens had a right to have the case tried and            hoping that Mr. Hoover will not be deceived, misled, or con-
settled, they said that that American citizen's paper must not            trolled by that insidious and dangerous influence in the United
he published another day, and ordered Catholics not to support            States.
it. All this in the face of our constitutional provision which              Mr. President, that is all I care to say to-day.
says that no citizen can be deprived of his property without due            Mr. BROOKHART and Mr. BINGHAM addressed the Chair.
process of law. I brought tlihat to your attention, and not one             The PRESIDING OFFICER (Mr. FESS in the chair). The
of you commented on it.                                                   Senator from Iowa.
   Again, I say, what are we coming to in the capital of this               Mr. BINGHAM. Will the Senator from Iowa yield to me for
Republic? Here were American citizens induced by a bishop                 about five minutes?
and priest of their church to bow down and give them money,                 Mr. BROOKHART.        It will take me just about five minutes,
and then when it was not spent for the purposes they said they           when I myself will be through.
wanted it for, these men wanted to go into an American court               The PRESIDING OFFICER.                The Senator from Iowa will
of justice, and the Catholic bishop and priest took the case out         proceed.
of court, as it were, and carried it over to Rome and tried it in                          FEDERAL     OFFICES   IN   GEORGIA
a foreign country, condemned those citizens, insulted our flag,                                                                             to
                                                                            Mr. BROOKHART.           Mr.   President, I desire especially
challenged our sovereignty, and you have not discussed it yet in
I his body.                                                               call the attention of the Senator from Georgia [Mr. GEORGE]
   Wlat is it that causes that situation to exist here? Put none         to the investigation of post-officgepatronage in some of tie
but Americans on guard! will again become a slogan in the                Southern States. He was the author of the resolution under
United States. You are going to hear more of that from now               which the subcommittee of which I am chairman have been
on until tils question is settled.                                       acting. We have found some things that fully warranted the
   I know what they think they can do. They think they can               investigation in several of the States.       As we have proceeded
fool many of you and continue to deceive you and deceive the             withi the investigation from time to time, incidentally we have
folks at home until they get strong enough to do to you what             touched upon Federal patronage generally. There seems to be
Mussolini did to Italy the other day.        What did that Post          quite as bad a condition there as with reference to post offices.
editorial say?       It said that illItaly Protestants will not be       This morning, from the State of Texas, a strong suggestion
allowed to carry on their religious propaganda. Do you know              came to tie conmnittee to investigate Federal patronage gen-
what tlhat means?                                                        erally. Of course thet committee ihas no authority to do so, as
   Religious liberty in Italy lies dead at the feet of Mussolini,        the resolution was passed, but the Senator from Georgia had an
the cowardly dictator. The Greek Orthodox Church can not                 original resolution that would have been broad enough before
carry on as of yore. The Jewish people can not do It. And                it was amended. I wanted to ask him if there would be any
yet all of those nonr-Catholic religious groups are taxed to pay         move made to enlarge thie authority in that regard?
tile salaries of tileRoman Catholic priests of Italy.                       Mr. GEORGE. Mr. President, if the Senator will yield to
                                                                         me---
   The concordat itself provides that non-Catholic churches can
not carry on their religious propagianda. Do Senators know                  Mr. BROOKHART.        Certainly.
whait tlhitneaniis? It mIeans that they can not invite a man or             Mur. GEORGE. The resolution to which the Senator has
woman to join their church. They can not praise their church             referred was introduced in the name of my colleague and
and what it stands for and the good it lhasdone and is doing.            myself jointly. At the time of the introduction of the resolu-
They can creel) in and crouch1   in their churches-that is, those        tion it directed inquiry into the distribution of Federal patron-
who aire already menmbers-under leave or permit of the Catholic          age generally and the use of money to influence appointment to
      rand they can whisper their petitions to God; but they can
PI'opI.                                                                  Federal office generally.     The resolution was confined to tihe
not tell anybody about it and try to get them to join their              State of Georgia; that is, it directed the inquiry to be made in
church or they will lie lashed with thie whip of Catholic per-           that State. The suggestion was made that if the investigation
secution in thie    hands   of the tyrant Mussolini.                     were confined to an inquiry into the appointment of postmasters
   Senators, last year I read to you from a book printed recently        and carriers there would be no opposition offered. I accepted
inl tie United States by Doctor Ryan. He is an appointee of              the suggestion and agreed to the resolution as reported out
tihe Catholic Pope and king right now. He is the Catholic                by the Committee on Post Offices and Post Roads for the reason
king's dean of the Catholic University here in Washington.               that postal appointments in the State of Georgia were the ones
Ile wrote this book called " State and Church," and in it he said        in which we were primarily interested, and contented myself




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with an investigation of postal appointments about which I had   above the American flag. The Senate expressed its belief at
reliable information. On the floor of the Senate the resolution  that time that there was nothing derogatory in the slightest
was amended so as to extend the inquiry into all States; that    degree to our love of our country by doing as we have done for
 is to say, it was so ameunded as not to confine or limit the    a great many years and acknowledging, by placing the church
investigation to the State of Georgia.                           pennant above the flag, that we were at that moment engaged in
                                                                 worshiping the Supreme Being.
   I have kept as closely in touch with the committee's investiga-
tion as possible. The Senator from Iowa has now stated to          Mr. President, the Senator from Alabama has accused some
 the Senate that in the investigation thus far made the com-     of us of cowardice because we have not hitherto spoken on this
mittee is constantly developing the use of money or at least     matter and I am not sure but what personally, so far as I
developing evidence which would tend to show that the same       myself am concerned, he is right. Repeatedly, when listening to
practices have gone on with reference to Federal patronage       his arguments, which are intended to stir up religious bigotry
generally as I originally said was the case and as my colleague  in this country-
and I knew to be the case in Georgia in postal appointments.       Mr. HEFLIN. I deny that.
   I have no information outside of the evidence the committee     Mr. BINGHAM. I am glad to hear the Senator say that.
has developed touching other offices, but I shall be glad to       Mr. HEFLIN. I denounce it as incorrect, inaccurate, and
amend the resolution and ask that the investigation be extended  untrue.
to the use of money and exactions made of appointees to Fed-       Mr. BINGHAM. Very well, Mr. President, I withdraw it.
eral office generally.                                           Instead of saying "intended to stir up religious bigotry," I
   Mr. WALSH of Massachusetts. Mr. President-                    will say arguments which do stir up religious bigotry. I did
   The PRESIDING OFFICER. Does the Senator from Iowa             not intend to use the phrase which I did use in the sense in
yield to the Senator from Massachusetts?                         which he took it, and I apologize to the Senator for implying
   Mr. BROOKHART. I yield.                                       that he intended to do that. I ask his pardon.
   Mr. WALSH of Massachusetts. I think the Committee to            The fact remains, Mr. President, however, that speeches of
Audit and Control the Contingent Expenses of the Senate re-      that kind do stir up the feeling of people who are not familiar
ported this morning a resolution extending the time of the       with all the circumstances; they arouse those passions in the
present committee to make the investigation to which the Sen-    human breast which from time immemorial have led to bloody
ator refers.                                                     conflicts, produced the most disgraceful pages in human his-
   Mr. GEORGE. I understand so, but the committee is con-        tory, and led to a misunderstanding of the nature of man and
fined under the resolution to inquiries into postal appointments.of his religion.
   Mr. WALSH of Massachusetts. So I understand.                    Mr. President, I am a Protestant; I come of a long line of
   Mr. GEORGE. The chairman of the subcommittee [Mr.             Protestants; so far as I know, none of my ancestors since the
BROOKHART] has called the attention to the fact that in their    Reformation has been anything but a Protestant. There are
investigation they have discovered evidence tending to show that no members of my family who are not Protestants. Further-
the same practices and condition exist in other instances out-   more, I am a Mason. The Senator from Alabama has fre-
side the scope of the committee's authority. I shall be pleased  quently referred to the Masonic order. I believe in that order,
to reintroduce the resolution making it broad enough to cover    and I believe that it has accomplished a great deal of good.
the whole field, but I must say that the resolution as originallyAs a Protestant, as a Mason, Mr. President, and as a Senator
introduced was based upon facts or what we believed to be the    of the United States, I wish to protest against the use of this
facts in postal matters particularly. The splendid service of    forum for the stirring up of religious hatred in this country;
the committee thus far rendered justifies the grant of the       and I wish to adjure those not within the sound of my voice
                                                                   but who read the pages of the CONGRESSIONAL RECORD, and who
additional power suggested.                                        have been influenced by the speeches of the Senator from Ala-
                        THE AMERICAN FLAG                          bama, to believe that the great majority on the floor of this
   Mr. BINGHAM. Mr. President, when the Senator from Iowa Senate, as I know from personal conversation, are not in accord
 [Mr. BROOKHART] declined to yield to me a few moments ago I with the sentiments expressed by the Senator from Alabama,
felt a little annoyance that there was no opportunity to reply and do not believe that he should use this floor for the purposes
immediately to the long address of my very good friend, the for which he has just used it.
distinguished Senator from Alabama [Mr. HEFnLN]. But in              Mr. HEFLIN. Mr. President, I challenge the Senator from
view of the colloquy which has just ensued between the Senator Connecticut to meet me in joint debate in the auditorium in this
from Iowa [Mr. BROOKHART], the Senator from Georgia [Mr. city sometime during the month of March. We will then dis-
GEORGE], and the Senator from Massachusetts [Mr. WALSH], I cuss the question of the propriety of the discussions of the kind
do not know but that it was a very fortunate thing that the that I have made here-the matter of calling to the attention of
Senator from Iowa did not yield to me. Now, those who read the Senate and the country the dangers that threaten American
the RECORD may see that the effect of this long tirade against liberty, the dangers that threaten religious freedom in the
those who believe in a religion different from that of my friend United States, and the question of denying to any State through
from Alabama was not to arouse the Senate to anything more its Senators the right to bring to this forum any question that
than a consideration of post-office matters and was not taken affects the welfare; the highest and best interests of the Ameri-
seriously.                                                         can people. I challenge the Senator from Connecticut to meet
   Mr. President, the people of the United States who read the me in debate on that subject. We will control the matter of
REcoRD are sometimes at a loss to know why, when a long seating the audience, and at the conclusion of our speeches we
argument has been presented with great vehemence on a certain well let the audience decide whether or not an American Sena-
matter, there is no reply to it. Many of them are led to believe tor is still permitted to discuss anything in the Senate of the
that it is because there is no reply, and they are confirmed in United States that is offensive to the Roman Catholic hierarchy,
their belief that what has been said is unanswerable.              the political machine of the Roman Catholic Church.
   Mr. President, I rose to say that in the first place I have the   I challenge the Senator from Connecticut to answer my speech
very kindliest feeling personally for the Senator from Alabama. here. He has not answered my speech; he has not even started
As a citizen and as a Member of the Senate I am very fond of to answer it. He has proved what I said throughout my speech,
him. But I regret extremely to see him led astray, as he was that there is always somebody to get up and defend that side.
this morning, by a misinterpretation of a simple act that has When they have not got a Roman Catholic to do it, they get
been performed in the Navy out of respect to Almighty God for some Protestant to do it. There are some mighty weak-kneed
a great many years and without the slightest regard for any Protestants around this country, and there are some mighty
particular branch of the Christian religion or any denomination. weak-kneed Masons.
   The Senator from Alabama by continually repeating it has          We have another evil under the sun. I told Senators a
come to believe sincerely that the church pennant used for nearly moment ago about how they treated American citizens in Rhode
100 years in the Navy is the Roman Catholic flag. That is not Island. They took them out of an American courthouse and
the case any more than that any other pennant in the Navy, carried them to Rome and tried them in their absence. They
which may resemble a foreign flag in its color or its arrange- did not take them, but they took their names in their absence
ment, is a foreign flag. The church pennant is a pennant raised and tried them before a foreign potentate. They punished them,
by the Navy to show that there is on board that ship a service they took them away from an American court, and came right
of divine worship, which may be Protestant or Catholic. It is back here during Al Smith's campaign when people were circu-
a Navy flag and not a church flag.                                 lating what purported to be the oath of the Knights of Colum-
   It is not a Roman Catholic flag. It is for that reason that bus, submitted in a contested election in the House of Repre-
so large a majority of the Senators the other day voted against sentatives. I was a Member of that body in 1913 when it was
the wishes of the Senator from Alabama as an indication of printed in the CONGRESSIONAL RECORD. People were circulating
their belief that he was mistaken. No one in the Senate would it and stating where it came from; but busy Catholic politicians
vote to put the pennant or flag of any particular denomination prosecuted them and took them before Catholic judges in the




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United States who inflicted punishment on them for circulating        because if nobody has spoken to him he has done this of his
that oath. So they are playing both ends against the middle;          own accord, and I am disappointed in him.
they are taking our citizens over to Rome to try them when the           Mr. BINGHAM. Mr. President, it does not take four or five
church wants it done, and when they have got a case that the          thousand letters to induce me to make a speech. If I believe
church can not reach, they bring it into the American courts and      there is anything going on that is wrong, I stand it as long as I
 nmake our courts carry out the edict of the political machine of     can, and then, at the risk of bringing down the wrath of my
the Catholic Church. What is that done for? That is done to           friend the Senator from Alabama on my head I say what I
scare anybody to death when Al Smith runs again and keep              have to say in a few words. I say again that I feel it is wrong
threm from circulating that oath.                                     to use this forum to stir up religious hatred.
   An American judge-think of it-convicting a man on the                 Mr. HEFLIN. Mr. President, I am not doing that; if I know
statement of three Masons-and I myself am a thirty-second             my own heart such a thing is foreign to my purpose. I have no
degree Mason and a Shriner-convicting a man on a statement            desire to do that. I am calling attention to a question that
of three Masonns-poor, pitiful fellows-who said they had              vitally affects all loyal Americans, a question which the Senator
examined the books of the Knights of Columbus and that oath           from Connecticut will have to meet in his own State, and
was not their oath. Think of that! On that evidence American          every Senator in this body will have to meet in the future, and
citizens who are Protestants are convicted and put in the peni-       the best interest of the country demands that they should meet
tentiary or lodged in jail because they circulated something they     it. I am responsible for what I am saying. I am doing my
got out of the CONoGaE.SIONAL RECORD, and which was submitted         duty as I see it, and I have no apology to make to anybody.
 in an election contest in the State of Pennsylvania.                    The Senator's lecture amounts to this: That hereafter when
    Mr. President, what the Senator from Connecticut has stated       I want to make a speech I must submit it to him or to some of
 is a forerunner of what will happen when more men whom the           those who influence him, so that they may tell me whether or
 Catholics can control get into this body. He has voiced the sen-     not it is appropriate or permissible to say it. We know that is
 timents of a few who, somehow, consciously or unconsciously,         the parliamentary system and practice in vogue in Italy. A
 are under that influence. The Senator may not know it, but his       man can not even run for office in Italy without getting Mus-
 Masonry does not shine very clearly here to-day. I am not            solini's 0. K.
 invoking it. It is a lofty order. George Washington was a               No member of Parliament there can rise and speak against
Master Mason. The members of his staff were Masons. Many              Mussolini and his beastly and inhuman program. If he an-
 of those who followed him in the Continental Army were Masons.       tagonizes Mussolini, he loses his head.
lie laid the corner stone of this Capitol as a Mason. I have had         Now, here comes an effort to destroy free speech in the
 the trowel in my hand which he used; I have sat in the chair         United States Senate. I challenge the Senator from Con-
 that he occupied as worshipful master; I have seen his Masonic       necticut to put it to an issue in the Senate as to whether it is
 jewel, God bless it, and I have reveled in all the things they       improper to discuss the political activities of the Roman Cath-
 stood for who were Masons. The thing I talked about to you           olic hierarchy or church in the United States Senate when
 to-day was the killing of Masons in Italy, and the Senator from      they do things detrimental to religious liberty-the liberty of
 Connecticut comes to the rescue. One hundred and thirty-seven        the citizen and the welfare of the American Republic. I am
 Masons were murdered in one night by Mussolini's Fascisti mob.       willing for the Senator to put it to a test, and I will have a
 The grand master of the Italian Masons is in prison now.             roll call and let every Senator who wants to vote to kill free
 Masonry is dead in Italy; that is, they will not permit them to      speech in this body at the behest of the Roman Catholics go
 assemble and have their meetings. Think of that, Senators of         on record.
 the United States !                                                     I challenge the Senator from Connecticut to answer that
   The Senator from Connecticut suggests that he is tired of my       article which I had read from the New Leader of New York
using this forum to give our people warning of what is to come        about Fascist activities in the United States.
here. What has happened in Italy? What has happened in                   I challenge him to answer that editorial from the Washington
 Mexico? What is now happening in Spain? They are perse-              Post which says that in Italy now the Protestants can not
cuting Masons in Spain to-day; they have some of the most             carry on general religious propaganda, nor can the Jews and
prominent Masons in Spain behind prison bars, and, before God,        the Orthodox Greeks. I challenge him to answer my state-
 with their hands lifted up, they say they do not know why they       ment about what occurred in a sister State to his State, namely,
are in prison. And the Senator from Connecticut invokes his           Rhode Island, where 300 American citizens, Catholics, if you
Masonry to deliver a lecture to me. I spurn that kind of              please, are lashed by the political power of the Roman Catholic
Masonry. That sort of Masonry--                                       Church, and in doing it they assaulted and repudiated the
   Mr. BINGHAM. Mr. President, I think I have sat still about         American flag. Have I got to desist and refrain from telling
long enough listening to the Senator charging me with invoking        these truths here? You can not get a big national newspaper
Masonry against him and accusing me of not defending this,            to publish them. Mr. President, did you not hear that letter
that, and the other. I have listened to the Senator very patiently    read from that former newspaper reporter? He said, "I am
now for a long time. I did not accuse him of doing anything           no longer in the newspaper business, and I can speak frankly."
except using this floor for the purpose of making a speech that          My God! What a pitiful thing is the hampering of an able and
would inspire religious hatreds.                                      courageous newspaper man! Some of them are fearless and
   Mr. HEFLIN. The Senator said he was getting tired of what          honest and clean and will not be controlled. Many of them are
I was doing in my right as a Senator from my State, and I             absolutely controlled. They shape their creed to their cravings
resent it. I have a right to say what I want to say, if I do not      and swallow their American convictions for Roman dollars.
transgress the rules and am responsible to my people, and I am.       This man said, "I am now free, and I can speak my mind "; and
I thought the Senator would be sorry that he went as far as           he is appealing to me to bring this matter to the attention of
he did.                                                               patriotic Protestants in America, and I am doing it, and bringing
   Mr. BINGHAM. Mr. President, I am not sorry at all; but I           it to the attention of patriotic Jews and Italians. And now the
regret that the Senator insists on making misstatements, let          Senator from Connecticut rises and says he is getting weary of
me say while the Senator is so kind as to suffer an interruption      these discussions that involve the political activities of Roman
in his speech.                                                        Catholics, which activities, I think, are harmful to the United
   Mr. HEFLIN. I suffer it.                                           States.
   Mr. BINGHAM. Mr. President, we all have suffered this                 Mr. President, I brought to the attention of the Senate last
morning.                                                              year a periodical mailed to every Senator here. It was written
   Mr. IIEFLIN. We are going to suffer more-some of us.               by a Catholic priest, in which he told these Senators how the
   Mr. BINGHAM. The Senator has implied, in the first place,          Roman Catholics suppressed a free press right here in this
that somebody asked me to do this. In that he is incorrect, be-       Capital City.
cause I have stood it as long as I could stand it and spoke of           When a white girl in a Catholic Good Shepherd Home was
my own volition. I speak as an American whose family have             killed and a local newspaper demanded an investigation, this
lived here since the beginning of the settlement of America,          priest boasted in that article that they organized the Catholics
since the earliest days of the arrival of the Pilgrims. My people     of Washington to destroy the paper; that they sent a message to
have believed in religious liberty and in freedom to other re-        every news stand in the city that if they handled that paper any
ligions and to worship God unhampered and unashamed in                more they would boycott everything they sold. They boasted
public. I trust the Senator will desist from his effort to stir       that they sent their Catholic agents to merchants in Washing-
up further bad feeling among those who do not understand this         ton-Protestants and Jews and everybody-and told them that
situation, but who may think because the Senator is not an-           if they advertised in that paper they would punish them by not
swered more often by other Senators that they agree with what         trading with them. Finally they wound up by saying, " In three
he has to say.                                                        weeks' time we had reduced the subscribers 40 per cent, and the
   Mr. HEFLIN. The Senator says that nobody has spoken to             newspaper's representative came to us and told us if we would
him, and I accept his statement; but that makes his case worse,       let up they would never publish anything else that was ob-




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jectionable to the Catholics." Think of that, if you please.            Mr. President, the Senator suggests that this is not the Roman
There is your free press killed in the capital that George Wash-     cross. I assert that it is. Why, even this little pudding-headed,
ington founded, where Thomas Jefferson lived and announced           mush-mouth Japan representative, Frederic William Willensky,
his philosophy of political and religious freedom that will live     known now as Frederick William Wile, admits that it is the
until time shall fold his weary wings and lay his scepter down-      Latin cross. I do not know who told that muttonhead about it,
that is, if we have men who are not afraid to speak, who can         but he admits that it is the Latin cross; and others writing to
be permitted to speak without being censured and lectured as         me say that it is the cross of St. George, and he was a Catholic,
the Senator from Connecticut has undertaken to do with me            of course. I said that all of our churches had never agreed on
here to-day.                                                         any particular pennant; but that was not the question. The
   How will that read in the CONGRESSIONAL RECORD? Why, the          question was whether you would even fly that pennant some-
people back home will say, "Instead of trying to scold and lec-      where else instead of over the American flag, and you chose to
ture Senator HEr1 N you should take his speech up line by line,      fly it over the flag, instead of letting the same pennant be flown
subject by subject, and answer him if you can"; and that is          at another place when religious services were being held. You
what I challenge him to do. I challenge any other Senator here       can not get away from this issue; and I challenge you to meet
who takes issue with me to do it. You accomplish nothing by          me in debate on it. Come out in the open, and bare your breast,
trying to lecture me, and in telling me that I am stirring up        and fight like a man! If I am wrong, answer me at the judg-
religious prejudice. That does not get you anywhere.                 ment bar of this body, and at the judgment bar of the American
   Why, this forum is about the only place now left where we         people. Do not stand up and whine like a child and say, "I
can discuss this and all other questions. You have not heard a       wish he would quit and let this question alone. I have been
speech made on this subject in the House. You have not seen a        here a long time." Yes; some of you have been here too long
vigorous attack made on these efforts to destroy America in a        and much longer than you are going to be here. [Laughter.]
single daily newspaper except the Fellowship Forum and the              Mr. President, I had a conversation with a retired naval
New Age, the Protestant, the Menace, the Rail-splitter, and such     officer. I said, "How did this custom start anyhow?" He
papers as those, that are not afraid. You do not see it.             said, "They used to fly a pennant alongside the flag; sometimes
   I told you about that priest's article, where he boasted how      they flew it under the flag," and his recollection was that three
they had practically destroyed that paper in Washington, when        Roman Catholic chaplains suggested flying it above the flag,
the manager of the paper apologized. So they frighten the            and there it is, and there is where you voted the other day
papers to death; and now, if you fix it so that a Senator can not    to keep it.
bring these things to the attention of the Senate, it will be only      No wonder you are getting tired of it! You are like the
a little while until they can do with this Government what           negro in my State who was being tried before old Judge
Mussolini did the other day with the Italian Government when         Carmichael. The judge was winding up the docket on Friday
he betrayed it into the hands of the political machine that has      afternoon, so that he could go home on the late afternoon
wrecked every government where it has had controlling power.         train. He thought he had sentenced all of those that had been
   Mr. President, I invite the Senator from Connecticut to read      convicted. Turning the docket leaves, lie looked down there
the pages of history. Read the brief history of the Popes of all     and saw a little negro humped up, and lie said, " Yes, yes, yes "-
time. Read how they have intrigued to overthrow one king             the old judge talked in a rather positive but peculiar way--he
and put in another king, how they have become the political          said, " Yes, yes, yes; stand up there! What have you got to say
masters, how the people have risen up and overthrown them,           why the sentence of the law should not be pronounced on
how bloodshed and murder have followed, how the people's             you?" He said, "Nothing, jedge, except I ain't been convicted
rule has been destroyed, how governments have gone down under        of nothing yit." "Oh, yes; that's right," the judge said; " the
their blighting, deadening touch; and here in this great, free       jury is out on your case now." He said, " Well, Sam, you
western world, America-the greatest Government of all the            and I might dispose of this thing while we are here all alone.
tide of time, a Government that ought to stand for all time as       What would you like to do?" Sam said, "Jest betwixt us,
a light upon the mountain, that other governments might see          Judge, I would like to drap it right where it is." [Laughter.]
its good works and be constrained to follow in its footsteps-           And that is what the Senator from Connecticut would like to
some are getting up and daring to suggest in this Chamber that       do. Drop it where it is, when Mussolini's agents are working
free speech be suppressed; that a ban be put upon the speech         like bees through the United States to-day; while his Fascist
of a Senator who makes a suggestion that is not approved by          leaders here are wiring him allegiance and congratulations on
the Roman Catholic priests who sit in yonder gallery.                 his betrayal of the Italian Government. But I am told we
   Mr. President, I welcome that challenge from this Republican      must not discuss these things in the Senate, because some-
Senator from New England [Mr. BINGHAM]. If he wants to               body-that means some Roman Catholic-will be offended.
put that question to the test, let him do it; and we will take       Away with that talk! Let us talk about anything and every-
it to the country next year in the election of every Republican       thing here that concerns the safety and well-being of this
and Democratic Senator who goes out before the people and             Republic. If anything is said here that is not true, if any argu-
asks to have his commission renewed. Free speech throttled            ment is made here that is not sound, let somebody, for truth's
in the Senate? Nobody but puny political weaklings suggest            sake, have the courage to stand up and try to answer it, and not
such things. They are people who can not stand up against             dodge and evade by trying to deliver a lecture to the man who
the truth; who can not stand up in the fierce light of history.       made the speech. Let the American people who read this
They must flee and run to cover. Some are like the lightning          RECORD pass judgment on the question. We are their servants,
bug that flashes its little lantern in the night time, and, when      and this is their Government.
the sun rises in the morning folds its wings and crawls into a           Mr. WALSH of Massachusetts subsequently said: Mr. Presi-
dark place under a piece of bark on a dark and decaying log.          dent, I request, without comment but for the purpose of having
Come out in the open and discuss this question with me! I             the truth known on the subject, to have printed in the RECORD
will discuss this question with the Senator in the Auditorium         following the debate of this morning an interview given to Mrs.
here in Washington in the month of March, and we will let the         George F. Richards, one of the most reliable members of the
people here decide whether we will suppress free speech in            Senate press gallery, by Chief Chaplain Dickins, of the Navy,
this body on this subject.                                            explaining the use and custom of displaying the chaplain's flag
   O, Mr. President, if the suggestion to suppress free speech        during religious service.
here is not enough to arouse every American patriot, what               The PRESIDING OFFICER. Is there objection?
would it take to do it-when they can not even answer the                There being no objection, the article was ordered to be printed
ponderous facts that are set out in that New York paper, the          in the RECORD, as follows:
New Leader, and the statement in the Washington Post, and the
                                                                     NAVY   WORSHIP   FLAG   DEFINED-CIIIEF CHAPLAIN,   DENYINO   PENNANT   IS
facts revealed in those letters, one of them from a retired naval
                                                                       SYMBOL OF SECT, POINTS OUT PIACTICAL PURPOSE SERVED--GIVES      INFOR-
officer, and get up and say, "Mr. President, I am getting tired
                                                                       MATION TO OTHER VESSELS
of having these matters discussed here. They are liable to stir
up religious feeling." You ought to put an apron and a bon-                              (Special dispatch to the Gazette)
net on such a fellow and make him queen of the festival.               WASHINGTON,     February 8.-The Navy Department made clear the
[Laughter.]                                                          status of the church flag used on United States ships during the holding
   Why, you would not even hear such a feeble suggestion like        of a religious service on board. Chief Chaplain Dickins, of the Navy,
that coming from a women's sewing circle. The women are              said:
with me in this fight. Thank God, they are doing good service.          "The church pennant of the Navy is not the pennant of any church
Men and women throughout the country may suffer for a time           or denomination. It is absolutely nonsectarian and undenominational.
the affliction of having men here who. are afraid to speak for       It flies only during divine service and indicates to near-by ships and
them, but it is not long until they can change that situation.       other vessels that religious worship is being conducted on board and




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that nil persons should conduct themselves accordingly, to the end that                                 UNITED   STATES FLAGSHIP   HARTFORD,
tihe service may not be interrupted.                                                                    Off the City of New Orleans, April 26, 1862.
    " Thus it serves a practical purpose. It flies on a separate halyard       Eleven o'clock this morning is the hour appointed for all officers
from the American flag, which is lowered about 2 feet from the top of       and crews of the fleet to return thanks to Almighty God for His great
the staff. At the end of the service the church pennant is drawn down.      goodness and mercy in permitting us to pass through the events of the
    " The H!ne church pennant of white with a blue Latin cross is flown     last two days with so little loss of life and blood.
 luring all religious services, whether the clerygman conducting the           At that hour the church pennant will be hoisted on every vessel of
service is a priest of the Ioman Catholic Church, a Presbyterian min-       the fleet and their crews assembled will, in humiliation and prayer,
ister, or a rabli. That it is entirely nonsectarian is proved by the fact   make their final acknowledgment therefor to the Great Dispenser of all
that the Corps of Army Chaplains is composed of members of every one        human events.
of the recognized major rcligious denominations. At present the corps                                                          D. G. FARRAGUT,
co,inprises N8menmlirs, of whom 11 are Roman Catholics, 18 Presby-                                Flag Officer, Western Gulf Blockading Squadron.
terl.ins, 15 Methodists. 10 Episcopalians, 2 Congregationalists, 2 Lutheran,   This certainly establishes the use of the church pennant without any
4 Disciples of Christ. 2 Christians, 1 Reform, and 3 rabbis. All con-       question back to that date, but the fact that the pennant was a part
duct services under the same flag according to their own church customs.    of the ship's allowance of every vessel in the fleet and that its use
    "All first-class lnttleships and some cruisers carry chaplains, and theywas so commonly known, indicates that the custom is not a new one.
are Ilso stationed at all foreign stations, where they use the same flag    In a French book of flags, published in 1850, we find among the cuts
and carry out the frnms of worship of their own church.                     of flags of the United States the church pennant exactly as we have it
    "Tlle claim that tie Navy church pennant is the symbol of any           to-day.
specific denomination is absolutely without foundation."                       Desirable as it might be, were we to attempt to trace the origin of
                                                              RICHARDS.
                                                                            the many customs which color our life of to-day, that attempt would
                                                                            end in mystery. So general have they been-even though far-reaching in
    Mr. IIAWES subsequently said: Mr. President, we have had their effect-no one has thought it necessary in the past to carefully
some more discussion this morning of the flag. For my own in- set down the reason or origin of these customs. So it is with the use
formation, and to secure tie proper historical background of the of the church pennant in the Navy. In the pioneer days of our Navy.
 pennant which has been used in the Navy for so many years, I much as we probably disliked and distrusted our mother country, we
communicated with the chief of chaplains of the Navy, Capt. did incorporate many of her naval customs in our naval service, too
C. II. Dickins, who has served the Navy in that capacity for numerous to mention in this communication, but one of them undoubt-
over 20 years. I ask that his letter to me be inserted in the edly was the use of the church pennant, and its use has been so much
body of the ItEcoRn,                                                        a matter of common knowledge as not to need statement of origin.
    There being no object ion, the letter was ordered to be printed            Before 1836, when we find the first mention of the church pennant.
in the RECORD, as follows:                                                  I doubt if there were many regulations of any kind in the service;
                                                                            consequently it should not be considered strange that explicit instruc-
                                         NAVY DEPARTMINT,                   tions have not been written in our naval logs relative to the church
                                             BURFAU OF NAVIGATION,          pennant and its use, for the same point might be raised regarding many
                                    Washington, D. C., February 11, 1929.   other happenings or customs in the Navy. It should be considered
    MY l):AIa SE:NATOR: In response to your telephone message asking for sufficient to establish the fact that the use of the church pennant in
 as speciic information as possible relative to the church pennant used the Navy is of very early origin in our service, due to the fact that
 in the United States Navy, I am herein sending you all the definite in- it was well known as far back as 1836, and again was spoken of by
 formation I have been able to secure after two years of research.          Admiral Farragut, showing its position of importance in connection with
    The United States Navy church pennant, the meaning of which, and divine service in the Navy.
origin, and its use, which seems to have been the subject of so much           When a United States naval vessel is at sea, in company with other
discussion for and against, is a white triangular field charged with a vessels of the fleet, or at anchor in port, on Sunday morning, church
 blue Latin cross (this Is not a Roman cross). Its length is three times call is usually sounded at 10 o'clock, and immediately the Stars and
that of its perpendicular height. The blue cross in length is one-third Stripes are lowered just sufficiently to permit the church pennant to be
 thel length of tie pennant, and the total width of the cross one-half of run to the peak over it, and there it remains until the completion of
 this length. The ordinary pennant is 6 feet in length and 2 feet in divine service when it is run down and the Stars and Stripes are again
 width; therefore, tile blue cross would be 2 feet in length and 1 foot run to the peak of the flagstaff as before. This is the only service in
in width.                                                                   connection with which the church pennant is hoisted. When a funeral
                                                                            occurs on board the church pennant is not used. The Stars and Stripes
    According to tle Navy Code and Signal Book, this pennant " is to be
                                                                            are half-masted and remain so during the service and until the body has
 hoisted at tile peak or flagstaff at the time of commencing, and kept
                                                                            left the ship or has been buried at sea, when the colors are then run to
   olisled during the continuance of divine service on board vessels of the
                                                                            the peak. If a United States vessel is operating alone at sea and not
Navy." This cross is not, nor has it ever been, the distinct copyrighted
                                                                            in sight of other vessels, neither the United States colors or the church
 property of any denomination, but has been used for many centuries
                                                                            pennant are hoisted. The service is simply carried on without these
 by tile great Christian family throughout the world. The oriental or
                                                                            outward evidences.
(ireek cross used by the Eastern Orthodox Church differs from the Latin
                                                                               To quiet the misunderstandings and misconstructions being placed
cross in that the arms and staff are of equal length, and is known to upon this church pennant by overzealous, though perhaps seriously
 us in America In this form as the Red Cross, which, of course, was minded, members of Protestant Christianity, it may be interesting to
 copied from the cross used by Switzerland.
                                                                            note that this pennant had long been in use In the United States Navy
    After careful research, I am of the opinion that the church pennant by Protestant chaplains prior to the appointment of the first Romani
 used In tihe Unllcd States Navy was copied somewhat from the church Catholic chaplain in 1888. This chaplain was the Rev. Charles ii.
flag in the British Navy. T'he British church pennant in use to-day Parks. He was the first Roman Catholic chaplain to be appointed in
differs from the American church pennant In the following particulars:      the United States Navy, and it is my belief that for over 80 years prior
 It is triangular in shape, similar to ours. In the first third of the to this appointment our treasured church pennant had been in use In
pennant is placed the cross of St. George, and the other two-thirds the Navy. It may also be interesting to note in connection with this
of hle pennant is broken up into three horizontal bars of red, white, that the first chaplain regularly commissioned in the United States
and blue. During divine service on board a British man-of-war this Navy was the Rev. William Balch, a Congregationalist. He received
church pennant is run up alongside the Union Jack at the stern of the his commission, No. 1 In the Chaplains' Corps, in 1799, and I have
ship or is flown from the peak, In practice somewhat similar to our no doubt the church pennant was flung to the breeze during the time
own, with (lte exception that the Union Jack of the British Navy is of his holding divine service.
not lowered.                                                                   As Chief of Chaplains attached to the Bureau of Navigation, Navy
    Thle tradition reglarding the use of thie church pennant carries us Department, Washington, D. C., a clergyman of the Episcopal Church
back to the organization of the Navy. I have been unable to discover who has seen service in the Navy for over 30 years, I feel a deep sense
any instructions, regulations, or references relative to the church pen- of gratitude to the gentlemen of the Senate who, during this past week,
nant prior to 1816. In 1836 the church pennant is mentioned as one definitely Indicated their stand in regard to the perpetuity of tlhie
of the articles making up a ship's allowance list, and this is again simple Christian acknowledgment-the display of the church pennant--
mentioncd in 18.14. From that time on there is practically no reference     of our dependence upon Almighty God, through His Son Jesus Christ.
to thle church pennant up till 1868, when in tile Code and Signal. Man- To-day its use may be somewhat governed by old naval custom, but
ual of the Navy it definitely states what evidently had been the practice it is my earnest hope that the day be not far distant when-if it be
of the Navy for many years prior to that, i. e., that "the church thought necessary to allay all feeling of misunderstanding-definite
penniant shall be flown above the national ensign during divine service." action shall be taken by the Congress to perpetually provide for the
    One of the earliest definite references in regard to the display of use of this simple acknowledgment of our dependence upon the great
the church pennant Is that found in an order issued by Admiral Far- Architect of the Universe in both branches of our military service, and
ragut, as follows:                                                          to assure our millions of Christian people that this cross-emblazoned




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flag is not the flag of any foreign potentate or any creed or race, but   country where the land is of such character as to require but
simply an evidence that we all are believers in and followers of the      very small fertilization.
Man of Galilee.                                                              There is another limitation which is of material importance
   Long may it wave and point us to the way of a better and holler        to the people concerned. It applies to all crops except tobacco
living in lls name!                                                       and cotton, and as to all other crops of whatsoever chlaracter
        Sincerely yours,                                                  only $3 an acre can be loaned under the amnendentit of the
                                                      C. H. DICKINS,      House to the joint resolution.
                       Captain, Chaplain Corps, United States Nary.          Florida. probably of all the States involved, was the greatest
  Hon. I. B. IIAwES,                                                      sufferer. Florida probably suffered more from the storms of
    United States Senate, Washington, D. C.                               last year than did any State in the Mississippi from Ihe terrible
          WAR MINERALS RELIEF ACT        (S.   DOC.    NO.   224)         flood that swept over the lower reaches of that great streanm.
                                                                          In one sec.tion of Florida not only were the crops utterly de-
  Mr. ODDIE. Mr. President, at the first session of the pres-
                                                                          stroyed hut I think in that particular section over a hundredl
ent Congress the junior Senator from Georgia [Mr. GEORGE]
submitted a resolution, Senate Resolution 263, calling on the             people were drowned. I will ask the Senator from Florida if
                                                                          I amicorrect about that.
Department of the Interior for copies of the rules, regulations,             Mr. FLETCIIER. Mr. President, over 2,000 people were
and promulgations followed by the Department of the Interior              drowned.
in the administration of "An act to provide relief in cases of
contracts connected with the prosecution of the war and for                  Mr. SIMMONS. In the State.
other purposes," which I had the honor of introducing and                    Mr. FLETCHER. Il that section.
which was approved as amended on March 2, 1919. I now ask                    Mr. SIMMONS. Over 2,000. It was worse than I thought
that the rules, regulations, and promulgations which have been            it was.
furnished by the Department of the Interior in response to said              Mr. FLETCHER. If the Senator will allow me, under tlhe
resolution be printed as a Senate document.                               provisions of this measure I can not see how any possible
   The PRESIDING OFFICER. Is there objection?                             benefit can come to the people of Florida. Certainly, when
   Mr. JONES. Mr. President, this looks like quite an extensive           it comes to providing nursery stock for groves that were devas-
document. Has the Senator any estimate as to what the cost                tated, and fertilizer and seed for potatoes, and other crops $3 anl
will be? As I understand, there is some limit as to the cost of           acre will not be worth anything, because it does not provide
printing.                                                                 anything near enough.
   Mr. ODDIE. It is not extensive. It is just as it came from                Mr. SIMMONS. Three dollars per acre for potatoes would
the Department of the Interior. It will be of great benefit in            hardly be more than one-tenth of the cost of the seed.
The presentation of these claims to the district court.                      Mr. FLETCHER. Precisely. If the Senator will allow me
   Mr. JONES. I have no objection to it, except that I know               further, I want to say that I can not see, to be perfectly frank
lhere is a limit of about $200 on the cost of these matters. If           about it, that this joint resolution is worth three cents to the
it will cost more than that, it will have to go to the Joint Com-         people of Florida. I do not believe it is worth anything. I do
mittee on Printing, I understand.                                         not think a single loan will be made in the State under it. I
   Mr. ODDIE. If that is found to be the case, I will bring               think we are in the attitude of asking Federal aid and getting
the matter before the committee. I hope that the order can be             nothing absolutely, and we are in the attitude of having re-
given now to have the matter printed as a Senate document.                ceived Federal aid or some consideration from Congress, be-
   The PRESIDING OFFICER. Without objection, it is so                     cause of the great disaster that visited our section, and getting
ordered.                                                                  nothing absolutely. I would rather not have taken any step
                           GILLIAM   GRISSOM                              whatever looking to any Federal relief than to have had this
   Mr. SIMMONS. I ask unanimous consent, out of order, to re-             sort of performance.
port back favorably, without amendment, from the Committee                  Mr. SIMMONS. I spoke in reference to Florida because the
on Finance, Senate bill 2695, for the relief of Gilliam Grissom.          whole country knows that Florida was the greatest sufferer
1 send the bill to the desk and ask unanimous consent for its             among all the States mentioned in the joint resolution, and
immediate consideration.                                                  it was the conditions existing in Florida, I think, more than
   The PRESIDING OFFICER. Without objection, the report                   anything else that led us almost unanimously in the Senate
will he received. Is there objection to the present consideration         to agree to an authorization of an appropriation of $15,000,000
of the bill?                                                              for the relief of Florida and two or three other States near by.
   Mr. JONES. If it will not lead to debate I have no objec-              The House has cut the amount down to $6,000,000.
tion.                                                                       Florida is a State in which very little tobacco and very
   Mr. SIMMONS. It will lead to no debate. It is just a small             little cotton is raised. The people there can not get tie benefit
matter.                                                                   of the $8 per acre. They raise vegetables and fruit, and $3 an
   There being no objection, the Senate, as in Committee of the           acre, as I have said, would probably not amount to more than
Whole, proceeded to consider the bill, which was read, as fol-            one-tenth of the cost of the fertilizer and seeds. So, as the
lows :                                                                    Senator from Florida has said, I am quite sure that that
   Be it enacted, etc., That the Comptroller General of the United States State will get no benefit from the joint resolution.
is hereby authorized and directed to allow credit In the account of          So far as my State is concerned, it is chiefly the tobacco
Collector of Internal Revenue Gllliam Grissom, North Carolina district, growers who are interested, and     they can get no benefit from tile
in the sum of $567.63 to cover disallowance due to overpayment of joint resolution, because the cost of the fertilizer and seeds for
subsistence to Deputy Collector A. S. Mitchell, which was incurred In tobacco would reach probably not less than $35 an acre. Thlat
the months of March, April, May, June, and July, 1926.                    is a crop that has to be highly fertilized. They can get only
                                                                          $8, just about one-fourth of the actual cost of the seed and the
   The bill was reported to the Senate without amendment, or- fertilizer.
dered to be engrossed for a third reading, read the third time,              In order to get that amount they have to give the Govern-
and passed.                                                               ment a first lien upon their crops, making it difficult, certainly
                       RELIEF OF STORM SUFFERERS                          very much more diflicult, for thlen to make additional advances
   Mr. SIMMONS. Mr. President, I wish to advert to a notice I for the other three-fourths of the cost of seeds and fertilizer,
gave a few days ago of a motion to reconsider the vote by which and making it difficult for them to get advances to supply their
the Senate agreed to certain House amendments to Senate families while they are making the crop.
Joint Resolution 182, providing for certain farm relief in the               The people who are to be benefited by this are supposed to
Southern Atlantic States.                                                 have lost their crops last year. They are mostly poor people
   I have not changed my opinion with reference to those and they must have help, not only in the matter of fertilizers
amendments, which I think were inadvertently agreed to by and seeds but they must have help in order to secure the neces-
the Senate. I think they so emasculate the resolution as it sary means of living during the year.
passed the Senate as will make it practically of no benefit to               In my State I am quite sure there will be but few, if any,
the sufferers whom it is intended to relieve.                             applications for aid under the measure. But I am told that in
   The more I have considered the matter the worse I have South Carolina, and probably in Georgia and Alabama, where
found it to be. For instance, one of the amendments provides they plant cotton extensively, where they do not have to ferti-
for a limitation of the amount which may be loaned for fer- lize very heavily, the resolution may be of benefit, and that
tilizer and seeds for cotton and tobacco to the meager sum of appeals to me, because I know they suffered there greatly. But
$8 per acre. That will not pay one-half or one-third of the more than that, I am told, Mr. President, and am convinced
expense of seeds and fertilizers for tobacco. It might possibly after pretty thorough Investigation that if the joint resolution
pay the expense of fertilizer for cotton in that section of the should be reconsidered and recommitted to the conference com-
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miti e. the House would refuse to recede from its position, and             chiefly by the lovers of birds, but its economic value to the country at
there would lie no legislation of any kind upon this subject.               large should not be overlooked. As it stands the measure justifies all
    Respondinlg to the appeals of some Senators who represent               delay in its enactment.
cotton States, where, they say, the people may get some benefit,                              NATIONAL INSTITUTE OF HEALTH
I lm constrainedt l to witlhdraw     y motion for a reconsideration
                                                                              Mr. RANSDELL. Mr. President, I wish to call the attention
of t(li vote of tiheSenate agreeing to the House amendments to
                                                                            of the Senate very briefly to two extremely interesting edi-
the jo(int resolution which passed through this body for the
relicfe of le sufll'erers in the Soulll
                                     I Atlantic section.                    torials in support of Senate bill 4518, to create a national insti-
   'e    l'RESID)ING OFFICER. The motion will be withdrawn.
                                                                            tute of health.    One of them :ppears in tihe New York           H-erald-
                                                                            Tribune o(f yesterday, and the other appears in the Boston
                       MfORA.TOR Y il T11)
                                       URI.YES                              Transcript of yesterday. They are brief, and I wish to read
                                                                            the extracts from both of them. The first is as follows:
     Mr. DILL. AMr. l'residenti, a few days ago there appeared in
the Washington Star a news item to the effect that Dr. E. Gil-                                   FOR FEDERAL HEALTH     RESEARCH
 hert Pl'(crs.oi. of New York, president of the National Associa-              The only obstacle to passing the Ransdell bill for the creation of a
tion of Aintaliihn Socieli(s. liid gone to the White House with             national institute of health seems to be senatorial inertia. It is pos-
   hie Sten:tor frmni South Dakota [MIr. NORBECKi and Repre-                sible that Senators are bored with the voluminous indorsements of the
 sentatlive\   A Ni;in,SEN illthe interest of the migratory bird bill,      measure by distinguished men of science and by medical and other
and lthe article weal onito set out the great interest tlie Audubon         organizations. Few bills of any description have had such a wealth
 Societies liad iln that legislation, and it would give the impres-         of expert backing. The institute proposal might have come to a vote
sioin I(btl the(: societies hadl been supporting this kind of legis-        before this if there had been anything in it to excite serious opposition.
latilii all the til -e.                                                        The plan is to enlarge the present Hygienic Laboratory in Washing-
   The truth of the matter is that the billwhich the Audubon                ton to a national health institute, under the control of the Surgeon Gen-
societlis iand th :affiliatli d orgalnizlations tried to cause Con-         eral, " which shall be devoted to scientific research in the problems of
gress to pass \:as a billwhich would have made out of the bird              the diseases of man and matters pertaining to health." Such expendi-
refuges parks to lie used for the slaughter of the birds that               ture as may be necessary for this purpose is authorized. Also the
liid gatherei      ihll t1ie refuges.                                       Treasury Department is authorized to accept gifts unconditionally for
     The hill which came to the Senate provided for a license on            study, investigation, and research by the institute. Another provision
every hunlter ill America who wanted to shoot migratory birds,              is for a system of fellowships in scientific research by which the insti-
  iond also provided tIhat a part of the grounds which were set             tute may encourage men and women of marked proficiency in research
aside for the birds to have as refuges could be used as places for          relating to disease.
slunghter. It was only through the efforts of soime of us in the               Scarcely a dissenting voice has been raised against this program to
Senlate who held uil the bill and fought those provisions of the            enable the Government to promote human health as sedulously as it
hill until they were finally eliminiated, much to the discomfort            does that of animals and plants.
ail to lhe displeasure of our colleagues, that it was made pos-
sible )to    have a rceal migratory bird law enacted.                          I call that sentence particularly to the attention of all Sen-
     I wanted lo say this because I did not wish anyone to get the          ators :
impression that the real migratory-hird legislation that has                   To promote human health as sedulously as it does that of animals
pa:ssed (Congress was due to the efforts of the Audubon societies           and plants. The scheme calls for no new bureau; it is to use existing
or those affiliated with them, particularly the gun manufacturers           Government machinery more fruitfully than heretofore. One or two
and the ammunition makers of this country, who had primarily                Senators have pricked up their ears with quite valid curiosity at the
in mind 1(i1 amount of guns and ammunition they would sell                  indefinite cost of the institute, supposing that private donors do not
Is a result of it.                                                          come forward. Secretary Mellon, however, who finds the principles of
     I'lelhill which lhas finally passed the Congress is a real con-        the Ransdell bill wholly meritorious, has heard from the Bureau of the
servation measure, a measure which I am proud to have had                   Budget that " the proposed legislation is not in conflict with the finan-
some part iin laving passed; but had the other bill passed that             cial program of the President." The Senate has a heap of business on
was suppoirted by those societies, particularly the Audubon                 hand, but it would take only a few minutes to pass this much-com-
societies. I s1h(ould have )been ashamed that the Government                mended bill for the Federal advancement of health research.
would slpend money or would use its offices in that way.                       Senators, that editorial is from the Herald-Tribune of New
  I ask unanimous consent to have printed in the RECORD at this
                                                                            York City, one of the greatest newspapers in the country.
point an editorial from the Washington Post, under date of                     Now I wish to read briefly from an editorial which appeared
February 14, 1929, on this subject.                                         in the Boston Transcript of yesterday afternoon. It is entitled
  The PRESIDING OFFICER. Is there objection?
                                                                            "Why Should Congress Delay?" and reads as follows:
  There being no objection, the article was ordered to be
printed in the REcoRD, as follows:                                             Surgeon General Hugh S. Cumming, of the United States Public
                                                                            Health Service, has warned the country that, although the influenza
                            BIRD   PROTECTION
                                                                            epidemic appears to have abated, its return may be expected, and it
   Delay in gelling legislation through Congress is generally conceded to   may prove more virulent than before. Deaths from cancer show no
be one of the necessary evils of representative government. But the         signs of diminution, pneumonia is taking its toll about as usual, and
tendency to prolong debate and to hold up measures with amendments          many other deadly scourges are cutting off men and women in their
and reconsideration Is not always to the disadvantage of the public.        prime because science has not yet uncovered the secret of their source.
The bill for the protection of migratory birds which has finally been       Yet the Ransdell bill for the establishment of a national institute of
approved by the Senate offers an example of delay justified by what was     health, which encounters no opposition whatever, except from one west-
aecompllished.                                                              ern senator, noted as an objector on general principles, hangs fire in the
   For years Congress has been considering this subject without being       United States Senate, and, in fact, has not yet found a place on the
able to ag'ree upon any measure. In the controversy the objectionable       calendar.
features of the bill have been elimlnated, and It will become a law for
the ipreservation of wild-bird life rather than a regulatory measure for       Of course that is a slight error. It is on the calendar, but we
shooting grioundls. Manufacturers of guns and munitions have been           have not yet been able to get it up for consideration.
trying to drive through Congress a bill in the interest of hunters, and        It is unanimously reported from the Committee on Commerce, and it
not fir the protection of birds. Congress has done well to substitute a     Is indorsed by the Secretary of the Treasury, within whose jurisdiction
plan for establishment of sanctuaries in place of a scheme to regulate      the administration of the institution would fall.
slaughter of wild life.                                                        This measure aims to prevent disease by authorizing, without creating
  Thlehill authorizes the Secretary of Agriculture to acquire inviolable    any new bureaus or commissions, a great cooperative scientific organiza-
sanctuaries for migratory birds and to develop these areas with the         tion. under the direction of the Surgeon General, which will bring
cooperation of local authorities. Birds will not only be protected from     together leading experts in every branch of science, for the study of
hunters in these refuges but precaution will be taken against pollution     disease and the application of preventive measures in advance of its
of water about breeding places, and dikes will be constructed to provide    outbreak.
suitable environment for aquatic birds. The Department of Agriculture
                                                                               Senators, think how important that is-the study of disease
plans to establish at least 125 sanctuaries, with at least 1 in every
                                                                            and the application of preventive measures in advance of the
Slate. Expenses of this program will be met with appropriations
                                                                            outbreak.
amounting to $200.000 for 1931, $600,000 for 1932, and $1,000,000 for
each of the seven succeeding years. Present plans call for completion of       Its three main provisions would utilize the Public Health Service for
the preserves within 10 years.                                              much broader researches than are now possible and enlarge the Hygienic
  Such protection is much needed in this country. Several imtportant        Laboratory, authorize acceptance by the Treasury Department of private
species of birds which once Inhabited America are now extinct, and          gifts for the furtherance of the study of disease, and institute a system
others are seriously threatened. The movement has been supported            of fellowships in scientific research, for the purpose of securing the most




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efficient personnel. It contemplates a national drive against disease and    'shrouded her griefs in a smile,' but now at the moment of victory she
for health, along the broadest possible lines and with the most efficient      wept when her heart was the gladdest.' Then she rejoined the others
equipment.                                                                   as they went around the little chapel, over the lawn, under the drooping
   It seems strange, with the country continually visited with costly        moss-fringed live oaks to the waiting friends of the outside world."
epidemics, that Congress should hesitate to enact, or even to consider,          Senator RANSDELL'S work in building a national institution which has
this subject, when a measure so admirably framed and so unanimously          mastered leprosy is enough monument to achievement for any one life.
favored should lie under its hand. Especially is this true when it is        It gives him the right to a place among the great who have made the
recalled that the Democratic party is formally committed to support of       world better by having lived.
this project, through a plank in its platform adopted at Houston last           He is now pleading with Congress to pass Senate bill No. 451S, the
June, and is in duty bound to see that the measure is brought up for         purpose of which is to create a national institute of heallh. Every citi-
action. An attempt to place the bill on the calendar will be made next       zen ought to read the bill and Senator RANSDEI.L's clear, forcible speech
Monday, we understand, and it would seem to be assured backing enough        in the RECORD of February 6. The purpose of this bill is to put the
to find a place there.                                                       brains and money of the Government behind a national organization to
  And this is the concluding sentence:                                       preserve the health of the people. This is a work beyond the means of
                                                                             local governments and private hospitals.
  Congress can hardly afford to assume the responsibility of trifling           It is more important than tariff, prohibition, primaries. cruisers, farm
with the public health.                                                      relief, flood control. Boulder Dam, or the oil scandal. When science can
    Mr. President and Senators, if we do not pass the bill at the            master smallpox, tuberculosis, and leprosy, what is not possible with
 present session, in my judgment we will be trifling with the                brains, organization, and money? The governments of the earth 20
public health.                                                               years ago would have gladly given billions for what the world now
    Mr. NEELY. Mr. President, I ask unanimous consent that                   knows of tuberculosis, leprosy, diphtheria, and hookworm.
 there may be printed in the RECORD al editorial from the                       Rockefeller's contribution to mankind is an outstanding service which
Charleston Gazette, entitled "National Health Institute," and I              shows not only a good heart but a comprehending mind. Experiments
call particular attention to the paragraph in the editorial in               with disease must follow causes and effects, even to the ends of the
which a former Member of this body, Hon. William E. Chilton,                 earth. Such work requires life work, consecrated devotion and purpose,
expresses his appreciation of the great work the senior Senator              and a purse that has no bottom. Rockefeller has contributed to human-
from Louisiana [Mr. RANSDELL] is doing in behalf of the health               ity in his efforts to master disease sums beyond the ability of cities,
of the people, reading as follows:                                           counties, and States, and many times more than any other one person
    Senator RANSDELL'S work in building a national institution which         who has ever lived. Yet his greatest contribution is the lesson how to go
 has mastered leprosy is enough monument to achievement for any one          about health work to get results. But what he has done will be at the
life. It gives him the right to a place among the great who have made        disposal of the national institute of health. All sanitariums, hospitals,
the world better by having lived.                                            and public and private institutions to cure and prevent disease can be
    He is now pleading with Congress to pass Senate bill 4518. the           in touch with this institute. It will become the object of tlie inter,st
purpose of which is to create a national institute of health. Every          and affection of the people. The United States has conquered leprosy,
citizen ought to read the bill and Senator RANSDELL'S clear, forcible        tuberculosis, and other dread diseases largely through the philanthropy
speech in the RECOaD of February 6. The purpose of this bill is to put       of private citizens, chief among whom is Rockefeller. What an instru-
 the brains and money of the Government behind a national organization       ment of peace! How much more so when the smaller nations, and the
 to preserve the health of the people. This is a work beyond the means       larger ones in the East, who suffer so much from diseases which tiey
of local governments and private hospitals.                                  can not master will point to the United States as the fiverciful benefactor
                                                                             of mankind, which has created a health institute which defies the worl
    I ask that the entire editorial may be printed in the RECORD.            " incurable." To have the United States occupy such a position, to have
    The PRESIDING OFFICER. Without objection, the edi-                       it within the scope of its constitutional powers the benevohlnt friend
torial will be printed in the RECORD, as requested.                          and protector, the intelligent investigator and powerful quarantine
   The editorial is as follows:                                              guard against disease, is a noble ambition.
      [From the Charleston (W. Va.) Gazette February 15, 1929]                  Private capital and private institutions may not be enduring. The
                      NATIONAL IEALTH INSTITUTE
                                                                             work of preserving health and preventing disease is never eing, andi a
                                                                             nation whose wealth is four hundred billions has even the selfish interest
     We have in mind a public servant whose name is not as much on the       in doing this work in the only effective way possible.
  front page as others, though he has the ability to put it there when so
 disposed.                                                                                AMENDMENT OF NATIONAL PROHIBITION ACT

     It is Senator JOSEPH E. RANSDELL, of Louisiana, who has been con-          The Senate, as in Committee of the Whole, resumed the con-
  tinuously in public life for many years. Modestly he has performed his     sideration of the bill (S. 2901) to amend the national prohibi-
 duties, caring little for the limelight. But few things of great impor-     tion act as amended and supplemented, the pending question
 lance get through to the President's signature to which he has not con-     being on the first amendment of the Committee on the Judiciary,
 tributed something useful in the way of investigation and thought.          on page 1, line 3, after the word " prescribed," to insert "in a
 When he speaks in the Senate his colleagues know that his words come        criminal prosecution," so as to read:
 from an honest heart and a trained mind ever seeking the truth, and
                                                                                That wherever a penalty or penalties are prescribed in a criminal
 that he is truly devoted to the cause of justice and to the public good.
                                                                             prosecution by the national prohibition act, as amended and supple-
     The other day he read to the Senate a letter from Dr. C. P. Munday,
                                                                             mented, for the illegal manufacture, sale, transportation, importation,
of the Carville Leprosarium. Do you know what and where that is?
                                                                             or exportation of intoxicating liquor, as defined by section 1, Title II, of
 Unfortunately few do. It is in Louisiana. It was hard to find a place
                                                                             the national prohibition act, the penalty imposed for each such offense
 to locate a sanitarium for the dreaded leper that, 1,900 years ago, all
                                                                             shall be a fine not to exceed $10,000 or imprisonment not to exceed
 feared to touch save Jesus.
                                                                             five years, or both.
     But through the work of Senator RANSDELL his State turned over the
 leper refuge, which the State of Louisiana, in the breadth of its Chris-       Mr. BLEASE. Mr. President, on yesterday I made a few re-
 tian spirit, has provided, to the Federal Government. There the Govern-     marks with reference to the bill now pending before the Senate.
 ment proceeded to study this disease which has baffled the medical pro-      I did not want to encroach at that time upon te time of tlle
 fession through the centuries of civilization. By the slow, tedious          Senator from Connecticut [Mr. BINGHAM], but I wish now to re-
 processes of experiment a cure has been found in chaulmoogra oil. The       pet what I said at that time in reference to the extraordinarily
 results have been as astounding as they are gratifying. Forty-two vice      severe penalties provided in the bill. I want to cite an instance
tims have been discharged as cured and but one had to be returned for         that may possibly give some information to those who are press-
 further treatment.                                                          ing the prohibitin proposition
                                                                                                  ition      to the extent they are now doing.
     The letter of Doctor Munday is really a report on the work of this         In the State of South Carolina there was established in the
 leprosarium. There is deep human interest in the following selection        nineties what was known as the State dispensary system for
 from that letter:                                                           the handling of intoxicating liquors. In my opinion that is the
     "One bright Sunday morning late last summer eight of the patients       best solution that has ever been offered to man upon this ques-
at Carville, the largest number paroled at one time in the 34 years of       tion. I shall not say why at this time, nor shall I discuss the
the colony's history, packed their simple belongings, made their religious   reason for its destruction further than to say that at the time
devotion, bade their gallant colony friends farewell, and began a joyous     it was adopted it was very bitterly opposed by a certain ele-
little procession of departure. One who had come as a young girl 33          ment of people in my State.
years before, who had been away but one short week in those long, near-         There was a riot in one of the counties because of the manner
hopeless years, turned aside to say farewell words to the medical officer    in which the law was enforced. Tile governor of the State at
in charge. She bore scars of a brave fight against relentless disease, but   that time, who was afterwards United States Senator Tillman,
her face held a light of joy no actress could hope to simulate as she        ordered out the State militia to protect the men who were sent
tried vainly to make mere words express her gratitude. In the lines of       to enforce the law. Several of the militia companies declined to
Father Ryan, poet-priest of the Southland, many times she had                go and gave up their commissions.           The farmers of the State




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voluntarily went to Columbia, formed themselves into organiza-          argument, "If you convict this man for carrying a half pint
tions anl announced themselves ready and prepared to defend             of liquor or for buying a quart of liquor, this judge will sentence
the law.                                                                him to the penitentiary for five years or can fine him $10,000,"
   As I :arld, Itwtween the militia, the enforcement officers, and      we are going to find meni sitting on juries in this country who
 certaiin Ieople in t(he State, there was a riot at Darlington,         are going to refuse to convict. So, instead of having the law
 S. (.. in which several people were injured and several killed.        regarded and upheld, as Senators think this bill will accom-
 But Ihat law becanme so popular in South Carolina that any man         plish, it is going to result in turning loose men who are guilty
 wlo rnn for oflice and did not say that le was in favor of tlhe        of violating the law.
 State dispensary system was easily defeated. Men in favor of              As I said yesterday, we have instances of that every day.
  (lhe law were elected governor, others were elected to other          In this city and all over the country juries go out, especially
Sltte offices, and others were sent to the United States Senate         in States where the judge passes the sentence and the jury has
andlo tothe body at the othler end of tlie Capitol. It was the most     not anything to do with it, and return with verdicts of acquittal
popular law I1ie State had.                                             when they know from the evidence tile man is guilty.
    When the proihibition-enforcement officers started to go into          I have actually known of cases where juries sent the foreman
private hlnmes they would search private homes; they would              out to ask the judge if they should convict a certain person
go into a lady's Iedlroom, go through her trunk, go through the         what would his.punishment be. Of course, the judge properly
wardrobes and hureLaus, throw everything around. They kept              sent the foreman back and said, " This is my prerogative and I
up that kind of enforcement until a revulsion of feeling resulted.      decline to say "; but I have known of a jury in such a case colm-
Ti'e Ienalties provided for violation of the law were similar           ing back with a verdict of not guilty after they had agreed tlat
to htose prov;ded in this iill. That fact, with one or two other        the man was guilty, because they did not propose to put a man
things. one (1o which I wish frankly to admit was that some of          who had committed merely some slight offense in the hands of
tlose in charge of the oflice became corrupt and resulted in that       a judge who would give him a very severe punishment.
law being ablsolutely abolishedl long before the advent of na-             I believe, Mr. President, that judges should have some dis-
Iional prohibition. Instead of being' the most popular law in           cretion; I am not saying anything against that; but I repeat
  lhe State, instead of people being ready to light to enforce it.      that if we go too far and make the penalties too severe we are
It actually ecanme a stench in the nostrils of the decent people        going to find guilty men deliberately turned loose by juries
of may State.                                                           because those juries do not propose to see the infliction of such
    I say lids simply to throw out a warning to those who are at-       heavy punishment.
temnpting to go too far. You may drive people after a while to             Mr. President, I am in favor of the prohibition law; it is all
resentnmiient.  I firmly believe that two-thirds of the crime in        right with me; and, to tell the truth, I do not see why anybody
the United States to-dayay ay be charged to resentment on the           makes a fuss about it, as conditions are at present. The man
part of the people beclause of the action of Congress and State         who does not want liquor does not have to have it, and the manl
legislatures in depriving them of their privileges and their            who wants it does not have any trouble in getting it. So I do
rights. Lawlessness is bred by oppression not only by State             not see what either side keeps on raising the devil about. It
legislatures but by tie National Congress. I repeat that I be-          seems to me that both sides ought to be satisfied. If anyone
lieve two-thirds of the c.rine in this country at present is tlhe       wants whisky, it is the easiest thing in the world I know of
rte.ult of resentment againlst the oppression which has been put        to get.
on thlen by( the passage of sunlptuayry laws and the punishment            Mr. TYDINGS. Where can you get it?
provided for their violation.                                              Mr. BLEASE. It is all around. The newspapers advertise
  Another thing, Mr. President.       Some Senator has stated that      every day where it is. They provide advertisements for the
 hlie judges will not take advantage of certain conditions. Well,       places where liquor may be obtained, the best advertisement of
they do take advantage of them. Judges are human; they have             which I know. I do not know of any better way to help the
t he same desires. the same passions, the same hates, and the           liquor traffic than to advertise in the newspapers that a drink
same   pri'judices   that other men have.    They can not help it.      can be bought in a certain place.
I will repeat what I     said   yesterday afternoon as to what may         Mr. TYIINGS. Mr. President, will the Senator permit me tin
lhapen in the case of two boys who are taken into court and             interrupt him?
convicted of I he same crime.                                              Mr. BLEASE. With pleasure.
   ( ne of' tliem has sloie influential friends; possibly he comes         Mr. TYDINGS. I want to say that if the names and addresses
from a go od family; somnehody is sorry for his good old mother.        of the particular places where liquor can be obtained should he
.I1il4g:s will permit men of influence, they will permit the friends    sufficiently, advertised, it would be one way to enforce prohibi-
of prisoners to co,e into their private chambers, into their            tion, because the supply would soon be depleted.
roomnas at the hotels, and will listen to pleas of mercy. Those            Mr. BLEASE. I wish to say to the Senator that, so far as I
frienis may say. " You should impose a light fine; you should let       am personally concerned, I would not report one of them if I
tlis mant otl with a small fine, or." they may say, "you should         saw a man selling it, delivering it, and taking the money. If I
let him o('f with a short sentence of imprisonment." The judgeis        go to a man's home or his store and he should give me a drink.
influenced by those st;ate,tents. I know it, and I have practiced       I would sever my right hand before I would be a low enough
in the criminal courts. If I shall live until next June it will be      dog to go out and tell it.
40 years since in tie practice of law I first defended a man for           I think the'lowest dog in the world is the man who will go
the couimmission of' a c'rime. I have practiced almost entirely         into another man's home and enjoy his hospitality-I do not
in the criminal court and tile damage-suit court. I have de-            care whether he is an officer or not-he is a low dog if he will
fended nien for every crime known to thie decalogue.                    eat a man's bread and then bite him. That is my individual
   Mr. WHEELER. Were they all guilty?                                   opinion, and I do not propose to report anybody for selling
   Mr. IHLEASE. They might have all Ieen guilty, but most of            liquor. As I have said, if I should see anyone selling it, I would
thnem were acquitted.                                                   not report him. That is not my job. I was sent up here to rep-
   On thlie olier liand, as to the other boy, who has nobody to         resent or try to represent the people of my State in the United
speak for him. who has not anybody to go to the judge and               States Senate. I was not sent up here to be a spy. If I were
put up ai private appeal, the judge, while he will be light on          down home, and saw anybody hauling liquor or selling it, 1
the boy whlo Ihas influence behind him, will give a severe sen-        would not tell on him, for that is none of my business, and I
tence to lthe little fellow who has no influence behind him. He         hope that a lot of Senators here would not take advantage of
will give iim a terrible raking over about having violated the          that kind of a situation, for if they should I am sure some of
law aind what an example he is going to make of him and how            the blind tigers would be in bad shape. [Laughter.]
lie is going to show people that the law must not be violated.             Mr. President, as I have said, I am in favor of the prohibi-
 'lThat boy goes off to the penitentiary possibly, while the other     tion law, and I am in favor of the strictest enforcement of it.
boy pays a very small fine.                                            I think if it were really strictly enforced as affecting white
   The same thing applies to the colored race in very many             people, black people, rich, and poor alike it would be only a
instances.   Colored   people are given severe sentences for com-      few years until we would see it repealed. That is the truth
mitl ing tihe very same crime for the commission of which a            about it. If the proper officials will enforce it against the foreign
white man is let off with a fine or a mild punishment, while, on       embassies, we will stop some people drinking who are afraid to
the contrary, the white man should receive tile heavier fine or        drink any liquor unless they get it from such places. They are
imprisonment because of tile fact that, with his opportunities         afraid to drink it unless it comes from there because they are
and advantages, lie should know better than to commit the              afraid that the kind made in bathtubs is not very good. There
of'ense that has been committed by the colored man.                    is another element who should not be permitted to have it, and
  We canl drive this law through, but, mark my prediction, that        that is the class who drink it and then get up and preach and
when 12 men in a jury room-12 ordinary human beings that               holler prohibition, all the time drinking in secret. It would stop
are picked up off tile- street and brought in from their occupa-       some other people who sit up in the amen corner of the churches
Lions-are told, as the lawyer has a right to tell them in his          and take a drink before they go to church and one or two after




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they get back from church, so that they may be able to stand         prison for a while to teach him a lesson and then giving him
the sermon. [Laughter.] Take theirs away from them, and by           another chance in life, some so-called Christians and some so-
the time all these classes become hitched together they would        called ministers of the gospel-God save the mark !--are just
repeal the law. But, of course, Mr. President, you know and          as deeply in the mire of these cruel practices as anybody else.
I know that the law is not fairly enforced. You know and I             Mr. COPELAND. Mr. President, will the Senator yield?
know that the big man has liquor whenever he wants it; th'e            The PRESIDING OFFICER. Does the Senator from South
rich man has his whenever he wants it, and it is only the poor       Carolina yield to the Senator from New York?
little fellow, the working man and the poor man, against whom          Mr. BLEASE. I de.
the Iiw is enforced. If they get a rich man in court charged           Mr. COPELAND. Is not the Senator concerned about the
with violating the law, they just let him pay a sufficient fine as   present situation among the young of our country? I am very
;I license and permit him to go on selling it. That is going on      much disturbed about this bill, because it leaves wholly in the
 ill over this country. The judge will fine him just about what      hands of the Federal judge the question of what he will do
the license would be.                                                with the prisoner. If we may depend upon the testimony of
    In some of our towns and cities, where the "blind tigers"        reliable persons. there are many school children in this city
are running, the police go and raid them perhaps once or twice       who are now indulging in the evils of strong drink.
in a~month and take those charged with the offense before the          Mr. BLEASE. That is true.
city court or some other court, where they are allowed to pay          Mr. COPELAND.        If one of these little girls or little boys
just about a sufficient fine to amount to a license and then are     should be arrested for unlawful possession of whisky under this
turned loose to go on with their business. What is the use of        law which is proposed, if the Federal judge were so inclined
deceiving ourselves about it?                                        he could send that child to prison for five years, or impose a line
    I say if we do not watch this bill, instead of providing what    of $10,000, which, of course, could not be paid. I can not believe
we think we are providing we will be simply making matters           that the ardent friends of prohibition can quite see the possible
worse. I do not believe that because a man commits a little          cruelties and inequalities and outrages that might be perpe-
crime he should be put in jail for the remainder of his life. I      trated by this law.
do not believe in the doctrine that because a man commits any          I join with the Senator; I would impose the greatest penalty
crime, with the exception of two or three, he ought to be put        that could be written into law upon the vile bootleggers who
in the penitentiary and kept there all his life.                     distribute poison to the people of the United Stales; but when
    Mr. TYDINGS. Mr. President, will the Senator yield?              I think about boys and girls in high school and boys and girls
    Mr. BLEASE. I yield.                                             in colleges and doctors who might have possession of whisky for
    Mr. TYDINGS. I should like to observe that sometimes we          the lawful practice of medicine, but yet not acquired under the
get a little out of balance in connection with the penalties         technicalities of the law, it is distressing to me to realize that
which the law provides. There have been some frauds com-             one of these children, one of these college students, or a physi-
mitted against the Government where millions of dollars have         cian could be sent to jail for five years if the judge were so
been stolen. In some cases the culprit has been convicted, and       inclined. I think we have lost our sense of perspective, if I
in a certain case was sentenced to two years in the peniten-         may say so to the Senator, in that we are imposing penalties
tiary, although he had been a highly respected official of the       which reach persons who ought not to be brought under the
United States Government. It seems to me that in formulating         operations of criminal law, and are failing in our legislation to
penalties for breach of the prohibition law we should take into      reach those evil persons who are bootlegging, and making for-
consideration the fact that the man who violates the prohibition     tunes out of the business, and killing persons by the hundred
law does not deprive someone else of his property, but usually       in our country.
it is a question between two individuals. Yet it seems to be            That is the view I take of the matter.
the tendency in this hour of turmoil to hang the man who                Mr. TYDINGS. Mr. President, will the Senator yield again?
violates the prohibition law, while one who robs the United             Mr. BLEASE. In just a minute.
States Government, who violates the obligations of high office          I thank the Senator from New York very much for his sug-
in the country, may only get a couple of years, and public           gestions. I had thought along the lines on which he has
opinion does not seem to care. It will be a big mistake if we        spoken; but I think probably I am a little bit old-timy, and I
are going to be influenced by the propaganda of a small group        do not care to discuss some of the things I see boys and girls
of people who really want to hang and shoot down and kill off        doing in this day and time.
those who violate the prohibition law.                                  When I was a boy, if I had seen a young lady take a drink
    For my part, while I shall vote for adequate law enforcement,    of whisky, I would have been astonished. If I had seen a young
I shall not vote for any law that is so uncivilized and so           lady light a cigarette and smoke it, I certainly never would
barbaric as to make a mere breach of a moral law, and not a          have associated with her any more. But times have changed.
legal wrong, punishable by an extreme penalty. It is a serious       I see a good many young ladies drinking whisky now. I was
reflection on the civilization of our country to have such laws      very much astonished recently in a certain hotel. A gentleman
as that on the statute books. I do not think we ought to listen      invited me to go up to his room with him. I did not know ex-
to different groups who are blinded in their fanaticism for the       actly what he wanted, but I had a pretty good idea, and I
enforcement of a single law, but should take into consideration      went up to his room with him. His wife was in there, one of
the enforcement of all the laws and not provide this penalty         his daughters was in there, and there were two other young
outside of the general penalties we provide.                         ladies attending college with his daughter who were in there.
    Mr. BLEASE. Mr. President, I do not expect to be tried for       To my utter astonishment and surprise, knowing the man as I
either murder or selling whisky, but if I had to be tried for        did, he set out a bottle of fine whisky, and his wife, his daugh-
either I should prefer to be tried for murder. If you go into        ter, those two young ladies, and lie all took a drink. I was
court and are tried for murder, you have some chance of being        surprised, but it only proved to me what the Senator from New
acquitted. If, however, you go into court and are indicted on a      York has just said.
liquor charge, it does not make any difference whether you are          I know another case recently where there was a dance in a
guilty or not, the very fact that that charge is brought against     hotel. Four girls from as good families as there are in Amer-
you makes you guilty in the eyes of some people, and there is an     ica before 1 o'clock in the morning were removed from that
influence and a prejudice around the courthouse trying to con-       ballroom because they were too drunk to dance. I can call
vict you whether you are guilty or not, driving you to the wall      names, but, of course, as I say, I am not going to do it; but I
every minute, trying to intimidate your attorney by telling him,     see that going on. Those girls, for instance, under this bill
"Oh, yes; you are defending blind tigers "; trying to influence      could have been dragged into court, and if some judge did not
the judge to charge the jury in the most extreme language he         like their father, or possibly if lie was prejudiced against young
could use for the purpose of convicting the defendant. On the        ladies taking' a drink, he could have sent them to the peni-
other hand, if you go into court charged with murder, nine-          tentiary for five years, which would have been an outrage not
tenths of the world sympathizes with you, and the longer the         only upon the law but upon decency and humanity.
dead man is dead the fewer friends he has and the easier it is         Mr. President, I did not rise for the purpose of discussing the
for you to get out. That is why lawyers plead for delay.             merits or demerits of the prohibition law.     If I wanted to see
    Everybody in this country knows that that is true, Mr. Presi-    guilty men acquitted, I would vote for this bill, because I be-
dent. As I said and repeat, I do not believe in putting men in       lieve, I repeat, that it is going to do more harm to the prohibi-
jail and treating them cruelly and being mean to them, even if       tion law than good, and that the result is going to be as I have
they are guilty of a crime. If they are guilty, I do not believe     stated, that men are going to be turned loose who otherwise
in giving them any extreme, harsh punishment. Every man in           would be convicted.
this country is made in the image of his God, and as long as           Mr. President, I have talked longer than I had intended to.
there is any part of that image of his God left there is some-       It has been with great pleasure, however, that I have been able
thing good in him. Instead of taking a man by the hand and           to yield to other Senators to have business in which they were
trying to help him to be a better man, possibly putting him in       interested transacted.




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   I was known in my State as a friend of the prisoner, and I                     our own people or the heathens? But you say our man has committed
aml proud that I was. I issued pardons and paroles to about                       a crime. Yes; and the very one you are sending your money to per-
1,755 prisoners in the four years I was Governor of South Caro-                   haps committed or helped murder and possibly helped eat one of our
lina, and if I could go back I would not change one act along                     own countrymen. It is easy to criticize; it is easy to talk; but if you
tlat line. I repeat, they deserve fair treatment, they deserve                    will look into your prisons, into your penitentiary, and into your chain
proper consideration; they shlould le reasonably punished, not                    gangs, and make personal inspection, as I have done, surely you will
only to reflormf tihem, but as a lesson to others.                                reach the conclusion that these are the people that were spoken of in
   I ask to have inserted as a part of my remarks three letters                   the expression "the least of these." They can sing, and rightly:
of trainsmittal of paroles and pardons to the Legislature of                                              "A charge to keep I have;
South Carolina during the years 1911, 1912, and 1913.                                                         A God to glorify;
   Thie I'llESIDIN(G OFF'ICE1.         Is there objection?                                                  A never-dying soul to save
   There being no objection, the matter was ordered to be                                                     And fit it for the sky."
pIrinted in tlie ItECO(ID, as follows:                                               If all men who are guilty of crime or of violating the statute laws
                         .LETTER O TRANSMITTAL                                    of our State were brought into court and tried, ah, gentlemen, men in
                                         STATE OF Son'TII   CAROLINA,             high places might be removed to prison cells. If God in His all-wise
                                                EXECUTIVE    DEPARTMENT.          providence, some dark night at the hour of 12, should let the broad sun-
 'To the Holnorable the Members of the State Senate of South Carolina.            light burst out with all its beauty upon the earth, what stumbling and
     (;I:NTI,EMEN : It being, by some constructions of thie constitution, my
                                                                                  Iustling there would le from dens of vice in order to keep the eyes of
                                                                                  man from seeing. Yet they are not deceiving God, and you know it.
duty to, ilake a: report' to you of thhe numberi of pardons, paroles, and
 (olnlllllt talions 'iveII hyI
                                                                                  But, we are taught, and wisely taught, to be as "wise as serpents and
                               '' during the yea;r, I take pleasure in accept-
                                                                                  as harmless as doves."
illn tlie coslsiruction of the constitution, which is, that I should make
                                                                                     I have been told-and it has been said by some little sniffling editors-
such 're,porl, iaiin I ilke tile greatest delight in saying that I have par-
                                                                                  that the gover      should
                                                                                                        nor not pay any attention to petitions. The Con-
donied. liparoled, iad co,im      edI.117 people during tile time that I have     stitution of our State, and of the United States, gives the people tie
bIe-n Go\',ernor of South Ca;rollna. Nothing has given me more genuine
                                                                                  right to petition, and no man, or set of men, have a right to deprive
 pleasure than tile privilege of exercising tlie power of forgiveness and of
                                                                                  them of o oppose that privilege, and I am one that believes that the
s:ying to dtown-trolldde humanity, "Arise, cast off your sllackles, look
                                                                                  governor is the servant of and not the boss of the people and that it is
 up, reimeimer tliht ther e is a God, and that there is a future; remember
   hliit yi a:re madie in ithei image of that God; remember that you have a       my dutyu to obey petitions, to obey the will of the people, and I expect to
soul ti, s:iave which was given to you by that God; I propose to give you         do so as long as I am governor, and I present to you here, in a short andt
anitlcher chance in life; I propose to give you another opportunity to            concise form, my reasons for granting the pardons, paroles, and commu-
                                                                                  tations I have. The original papers are all on file in my office. I most
nilmke a man of yourself, to make a good citizen for your State, and,
aiioe fall, tin olpportunity to save the soul which your God has given            respectfully ask of you and each of you that if there is any case in
you." I did this because I have been taught from my childhood, and I              which you are interested or in which you would like information, that
ha
 ivi   learned   morei   tholrougily among mankind,
                                                                                  you come to the office and it will be our pleasure to furnish you with
                                                      to be merciful,   and I
beliiefve fron     the dlepth of my soul that some time I, myself, must ask       all of the original documents. Possibly I have erred; but if so, it lias
for pardon, and I want it said to me, "Forl, inasmuch as you did it               been on the side of mercy. When you say to a man that he is paroled,
unito tie least of theIse, you did It also even unto me." Had the doctrine       you do not turn him loose upon the world, but you throw around hli
of forgiveness not been followed. how would many of the vilest of                 the very strongest of safeguards, because he knows that if he is not of
silnners In Lihl,l character have been forgiven and given the opportunity         good behavior, that if he commits another crime, he does not run the
to rise and becomn- such grand arid glorious characters?        Shall I for       risk of acquittal by jury; he knows that if he violates his parole he
one act in a young man's life c-ndemn him to an everlasting prison                must go back into prison and serve the remainder of the sentence.
cell--t       fittest type of an earthly hell? No, gentlemen, I believe          Therefore, in my opinion, it is better in many cases to have a man
firmly and strongly in the plan of salvation, and I believe that that plan       under a parole than to let him serve his full sentence, because If he is
Is based upon the forgivenenss of (od ; and, some who arc condemning             a bad man and serves his sentence he goes out into the world to do as
to-day the use of the parole       iand
                                      pardon, if it were not for the pardon-
                                                                                 he pleases, runs the risk of being caught again, has the opportunity to
ing power of God would themselves lie in hell. Some men go to their              employ counsel and go to the jury, and make a fight through the courts
churches and are ivited by tlheir mniilsters in the words, " Ye, who do          for his freedom; but, if he is under a parole, no such bright opportuni-
truly riepent of your sins and aIre in love and charity with your neighbor,      ties are before him. He must go at once and be reimprisoned, and this
comle forward."       ley go, and accept the communion of the Lord               makes him better and holds his evil passions in check.
Jesus Cthrist and pray at that altar, " Forgive us as we forgive those               Gentlemep, my record along this line has been made; I am going to
who tresplass against us," and, right then, if they had the power,               go before the people of my State, face to face, man to man, and give an
wouhll place their enemies in prison cells, or possibly would drive a            account of my stewardship, and if the people of this State are the
dagger into the breast of the man who is next to him, if they knew               Christians that they profess to be, I have no fear of the results; and.
thuat they would never be discovered.                                            if they are not Christians, I am very much mistaken in my knowledge of
    I love all mien (liut the ways of some I despise) ; although one may         my people. I fear no harm from the fact   f    tha t I have shown mercy to
have f:illen low. yet I love him. because he is one of God's children,           my fellow men, but I do expect a reward, not only here but hereafter,
and we all should gladly stoop to raise him and endeavor to make him             because I believe that there is a God; I believe that he is my God; I
better, show him tins error of his way, and give im      e the opportunity       believe that but for His help I would have never been Governor of
to go fortll andl do honor toertoGod, for o      r low he may have fallen        South Carolina. I will answer to Him for all my acts; to my people
 iheis madie in tile image of Ills God and there is something good in him.       for my acts as governor, and I have no apologies to make to any man
We go into our cliurches to-day and we hear the command-it is con-               or set of men for a single parole, pardon, or commutation that I have
tinuiilly drumnimed into our ears-" Do unto others as you would have             granted, for I place myself firmly upon the foundation that "Self-love
tinm dlo unto you." We hear it tllundered from the pulpits, " Love the           is the enemy of benevolence. It is far more noble to pardon than to he
Lord hly God with all thy heart and thy neighbor as thyself." We                 avenged. It is a part of the animal man to retaliate an injury. It is
 ire taught tlese doctrines and others of the Christian churches, and            only God and the sons of God that have the magnanimity to forgive."
yet sonic are so low after confessing these doctrines as to stand upon              And the constitution of my State, section 12, Article IV, which reads,
the street corners and other places and abuse that mian who shows                " He shall take care that the laws be faithfully executed in mercy."
mercy and wiho looks his God in the face and says, " Not tliat mercy                  " Some one committed a murder last night,
I would to others show, that mercy show to me; but that mercy I have                      But hundreds of thousands were kind,
to others silown, tliat mercy show to me."                                              For the wrong that is done is forever in sight,
    In my opinion there will he more souls in hell for hypocrisy than all                 To the good we are fearfully blind;
thile other crimes in the l)'calogue, and I firmly believe that there are               Some one deserted his children to-day,
mein in prison cells to-day who will enjoy the highest blessings of                       But millions of fathers are true;
heaven, while some living high and honorable, so called, here will be in                The bad deeds are not such a fearful array
liades for their treatment of their fellow beings in this world.                          Compared to the good that men do.
    You hear from your pulpits and from your platforms the cry,
 SIlelp the heathens; save the cannibals";: and yet when one helps a                  " Somebody stole from his brother last night,
fellow countlryman and attempts to give him another trial and bring                       But millions of honest men live;
out the good that is in him and give him another chance in life the                     Some one was killed in a murderous fight,
sime platform or pulpit slioiiter will yell, " Pardoning too many                         But thousands are glad to forgive
people" : but If you will give $100 to foreign missions, to be carried                  Their brothers the wrongs that were fancied or real;
into lands to tho(sse  whio know not, you will hear them shout, "Good!                    The crimes that we hear of each day
glory hialleluj.ilh. God loveth a cheerful giver."      We know the man                 Compared to the good deeds that we could reveal
here, our cltsest neighbor, and to which should we first lend help,                       Make not such a fearful array.




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     "I would answer the men who stand up and declare                         been loud-mouthed hollerers, "pardoning too many people," some had
         That the world is much given to vice,                                to change front or profess to have done so to keep also from going out.
       That the sum of man's crimes every day everywhere                         I said on the stump, " If you don't want people pardoned, don't sign
         Can't compare with man's sweet sacrifice,                            petitions; for if proper petitions are presented, I am going to turn more
       That for every black soul there are thousands pure white,              out, and you can't help It."
         The sum of the sinners is few.                                          I am still doing business at room No. 1, Statehouse, Columbia, S. C.,
       And I know in my heart that the world is all right                     and though it hurts some folks mighty bad. they can't help it.
         When I think of the good that men do."                                  Make some one else happy; why be grouchy, mean, stingy, selfish?
       Very respectfully,                                                     Wake up. man, and do something yourself and quit complaining about
                                             COL     L. BLEASE, Governor.     somebody else who is busy and moving forward in good deeds.
  COLUMBIA, S. C., January, 1912.                                             "Jest do your best and praise or blame that follers that counts just
                                                                                   the same.
                            I.ETTER OB TRANSMITTAL                              I've allus noticed grate success is mixed with trouble more or less.
                                         STATE OF SOUTH CAROLINA,               An' it's the man that does the best that gets more blame than all the
                                               ExECCUTIv DEPARTMENT.
                                                                                   rest."
 To the Honorable the Members of the State Senate of South Carolina:              Your constitution says, in speaking of the governor: " He shall take
    GENTLEMEN : Twelve months ago, when I stated in my message to you          care that the laws be faithfully executed in mercy," and I see and
 conveying the list of pardons, paroles, and commutations which I had          know of no grander way to apply this than to follow the rule, "That
 granted, "I take pleasure in accepting the construction of the constitu-      mercy I would to others show, that mercy show to me," but I reverse it
 tion, which is that I should make such report * * *," some people            somewhat, because I expect to say, when I appeal for mercy, " That
 criticized me by saying that I had to make such report to the general         mercy I have to others shown, that mercy show to me."
 assembly, and that that language in my message was useless.                      Your Code of Laws, Volume II, section 988, reads: " In any case
    I beg leave to call your attention, however, to section 11, Article IV,   that may be deemed proper by the governor, he may suspend sentence
 of the constitution, which reads: " It shall be his duty to report to the    or parole any prisoner upon such terms or conditions that he may
general assembly, at the next regular session thereafter, all pardons         deem just in the exercise of executive clemency." Now, with that sec-
 granted by him," and does not require of me to present any reasons for        tion of the statutes and the section just quoted from the constitution,
 the paroling, reprieving, or commuting any prisoner by me; but I set         it is a matter within the discretion of the governor as to how this
 forth then, as I am doing now, my reasons not only of the pardons, as        mercy shall be extended, and as to when he thinks it just and proper
 required by the constitution, but of the paroles, commutations, and re-      and upon what conditions the parole of a prisoner should be granted,
prieves, because I want all of my acts as Governor of South Carolina to       consequently, before any fair man or any gentleman will criticize the
 be known to the public; and, as I said then, I repeat now, I am not          governor of his State for exercising this discretion, he will first make
 afraid of them, for the indorsement which I received from 72,243 of my       himself acquainted with the facts and conditions upon which the parole
white fellow citizens is pretty strong proof of the fact that my adminis-     was granted, and not simply, from political prejudice, write an editorial
tration was indorsed, and if the machine had given me all the votes that      or preach a sermon, or stand on the street corner and criticize, when
 were cast for me, and my opponents had not used money, whisky, and           he knows nothing of the reasons governing the governor in performing
 intimidation, instead of being 72,243 it would have been at least 90,000,    the duties laid out for him so plainly under the constitution and the
 as I predicted at the beginning of the campaign, and as a very large         statute law of his State. But those who are blinded by prejudice, or
 number of my fellow citizens now believe, fully feeling that I was not       those who have a wicked and mean heart, for political purposes, proceed
given all of the votes which were cast for me besides the ones which          to condemn without knowing one thing of the conditions or one thing
were taken from me for the reasons just above mentioned.                      of the petitions, or one thing of the reasons governing the governor in
    I furthermore said in my said letter of transmittal: "I fear no harm      his acts. Hence, when the matter was presented to the people as a
from the fact that I have shown mercy to my fellow men, but I do              body, being a Christian people, they slapped the faces of those who
expect a reward not only here but hereafter, because I believe that there     from a malicious heart or political prejudices had maligned the gover-
is a God; I believe that lie is my God; I believe that but for His help       nor and said to him, "Well done, thou good and faithful servant, thou
I would have never been Governor of South Carolina." I was not dis-           shall be our ruler for two more years," and the other crowd sneaked
appointed, for my people gave me my reward-a second term as governor          into their holes and hollered "fraud," " fraud," and appointed a little
of my State-and I believe that my reward hereafter will come in due           committee to investigate. And it-the little committee-although very
season, for I still believe that only by the help of God Almighty could I     brazen at first, laid down their arms, quietly sneaked off to their homes
have won my first race, and I know positively that only by His help           and said. "Nothing doing," and the whole crowd feel cheaper and
could I have defeated the unholy organization that was formed against         meaner than if they had abided, as good Democrats should do, by the
me last summer by men of two different factions, which hated each other       majority and not made a laughing stock of themselves, not only in
then and who hate each other now, but were willing to lie down and             their own State but outside of it.
swap odors in order to defeat BLEASa.                                             Some people may say this is harsh language, that I ought not to use
    Think of it-many preachers, nearly all the newspapers of the State,       it; yet, the newspapers, notwithstanding the fact that after the pri-
the corporations; that is, the leading officials thereof; the lawyers,        mary election I sat quietly, said nothing, and took all that was
almost in a body; a large majority of the legislature; nearly all the         heaped Uilbn me, continued their abuse, their vituperation, and their
 State officials; a large majority of the delegates to the State conven-      slanders, and published with great headlines and great glee the mis-
 tion in May; all the moneyed interests; a large majority of the com-         representations of a speech that I made in Richmond, Va. Day after
 mercial travelers, commonly called "drummers"; some of the women,            day they carried articles copied from Yankee hoodlums and little news-
praying; some of the old-line so-called reformers; some of the old-line       paper pimps, and then when they were furnished with numbers of
 so-called conservatives; many of the IIaskellites; the Cubans; the           papers and offered hundreds of telegrams and letters commending the
 Spaniards and the mixed breeds; a majority of the State executive            course of the Governor of South Carolina, they absolutely failed and
 committee; a large majority of the county executive committee; and           refused to publish them; and, when other papers speak of the governor
 all of the election machinery-what a combination, and yet I beat it.         in disrespectful terms, without either saying " mister" or "governor"
 Therefore I know that God heard the prayers of myself and my friends;        but headline ' BLEASE "-for which I care nothing, because the people
 and I repeat that had it not been for Him I could not have won such          of the State have shown the newspapers that they make asses of them-
 a victory; and once again I sing "Praise God, from whom all bless-           selves when they bray and reelect to office those whom they fight-yet
 ings flow." And, as I said and repeat now, "I will answer to Him              even the News and Courier goes further; not content in striking me,
 for all my acts; to my people for my acts as governor; and I have no         they headline to the world "The Bleases," Including even my wife;
 apologies to make to any man or set of men for a single parole, pardon,      and yet people say that I should be quiet, should say nothing, be easy,
 or commutation that I have granted," or for a single act that I have          let it pass. Yes, gentlemen, I have let it pass, lo these many days, but
 done since I have been Governor of South Carolina, or for a single           how long before patience will cease to be a virtue is a matter that rests
 word I have spoken, whether in the State or outside of it, firmly be-        in the hands of my God.
 lieving that my pardon record for the past two years had more to                 Herewith I hand you a full statement of all the paroles, commuta-
 do with causing my reelection than any other one thing, because my            tions, reprieves, and pardons granted by me since my last message to the
 Heavenly Father has said that He would show mercy to those who                general assembly in January, 1912. If you are pleased with these
 themselves showed mercy, and my people, my friends, all over the              commutations, etc., I am pleased. If my friends arc pleased, I am
 State, when I would give my reasons for pardoning, would holler               overjoyed with delight. If my enemies are not pleased, they can not
 " Well done," and when I would say, " I am not done yet," in defiance         help it, as I told them on the stump, and their sweating and fuming
 of the Cuban mixed breeds and others of a like stripe, my friends            will avail them naught. So It is; so let be.
 would holler back, "Turn them out," "Go on, boy, you are right," and             I exercised my power in paroling, for I consider the parole system
 on the 27th day of August, 1912, they proceeded to turn out of your           the best system ever devised for the handling of convicts. Now, for
 body and out of the house of representatives many of those who had            instance, you parole a man during good behavior who possibly has




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  served more than half of the sentence imposed upon him-sometimes they                            " We are sitting in the shadow
  have b,'en paroled when they only had three or four more months to                                     Of a long and lonely night,
  serve--you do not turn him loose, but say to him, go forth, make a                                 Waiting till some gentle angel
   nman of yoursielf, for if you do not, and you are ever convicted again,                               Comes to lead us to the light.
  you lhve( to go back and serve tle remainder of the sentence imposed.                              For we know there is a magic
  Now, if tlihee mei had gone ahead and served out their sentences, they                                 That can give eyes to the blipd.
  woultl hI foot-loose to do as they please, and no restraint placed upon                            O well-filled hands be generous!
  their actlons. Even a life prisoner may be paroled; it is simply giving                               O pitying hearts be kind!
  him another chance in life; and how many men who profess to be great
                                                                                                   " Help stumbling feet that wander
  Christians would be living and enjoying the blessings of this life had
                                                                                                        To find the upward way;
  not (God forgiven them and given them another chance?
                                                                                                     Teach hands that now lie idle
      The parole during good behavior means what?           Good behavior means
                                                                                                        The joys of work and play.
    ihat he shall not violate any of the criminal laws of this State, be-
                                                                                                     Let pity, love, and patience
 ca'iise    men are bound over to keep the peace or good behavior. If they
                                                                                                        Our tender teachers be,
  violait ainy of the criminal laws of their State, they are not of good
                                                                                                     That, though the eyes be blinded,
  Ibehrvior, andl tlhey can be recommitted to the penitentiary without
                                                                                                        The little souls may see.
  trial to serve the remainder of their sentences. The system I have
  now cstablished in South Carolina will be followed hereafter by other                            " Your world is large and beautiful,
  gov'ernors ; possibly not so many will be paroled, but the system itself                              Our prison dim and small;
  will beI kept in rogue. The same system is being tried in other States;                            We stand and wait, imploring:
   olne going even further and allowing a man to work himself out by                                    ' Is there not room for all?
  hisl good behavior in the I, nitentiary. Take one case particularly; a                             Give us our children's garden,
  negro had been in the penitentiary for 18 years for killing another                                   Where we may safely bloom,
  nigro. which I cc,nsidlr a most unusual' and severe punishment for                                 Forgetting in God's sunshine
  his crime; he is paroled during good behavior; he is given another                                    Our lot of grief and gloom.'
 opportunity to live. If le disturbs the peace or violates any of the                              "A little voice comes singing,
  criminailll statlutes of this State, he goes back to the penitentiary for                             O listen to its song!
  life; that condition hanigs over him, and he knows that if he Is not of                            A little child is pleading
 good bihavior he goeus back to serve the remainder of his sentence.                                    For those who suffer wrong.
 Another instance, a white man sentenced to the penitentiary for a long                              Grant them the patient magic
  term for a crime iciilnlitted while under      the influence  of  liquor; parole
                                                                                                        That gives eyes to the blind!
 him on the condition that he lake not another drop of liquor. If he does,                           0 well-filled hands be generous!
 antl tlhereby     violates this parole, he goes  back   to serve  the  balance of
                                                                                                       O pitying hearts be kind."
 his selntence.
                                                                                          Very respectfully,
      l'herefore how any man who professes to be a Christian can object
                                                comprehension; and when one                                                    COLE L. BLEASE, Governor.
 to this system is something beyondtiy
 does do It I am forced to the conclusion inevitably that lie is a deep-                                                      COLA, S. C., February 5, 1924.
 dyed hypocrite; tlhat Ie is not what lie professes ; and when he stands              Read over several of these this day, at dinner hour, and confirm
 before his God on tile final judgment day that he will be condemned and           each of them, and am glad that I did it.
 will hear the words. " )epart from mle, ye accursed"; and he will be                                                                      COLE L. BLEASE.
 confined to the everlasting fires of hell for his hypocrisy and will then
 lbe reminded that. " For Inasmucl as he did it not unto the least of                 Mr. TYDINGS. Mr. President, to show you to what extent
 these, he (lid it not unto his God "; and I beg to quote you right                many people who are in favor of rigid enforcement will go, 1
 here. fromil   an article published in the Columbia State, dated December         should like to recite to the Senate two instances that happened
 1, 1912, written by that great Christian man--oh, that South Carolina             in the State of Maryland.
had thousands more like him-the Rev. J. S. Moffatt, D. D., president of               Lawrence Wenger, who lived in Harford County, was a farmer
 Ersklne ('ollege, in which he says :                                              about 20 years of age, a very honest and highly respected young
     " It would follow also that in the prison life there should be brought        man. He went out to drive in his cows one day, and it hap-
to bear all possible forces for the restoration of the unfortunate ones.           pened that some prohibition agents were searching through the
I.et their surroundings be such, and the agencies that influence them be woods in the vicinity of his farm. They had discovered a still,
sMch. and the nmthods of dealing with them he such as will influence and those wvho were operating the still had run away. These
them to higher personal and social ideals. The indeterminate sentence agents saw Wenger and thought he was one of the men who had
and n system of parole are to be considered as inspiring the condemned been operating the still; whereupon, without any words whatso-
to higher ideals and larger hopes. Above all. let the gospel of Jesus ever, they raised their shotguns and shot him nearly to death.
C(hrlst, that greatest of 1ll agencies for the transformation of human Then, realizing that they had made a mistake, they let 15 or
life and character, come into the lonely cell with its love and light, 20 minutes go by, while he was dying, while they held a con-
brought by loving and yearning hearts. The prison house may become sultation. Then they put him in an automobile and drove 14
to some    ia   Bethel."                                                           miles to a doctor, although there were many doctors that could
     I am proud that I have heen able to extend this mercy to my fellow            have been obtained in the immediate vicinity. He died a few
mail. becnuse it was right that it should have been done; it was my moments after they reached the doctor's office.
duty to do it, and for these two reasons alone I did it, regardless of                The people of my county who have some vestiges of civiliza-
consequences or results, remembering that:                                         tion were very much incensed at the treatment by these pro-
                                                                                hibition officers of this young man after he was shot.               They
                " That man may last, but never lives                            authorized our State's attorney to institute proceedings against
                  Who much receives and nothing gives;                          these four prohibition officers. They were indicted for murder,
                  Whom none can love; whom none can thank:                      but they could not be tried in our court because the United
                  Creation's blot; creation's blank.                            States Government stepped into the scene, and the case was
                " But he who marks from day to day,                             transferred to the United States district court in Baltimore
                 .In generous acts his radiant way,                             City, where the United States district attorney, Mr. Woodcock-
                  Treads the same path the Savior trod,                         a fine gentleman-became the counsel for these men, and de-
                   The path to glory and to God."                               fended them at the trial. They were acquitted, though not with-
           Very respect fully,                                                  out some remarks from those in charge of the trial as to their
                                                 COLE L. BLEASB,   Governor.
                                                                                overzealousness, and sympathy for the grave mistake that had
  COLUMBIA, S. C., January, 1913.                                               been made.
                                                                                  That is one case.
                                                                                  John Bongori was an ex-service man of Italian extraction.
                                 LETTER OF TRANSMITTAL
                                                                                He had a creditable record in the World War. Two prohibition
                                      STATE OF SOUTH CAROLINA,                  agents came to Harford County on another occasion, got in
                                                EXECUTIVE CIIAMBER.             touch with Bongori and asked him if he could obtain some
    GENTI.EMINz OF THI SENATE: I herewith transmit to you reasons               liquor for them. He told them that he had none, and did not
for the pardons, paroles, and commutations granted since your session           know where he could get any. They said they needed it very
of 1913.                                                                        much, and they would appreciate it so much if he would do
   I am glad to have had the opportunity to help these unfortunates.            this. After considerable persuasion Bongori secured somewhere
Some of them may fall by the wayside, but if I have made one good               a pint of gin, which he took to these two prohibition agents
citizen and saved one soul, I will have done a good work.                       and turned over to them, receiving in payment therefor, at




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least as far as we know, the exact amount of money which he          ators, in 23 counties out of 23 counties in the State of Mary-
had paid to some one else to obtain the liquor.                      land, there are upon the statute bouks to-day laws comparable
   They then attempted to put him under arrest. He was a             to the national Volstead Act. making it a crime to sell liquor,
young man about 26 or 27 years of age, and he started to run         and prescribing penalties for violation of the law.
from these men. It was Saturday, at 12 o'clock in the day.              The fact is that there is only a very small area in the entire
He ran down into the business section of Havre de Grace, where       State of Maryland that now has no enforcement law. Practi-
there were any number of scores of people on the street doing        cally every county in the State was dry before national prohi-
their Christmas shopping; and as he ran they called to him to        bition, and the laws in those counties are still on the statute
halt, and as he did not halt they drew their revolvers and shot      books. So that those people who say that we have not enforced
;it himn; and it was only an act of Providence that several          the legislation in Maryland perhaps are well meaning, pt.rlhmps
women who were down there doing their Christmas shopping             they mean to state the facts, but they are not stating them,
were not killed. Finally a bullet did hit Bongori, and killed        and I would be glad to read here, if time permitted, the enforce-
him instantly.                                                       ment act for one county after another, drawn along the lines
   Bear in mind, all that this man had done under the Federal        of the general philosophy of the Volstead Act.
prohibition act was to commit a misdemeanor. He had not com-                        CONSTRUCTION   AT MILITARY   POSTS
mitted a felony, but a mere misdemeanor. Now, I take it that           Mr. REED of Pennsylvania submitted the following report:
if an individual happened to be riding down the streets of
Washington exceeding the speed limit, and a traffic officer should     The committee of conference on the disagreeing votes of the
come up and ask the individual to halt, and the individual did      two Houses on the amendment of the Senate to the bill (II. R.
not halt, and finally thetraffic officer should shoot at the in-    13825) to authorize appropriations for construction at military
(lividual and kill him, the Senate and the country and the citi-    posts, and for other purposes, having met, after full and free
zens of Washington would be very much incensed at the man           conference have agreed to recommend and do recomnmend to
who would take a life for the miere commission of a mis-            their respective House as  afollows:
demeanor.                                                              That the House recede from its disagreement to the amend-
   Strange to say, the good people who in many other ways           ment of the Senate, and agree to the same with an alendment
have some kindness and charity in their souls were not greatly      as follows: In lieu of the matter to be inserted by the Senate
stirred at the killing of Bongori. Those prohibition agents         amcndtnent insert the following:
were indicted for murder in my home county, and again the              "That there is hereby authorized to be appropriated not to
Federal Government came in and transferred the cases to the         exceed $17.1,S5.610, to be expended for the construction and
United States District Court in Baltimore. There the United         installation at military posts of such buildings and utilities and
States district attorney became the defendant's counsel, and our
own county officers had to do the prosecuting.                      appurtenances thereto as nmay be necessary, as follows:
   I cite those two instances to show that it hardly made a            "AIbrook Field, Canal Zone: Dispensary, $30,000.
ripple of excitement in the minds of the people. I believe that        " Corundu, Canal Zone: Barracks, $357.500.
                                                                       " France Field. Canal Zone: Barracks, $360,000; noncolmmis-
when the history of prohibition enforcement, as we know it
in many cases is written, fifty or a hundred years from now,        sioned officers' quarters, $324,000; officers' quarters, $427,200;
those who are studying in the public schools will wonder what       dispensary, $30.000.
in the name of common sense was the state of civilization in           " Schofield Barracks, Hawaii;an Department: Noncommtissioned
the United States of America at the outset of prohibition           officers' quarters, $100,000; officers' quarters, $300,000.
enlforcement.                                                          " Wheeler Field, Hawaiian Department: Noncommissioned offi-
    Senators, the mere buying of a pint of gin or the selling of cers' quarters, $111,600; officers' quarters, $150,000; dispensary,
ai pint of gin is a violation of the law, and, of course, it should $40,000.
be punished, if th e evidence shows that the law has been              " Porto Rico: Barracks, $144,000; noncommissioned officers'
violated, hut what Senator would be in favor of putting a quarters, $119,000; officers' quarters, $396,250; nurses' quarters,
person in the penitentiary for life whose only crime had been $36,000; headquarters building, $20,000; chapel, $20,000; recre-
that on four separate occasions a certain person had been (le- ation hall, $10,000; storehouse, $15,000; garage and repair shop,
tected committing four separate misdemeanors? The proposed $40.000; stables, $40,000; hay and forage shed, $3,000; wagon
punishment is out of proportion to that for burglary, arson, shed, $6,000; incinerator, $5,000; flagstaff, $500; hlospital, $10,000.
murder, manslaughter, mayhem, and what not.                            "Henry Barracks, P. R.: Barracks, $352,000; noncommnis-
   Wee have simply gone mad on this question. We certainly sioned officers' quarters, $39,600; officers' quarters, $192,500;
have a little bit of the philosophy of Jesus Christ left in us,     hospital,  $35,000; stables, $24,000; hay and forage shed, $3,000;
or is it absolutely extinct? Have we no hearts at all for wagon shed, $4,000; guardhouse, $10,000; post exchange, $10,000;
the errant brother,ther
                      ass      good Methodist ministers are prone chapel, $20,000; headquarters building, $15,000; recreation hall,
to say? Do we want to crucify him, to crush him, to extermi- $10,000; storehouse, $15,000; maintenance building, $7,500; fire
nate him? Shall our penitentiaries and our penal code be house, $7,500; bakery, $12,000.
 c,ierated to make scrap heaps of mankind, or shall we keep in         Philippine Department: Signal depot warehouse, $49,000.
mind that we can perhaps be to some extent the repair shop             Camp Devens, Mass.: Noncommissioned officers' quarters,
for erring humanity?                                                $36,000; officers' quarters, $164,000.
   We certainly are not going to run wild on this question,            "''Provided,That so much of the act entitled 'An act to au-
are we, and have no regard at all for the trivialty of simply thorize appropriations for construction at military posts, and for
Sbuying or selling a pint of alcohol by an individual? No one other purposes,' approved February 25, 1927 (44 Stat. 1235),
is wronged in the legal sense of the word. The matter is as authorizes an appropriation of $300,00000 for hospital, Camp
purely voluntary. No one is held up and made to buy it or Devens, Mass,M., be, and th same           he     s hereby, amended so as to
made to sell it. It is not like robbery, it is not like murder, authorize at Camp Devens, Mass., the construction and installa-
it is not like embezzlement, tits not like larceny, because in tion of buildings and utilities and appurtenances thereto as
those cases the crie      is one
                             o    of force and coercion, and some follows :
one's liberty or property is taken from him; but in this trans-        "'Hospital, toward completion, $35,000; for officers' quarters,
action it must be solely voluntary between two individuals.         $180,600; for noncommissioned officers' quarters, $14,400; for
   It seems to me that that being the case, the penalty should bakery, $15,000; for fire house, $10,000; and for stables, $45,000;
not be any greater than in the case of arson, and there is in all, $300,000: Provided, That there is hereby authorized to
practically not a State in the Union that has a more severe be made available for the purposes of this act $300,000 of the
penalty for arson than that proposed in the bill now pending amount contained in the first deficiency act, fiscal year 1928,
before this body. There are very few States in the Union that approved December 22, 1927, for military posts.'
have a more severe penalty for embezzlement or larceny, breach         "Fort Jay, N. Y.: Hospital, $400,000: Provided, That no new
of trust, or the taking of property illegally.                      construction shall be built on that part of Governors Island
   I want to vote, and will vote, for any rational, well-bal- west of a line running in a northwest and southeasterly direc-
anced, humane enforcement of the prohibition act, and am ready tion across the island and paralleling the eastern face of the
to subscribe to proper penalties, but I do not believe that it is regimental barracks building at a distance of 300 feet.
either right, nor is it in the interest of common sense, nor will      "Mitchel Field, N. Y.: Noncommissioned officers' quarters,
it help the future of the country or contribute to its civilization $216,000; officers' quarters, $660,000; hospital, $150,000.
for us to provide such inhumane penalties as seem to be in the         "Fort Monmouth, N. J.: Noncommissioned officers' quarters,
minds of certain people who are very much interested in passing $100,000; officers' quarters, $250,000.
this particular bill.                                                  "Plattsburg barracks, N. Y.: Barracks, $45,000; addition to
    May I say just one more thing before I conclude, to clear hospital, $55,000.
up a misunderstanding? It is frequently said. that the State           "Raritan Arsenal, N. J.: Noncommissioned officers' quarters,
of Maryland has not come in line on national prohibition. Sen- $42,000; hospital, $50,000.




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   ' Fort Slocumn, N. Y.: Barracks, $180,000.                            paved runway from hangars, $52,000; 6-inch gasoline pipe line
   " Fort Wadsworth, N. Y.: Barracks, $50,000; noncommis-                from Coco Solo, $20,000; bombing range, $3,555.
sioned oflicers' quarters, $30,000.                                          "Hawaiian      Department, new site: Improvement to landing
   "Abrrdeen Proving Ground. Md.: Hospital, $60,000.                     field, $623,000.
   " Carlisle [larracks, Pa.: Mess hall and kitchen, $110,000.               " Hawaiian Department, air bases, $22,000.
   " Fort Ilumphrleys, Va.: Noncommissioned officers' quarters,              " Wheeler Field: Hangars and field shop, $79,000.
$274,000.                                                                    "Boston Airport, East Boston, Mass., moving and reerecting
   "Langley     Field, Va.: Barracks, $764,160; noncommissioned          technical buildings, $15,000.
ofli'ers' quarters, $216,000; oflicers' quarters, $480,000; hospital,      "Mitchel Field, Long Island, N. Y.: Hangars, field shops, field
$175.000; construction of a sea wall and for necessary fill,             warehouse,        $141,000;    armament       and   parachute
$200,000.                                                                                                                                   buildinge:
                                                                         $5,000; central heating plants, $75,000.
   " Fort Leonard Wood, which shall hereafter             be known as      "Middletown Air Depot, Pa.: Replacing roofs upon warehouses
Fort George G. Meale, Md.: Noncommissioned officers' quarters,           $6,600; tiling walls and replacing floors and platforms in ware-
$5)0.000; nurses' quarters. $40.000; officers' quarters, $210,000.       houses, $16,015; hard-surfaced apron in front of hangars, $17,-
   " Fort Monroe, Va.: Oflicers' quarters, $200,000.                     376; supply office and stock room, $5,607; ceiling four bays in
   " Fort Henning, G;a.: Noncommissioned officers'           quarters,   engineering shop building, $4,402: Provided, That the $38,500
$520,000; oflicers' quarters, $114,000; dispensary, $60.000.             heretofore appropriated for concrete floors in warehouse at
   "Fort Brligg, N. ('.: Noncommissioned offlicers' quarters,            Middletown Air Depot (Public, No. 181, 70th Cong.) is hereby
$14-1.000; nurses' quarters, $60,000; officers' quarters, $496,000;      canceled.
hospital. $100,000.                                                        " Boiling Field, D. C.: Hangars, $90,000; field shop, $60,000:
  " Maxwlell Fie(ld. Ala.: Officers' quarters, $300,000; barracks,       central heating plants, $50,000; parachute and armament Iuildl-
$178.000; noncommissioned officers' quarters, $188.150; quarter- ing $15,000; photographic building, $36,000;
nimster warehouse, $45,000; quartermaster maintenance building, $10,000; paved runways and aprons, $53,700.   radio building
$15.000); garage, $40.000; fire station, $15,000; guardhouse,      "Langley Field, Va.: Hangars, $524,590; field warehouse,
$20.00); list exchange. $25,000; ordnance magazine, $15,000;     $100,000; headquarters and operations          building, $80,000: plot(I,
          $75.00(); stables, $20.000; railroad spur, $5,000; tele-
Il(sIit:l,.                                                              radio, parachute, and armament buildings, $76,000; centr;al
phone anid telegraph system. $31,250.                                    heating plants, $100,000; gas and oil storage system, $10,00(i:
  S('anmp McClellan, Ala. : Iospital, $100.000.
                                                                         paint, oil, and dope warehouse, $5,000; improvement of landing
   "Fort      Ienjamin Harrison. Ind.: Noncommnissioned efficers'        field, $85.000; paved runways, $122,098.
(qu:urters. $54,000; serv\ice club. $50.000.                                 "Air Corps Tactical School, Maxwell Field, Montgomery, Ala.:
  " Erie ordnlance (lepot, Ohio: Hospital. $75,000.                      Hang'ars. $210.500; field shop, $19,000; field warehouse, $60,00(;
   "eSelfridge Field, Mich. : Oflicers' quarters, $465.000; construe-    armament         and   parachute       building, $5,000;   paved   runways.
tion of :I sea wall. anil for necessary fill, $230.400.
                                                                         $50,000; gas and oil storage system, $5,000; school building.
   " Fort Leavenworth, Kans.: Hospital ward. $75,000.                    $100,000.
   " Marshall Field. Kans.: IBarracks, $125,000; noncommissioned
ofi,ers' quarters. $144.0041: officers' quarters, $300,000.                  "Shreveport,       La.   (attack    wing) : Hangars, $200,000;       fiell
  " Fort Riley, Kan.s.: Nonconmissioned officers' quarters, $150,-       shop, $50,000; field warehouse, $45,000; headquarters and opera-
000: nurses' quarters, $50.000.                                          tions buildings, $85,000; radio, parachute, and armament build-
  " Fort Snelling. Minn.: Oflicers' quarters, $54,500.                   ings, $25,000; gas and oil storage system, $10,000; improvement
   " ('amtp Normoyle. Tex.: Barracks, $180,000.                          to landing field, $135,000: Provided. That the Secretary of War
   " Fort SamIlouston, Tex.: Noncommissioned officers' quar-             is hereby authorized, when directed by the President, to accept
ters. $150,000s; oflicers' quarters, $250,000.                           in behalf of the United States, free from encumbrances and
   " Randolph Field, San Antonio, Tex.: Noncommissioned offi-            without cost to the United States, the title in fee simple to such
(cers' quarters. $61.210:
                       (    fficers' quarters, $600,000; completion of   land as he may deem necessary or desirable, in the vicinity of
hospital, $50,000.                                                       Shreveport, La., approximately             25,000 acres, more or less, as
                                                                         a site for an aviation field.
   "Fort 1). A. Russell. Wyo.: Officers' quarters, $56,000; non-
c(onuissioned oflicers' quarters, $56,000; barracks, $40,000.                "Bowman        Field, Louisville, Ky.: Hangar, $50,000; radio,
  "Lettlerman     General   Hospital, California: Hospital ward,         photographic, and shops, $20,000; operations and administration
$150,()000.                                                              building, $20,000; gas and oil storage system, $5,000; paved
                                                                         runways, $13,000.
  S(amp Lewis, Wash.: Noncommissioned officers' quarters,
$93.000; officers' quarters, $215,000.                                       "Fairfield    Air Depot, Fairfield, Ohio: Hangars, $120,000;
  " March Field. Calif.: Noncommissioned officers' quarters,             headquarters building $40,000; central heating plant, $20,000;
$100.8400; Ispitial, $150,000.                                           paint, oil, and dope warehouses, $20,000.
  '"Rockwell Field, Calif.: Noncommissioned officers' quarters,            "Chicago Municipal Airport, Chicago, Ill.: Completion of
$10s.000; oflicers' quarters, $150,000.                                  Army Air Corps hangar, $20,986.
 "Army medical center, District of Columbia: Completion of                 "Selfridge Field, Mich.: Hangars and field shop, $122,000;
Ariy Medical School, $840,000; addition to power plant, $50.000.         central heating plants, $60,000; paved runways, $51,000; im-
  " Walter Reed General Hospital, District of Columbia:                  provement of landing field, $125,000.
Nurses' quarters, $300.000; chapel, $12,000, to be erected as sup-           " Fort Leavenworth, Kans.: Completion of hangar, field shop.
plenmentary to or in connection with the nonsectarian chapel, the        headquarters building, $35,000; central heating plants, $20,000.
erection of which was authorized by the act approved February                " Marshall Field, Fort Riley, Kans.: Completion of hangars.
2, 1928: observation, tublrculosis, and infectious disease wards         shops, and technical buildings, $55,000; central heating plant,
and a laboratory and morgue, and the reconstruction of the               $30,000.
third floor of tlie main building into an operating room, and for          "Fort Crockett, Tex.: Night-flying lighting system, $3,775:
the necessary corridors, roads, walks, grading, utilities, and           runways, $10,775: Provided, That the $10,775 heretofore appro-
 appiurtemalnces thereto, $90,000.                                       priated for dope and paint house and lean-to for boiler room at
   " Bolling Field. D. C.. or at a point on a military reservation       Fort Crockett (Public, No. 181, 70th Cong.) is hereby canceled.
in the vicinity of the Iistrict of Columbia to be selected by the            "Dryden, Tex.: Gasoline and oil storage system, $2,821; op-
Secretary of War: Radio and communication center, $30.000.               erations building, $5,000.
  " SEC. 2. That the Secretary of War is hereby authorized and             "Duncan Field, San Antonio, Tex.: Hangars and depot shop
emlpowered to acquire by purchase or condemnation real estate            building, $220,000; oil-reclamation house, $13,000: Provided, That
adjacent to Blolling Field. Washington, D. C., for extension and  the $5,497 heretofore appropriated for instrument, engine repair.
development of said flying field; and there is authorized to )be and cleaning building at the San Antonio air depot (Public, No.
appropriated out of any money in the Treasury not otherwise 181, 70th Cong.) is hereby canceled.
applropriated, ia :sum not to exceed $666.000 for that purpose.     "Lordsburg, N. Mex.: Operations building, $5,000; gas and oil
  " SEC. 3. That there is hereby authorized to be appropriated storage system, $2,821.
not to exceed $5.552.842, to be expended for the construction and   "Randolph Field, Tex.: Hangars, $220,000; field shops.
installation at military posts and at airports and landing fields $38,000; paved runways, $232,500.
of such technical buildings and utilities and appurtenances         "Tucson, Ariz.: Operations building, $5,000; paved floor in
thereto as may le necessary, as follows:                          hangar, $1.705.
  "Panama Canal Department, Albrook Field: Paved runways,                    "Yuma, Ariz.: Operations building, $5,000.
$51.000.                                                                     "March Field, Riverside, Calif.: Hangars, field shops, field
  " France    Field: Gas and oil storage system, $10,000; paint,         warehouse, $75,000; gasoline and oil storage system, $10,000:
oil, and dope warehouse and appurtenances to hangar, $13,016;            paved runways, $104,000: Provided, That the $50,000 heretofore




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 appropriated for radio and school building at March Field             conference have agreed to recommend and do recommend to
 (Public, No. 181, 70th Cong.) is hereby canceled.                     their respective Houses as follows:
   " Rockwell Field, Calif.: Hangars and field warehouse,                That the House recede from its disagreement to the amend-
 $45,000; field shop, $100,000; construction of paved runways,         ment of the Senate, and agree to the same with an amelndmnent
$50,000.                                                               as follows: Instead of the language of the amendment of the
   "SEC. 4. That the Secretary of War be, and he is hereby, au-        Senate insert the following: "appointment as such and shall
thorized to transfer to the Petersburg National Military Park          both take rank above all other officers on the active list of the
such portion of the Camp Lee Military Reservation, Va., as in          Army and Navy: Provided, That nothing in this act shall have
his discretion may be required in connection with the establish-       the effect of changing the relative rank of the present Chief of
ment of the Petersburg National Military Park, as authorized by        Staff and the present Chief of Naval Operations "; and agrees to
the act of Congress approved July 3, 1926.                             the same.
   " SEC. 5. That the Secretary of War be, and he is hereby,                                                    DAVID A. REED,
authorized, in his discretion, to sell, upon such terms and condi-                                              FRANK L. GREENE,
tions as he considers advisable, to the Fishers Island Corporation,                                             DUNCAN      U.   FLETCHER,
or its nominee, a tract of land containing one and one-fifth acres,                                  Managers on the part of the           enaite.
more or less, said tract now forming the extreme northeasterly                                                  JOHN M. MORIN,
corner of the Fort H. G. Wright Military Reservation, situate on                                                W. FRANK JAMES,
Fishers Island, in the State of New York, which said tract is no                                        JOHN J. MCSWAIN,
longer needed for military purposes, and to execute and deliver               Managers on the part of the House of Representatires.
in the name of the United States and in its behalf, with and to
the said the Fishers Island Corporation, or its nominee, any and          Mr. ROBINSON of Arkansas. Will the Senator from Penn-
all contracts, conveyances, or other instruments necessary to          sylvania explain the effect of this agreement?
effectuate such sale, the proceeds of the sale of the property            Mr. REED of Pennsylvania. The effect of the agreement is
hereinbefore designated to be deposited in the Treasury to the         that the Chief of Staff of the Army and the Chief of Naval
credit of the fund known as the military-post construction fund:       Operations will take rank between themselves in accordance
Provided, That the Secretary of War shall have the said tract          with the dates of their respective appointments, excepting that,
surveyed and appraised at the expense of the Fishers Island            with the concurrence of General Summerall and Admiral
Corporation: And provided further, That the Secretary of War           Hughes, this act shall not affect the relative rank of the two
shall not sell said tract for a less consideration than the            present incumbents during the balance of their service.
appraised value hereinbefore referred to.                                 Mr. ROBINSON of Arkansas. It will end tie war of preced-
   " SEC. 6. That the Secretary of War is hereby authorized to         ence?
acquire, by purchase or otherwise, two tracts of land on the              Mr. REED of Pennsylvania. It ends the war of precedence
Atlantic seaboard with necessary rights of way as may, in his          and gives these two officers rank above all other officers of the
discretion, be necessary in the proper defense of the Atlantic         Army and Navy. It does not seem very important to Members
coast, and the sum of $20,000 is hereby authorized to be appro-        of the Senate, including myself, but apparently it seems very
priated from any funds in the Treasury not otherwise appropri-         important to the officers of the two services. I move the adop-
ated, which sum shall remain available until expended.                 tion of the report.
   " SEC. 7. That there is hereby authorized to be appropriated,          The report was agreed to.
out of any money in the Treasury of the United States, not                                OUACHITA     NATIONAL     PARK,   ARK.
otherwise appropriated, the sum of $125,000 for the construction
of a cannon-powder blending unit at Picatinny Arsenal, Dover,             Mr. BRATTON. From the Committee on Public Lands and
N. J., to replace the one destroyed by fire on July 31, 1928."         Surveys I report back favorably with amendments the bill (S.
   And the Senate agree to the same.                                   675) to establish the Mena National Park in the State of
                                      DAVID A. REED,                   Arkansas, and I submit a report (No. 1787) thereon. I call
                                      FRANK L. GREENE,                 the attention of the senior Senator from Arkansas LMr. IROIN-
                                     DUNCAN U. FLETCHER,               SON], the author of the bill, to this report.
                            Managers on the part of the Senate.           Mr. ROBINSON of Arkansas. Mr. President, the bill pro-
                                                                       vides for the creation of a national park in the western part of
                                     JOHN M. MORIN,                    the State of Arkansas. It is in a beautiful scenic region, and
                                     W. FRANK JAMES,                   will serve the purposes and desires of the people of some six or
                                   JOHN J. MOSwAIN,                    seven States. The subject matter has been under consideration
                            Managers on the part of the House.         for a prolonged period in both this body and in the body at the
                                                                       other end of the Capitol.
   Mr. ROBINSON of Arkansas. Mr. President, does this rep-                The PRESIDING OFFICER. Is there objection to the con-
resent a complete agreement?                                           sideration of the bill?
   Mr. REED of Pennsylvania. A complete agreement, without                There being no objection, the Senate, as in Committee of the
dissent from any conferee.                                             Whole, proceeded to consider the bill, which had been reported
   Mr. ROBINSON of Arkansas. The adoption of the conference            from the Committee on Public Lands and Surveys with amend-
report will result in the passage of the bill?                         ments.
   Mr. REED of Pennsylvania. Yes, Mr. President.                          The amendments were, on page 1, line 7, before the words
   Mr. ROBINSON of Arkansas. What is the effect of the                 "National Park," to strike out " Mena " and insert "Ouachita ";
House amendment agreed to?                                             to strike out section 2 in the following words:
   Mr. REED of Pennsylvania. The Senate took the bill of the
House and made its amendments, consolidating a number of                 SEc. 2. All lands Included within the exterior boundaries of that
separate bills which the House had sent to the Senate. In              part of the Arkansas National Forest being in townships 2, 3, 4, and
effect, the entire program approved by the Senate is acquiesced        5 south; in ranges 25, 26, 27, 28, 29, 30, and 31; all west of the fifth
in by the House, with the single exception that there was in-          principal meridian in the State of Arkansas.
serted in the Senate an amendment providing for a joint inquiry          And to insert:
into coast defense by airplanes, providing for a joint commission        All lands included within the exterior boundaries of that part of the
of the House and Senate. Inasmuch as that is now pending in            Ouachita National Forest being in the following land divisions and sub-
the Rules Committee of the House, the House conferees repre-           divisions: Sections 35 and 36, township 2 south, range 31 west; east
sented that they were utterly unable to get the House to agree         half township 3 south, range 31 west; sections 1, 2, 12, 13, and 24,
to the amendment, and on that the Senate conferees have been           township 4 south, range 31 west; township 3 south, range 30 west;
forced to yield.                                                       north half of township 4 south, range 30 west; sections 19, 20, 21, 22,
   Mr. ROBINSON of Arkansas. The conference report is signed           23, 24, 27, and 28, township 4 south, range 30 west; south half of
by all the conferees?
                                                                       township 3 south, range 29 west; sections 17 and 18, township 3 south,
   Mr. REED of Pennsylvania. It is signed by all the con-              range 29 west; north half of township 4 south, range 29 west; sec-
ferees.
                                                                       tions 19, 20, 21, 22, 23, 24, 25, and 26, township 4 south, range 29
   The report was agreed to.                                           west; south half of township 3 south, range 28 west; township 4
EQUALIZING RANK OF CERTAIN OFFICERS IN THE ARMY AND NAVY               south, range 28 west; sections 1, 2, 3, 4, and 5, township 5 south,
   Mr. REED of Pennsylvania submitted the following report:            range 28 west; south half of township 3 south, range 27 west; town-
                                                                       ship 4 south, range 27 west; sections 1, 2, 3, 4, 5, and 6, township 5
   The committee of conference on the disagreeing votes of the         south, range 27 west; sections 31 and 32, township 3 south, range 26
two Houses on the amendment of the Senate to the bill (H. R.           west; sections 5, 6, 7, 8, 9, 10, 11, 12, 13, 14, 15, 16, 17, 18, 10, 20, 21,
9961) to equalize the rank of officers in positions of great respon-   22, 23, 24, 28, 29, 30, 31, 32, and 83, township 4 south, range 26 west;
sibility in the Army and Navy having met, after full and free          sections 4, 5, and 6, township 5 south, range 26 west; sections 7, 18,




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and 19, township 4 south, range 25 west; all of said lands being in                            The bill was reported to the Senate as amended, and the
the State of Arkansas and west of the fifth principal meridian in said                       amendments were concurred in.
State.                                                                                         The bill was ordered to be engrossed for a third reading, read
   On page 2. line 4, to change the section number from 3 to 2;                              the third time, and passed.
in line 5, hefore the words " National Park," to strike out                                    The title was amended so as to read: "A bill to establish the
" Mena " nIid insert " Ouachita"; in line 10, to change the sec-                             Ouachita National Park in the State of Arkansas."
tion numbetr from 4 to 3?; and in line 15, after the word " land,"                              Mr. ROBINSON of Arkansas subsequently said: Mr. Presi-
to strike out the period and insert a colon and the following                                dent, in connection with my remarks on the bill creating tihe
proviso :                                                                                    Ouachita National Park, I ask leave to have printed in tihe
                                                                                             RECORD the report of the Senator from New Mexico [Mr.
   I'roridcd, That this act shall become offective to create the area                        BBATTON].
herein d(telrilrd as ait nai onal park only when the title to all of the
                                                                                                There being no objection, the report was ordered to be
l:ands within such arca and now privately owned shall have been vested                       printed in the RECORD as follows:
 in the Unitld Statrs, and the Secretary of the Interior is hereby au-
 thorized to pass upon and accept title to said privately owned                    lands                       S[. Rept. No. 1787. 70th Cong. 2d sess.1
on behalf of the U'nitcd States: Provided further, That the United                                                 MENA NATIONAL PARK, ARK.
States shall nt purchase, by appropriation of public moneys or other-                                             FEBRUARY 15 (calendar day February 10), 1929.
wise. anly nlandwithin lthe aforesaid area, but that such land shall be                         Mr. BRATTON, from the Committee on Public Lands and Surveys,
sec,ured by the United States only by public or private donation.                            submitted the following report, to accompany S. 675 (by Mr. IomINsoN
   So as to imake the htill read:                                                            of Arkansas) :
                                                                                                The Committee on Public Lands and Surveys, to whom was referred
   Ir it rnirl id, etc., That there is hereby reserved and withdrawn
fromn slit nmrint, occupancy, or disposal under the laws of tihe United                      the bill (S. 675) to establish the Mena National Park in the State, of
                                                                                             Arkansas, having considered the same, report thereon with recommenda-
Sltle ; and dedicated, set apart, and estiablished as a public park for
the     h,enefit   and   enjoyment     of    the   people,   under   the   nnme   of   the
                                                                                             tion that it pass with the following amendments.
(il('nltiii    National Park, the tract of land in the State of Arkansas                                                   AMENDMENTS

palrtlciinlrly     descr(irbld   by and     included   within   metes and bounds as             No. 1. On page 1, line 7, strike out the word "Mena" and insert
follows, to wit :                                                                            in lieu thereof the word " Ouachita."
   All lailHs included within the exterior houndaries of that part of the                       No. 2. Strike out all following the colon after the word "to wit," on
Ot)iuhira National Forest being in the following land divisions and sub-                     page 1, line 9, down to and including line 3 on page 2, and insert in lien
divMisins: Sections t) :and 36. township 2, south, range 31 west; east                       thereof the following:
hallf township :~ south, range 31 west; sections 1, 2, 12, 13, and 24,                          "All lands included within the exterior boundaries of that part of the
to'wnship II south, range :31 west; township 3 south, range 30 west;                         Ouachita National Forest being in the following land divisions and sub-
north halffof township 4 south, range 30 west; sections 19, 20, 21, 22,                      divisions: Sections 35 and 36 of township 2 south, range 31 west; the
23. 24. 27. and 28, township 4 south, range 30 west; south half of                           east half of township 3 south, range 31 west; sections 1, 2, 12, 13, and
township :3 southi. range 29 west; sections 17 and 18, township 3 south,                     24 of township 4 south, range 31 west; township 3 south, range :30
rangie 29 west : north half of township 4 south, range 20 west; sec-                         west; north half of township 4 south, range 30 west; sections 19, 2o,
ti,urs 1!. 20, 21, 22, 23, 24, 25, and 20. township 4 south, range 29                        21, 22, 23, 24, 27, and 28 of township 4 south, range 30 west; south
west ; south hall' of township : soutl, range 28 west ; township 4 south,                    half of township 3 south, range 29 west; sections 17 and 18 of township
range 2S wes ; sections 1, 2:,3, 4 and 5, township 5 south, range 28                         3 south, range 29 west; north half of township 4 south, range 29 west ;
west; south Ihalf of township 3 south. range 27 west; township 4 south,                      sections 19, 20, 21, 22, 23, 24, 25, and 26 of township 4 south, range
range 27 west; sections 1, 2,, 3, 4,     i,and 6, township 5 south. range                    29 west; south half of township 3 south, range 28 west; township
27 west ; sections 31 and 32, township 3 south, range 26 west; sections                      4 south, range 28 west; sections 1, 2, 3, 4, and 5 of township 5 south,
5.. (. 7. 8, 9. 10. 11. 12, 13, 14. 15, 16, 17, 18, 19, 20, 21, 22, 23, 24,                  range 28 west; south half of township 3 south, range 27 west; town-
221,29, :r, 31, ;2        and 3:;, township 4 south, range 20 west; sections 4,              ship 4 south, range 27 west; sections 1, 2, 3, 4, 5, and 6 of township .i
5, anl 0. township           5
                          south. range 2t; west; sections 7, 18, and 19,                     south, range 27 west; sections 31 and 32 of township 3 south, range 2ti
 township 1 south, range 2.i west; all of said lands being in the State                      west; sections 5, 6, 7, 8, 9, 10, 11, 12, 13, 14, 15, 16, 17, 18, 19, 20.
of Arknlinsrs and west of the lifti principal meridian in said State.                        21, 22, 23, 24, 28, 29, 30, 31, 32, and 33 of township 4 south, range 241
    Si:c. . . That the administration, protection. and promotion of said                     west; sections 4, 5, and 6 of township 5 south, range 26 west; sections
Ouanchita National I'ark shall bel exercised under thie direction of the                     7, 18, and 19 of township 4 south, range 25 west; all of said lands
 Secretary of the Interior by the National Park Service, subject to the                      being in the State of Arkansas and west of the fifth principal meridian
provisions of the act of August 25, 1910, entitled "An act to establish a                    in said State."
National I'ark Service, and for other purposes."                                               No. 3. In line 5 of page 2 strike out the word " Mena" and Insert
    Sk('. 3. That nothing herein contained shall affect any valid existing                   in lieu thereof the word " Ouachita."
eliiini, location. or entry under the land laws of the United States,                           No. 4. On page 2, line 15, following the word "land," strike out the
whether for homestead, mineral, right of way, or any other purpose                            period, insert a colon, and add the following:
whatsoever, or shall affect the rights of any such claimant, locator, or                        "Provided, That this act shall become effective to create the area
entryian to the full use and enjoyment of his land: Provided, That                            herein described as a national park only when the title to all of tie
this nat shall become effective to create the area herein described as a                      lands within such area and now privately owned shall have been vested
national park only when the title to all of the lands within such area                       in the United States, and the Secretary of the Interior is hereby author-
and now privately owned ihall have been vested in the United States,                         ized to pass upon and accept title to said privately owned lands on
and tie Secretary of the Interior is hereby authorized to pass upon and                      behalf of the United States.
accept title to said privately owned lands on behalf of the United States:                      "Provided further, That the United States shall not purchase by ap-
Proridcd further. That the United States shall not purchase, by appro-                       propriation of public moneys, or otherwise, any land within the afore-
priation of public moneys or otherwise, any land within the aforesaid                        said area, but that such land shall be secured by the United States
area, but that sucl land shall be secured by the United States only by                       only by public or private donation."
publle or private donation.                                                                     No. 5. On page 2, line 4, after the word " Sec.," strike out the figure
                                                                                             "3 " and insert in lieu thereof the figure "2."
   Mr. JONES. Does the bill authorize any appropriation?                                        No. 6. On page 2, line 10, following the word "Sec.," strike out the
   Mr. ROBINSON of Arkansas.                        No; it      does not; and as I
                                                                                             figure "4" and insert in lieu thereof the figure "3."
understand it, an amendment also requires that the title to the                                 No. 7. Amend the title to read: "A bill to establish the Ouachita
private lands within the area shall be procured without expense                              National Park in the State of Arkansas."
to the Government of the United States.
                                                                                                      RtSUME OF FACTS     SUPPORTING PASSAGE    OF THE BILL
   Mr. OVERMAN.                  Does the bill provide for the setting aside
of public lands for a park?                                                                     The area to be included in the proposed park is about 35 miles in
  Mr. ROBINSON of Arkansas. It sets aside public lands for                                   length by about 12 miles in width and contains approximately 163,000
the purpose of a national park and provides that the privately                               acres, all of which is now the property of the United States, being a
owned lands within the park district shall be procured without                               part of a forest reserve, except approximately 28,000 acres. Under
expense to the Government of the United States.                                              the terms of the bill, as amended, the 28,000 acres now in private
   Mr. JONES.            What can the Senator tell as about the area of                      ownership must be acquired, without expense to the United States, before
the proposed park?                                                                           the act becomes operative, thus absolving the Government from any
  Mr. ROBINSON of Arkansas.                        It will contain about 163,000             financial obligation incident to the establishment of the park.
acres, 35,000 of which are privately owned land.                                                The site Is situated in the southwestern part of the State of Arkansas.
  The PRESIDING OFFICER. The question is on agreeing                                         the nearest point being about 15 miles from the city of Hot Springs, a
to the amelndments.                                                                          famous health resort. It is believed that the proposed park will serve
  The aniendments were agreed to.                                                            to an excellent advantage in connection with the health and recreational




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  facilities at Hot Springs. There are no other national parks in that        of the Volstead law the offender shall he imprisoned for life.
 region of the United States, except a small one, containing less than        Of course, in my humble judgment, prohibition would be no
  1,000 acres, at the city of Hot Springs. The Ouachita Park, by reason       nearer enforcement after the enactment of all that extreme
 of short distances and splendid highways, will be easily accessible to       legislation than it is now.
 many people residing in Arkansas, Texas, Louisiana, and other adjoining        Then, consequently, would come the last step that prohibition
 States. Many of these people, on account of long distances and other         tyranny could take, and that is upon the strength of Informa-
 factors, will be denied the advantage and enjoyment of park facilities       tion furnished by faithless servants, or by estranged relations,
 if this park is not created. The region described in the bill is moun-       or by malicious neighbors, to enter the private homne. Already
 tainous and rugged. Some of its peaks reach an altitude of approxi-          the way for this has been paved by the Goff hill introduced
 mately 2,600 feet, while the adjacent country is slightly above sea level,   some time ago into this body, which provides an oplortunity for
 thus affording a cool and attractive climate in the park even during mid-    the prohibition agent, under the guise of entering a private
 summer. The entire region is interspersed with streams and forests.          residence for the purpose of seeing whether any commercial
 its scenic beauty is said to compare favorably with the Swiss Alps.          still is contained in it, to enter it for the purpose of finding
    In view of the urgent need of an adequate national park in that part      what is fermenting in the wine cask or the wine barrel in the
of the country and the peculiar fitness of this area for that purpose, it     owner's cellar. That, as I have previously p.dnted out, is the
is the belief of the committee that the bill, with the proposed amend-        stage of desperation to which prohibition has already been
ments, should pass.                                                           driven in Finland, one of the four countries in the world that
    The relevant departmental correspondence is attached hereto:              has not yet revoked its prohibitory legislation.
                                            INTERIOR DEPARTMENT,                 So, first of all, before the Senate gives its assent to this bill, I
                                       Washington, December S£, 1927.         ask it to bear clearly in mind the place that it, if enacted ini;t
 IIon. GERALD P. NYR,                                                         law, will occupy in the vast, elaborate, and highly organized
     Chairman Committee on Public Lands and Surveys,                          system of prohibition tyranny of which it is intended to be a
                                               United States Senate.          part.
   MY DEAR SENATOR NYn : I have your request of December 15, 1927,              Passing now to a particular examination of the bill, I say that
asking for an opinion as to the merits of S. 675, a bill to establish the     it could not have been possibly drafted except by the hand of
Mona National Park in the State of Arkansas.                         indiscriminate fanaticism. All colors are the same to a man in
   It is shown by the records of this department that the area described
                                                                     the dark. All degrees of crime, so far as the Volstead Act is
in this bill was inspected by representatives of the Forest Service of
                                                                     concerned, are the same to a prohibition fanatic. Put this bill
the Department of Agriculture and the National Park Service of this  into effect as a law and it would be in the power of a Federal
department on May 7, 1926. From a joint report rendered by the repre-judge-and just as likely a judge who had been visaed by the
sentatives of these bureaus it would appear that this area should notAnti-Saloon League, because a large part of the judges that
he made a national park for the reason that there are no distinctive have been appointed in recent years have been so visaed-to
scenic or other features comparable with the standard set for the estab-
                                                                     impose a term of five years or a maximum fine of $10,000 not
lishment of national parks, and that the area contains nothing of out.
                                                                     only upon the bootlegger but upon some innocent youth or maid,
standing or national significance which would warrant placing it in asay, guilty of the offense of transporting a flask to a youthful
national-park category. Of the entire area of 163,000 acres contem-  party.
plated in the bill, 128,000 acres are under Government ownership and    I ask the Members of the Senate to pause and to ponder
35,000 acres in private ownership; the existence of such a large areawell this bill. There are some of them who have young sons
in private holdings within a proposed park, even though the area     who might well in their heedless youth commit some compara-
measured up scenically to national-park standards, would also be unsatis-
                                                                     tively petty violation of its provisions, with the result that he
factory from an administrative standpoint.                           might be incarcerated in the penitentiary for five years or
   For these reasons I can not recommend the approval of the bill.   fined $10,000.
        Very truly yours,                                               Mr. BROUSSARD. Or both.
                                      E. B. FINNEY, Acting Secretary.   Mr. TYDINGS. It might be both.
            AMENDMENT OF NATIONAL PROHIBITION ACT                       Mr. BRUCE. Yes; it might be both. No matter who drafted
                                                                     the report accompanying this bill, I am bound to say that I can
   The Senate, as in Committee of the Whole, resumed the con- not understand how he could possibly expect us seriously to
sideration of the bill (S. 2901) to amend the national prohibi- accept some of the statements that he makes about the bill in it.
tion act as amended and modified.                                    The report says:
   The PRESIDING OFFICER. The hour of 3 o'clock having
arrived, the Chair reminds the Senate that, under the unani-            It will be observed that the maximum punishment for a first offense
mous-consent agreement previously entered into, the order for for the manufacture or sale of liquor is a fine of $1,000 or imprison-
the limitation of debate is now in effect.                           ment not exceeding six months. In the other cases, aside from manu-
   Mr. BRUCE. Mr. President, I was very glad to enter into an facture and sale, as prescribed by this section, the penalty for a first
agreement to limit the time for the discussion of the pending offense is a fine not to exceed $500. These penalties are adequate
bill, because, so far as most of the thoughts that are suggested where the commercial element is not present, but they are absolutely
to me by it are concerned, I have so frequently given expression inadequate when applied to professional bootleggers and other large-
to those thoughts that it would be a waste of time for me to scale operators. This fact makes advisable an amendment to the pro-
give expression to them again.                                       hibition act. Such amendment should not operate harshly upon the
   There is obviously very strong opposition in this Chamber casual violator. Its object is to reach the professional commercial
to the passage of the bill, and yet I entertain but little doubt-    operators who profit financially by their criminal defiance of the law.
though I hope I may be mistaken-that it will pass. I feel this          What right has the author of that report to use such language?
way because I have never known, since I have been a Member He knows that the wording of the pending bill, witlout any dis-
of the Senate, the Anti-Saloon League to ask for the enactment crimination whatsoever as respects classes of offenses, applies
of any legislative measure by the Senate that the measure was to the manufacture, possession, importation, or exportation of
not enacted. In other words, I have never known the Anti- intoxicating liquor. In other words, it would apply not only
Saloon League to crack its lash that the Senate did not jump to such a malefactor as the conspicuous bootlegger Remus,
through the hoop. Indeed, so true is this that on the occasion who was sentenced to the Atlanta Penitentiary from Ohio some
when it was requested by the Anti-Saloon League to apply the years ago, but it would apply also to any man who happens
Federal merit system of appointment to the selection of the to be discovered with a flask of whisky or a bottle of wine in
field force of the prohibition system, it promptly applied it, his possession when in transit, for instance, between Washing-
though never on any other occasion since I have been a Member ton and Baltimore or between Washington and Alexandria.
of this body has it ever, so far as I can remember, been induced        To use another illustration, it would apply not only to the
 o1extend the Federal merit system of appointment to any bootlegger, big or small, engaged in illicit commercial operations,
branch of the Federal service.                                       but it would apply to any householder who might set a small
   Of course, this bill is but another link in the chain of galling, amount of wine to fermenting to the intoxicating point in his
imbecile tryanny that prohibition has been forging for the cellar. It would apply, too, I should say, to any purchaser who
people of the United States ever since the adoption of the had bought a drop of liquor under circumstances involving the
eighteenth amendment.                                                process of transportation. It would apply to any man who went
   To-day we are asked to pass a bill crowded with drastic, ex- to Bermuda or over our northern boundary into Canada and
cessive penalties, utterly devoid of any true perspective or sense came back with a bottle of whisky in his bag.
of proportion. To-morrow the Senate will be asked to pass a             I recollect that some years ago a friend of mine returned from
hill making any violation of the Volstead Act a felony. That Bermuda and passed out as rapidly as he could from his ship
will be the next step. Then later on perhaps it will be asked to to an automobile with a bottle or so of liquor under a heavy
adopt the cruel, almost incredible example of the State of overcoat. He thought that he was entirely safe, but, to his
Michigan, and to provide that for the fourth felonious violation surprise, he found that his footsteps had been dogged by a




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 Federal officeholder, who approached him, and, to his intense Sand by proper amendments draw the proper distinctions be-
 relief, exclaimed only, " You have some bottles of whisky in that      tween bootleggers and other graver violators of the Volst;e(l
 overcoat of yours. You will have to give me one of them."              Act and much mildet classes of offenders. In other words, this
  ILaughlter. I Tle possessor of those bottles could under this         bill puts on tie same footing precisely a member of such al,
 bill have been fined $l10,000 or been sent to the penitentiary for     infamous gang, bred by prohibition, as that which in Chican ,
 five .years, or been both so fined and imprisoned.                     a day or so ago stood up seven or eight human beings against
    I was told of another individual who about the same time            a wall and shot their lives out-
 returned from Canada witl several bottles of whisky in his                The PRESIDING OFFICER. The time of the Senator from
 big. When the time came for the inspection of the bag at the           Maryland has expired.
 border, he left his bag open. after putting n bottle of whisky on       Mr. BRUCE. I believe I still have some time on the amend-
 top of its contents with a card on it saying: " This is for the        ment, have I not?
 inspector." He then turned his back on his bag and when he              The PRESIDING OFFICER. No; the time of the Senator
 returned he found that the inspector had inspected its contents        on the amendment has expired.
  llid had gone, after turning the c(ard over and writing on the          Mr. BRUCE. Very well.
 rev(erse side, " You are a perfect gentleman." [Laughter.]               Mr. BROUSSARD. Mr. President, I had not expected to
     Ilhe PRESIDING OFFI('ER. The time of the Senator on the            say anything about this bill, but I have just read the report
bill iheasexpired. The Senator from Maryland now has 10 mnin-           of the committee which has suggested to men a thought whiich
utes to speak on ti(e amendluent.                                       I desire to express on this subject.
   Mr. BRIU('E. And the owner of that hag. too, might have                When the Volstead law was first put into effect a great many
been fined $1O,()(l) or been sentenced to the penitentiary for five     people throughout the country, and I think most of the periodi-
yeaars, or been both finted itnd imprisoned.                            cals, protested against the practice of the United States Gov-
   Mr. JONES. Mr. President. if the Senator from Maryland               ernment in the prosecution of prohibition cases of assessina,
will pardon men, I desire to inquire is there an amendment              what was tantamount to a license for conducting the business
pending?                                                                for which offenders were arrested and prosecuted. Of cour-ts,
   The I'PRESIDING OFFICER. There is.                                   everyone knew that if those who were engaged in selling.
   Mr. JONES. That is one of the committee amendments?                  liquor applied for a license, no license would be issued for,
   'The PRESII)ING OFFICER. Yes. The Senator from Mary-                 under the Constitution, none could be issued by any constitu-
land has 1(1 minutes on tihe aiend(lnent.                               tional grant of the Congress. However, in order to add to the
   Mr. BRUCE. So it is absolutely untrue that this bill applies         punishment which might be inflicted, even from the first day
only to individuhlis engaged in the commercial manufacture and          the act was put into effect and before the cry arose that the
sale of liquor. It is, as I read it, wholly undiscriminating in         punishment was inadequate, I recall that offenders haled be-
its appllication to all classes of offenders under the Volstead         fore the courts were not only fined for violating the Volstead
Act( and1 to all offenses under that act-the pettiest as well as tlhe   law, but they were accused in three or four counts of trans-
most heinous. Never did I hear of such a law-one so utterly             portation and possession, and then they were haled before a
disregardful of all the fundamental distinctions based on rela-         State court and again tried there, and in some cases they wero
tive hdegrees of guill     hllt have been heretofore supposed to        tried for a third time in a municipal court.
underlie punitive justice. All I have to say to the Members of            Then the United States Government, through its internal-
the Senate is, if l(he Senate shall pass such a measure as this,        revenue officials, would send to the offender a bill for a license
look out not only for your own safety but for the safety of          for conducting the liquor business, and then assess damages
your  children.    As to the latter-such have been the ghastly       against him for having failed to obtain such a license. They
consequences of prohibition in this country-that I have been         insisted upon collecting such assessments, and wherever they
told of at least two fathers who are in the habit when their         could make good by levying against the property of the offender
 daughters are leaving their homes for youthful parties to sup- they did so. It occurred to me, as well as to a great many
 ply Itlen with a snlmall Iamouint of spirits lhat they know to be others, that this was purely tyrannical, and was unwarranted
 pure rather than have them go to such parties and run the under the Constitution, and not intended by the Volstead law.
 deadly risk of drinking some lethal distillate.                        Another practice which has grown up is not to make charges
     Equally as anomalous, so far as sound principles of criminal against offenders under the terms of the prohibition law, but
justice are concerned, are the provisions of the pending bill to charge conspiracy under section 37 of the Criminal Code.
 which at one single stroke wipe out all the ordinary distinctions That is done for the purpose of avoiding a trial by jury and
between first offenses and second offenses-distinctions that so that heavier fines and penalties may be imposed.
have been recognized by tlie criminal law ever since there was a        Mr. President, we are told that under this proposed amend-
 criminal law-and place the offender who has yielded to the ment to the Volstead Act we need not fear an increase of the
 firlst ccess of temptation, and may never yield to another after minimum penalty imposed, and we are asked to put our trust
a single punishllnlnt, on exactly the same footing as some hard- in the Federal judges. Let me read to you, Mr. President.
ened miscreant whlo has over and( over again defied the majesty tile reason why I fear to trust the Federal judges in this
of the law. What sort of a law is that? The present Volstead matter. In the report of the committee. accompanying the bill,
 law at least has the goxod sense in every line of its penalty there is incorporated the testimony of Mrs. Willebrandt. Com-
claiuses to recognize the difftrence betweent the gravity of a menting upon this bill, she says:
first offeiise and the gravity of a secontd offense.                    I have become convinced, not only by my own experience but by time
    Th'lcse f,anatics, I rieeatl--suehl fanatic.: a:s the world hits recommendations of scores of Federal Judges and hundreds of DeparIt-
rarely known ii ;any hourt' of extreme maldness in its history-
                                                                     ment of Justice law-enforcement officials, such as United States attor-
cotlle long and set a net with meshes designed to take in indis-
                                                                     neys, marslhal, and the like, that the maximum penalties of the Volstead
tinguishiably tlie vilest and most hardened violators of the Act for the violation of things which violate the Constitution as well
Volstead Act. the beardhlss youth, the immature girl, and, gen- as substantive law are entirely inadequate.
erally speaking, everyone whom the author of the report re-
latilng thtis bill is at least discerning enough to term "casual        So, Mr. President, we have the information, presented to us Iby
violators,'" as distiniguished from lhalitual bootleggers.           a committee of the Senate through Mrs. Willebrandt, that the
    If this bill shall be properly amended, I am prepared to vote Federal judges themselves would like to impose upon violators
for it. I have never failed to vote for any reasonable legisla- of the Volstead law such a penalty as $10,000 and five years
tion looking t'1 tthe enforcement of prohibition, and if I were to imprisonment. Therefore, if they are asking for this amend-
reinain hereI 1 should continue to vote for every such measure ment in order to increase these penalties and fines and imprison-
of legislation until I felt that this country had had conclusive ments, we ought to be very careful in granting them the power
reason to believe, as the result of prolonged and exhaustive that they are asking beforehand in order that they may be per-
experimentation, tlht prohibition is so at war with human mitted to exercise it.
natulre and the humani reason as to be an unenforceable thing           Mr. President, we have claimed, as I stated a while ago, that
under any and under all circumstances, no matter what Con- these fines or penalties were being imposed for selling liquor
stitution or statute may vainly declare.                             without a license, and forcing people to pay for a license; that
    The Senator fromn Washington [Mr. JoNES] has stated that it the authorities were circumventing the law by not prosecuting
is imlpossile to discriminate in this bill between the commercial under the Volstead law, but prosecuting under section 37 of the
bootlegger and the casual offender. Well I know it is impos- penal statutes; and Mrs. Willebrandt comes here and admits :1ll
sible for himi to do it because of his intensely sincere convic- of that. I should like to have Senators pay attention to th~k.
lions in favor of prohibition, which I have no desire to impugn. It shows how those charged with the enforcement of the prohili-
With great respect to him, I say that he is incapable of doing it. tion law believe that the only law on the statute books is the
And perhaps it is only fair for me to say that my opposing con- eighteenth amendment and the Volstead law.
victions are so intense that I too would hardly be tit to under-        Mrs. Willebrandt describes what the enforcement officials.
take the task. But some one else could readily take this bill from the judges down, have been doing, including the prohibi-




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tion enforcement officers, the United States district attorneys,               Mr. JONES. In just a moment.
and the marshals. She says:                                                    Mr. BRUCE. That might be a spy whose inspection would be
   They have resorted to the old internal revenue laws relating to the       fatal to the very life of the Nation.
violation or evasion of various kinds of liquor taxes, and the Supreme         Mr. JONES. Oh, it might be; and it might also be a good,
Court of the United States-                                                  honest, patriotic American citizen in Maryland.
                                                                               Section 46: Whoever shall rob another of any kind or description of
   And this is a surprising thing-                                           personal property belonging to the United States   *   *   *   shall be
has upheld the use of those old internal revenue laws. However, it is        fined not more than $5,000, or imprisoned not more than 10 years,
only the occasional case that has evidence so prepared that in honesty       or both.
a prosecution can be grounded under the internal revenue laws rather
than the Volstead Act.                                                          In other words, if an agent of the United States should be
                                                                             carrying a spike belonging to the United States Government,
   Mr. BRUCE. Mr. President, may I interrupt the Senator for                 and the Senator from Maryland should take that spike away
just a moment?                                                               from him and carry it off, he would be liable to a fine of $5,000
   Mr. BROUSSARD. I yield.                                                   and imprisonment of 10 years in the penitentiary.
   Mr. BRUCE. Notwithstanding what Mrs. Willebrandt says                        Mr. JOHNSON. Mr. President, are the absurdities to which
asbout her desire to get away from this indirection of resorting             the Senator refers justification for a further absurdity?
to the old internal revenue laws and to the conspiracy statute                  Mr. JONES. I do not think these are absurdities.
for the purpose of securing penalties adequate to prohibition                   Mr. JOHNSON. The Senator thinks those punishments would
enforcement, if this bill were passed it would still be entirely             be perfectly legitimate under the circumstances he has detailed,
possible to resort to this conspiracy statute for the purpose of             does he?
punishing the possession of liquor to which the incident of                     Mr. JONES. I do not think they would ever le imposed by
transportation was attached.                                                 any Federal judge. That is what I think.
   Mr. BROUSSARD. And it would still be possible for them                       Mr. JOHNSON. I would not give him the power, even, to
to add it to the greater tine and imprisonment, as they do now.              impose them.
to the existing fine and imprisonment.                                          Mr. JONES. But lie has the power.
   Mr. BRUCE. That is true; so it is just a hollow pretense.                    Mr. JOHNSON. I would not give it to him if I had the op-
   Mr. BROUSSARD. Mrs. Willebrandt continues:                                portunity.
  The other statute that they have popularly resorted to for grave,             Mr. JONES. There are many other statutes here of the same
serious, widespread violations of the liquor laws, instead of grounding      kind. I cite these merely as illustrations. No one has ever
the offense under the national prohibition act, is the conspiracy statute,   heard of any Federal judge exercising such power as is given
section 37 of the Penal Code.                                                here. I am citing these statutes merely as a sort of answer to
                                                                             the suggestions nmde here that be'cause a judge has the power
  Here is a confession on her part that our contention hereto-               to imposte a 5-year penalty he will impose it on a man who may
fore has been correct.                                                       have a pint of liquor in his possession, or in his home, or some-
  In my estimation, section 37 has been strained beyond all reach in         tiing of that sort. I do not fear anything of that kind myself
grounding liquor law prosecutions under it.                                  upon the part of the Federal judges of the country.
  So, Mr. President, realizing that the Federal judges, or many                 Mr. REED of Missouri. Mr. President, does the Senator say
of them, are asking that this bill be passed, that the existing              that he does not know of any penalties of this atrocious char-
law be amended and the penalties increased, I have no doubt                  acter that have been inflicted upon people by Federal judges?
that they intend to inflict those punishments; and the assur-                   Mr. JONES. No; I did not say that I did not know of any
ance given us that we should rely upon those judges is not one               such penalties. I do not know of judges inflicting such penal-
which I am willing to trust. Therefore I shall oppose the bill.              ties for trivial offenses.
  Mr. BRUCE. Mr. President, may I interrupt the Senator                         Mr. REED of Missouri. But, of course, according to the Sen-
just once more?                                                              ator's theory and the theory of many gentlemen, the posses-
  The PRESIDING OFFICER (Mr. COUZENS in the chair).                          sion of liquor is not a trivial offense. That is an offense against
Does the Senator from Louisiana yield to the Senator from                    God and reason and nature.
Maryland?                                                                       Mr. JONES. No; the Senator has absolutely no reason to
  Mr. BROUSSARD. I do.                                                       think that the Senator from Washington suggests anything of
  Mr. BRUCE. In that connection, I am sure the Senator re-                   that kind.
calls the judge who was brought on from Texas a short time                      Mr. REED of Missouri. I am going by what the Senator
ago to the city of New York to sit there in the trial of Volstead            suggests in his bill.
Act cases as well as other cases, whose conduct and deportment                  Mr. JONES. The Senator has not heard very much of this
was so outrageously partisan and extreme in a case involving                 discussion, or very much that has been presented here with
a violation of the Volstead Act that one of the attorneys in the             respect to it.
case addressed a formal protest to the Bar Association of the                   Mr. REED of Missouri. I do not need-to.
State of New York, or to the judicial authorities of New York,                  Mr. BRUCE. Mr. President, may I interrupt the Senator for
I forget which at this moment.                                               a moment?
  Mr. BROUSSARD. Yes.                                                           The PRESIDING OFFICER. The Senator from Washington
  Mr. BRUCE. I mention that just as an illustration of how                   has used all his time.
dangerous it would be to lodge such a fearful discretion as this                Mr. REED of Missouri. Mr. President, I had intended to
in the hands of judges, especially when the fact is borne in mind            address myself to this bill and to the general subject of
that these judges have been largely appointed after being-to                 prohibition.
use an expression I employed at an earlier stage of the debate-                 Mr. BLAINE. Mr. President, will the Senator yield? I de-
visaed by Wayne B. Wheeler or other representatives of the                   sire to present an amendment. I do not like to present the
Anti-Saloon League.                                                          amendment in the absence of most of the Senators; and, if the
  Mr. BROUSSARD. That is very true.                                          Senator does not object, I will suggest the absence of a quorum.
  Mr. JONES. Mr. President, just a moment on the amendment                      The PRESIDING OFFICER. The Secretary will call the
that is pending.                                                             roll.
  On yesterday reference was made to several statutes that                      The Chief Clerk called the roll, and the following Senators
imposed certain penalties, with the idea of trying to impress the            answered to their names:
Senate that the penalties imposed here are too extreme. I hold Ashurst                        Deneen            Hayden           Reed, Mo.
in my hand some criminal statutes of the United States that I Barkley                         Dill              leflin           Reed, Pa.
want to call to the attention of Senators.                              Bayard                Edge              Johnson          Hobinson, Ark.
                                                                        Bingham               Fess              Jones            Robinson, Ind.
  Section 44 of the crimes statutes, chapter 4: Whoever shall willfully Black                 Fletcher          Kendrick         Snckett
trespass upon * * * any * * * harbor-defense system owned                    Blaine           Frazier           Keyes            Schall
* * * by the United States shall be fined * * * $5,000, or im-               Blease           George            King             Sheppard
                                                                             Borah            Gerry             McNary           Shipstead
prisoned not more than five years, or both.                                  Bratton          Gillett           Moses            Shortrldge
                                                                             Brookhart        Glass             Neely            Simmons
  In other words, if a citizen of the United States should walk              Broussard        Glenn             Norbeck          Smith
over on to a fortification where there was a trespass sign, or               Bruce            Goff              Norris           Smoot
                                                                             Burton           Gould             Nye              Steck
where there was not, he would be technically guilty of trespass              Capper           Greene            Oddle            Steiwer
on United States property; and a United States judge could give              Caraway          Hale              Overman          Stephens
him a 5-year penitentiary sentence.                                          Copeland         Harris            Phipps           Swanson
                                                                             Couzens          Harrison          Pine             Thomas, Idaho
  Mr. BRUCE. Mr. President, may I interrupt the Senator for                  Curtis           Hastings          Pittman          Thomas, Okla.
a moment?                                                                    Dale             Hawes             Ranedell         Trammell




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'I'yilini{             W'iagnirr            Warren            Wheeler                  never again be unanimous consent granted to such an agreement
T'yson                 \'. Ishl,Mass.       Waterman
Vaniienilrg            Walsh, 1Mont.        Watson                                    proposed.
                                                                                        Mr. BORAH. Mr. President--
   lMr. I'LAINE        I desire to announce that my colleague [Mr.                      The PRESIDING OFFICER. Does the Senator from Penn-
I.A Io" ii.'lriEI is unavoidablly absent. I ask that this announce-                   sylvania yield to the Senator from Idaho?
mliltit 11111' stijid for the (lay.                                                     Mr. REED of Pennsylvania. First, I want to say that I have
   Mr. NO(RRIS. My colleague the junior Senator from Ne-                               not the slightest objection to the request for unanimous con-
Ir;skin i.Mr. I-wi'ci.i,] is unavoidably detained from the Senate                     sent, and would be glad to yield the floor for that purpose. I
lby illiess.                                                                          do want, however, before this bill is voted on to speak for about
   Mr. .11NSINS. I wish to statel tlit the Senator from South                         live minutes. Now, I yield to the Senator from Idalio.
 1:1;kola IM11. McMAsTER] is de(tainaed in committee.                                    Mr. BORAII. I merely want to make a suggestion. The
   Thie P'IESIIIlNG OFFIC('El.         Eighty-six Senators having an-                 debate upon this matter has opened up in ia way now that liis
sweredl to their namles, there is a quorum plresellt.                                 become ilnteresting. I do not wish to interfere with the pro-
   Mr. (I'li''IS.      Mr. President. will the Senator from Missouri                  gram, but at the same time I should like to ask unanimous
yield whiile I sibmiit a lunhaniInouls-cnseint agreement ?                            consent that the unanimous-consent agreement be vacated and
   Mr. IIEEl) of Missouri. I will yield with the understanding                        that we have an opportunity on Monday to go into this question
   thatit does not co(me out of my little allotment of time.                          and discuss it as it ought to be discussed.
   Mr. ('Ii'TIS. It will not be taken out of the Senator's time.                        The PRESIDING OFFICER. Is there objection to vacating
                          TIHl RADIO COMMISSION                                       the unanimous-consent agreement?
   The PLRESII)ING OFFICER. The clerk will read the pro-                                Mr. JONES. Mr. President, there was the opportunity all
posed agreement.                                                                      of yesterday afternoon to discuss this amendment; there was
   The (hief (lerk read as follows:                                                   the opportunity to do so for three hours to-day. There is muhll
  Ord('cred, b! tiiniiiinttiit.ls e(onlalt, T'lint on Tuesday, February 19, 1929,
                                                                                      othler   legislation that is pressing and on which it is very desir-
at not
   n    later tliin o'clock p. in., the Senatie take a reCess until 8 o'clock
                                                                                      able to secure action before the session shall close.               I dislike'
                                                                                      very much to be in this position, but as the one in charge of the
p. in., anld t inali th Ievening session, which shall not continue later
                                                                                      bill I feel that I shall have to object.
than 11 o'clock p. in., thile Senate proceed to the consideration of the
bill   (S.   49;7)   c(,illtinuing   the powers   and authority   of the   Federal
                                                                                           The PRESIDING OFFICER.             Objection is made.
                                                                                        Mr. HARRISON. Mr. President, will the Senator from Penn-
       C'omlinissioin under the radio acnetof 1927, and for other purposes.
  :Radlio
                                                                                      sylvania yield so that I may ask the Senator from Washington
   Mr. VANDIENIBERG.            Mr. President, I would like to inquire                a question.
whellher that bill has the sanction at this point of the steering                          Mr. REED of Pennsylvania. I very gladly yield.
counitltee of the Senate, which, I learned on Thursday, is of very                         Mr. HARRISON. The unanimous-consent agreement only
high authority in this body?                                                          limits the time of speeches.          Would not the Senator agree to
   Mr. Cu'I'lS. The evening session arranged for is for a spe-                        modify        the unanimous-consent      agreement       provided    consent
cial purpose. The radio bill is not on the list, but ought to be                      could be obtained to vote at a fixed time on Monday?
disln,sed of by the 21st, I think, and the steering committee                            Mr. BORAH. I would not like to agree to that. If the bill
\wouil put it on lihe list, I dare say, at the next meeting; but                      is going to be debated, let us have a full debate, what they call
we \would like to have a night session to consider it. All sides                      in England a "dress-suit" debate.
lulve agreedl to the proposal.                                                           The PRESIDING OFFICER. Objection is made.
   Mr. VANDENBERG. I wonder if I might inquire of the Sen-                               Mr. REED of Missouri. Mr. President, I desire to say this,
ator whetlher we might not hope for some night sessions to do                         if the Senator from Pennsylvania will yield.
s,omen of thle other things we ought to do?                                                Mr. REED of Pennsylvania.         I gladly yield.
  Mr. CI 'lTIS. I really hoped for some night sessions begin-                           Mr. REED of Missouri. Yesterday afternoon I had an im-
ning next week, but I wanted to get this bill out of the way                          portant committee meeting, and I inquired of the Senator from
first.                                                                                Washington [Mr. JONES] whether le expected to get a vote
   Mr.   VANI)ENBERG. There may he an anticipation of other                           yesterday afternoon. He said he did not. I then said that I
night    sessions?                                                                    wanted to make some remarks on the bill, but at that time I
   Mr.   ('cI'TIS. Yes.                                                               was obliged to attend to my committee work. I was utterly
   The    PRESII)ING OFFICER. Is there objection? The Chair                           surprised to find that, without any roll call or without any
hears    none, and the unaiiinlmos-colisenlt agreement is entered                     notice, this unanimous-consent           agreement       had been      mnle.
inlo.                                                                                 although I was in the building in company with the other mem-
            AMENDMENT OF NATIONAL PROIIBITION ACT                                     bers of the committee. I do not want, however, to present any
  The Senate, as in Committee of the Whole, resumed the                               petition, only I should like at some time to finish what I have
consideration of tlie hill (S. 2901) to amend the national prohi-                     to say.
bitiin act, as amended and modified.                                                    Mr. JOHNSON.  Mr. President, I rise to a parliamentary
   Mr. REEl) of Missouri addressed the Senate. After having                           inquiry.
spoken in all for 25 minutes-                                                           The PRESIDING OFFICER. The Senator from California
  The PRESIDING OFFICER.                     The time of the Senator from             will state his parliamentary inquiry.
Miss'iuri has expired.                                                                  Mr. REED of Pennsylvania. Certainly.
   Mr. BRUCE.           Mr. President, I          move that the Senator be              Mr. JOHNSON. I should like to ask how the Chair construes
allowed to proceed. Soon the Senate will hear that entrancing                         the     unanimous-consent agreement?    It provides, apparently.
voice no more.                                                                        that     each Senator may speak for 15 minutes upon the pending
  Mr. REEl) of Missouri. The Senator can not do that.                                 bill,   and not more than once nor longer than 10 minutes upon
  Mr. JONES. Mr. President, I shall have to make the point                            any     amendment proposed thereto. Does that mean 10 minutes
of order against the motion. It is contrary to the unanimous-                         upon each amendment?
consent agreement.                                                                      Mr. JONES. Yes.
  Mr. REED of Pennsylvania. Mr. President, has the Chair                                Mr. JOHNSON. Necessarily it does. If that be true, how
ruled on the point of order?                                                          long a time did the Senator from Missouri occupy?
  The PRESIDING OFFICER. It is sustained.                                               The PRESIDING OFFICER. The Senator from Missouri
  Mr. HARRISON. Mr. President, I ask unanimous consent                                has occupied 15 minutes on the bill, and 10 minutes on the
thlt the Senator from Missouri may proceed for 20 minutes.                            pending amendment.            He has more time on any other amend-
  Mr. JONES. Mr. President, I am sorry that the request is                            ment which may come before the Senate.
made. Tlhe Senate has entered into a solemn agreement with                                 Mr. JOHNSON.           Then, Mr. President, as there is no other
reference to this measure. If we extend the time for one, we                          amendment before the Senate, I am going to offer such an
must do it for others. so I shall have to object.                                     amendment.
  The PRESIDING OFFICER. Objection is made.                                             Mr. JONES. There can be but one amendment pending at a
  Mr. BLAINE.. MrPresident, will the Senator yield?                                   time.
  Mr'. REED of Pennsylvania.                 I yield to the Senator for a                  The PRESIDING OFFICER.             There is a pending amendment
questioln.                                                                            before the Senate not as yet disposed of.
   Mr. ILAINE. I want to repeat the unanimous-consent re-                               Mr. JOHNSON. The Senator from Missouri does not need to
qu1c.4t proposed by ithe Senator from Mississippi [Mr. HARRISON]                      confine himself in his 10 minutes to one single amendment.
and to say that the larger portion of the time to-day was                             I can move to amend the pending amendment, and in that
taken up by others upon a question which was not before the                           fashion the Senator from Missouri will have the right to speak
Senate. If Sen;itlars are going to insist upon depriving a Sena-                      10 minutes longer. Then some other Senator can repeat the
tor of the right to ldebate under these circumstances, I want to                      process until the Senator from Missouri gets an opportunity to
serve notice now that as long as I am in the Senate there will                        conclude his speech.          It does not make any difference whether




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we agree with the Senator from Missouri or not, he ought to         Mr. HEFLIN.      Mr. President. may I suggest to the Senator
have the opportunity to present his views and to debate the from Washington that, rather than pursue that course, we
question, and I think that we in this body ought not to be guilty allow the Senator from Missouri to have 20 minutes addi-
of shutting the Senator off from adequately presenting his tional-certainly I have no objection to that-and then allow
views upon the question.                                            any Senator who wishes to reply to him to have an opportunity
   Mr. BRUCE. Mr. President--                                       to do so. If the Senator from Idaho should like to speak, let
   Mr. REED of Pennsylvania. Mr. President, before I yield him have 20 minutes additional. He would have 15 minutes on
further, I desire to ask may I not yield the floor? I have not the bill under the agreement as it stands and 10 minutes on the
said a word upon the pending bill. May I not yield the floor, amendment.
with the understanding that it will not prejudice my right to          Mr. GLASS. But other Senators might want an additional
be heard later? I have not made a speech, and I do not want 20 minutes.
to inject a speech into the middle of somebody's else speech. but      Mr. IIEFLIN. Other Senators could speak 15 minutes on the
I do want to speak for live minutes before the final vote.          bill and 10 minutes on the amendment. I think that would
   Mr. BRUCE. I rise to a point of order. Are there not two         settle  the wrangle we are in, without abandoning the unani-
committee amendments pending or is but one amendment pend-            nmous-conlsent agreement.
ing?                                                                   Mr. BLEASE. Mr. President, will the Senator yield?
   The PRESIDING OFFICER. Only one amendment is pend-                  Mr. JONES. Just a moment. Mr. President, I have c<r-
ing at this time.                                                   tainly not thought of taking siap judgment against anybody.
    Mr. JOHNSON. If there were two amendments pending, may I co,nfcrred with the Senator from Maryland [Mr. BaucEl and
I inquire would the Senator from Missouri then have a right the Senator from Wisconsin lMr. BLAINEI on yesterday before
to proceed 10 minutes longer upon the pending amendment?            submitting the request, and they were the only two so for as I
    The PRESIDING OFFICER. There can be only one amend- knew who expected to speak on tih bill. The Senator from
ment pending at a time.                                             Missouri did speak to me, as lie said. but I did not gather from
    Mr. JOHNSON. Very well. If a substitute were offered for the conversation whether lie intended to speak on the bill.
the amendment, or an amendment to it, upon that substitute              I myself do not propose to take advantage of anybody. If
 or amendment, would the Senator from Missouri have the right we can reach some agreement as to a time when we might
 to proceed?                                                        proceed under the 10-minute rule again. I am perfectly willing,
    The PRESIDING OFFICER. IIe would.                               if the Senate so desires, to vacate the unanimous-consent agree-
    Mr. JOHNSON. Very well. What is the pending         amendment,  ment we have made, if that can be conditioned on taking a
 please'?                                                           recess to-night until Monday.
    The PRESIDING OFFICER. The pending amendment is on                  Mr. BLEASE. I merely wish to make a suggestion, if the
 page 1, line 3, to insert the words " in a criminal prosecution."  Senator will permit me.
    Mr. JOHNSON. That is, the italicized words " in a criminal          Mr. JONES. I yield.
 prosecution "?                                                         Mr. BLEASE. The unanimous-consent agreement went into
   The PRESIDING OFFICER. That is the pending amendment. effect at 3 o'clock this afternoon. The Senate met at 12 o'clock,
    Mr. JOHNSON. I move to amend that by adding after the and I presume every Senator thought that the debate was going
 word " prosecution" the words "after the first offense."            to be continued on the pending bill; but the distinguished Sena-
    The PRESIDING OFFICER. The Senator from Missouri tor from Alabama delivered an address, which was very enter-
 may speak on that amendment.                                        taining, for possibly an hour and a half; after that the Sena-
    Mr. GLASS. Mr. President, it does seem to me that the tor from Connecticut made some remarks. The result was that
 Senator ought not to be put to such subterfuges as have been nearly the entire time up to 3 o'clock was taken up with foreign
 suggested. The Senator from Washington will recall that I ap- matter, and Senators who desired to discuss the pending meas-
 prehended there might arise just such a situation as this when ure were deprived of an opportunity of doing so. When the
 he proposed his unanimous-consent agreement yesterday. I hour of 3 o'clock arrived, the unanimous-consent agreement went
 asked for a roll call, but the response was that there was no into effect. It seems to me that at least the two hours and a
 necessity under the usage for a roll call, because no time was half which were consumed in the discussion of other subjects
 fixed for a final vote. The whole matter may be simplified if should be added to the time when the limitation of debate went
  the Senator from Washington will not persist in his objection, into effect.
 for it is not going to accomplish anything, as can readily be seen      I say now that if the Senator from Missouri shall not be
  from the proposition of the Senator from California [Mr. JOHN- permitted to go on, so far as I am concerned, if I am here-
  SON], and there will be other substitutes, doubtless, and other and I hope to be-there will be no other unanimous-consent
  amendments, and so we will go on under that process of sub- agreements entered into at this session up to 12 o'clock on the
  terfuge.                                                           4th day of March.
     Mr. JONES. Mr. President, there is no one that I enjoy              Mr. HEFLIN. Mr. President, I should like to say a word
  hearing speak more than I do the Senator from Missouri. 1 further.
  would have made the same objection to anyone else whether on           Mr. JONES. Mr. President, I wish to submit a request for
  this side of the Chamber or the other, whether for prohibition unanimous consent. I ask that the existing unanimous-consent
  or against it. If the Senate, knowing the situation that con- agreement may be vacated; that when the Senate concludes
  fronts us, desires to abrogate the unanimous-consent agreement its business to-night it shall take a recess until 12 o'clock on
  which we made in the usual and customary way, I do not feel Monday; and that after 4 o'clock p. m. on Monday next debate
  that I should set myself up against the judgment of the Senate. on the bill and any amendment thereto shall be limited to 10
  If, therefore, we can now reach a unanimous-consent agree- minutes to each Senator.
  ment that will be observed in the future and that will give us         The VICE PRESIDENT. Is there objection? The Chair
  more time and will be satisfactory, I shall not object to it.       hears none, and it is so ordered.
     Mr. FESS. Mr. President---                                          Mr. REED of Missouri. Mr. President, I inquire of the Sena-
     Mr. JONES. I yield to the Senator from Ohio.                     tor from Washington if it is his desire now to take a recess?
     Mr. FESS. Mr. President, I shall object to vacating the             Mr. JONES. 011, no. I should like to have the Senator from
  unanimous-consent agreement, but, in view of the fact that the Missouri proceed.
  Senator from Missouri did raise the question-and I was in the
  chair when it was raised-as to what the purpose was and                Mr. WATSON. The understanding is that the Senator from
                                                                                 will proceed now.
  whether a vote would be had, and he left the Chamber and was Missouri  Mr. REED of Missouri resumed his speech. After having
  out while thie suggestion was made to limit debate, I think that
  we ought to make a modification to the extent of permitting spoken           for some time he said:
  the Senator from Missouri to conclude his speech.                      Mr. President, I do not want to conclude my remarks to-night
     Mr. BORAH. Mr. President, there is no reason why, if we if the Senator from Washington [Mr. JONES] is willing to take
  are going to have debate, that the debate should not be had a recess at this time.
  under such circumstances as that every Senator will feel free.          Mr. REED of Pennsylvania. Mr. President, without meaning
  The Senator from Missouri, if he is going to discuss the matter, to take the Senator from the floor, and with his permission, I
  ought not to be interrupted every few minutes to be told that should like to make a report on a privileged matter from the
  his time has expired, and neither should other Senators. I Committee on Military Affairs.
  think that there has been raised a question which will justify          Mr. REED of Missouri. May I just make one statement be-
  debate, and perhaps it is as important as some other measures fore I conclude for to-day? I shall ask the privilege of the floor
  which might be postponed by reason of such debate. I suggest, when the Senate reconvenes on Monday to continue my remarks.
  therefore, that we vacate the unanimous-consent agreement, and          The PRESIDING OFFICER. Without objection, it is so
  take a recess until 12 o'clock on Monday.                           ordered.
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  [The speech of Mr. REED of Missouri is published entire be- of promotion-list colonels and lieutenant colonels shall not exceed 15
ginning on page 3637.]                                                        per cent, and the number of promotion-list field officers shall not be
   Mr. VANI ENBERG.          Mr. President, in connection with this           less than 26 per cent, of the maximum aggregate number of promotion-
particular day's debate I ask unanimous consent to have printed               list officers authorized by law.
in the RECIRD an editorial from to-day's Baltimore Sun; and I                    SEC. 2. That all promotions under this act shall be subject to such
desire to read just two sentences from it:                                    examination as shall have been required by authority of law. Promotion-
                                                                              list officers in the grades of second lieutenant, first lieutenant, captain,
   The Senate is trifling with a matter of grave importance when it side-     major, and lieutenant colonel shall, except as otherwise prescribed in
tracks reapportionment for a bill to increase penalties for violation of      this act, be promoted to the respective next higher grade when their
 the Volstcad law. Conmplaint over the disrespect shown for dry laws          names appear first in their grade upon the promotion list, and when,
comes with ill grace from a legislative body which has refused session        under provisions of this act, they are credited with 3, 10, 15, 20, and 26
after session to obey a plain maindate of the Constitution.                   years of service, respectively. The promotion of majors credited with
   I ask to have the entire editorial printed in the RECORD.                  20 years of service shall be deferred so long as necessary to prevent
  There being no objection, the matter referred to was ordered                the limitation of 15 per cent hereinbefore prescribed for the combined
to be printed in tihe REXORD, as follows:                                     grades of colonel and lieutenant colonel being exceeded, and no officer
                            REAPI'rOTIONMENT                                  shall be promoted to the grade of colonel until he shall have served at
                                                                              least two years in the grade of lieutenant colonel: Provided, That
   The reflusal of the Senate tius far to take ip the reapportionment bill    promotion-list officers not promoted from the grade of major under the
lbodes Ill f,r that measure. Once before a bill designed to obey the Con-     foregoing provisions shall be promoted to the grade of lieutenant colonel
stitution in the matter of reapportionment was killed In the upper body       when, under provisions of this act, they are credited for promotion pur-
a:fter passage by the House.                                                  poses with not less than 20 years of service and are also not less than
   Thlis present danger is more regrettable because of the great opposition   52 years of age, and officers so promoted under this proviso shall he
In the House to decrease of representation in that body from several          promoted to the grade of colonel when credited with 26 years of service,
Slates lagging In population. It was only under the demand of de-             or as soon thereafter as they shall have served not less than two years
termined voices from States which now suffer gross discrimination in          in the grade of lieutenant colonel and shall be additional numbers in
representation in Congress that the House was induced to pass the bill.       tile grades of lieutenant colonel and colonel and shall not be counted
To have overcome that unwillingness to obey the Constitution and do           in computing the maximum percentage hereinbefore prescribed for such
justice, and then find the Senate indifferent to its duty, Is one of the      grades: Provided further, That in the application of the foregoing
most unfortunate developments of this session. Whenever the subject           proviso each United States Military Academy class shall be treated as
has arisen in the Senate that body has assumed an apologetic attitude         a unit as of the average age of the members of the class. In so far as
for Its previous refusal to agree to reapportionment, and has given every     necessary to maintain the prescribed minimum of field officers, captains
indication that it would not make the same mistake again. But the             credited with less than 15 years of service shall be promoted in the
indifference now shown in the matter is more significant than all the         order of their standing upon the promotion list.
words that have been uttered.                                                     SEc. 3. That flying officers commissioned in the Air Corps in the
   The Senate is trifling with a matter of grave importance when it side-     grades of first lieutenant and captain shall be promoted to the respective
tracks reapportionment for a bill to Increase penalties for violation of      next higher grades when credited for promotion under provisions of
the Volstead law. Complaint over the disrespect shown for dry laws            this act with 7 and 12 years of service, respectively. When promotion
comes with ill grace from a legislative body which has refused session        as hereinbefore prescribed in this and preceding sections of this act
after session to obey a plain mandate of the Constitution. Continued          fails to provide the Air Corps with the per cent of colonels, lieutenant
opposition to passage of the bill by the Senate would be a gross be-          colonels, and majors hereinafter specified flying officers commissioned
trayal of its sworn duty.                                                     in the Air Corps shall be promoted in the order of their relative stand-
                           ARMY PROMOTIONS                                    ing on the promotion list so that the number of Air Corps officers in
                                                                               the grade of colonel shall be 3 per cent, in the grade of lieutenant
  Mr. REED of Pennsylvania. Mr. President, for the past two
                                                                              colonel 4 per cent, and in the grade of major 18 per cent, respectively,
years thie Senate has heard rumbles of a disagreement in the
                                                                              of the total number of officers commissioned in the Air Corps, fractions
Committee on Military Affairs over what is known as the pro-
                                                                              being disregarded in computing said numbers. Flying officers of the
motion situation growing out of the hump in the promotion list
                                                                              Air Corps promoted to the grades of lieutenant colonel and colonel
created at the close of the World War because 6,000 officers were             under provisions of this section shall be additional numbers therein
all taken in at once with substantially the same amount of
                                                                              and shall not be counted in computing the maximum percentage for
commissioned experience.    The Senator from Alabama (Mr.
                                                                              such grades hereinbefore prescribed in this act. Any flying officer of the
I LACK] represented a school of thought which was quite con-
                                                                              Air Corps promoted under provisions of this section who may become
trary to that which seems to me and some other members of the
                                                                              surplus in the grade of major, lieutenant colonel, or colonel by reason
committee to be the proper way of dealing with the matter.                    of a subsequent decrease In the total number of officers commissioned in
There have been for more than a year on the calendar of the
                                                                              the Air Corps shall be an additional number in his grade in the Air
Senate two bills, one representing his thought and reported out
                                                                              Corps until absorbed. The term "flying officer " as used in this act shall
by a scant majority of the Military Affairs Committee, and one
                                                                               be construed to mean a flying officer as defined by section 13a of the
representing what the rest of us thought was right, also re-
                                                                               national defense act as amended.
ported out by a scant majority.                                                   SEC. 4. Length of service for promotion under this act shall be
  It was perfectly evident that our opposition to one another's
                                                                              computed as follows:
ideas was going to prevent relief to that great throng of officers                First, each promotion-list officer originally commissioned in the Regu-
who, when they came into the Army, were rightfully encouraged                  lar Army prior to July 2, 1920, without prior Federal commissioned
to look for"reasonable promotion during their service. Matters
                                                                               service, whose active commissioned service shall have been continuous
reached such an impasse that finally the Secretary of War came
                                                                               since acceptance of original commission, shall be credited with the full
Iefore us to appeal to us to drop all of our smaller differences               period from the date of such original commission;
and try to agree upon some proper measure of promotion based
                                                                                  Second, each promotion-list officer commissioned in the Regular Army
upilan length of service, and not upon waiting for one's predeces-             or Philippine Scouts prior to July 2, 1920, who is not included in the
sor on the promotion list to die or resign or retire.
                                                                               category defined in the preceding subparagraph shall be credited with a
  I want to say on behalf of the Senator from Alabama [Mr.                     length of service equal to that accredited to the officer of said category
BLACK] and those Senators who agreed with him that they have
                                                                               whose name appears nearest above his on the promotion list;
met us most fairly, and I am happy now to be able to report
                                                                                  Third, each promotion-list officer originally commissioned in the grade
unanimously to the Senate from the Committee on Military Af-                   of second lieutenant in the Regular Army or Philippine Scouts after
fairs amendments to the amendments of the House to the bill
                                                                               July 1, 1920, shall be credited only with the period of service from the
(S. 3269) providing for the advancement on the retired list of                 date of such original commission: Provided, That each. promotion-list
the Army of Hunter Liggett and Robert L. Bullard, major gen-                  officer not included in any of the foregoing categories and each officer of
erals, United States Army, retired.                                           said categories whose original relative position on the promotion list
  Thle amendments reported by the Committee on Military                       shall have been changed or affected by sentence of court-martial, by
Affairs to the amendment of the House of Representatives to                   special enactment, by discontinuity of his active service, or by suspen-
Senate bill 3269 were read, as follows:                                       sion from promotion, shall be credited with such length of service for
   That the aggregate number of commissioned officers of the Regular          promotion as the Secretary of War shall determine to be appropriate to
Arumy and Philippine Scouts on the active list shall not exceed the           his relative position on the promotion list.
number now or hereafter expressly authorized by law, and all such                Sxc. 5. That all prior statutory provisions governing the termination
oflicers, except officers of the Medical Department, chaplains, and pro-      of active service of officers shall, except as otherwise specifically pre-
fessors, shall be designated as promotion-list officers. The number of        scribed in this act, continue in full force and effect and be administered
promotion-list officers In each of the grades below brigadier general         as now provided by law: Provided, That, excepting section 190, Revised
shall be such as results from the operation of the promotion system           Statutes of the United States, all laws or parts of laws restricting the
prescribed in this act, and shall not be otherwise limited: Provided,         freedom of persons on the retired lists of the Regular Army, who are
That except as otherwise in this act prescribed, the aggregate number         otherwiso eligible to accept any civil office or employment, or affecting




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their retired status or retired pay on account of holding any civil office        Mr. REED of Pennsylvania. While it is a unanimous report
or employment and receiving the compensation thereof, are hereby                that is submitted to the Senate, the Senator from Connecticut
repealed in so far as they apply to said persons; and any such person           [Mr. BINOHAM] has a further amendment which he asks to
who may be employed in any civil office or position under authority of          offer to add to the bill, and upon which further amendment I
 the United States shall be entitled to receive the full compensation           shall speak very briefly when lie offers it.
 allotted to such office or position without regard to such person's retired      In reporting this as a privileged matter-because it is an
 pay: Proridcd further, That when any officer of the Regular Army or            amendment to an amendment of the House and would not in
Philippine Scouts shall have served 35 years or more, including all sierice     any way displace the unfinished business-I move that the
 counted toward eligibility for voluntary retirement under existing laws,       Senate agree to the amendment of the House with tlie amIend-
 including this act, he shall, if he makes application therefor to the Presi-   ment reported by the Senate Committee on Military Affairs.
dent, he retired from active service and placed upon the unlimited retired        Mr. ROBINSON of Arkansas. Mr. President, may I ask the
 list: Provided further, That when any officer of the Regular Army or           Senator from Pennsylvania if the amendment is a lengthy one?
 Philippine Scouts shall have served 40 years as a commissioned officer           Mr. REED of Pennsylvania. It is about eight pages long.
 in active service in the Army of the United States, or is 60 years old,          Mr. ROBINSON of Arkansas. Will the Senator make a brief
he may, without action of a retiring board, be retired from active service      analysis of it, so that those of us who are interested in the bill
at the discretion of the President, and placed upon the unlimited retired       may understand what is effected by its terms? As the Senator
list: Prorided further, That in computing eligibility for voluntary retire-     will recall, I was formerly a member of the C'ommittee on Mili-
 ment of officers of the Army each officer shall, in addition to all service    tary Affairs of the Senate and was greatly interested in the
now credited under existing laws, be credited with additional construc-         subject and had prepared a bill relating to it.
tive credit equal to one-half the time, if any, that he shall have been           Mr. REED of Pennsylvania. It was a matter of great regret
actually detailed to duty involving flying, except in time of war: Pro-         to all of us when the Senator from Arkansas withdrew from
vided further, That flying officers of the Air Corps who become physi-          that committee.
cally disqualified for all flying duty shall be eligible for retirement for       Mr. ROBINSON of Arkansas. I tlank tie Senator.
physical disability.                                                              Mr. REED of Pennsylvania. Mr. President, to begin with,
    SEc. G. That during each fiscal year promotion-list officers who were       this bill does not propose to increase tihe aggregate of officers
originally appointed in the Regular Army or Philippine Scouts prior to          of the Army. That aggregate is now fixed at 12.000 officers.
July 1, 1920, or as of that date, may file applications to be transferred       This bill does not propose to increase it. The bill does not in-
from the active list in the manner hereinafter provided and the Presi-          crease tie pay of the several ranks; it leaves the pay act of
dent is hereby authorized, on or before June 30 of each fiscal year, to         1922 unchanged. It provides a system of promotion by length
designate for transfer from the active list from among such applicants          of commissioned service, including in that commissioned service
who shall have been-recommended for such transfer by a board of gen-            the period between the armistice and the going into effect of the
eral officers such number as shall not exceed 1 per cent of the maximum         national defense law of 1920, because we did not want to dis-
authorized number of promotion-list officers of all grades.                     criminate among officers in accordance with the rapidity of
    Officers designated for transfer from the active list under provisions      demobilization.
of this section shall be ordered to their homes as soon as practicable
                                                                                  The bill provides that a second lieutenant whose service is
after such designation and, upon expiration of such leave of absence            otherwise creditable shall be promoted to first lieutenant after
with full pay as may be granted under existing law, shall be transferred
                                                                                3 years of commissioned service; to captain after a total of
 to the unlimited retired list with retired pay at the rate of 2% per
                                                                                10 years of commissioned service; to major after 15 years of
 cent of active pay, multiplied by the number of complete years of serv-
                                                                                commissioned service; to lieutenant colonel after 20 years of
ice, but not exceeding 30 years, with which credited for pay purposes,
excepting non-Federal service: Provided, That each computation of
                                                                                commissioned service; and to colonel after 26 years of commis-
service and pay of an officer designated for transfer from the active list
                                                                                sioned service. There is no throttle in that system of promo-
                                                 such designation: Provided
                                                                                tion except after the grade of major. It is obviously necessary,
under this section shall be as of thee        of
                                              date
                                                                                in order to prevent the whole Army from being colonels, to put a
further, That any officer originally appointed in the Regular Army as
 of July 1, 1920, at an age greater than 45 years, may if he so elects,
                                                                                throttle on somewhere.
in lieu of retired pay at the rate hereinbefore provided, receive retired          Mr. NOtR IS. It is necessary to have a few privates.
pay at the rate of 4 per cent of active pay for each complete year of              Mr. REED of Penmsylvania. We have got to have privates;
commissioned service in the United States Army, not exceeding 75 per            ours is not tie kind of an Army where all can be generals.
 cent of active pay.                                                               So with the recommendation of the War Department-and I
    Officers designated in any fiscal year for transfer from the active list    might say this bill meets tle full approval of the War Depart-
shall, for purposes of computations under provisions of this act, be            ment--tlie throttle is put on between major and lieutenant
deemed to have been transferred from the active list during the fiscal          colonel. It is provided that the total number of promotion-list
year in which designated, notwithstanding the deferment of separation           colonels and lieutenant colonels shall not in the aggregate exceed
as herein authorized.                                                           15 per cent of the total commlissioned strength of the Army.
    SEC. 7. That on and after the date of the passage of this act, Hunter       The junior Senator from Alabama [Mr. BLACK) very properly
Liggett and Robert L. Bullard. major generals, United States Army,              called attention to the unfairness that that would work upon the
retired, shall have the rank of lieutenant general on the retired list of       older captains who were taken in from the World War Army
the United States Army, and shall receive pay and allowances deter-             and who were comllissioned in 1920. He pointed that that
 mined as provided by law for other officers on the retired list, and           throttling provision would operate to prevent their ever getting
based upon the active pay and allowances provided for lieutenant gen-           their colonelcy, and probably their lieutenant colonelcy, before
erals during the World War. Said Hunter Liggett shall also be entitled          they were retired at 64 years of age. So. in collaboration with
 to receive an amount equal to the difference between such pay and              him, a proviso was worked out that majors who had the requisite
allowances and the pay and allowances of a major general, retired, from         20 years' service should, if they had reached the age of 52, be
March 21, 192,1,    to the date of the passage of this act. Said Robert L.      promoted to lieutenant colonel and carried as extra numbers;
 Bullard shall also be entitled to receive an amount equal to the differ-       that they should not dislodge any officer ahead of them on the
ence between such           pay
                             d and o allowances
                                           and the pay and allowances of a      promotion list, but would get permanent appointments as extra
major general, retired, from January 15, 1925, to the date of the passage       numbers; and, similarly, after 26 years of service and after a
of this act.                                                                    minimum of 2 years as lieutenant colonels, they should get their
    SEc. 8. That the President of the United States be, and he Is hereby,       colonelcy and be carried as extra colonels.
authorized to nominate and, by and with the advice and consent of the              Mr. ROBINSON of Arkansas. Will that affect a large number
 Senate, to appoint any commissioned officer of the Army who served in          of officers?
 the Army of the United States during the World War, whose service                 Mr. REED of Pennsylvania. It will affect, I think, approxi-
 during that war was creditable, and who has been or hereafter may be           mately 800.- The Senator from Alabama will correct me if I am
 retired according to law, a rank on the retired list at the highest rank       wrong. That took care of the officers in the general branches of
 held by him during the World War, but, except as otherwise specified           the Army, but still left unsolved a serious problem in the Air
in section 7 of this act, not above the rank of major general: Provided,        Corps, because the Air Corps, according to its tables of organi-
That no increase of retired pay and allowances shall result from the            zation, needs a considerable number of colonels and lieutenant:
provisions of this section.                                                     colonels, and yet almost all of Air Corps officers are youngsters
    SEC. 9. That except as specifically provided in this act, nothing           who came into the Army in the war time and in the natural
 therein shall be held or construed to discharge any officer from the           course of events would not get to be field officers for a good
 Regular Army or to deprive him of the commission which he holds                many years.
 therein, or to reduce the rank or pay, active or retired, of any officer          In the first place, it was somewhat of an injustice to the Air
therein. All laws and parts of laws; in so far as the same are incon-           Corps officers, although they are young, and, in the next place,
sistent herewith or are in conflict with any of the provisions hereof, are      it was a very serious injustice to tile Air Corps as a unit be-
hereby repealed.                                                                cause it deprived it of the higher connmmands that were neces-
    Amend the title so as to read: "An act to regulate promotion                sary, and we should see such spectacles as majors in the Air
in the Army, and for other purposes."                                           Corps exercising commands that were appropriate for colonels,




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 and ii charge of millions of dollars of Government property, and report will be practically nothing; it will be so slight that it is
 very large bodies of men.     It was right that some method be not worth paying attention to.
 devised to take care of them. So we did it in two ways:              Mr. President, I move that the Senate agree to the amend-
    First, by accelerating their promotion from captain to major, ment reported by the committee to the amendment of the
 and allowing that to occur at the end of 12 years' service in- House. If that motion shall be agreed to I will then move that
 stead oif 15 years;-and next allowing promotion from first lieu- the House amendment be agreed to.
 tenant to captain at the end of 7 years instead of 10 years, as      The PRESIDING OFFICER (Mr. SMITH in the chair).
 for tlih remainder of the Army.                                    The question is on the motion of the Senator from Pennsyl-
    'Then, further, we provided that for the Air Corps there vania.
 should be :; per cent of its officers in the grade of colonel, and   Mr. BINGHAM. Mr. President, I desire to offer an amend-
 if lhey did not reach that grade naturally, as a part of the ment. As was stated by the Senator from Pennsylvania-
 whole promotion list, then they should be promoted to it and         The PRESIDING OFFICER. Let the Chair inquire of the
  ie carried as extra numbers, but their appointment would be Senator if the amendment which he proposes to offer will not
 peria lie'nt and mnt temporary; and, similarly, that 4 per cent    be in order after the vote shall be taken on the amendment
 ol' Ihe Air (orps officers should be lieutenant colonels and 18 proposed by the Senator from Pennsylvania on behalf of the
 per cenit   should be mnnjors.                                        committee?
    Then. having reached that point, we allowed in the computa-           Mr. BINGHAM. The amendment I desire to offer is an
 tion of service for retirement, and other purposes in the field,      amendment to the committee amendment, and I think should
 lin•e and a half for such time as flying officers were actually       be voted on first.
 engageil in flying duty. That was an effort by the committee to          Mr. REED of Pennsylvania. I think the Senator is right in
 recognize the increased hazard of flying in peace times over         that, Mr. President.
 the h:azard tliat confronts the other branches of the service.           Mr. BINGHAM. Mr. President, my amendment is that sec-
    Furt hermnore, in order to avoid injustices in retirement, we      tion 1 of the House amendment shall be included in the bill at
 have provided that any oflicer of the Army may retire at any         the proper place. I will state briefly just what that does.
 lime during his commissioned service, but, instead of getting full    Section 1 of the House amendment provides a separate pro-
75 per cent retired pay. lie will receive 2½ per cent of his base     motion list for the Air Corps. That is virtually all that it
pay for each year of his conmissioned service with a maximum          does.
of 75 per cent.                                                           For many years the Air Corps has been earnestly striving
   We Iave also provided that oflfcers with 35 years' experience      to secure a separate promotion list. Casualties in the Air
may voluntarily retire on their own application, receiving the        Corps from accident are ten times greater than those in any
t11ll 75 per cent retired pay.                                        other branch of the Army. It is true that the other portion
    We have also provided that after an officer reaches the age of    of the amendment as reported by the committee will correct
(i0 lie may be retired on the order of the President for unfit-       the situation in regard to the securing of promotion after a
ness or general disability. The present limit is 62 years. We         certain length of years and without regard to the number of
have dropped that limit two years and given the President the         senior officers ahead of a particular officer, and it also provides
luower to order retirement, with the idea of increasing the attri-    a certain amount of benefit for the Air Corps; but it does not
lion in the promotion list, speeding up the flow of promotions        recognize the fact that the Air Corps in peace time labors
and helping lhe junior officers.                                      under an entirely different kind of hazard from that under
   Thlen, Mr. President, we have carried in the bill the provision    which the other branches of the Army labor. To grant them
Ihat was in lhe original bill as it passed the Senate giving          a separate promotion list would have this advantage, I believe,
(;en. Iiunter Liggett and (fen. Robert L. Bullard, the only two       so far as the general psychology of the whole Army is con-
comntlanders of American field armies in battle, the permanent        cerned: Under the amendment as recommended by the com-
grilde of lieutenant general, which they held during the time         mittee, where the Air Corps is left in with the rest of the
they aclually coininainded those battle armies. It is worth'          service, a captain in the Air Corps would continue alongside
while, I think, to call attention to the fact that both General       of a captain in the Regular Army for a period of 12 years,
Liggett and General Bullard had under their command in the            and then the captain in the Regular Army would continue as
World War more men than the American Nation ever had                  a captain for three years more until he became a major, where-
under any colmmand at any time in any previous war of its             as the man who had been alongside of him on the promotion
history.                                                              list all these years would be suddenly promoted to the grade
   lFinally. we have embodied as an additional section the essen-     of major.
tial provisions of a bill introduced by the Senator from Ten-            In other words, every time an Air Corps officer gets the
nessee [Mr. TYsoN], which was passed by the Senate some               advantage of this bill in the shortened length of service and
time ago. allowing a brevet title, without any increase in pay        the counting of flying time, it   disrupts the promotion list, it
to those llicer's who have been retired or may in the future           makes hard feelings, it shows the rest of the Army that this
retire, the brevet title to be the same as the highest rank they       man is being promoted over their heads, because the man who
liel during the World War. The Senate can scarcely under-              is interested in his own promotion studies the list and sees
stanil--I miysref can scarcely understand-the Importance at-           upon it the fact that he, Mr. C, is between Mr. B and Mr. D;
tached to lltt by these olticers. It is a mere title; it is a mere     and that goes on for a certain numbers of years until suddenly
reminder of the command they exercised during the war; it              the man below him disappears and goes up to a higher grade.
does not bring thlem one penny in pay or allowances, but to              I believe that that will have a bad effect on the Army and
theim it is more important than a considerable increase in the         will cause hard feeling between the branches, whereas if we
111•o:ey reward whlich they receive from their Government.             make a separate promotion list, retaining the other features of
   Mr. BL.ACK. Mr. President, will the Senator yield at that           the bill, then Mr. C will not know that Mr. D has been pro-
point ?                                                               moted ahead of him unless he happens to be familiar with that
   Mr. IEEI) of Pennsylvania.      I am glad to yield to the Sen-     particular case, because the lists will be separate, and when he
aitor from Alabama.                                                   looks for his own place in the list he will find as he goes up
   Mr. IB,ACK. A question has been asked me as to whether             with the other officers that he retains exactly that place during
or not the carrying of extra numbers would increase the ex-           all the years. For that reason, Mr. President, it seems to me
pense.      I think probably it would be wise for the Senator to      that it is for the benefit of the entire Army, and it is also in
exlphlini   as to that.                                               line with what the Air Service has been seeking for a great
   Mr. ItEED of Pennsylvania.     I am glad to do so. Under the       many years, and which I believe it is entitled to.
pay act of 1922 the compensation of a lieutenant colonel and a           I may say, for the benefit of the Senate, that this section of
colonel and, indeed, a major is substantially the same for those      the bill has been approved repeatedly by the meetings of the
who have had the periods of service specified here for promo-         National Aeronautic Association and by the convention of the
tion. 1 had a particular application of it in the case of a lieu-     American Legion.
tenant colonel of my acquaintance, who told me while this sub-           Mr. REED of Pennsylvania. Mr. President, I am sorry to
ject was under consideration that le would be benefited by the        have to oppose this amendment, but I believe that it is very
hill and would get his .promotion immediately to colonel. I           wrong in principle.
asked him, " . ust what difference will that make to you in a            Down to the Spanish War, and for a short time afterwards,
money way?" lie replied, "It will make a difference of ex-            we had separate promotion lists for every regiment, and it
actly $1.95 a month." Tha' t resulted from some detail in con-        worked out most unjustly. Classmates at West Point found
nection with the matter of allowances; hut the essential base         themselves two grades apart simply because there had been more
pay of the olficer is just the same whether he gets the promo-        resignations or deaths in one regiment than in another. They
tion or does not. So, on behalf of the committee, I want to           were equally meritorious; and so, back about 1900, a system of
assure the Senate that the cost of this amendment which we            promotion by branch, with separate promotion lists in each




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branch, was Instituted. Then it was found that as the types          bridge across the Missouri River between Council Bloffs, Iowa.
of war changed one branch came to be very greatly increased,         and Omaha, Nebr., which had been reported from the Com-
like the Field Artillery, and another one did not increase, like     mittee on Commerce with an amendment, on page 2, line 1, after
the Cavalry, and classmates at West Point found themselves           the word "from," to strike out " the date of the approval
with just as much disparity as before, through no fault of one       hereof " and insert "May 24, 1929," so as to make the bill read:
or merit       of other; and when the national defense act was
              the                                                      Be it enacted, etc., That the times for commencing and completing
passed it was decided to consolidate into one promotion list all     the construction of the bridge across the Missouri River, between
the officers of the Army in combatant or staff service-that is,      Council Bluffs, Iowa, and Omaha, Nebr., authorized to be built by the
all except chaplains and doctors and dentists and veterinarians.     city of Council Bluffs, Iowa, and the city of Omaha, Nebr., or either of
   It was pointed out, of course, that the officer on duty with      them, by the act of Congress approved May 24, 1928, are hereby ex-
mounted troops was in greater danger, and probably had more          tended one and three years, respectively, from May 24, 1929.
accidents, and died more often, than the officer who was a              Sic. 2. The right to alter, amend, or repeal this act is hereby ex-
quartermaster officer, sitting in the War Department; and yet,       pressly reserved.
after a great deal of thought. Congress followed the advice of
the War Department not to take that into account, but to pre-          The amendment was agreed to.
vent the greater injustices by consolidating all the officers into     The bill was reported to the Senate as amended, and the
one branch.                                                          amendment was concurred in.
   This, I think-and
              inthe         majority of the Military Affairs Com-      The bill was ordered to be engrossed for a third reading, read
mittee agrees with me-would be a distinct step backward. It          the third time, and passed.
is dangerous, of course, to fly an airplane in peace time, but                                       RECESS
it is not exactly safe to go on with a battery of Field Artillery
at a gallop. I have done both, and I think I felt in greater           Mr. JONES. Mr. President, pursuant to the unanimous-con-
danger with the galloping battery than with the smoothly flying      sent agreement, I move that the Senate take a recess, the recess
airplane. I think I was more scared at one time than the             being until 12 o'clock on Monday.
other, although I was properly Scared at both times, and always        Tile motion was agreed to; and (at 5 o'clock and 40 minutes
will be. But you can not make separate lists just because of         p. m.) the Senate, under tile order previously entered, took a
some differences in degree of danger; and, furthermore, they         recess until Monday, February 18, 1929, at 12 o'clock meridian.
 do not need it in the Air Corps in view of the provisions we
have put in this bill that allow them this promotion as extra
numbers.                                                                       HOUSE OF REPRESENTATIVES
   That was the recommendation of the Secretary of War, so
                                                                                  SATURDAY, February 16, 1929
as to provide that within their own branch they should always
have a supply of officers going forward to keep up their full           The House met at 12 o'clock noon.
percentage of field grades.                                             The Chaplain, Rev. James Shera Montgomery, D. D., offered
   In substance, it is nothing more than a sentimental gesture to    the following prayer:
give them this separate promotion list. The practical benefits
of it are all included in the committee amendment intentionally,        O Father everlasting, Thou who makest the mornings and
purposely, so that they should have those practical benefits, but    the evenings to rejoice together, open for us the deeper and the
whatever, we might do sentimentally to please the Air Corps by       broader meanings of life. We ask for the very essence of that
creating a separate list would do far greater damage to the rest     blessing that cometh through faith and for the fullness that
of the Army by giving the impression that the Air Corps had          cometh through knowledge. Thou art not an absentee God,
been picked out for favoritism.                                      far, fair away, but an imminent Father of love and wisdom,
   Therefore I hope the amendment will he rejected.                  still at work in the hearts of Thy children. Quicken our under-
   Mr. BINGHAM. Mr. President, I should just like to call at-        standing, touch our weakness, and let us even dare to chant the
tention to the fact that the rest of the bill certainly does pick    songs of lives which transcend their mortal years. Do Thou let
out the Air Corps for favoritism, in that it permits promotion       the ebbing tides of the week leave us better men, more thor-
to go faster in the Air Corps than in the rest of the Army;          oughly devoted to the needs of our country and with purer
and the argument which the Senator has used about two                passions of the human heart. May we have a restful to-morrow.
classmates at West Point will apply in his amendment more            Through Christ our blessed Saviour. Amen.
bitterly than it will apply in the amendment which I have               The Journal of the proceedings of yesterday was read and
proposed, because those two classmates will be in separate lists,    approved.
and will not know it when they get separated.                                             MESSAGE FROM THE SENATE
   Mr. REED of Pennsylvania. That is true, Mr. President;
but it will be cured as time goes on.                                   A message from the Senate, by Mr. Craven, its principal clerk,
   The PRESIDING OFFICER. The question is on the amend-              announced that the Senate had passed without amendment bills
ment proposed by the Senator from Connecticut [Mr. BINGHAM]          of the House of the following titles:
to the amendment of the committee.                                      H. R. 12809. An act to permit the United States to be made a
   The amendment to the amendment was rejected.                      party defendant in a certain case.
   The PRESIDING OFFICER. The question now is on the                    The message also announced that the Senate had passed bills
amendment reported by the committee to the House amendment.          and a joint resolution of the following titles, in which the
   The amendment was agreed to.                                      concurrence of the House is requested:
   The PRESIDING OFFICER. Without oion      objection,
                                              thou       e House        S. 2695. An act for the relief of Gilliam Grissom;
amendment, as amended, is agreed to.                                    S. 5749. An act authorizing the presentation of the distin-
   The title was amended so as to read: "An act to regulate          guished flying cross to Capt. Benjamin Mendez; and
promotion in the Army, and for other purposes."                         S. J. Res. 216. Joint resolution to establish a joint commission
   Mr. REED of Pennsylvania. I move that the Senate insist           on airports.
upon its amendments and request a conference with the House,            The message also announced that the Senate agrees to the
and that the Chair appoint the conferees on the part of the          reports of the committee of conference on the disagreeing votes
Senate.                                                              of the two Houses on the amendments of the Senate to bills of
   The motion was agreed to; and the Presiding Officer appointed     the following titles:
Mr. REED of Pennsylvania, Mr. GREENE, and Mr. FLETCHER con-             H. R. 9961. An act to equalize the rank of officers in positions
ferees on the part of the Senate.                                    of great responsibility in the Army and Navy; and
             MIBSOUBI RIVER BRIDOE, IOWA-NEBRASKA                       H. R. 13825. An act to authorize appropriations for construc-
                                                                     tion at military posts, and for other purposes.
  Mr. NORRIS. Mr. President, on behalf of my colleague [Mr.
HowELL], who is ill, I desire to ask the Senate to take up and                       MONTANA STATE COLLEGE

pass a bill which has been unanimously reported, which simply     Mr. LEAVITT. Mr. Speaker, I ask unanimous consent to
extends the time for building a bridge that has been heretofore take from the Speaker's desk the bil1 (H. R. 11510) for the relief
authorized. The bill has received the unanimous approval of of Montana State College and agree to the Senate amendment.
the committee and of the department. It is Senate bill 5664.      The SPEAKER. The Clerk will report the bill and Senate
  Mr. ROBINSON of Arkansas. I know of no objection to the amendment.
request.                                                          The Clerk read the title of the bill, as follows:
  The PRESIDING OFFICER. Is there objection to the re-            An act (H. R. 11510) for the relief of Montana State College.
quest of the Senator from Nebraska?
  There being no objection, the Senate, as in Committee of the    The Senate amendment was read.
Whole, proceeded to consider the bill (S. 5664) to extend the     The SPEAKER. Is there objection?
times for the commencing and completing the construction of a     There was no objection.




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                                                                               ___
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                          F. STANLEY   MILLICHAMP                             grant of lands for a miners' hospital for disabled miners
   Mr. LEAVITT. Mr. Speaker, I ask unanimous consent to                       of the State of Utah, and for other purposes, with a Senate
 take from the Speaker's table the bill H. R. 11064, with a                   amendment thereto, and agree to the Senate amendment.
 Senate amendment, and agree to the Senate amendment.                            The SPEAKER. The gentleman from Utah asks unanimous
   The SPEAKER. The gentleman from Montana asks unani-                        consent to take from the Speaker's table the bill H. R. 15732.
 mous consent to'lake from the Speaker's table the bill H. R.                 with a Senate amendment thereto, and agree to the Senate
 110(04, with a Senate amendment, and agree to the Senate amend-              amendment. The Clerk will report the bill and the Senate
 lienit.                                                                      amendment.
    Tihe Senate amendmenet was read.                                             The Clerk reported the bill and the Senate amendment.
    The SPE.\AKER.    Is there objection?                                        The SPEAKER. Is there objection?
    Th'ere was no objection.                                                     Mr. CRAMTON. Mr. Speaker, reserving the right to object,
 (COLLECTI.(ION OF FEES FOllM   ROYAL'rIES2 ON PIODUCTION      OF MINERALS
                                                                              and I do not intend to do so-I objected before when the matter
                                                                              came up principally because I do not like this method of legis-
                         FROM LEASE:I) INDIAN LANDS
                                                                              lation, which is the insertion of an amendment in the Senate
   Mr. ,LEAVITT. Mr. Slpe;•ker, I ask unanimous consent to                    tlhat is not germane. I am' not disposed to press that further,
 take fron the Speaker's table the bill (I. R. 8831) to provide               but I was desirous of knowing that the acceptance of this
 for the collection of fees from royalties on production of min-              amendment would not be ground for a precedent for similar
 erals from leased Indian lands, disagree to the Senate amend-                appropriation of public lands in a number of States. I am
 nlent,   antd ask for a conference.                                          advised now that the conditions in Arizona, as well as in Utah,
   The ('Clrk read ithe title to the hill and the Senate amendment.           are exceptional, and that this bill does not establish a precedent
   Mr. IHAS'TINGS. Mr. Speaker, the gentleman has asked                       for all public-land States. I do not object.
 unininimous consentt to send it to conference, and I am obliged to              Mr. BLACK of Texas. Mr. Speaker, will the gentleman
 object.                                                                      yield?
   Mr. SNELL.          Mr. Speaker, is it not proper to have the Senate          Mr. CRAMTON. Yes.
 laentdment reported?.                                                           Mr. BLACK of Texas. How are the conditions in Arizona
   The SI'EAKEIt. The Clerk will report the Senate amend-                     exceptional to those that prevail in other States?
 ment.                                                                           Mr. CRAMTON. Under the terms of the enabling act, when
   The Senate amendment was read.                                             the Territory became a State.
   The SPEAKER. The gentleman asks unanimous consent to                          Mr. BLACK of Texas. In what particular were they dif-
 disagree to the Senate amendment and ask for a conference.                  ferent?
   Mr. IIASTINGS. Mr. Speaker, I renew my objection.                             Mr. COLTON. Mr. Speaker, all of the other institutions in
          QUARTERING OF TROOPS IN      CERTAIN PUBLIC BUILDINGS              Arizona, as well as in Utah, were granted at least 100,000 acres
   Mr. ELL.IOTT. Mr. Speaker, I ask unanimous consent for                    of land when the States were admitted to the Union. In this
the present consideration of House Joint Resolution 418, to                  particular instance, for some unexplainable reason, only 50,0H00
provide for the quartering in certain public buildings in the                acres of land were granted, and it is not sufficient to carry out
I)istrict of Columbia of troops participating in the inaugural               the purposes of the grant. Miining is one of the leading in-
ceremonies.                                                                  dustries in both States.
   The SPEAKER. The Clerk will report the resolution.                            The SPEAKER. Is there objection?
   The Clerk read the resolution, as follows:                                    Mr. GARNER of Texas. Mr. Speaker, may I nmake a sug-
                          House Joint Resolution 418                         gestion with reference to these unanimous-consent requests, and
                                                                             the question put by the Speaker? I did this once or twice be-
   Resolrcd, etc.. That the Director of Public Buildings and Public          fore but it seems that we have gotten back to the old habit
Parks of the National Capital is authorized to allocate such space in        again. I think it would be much better for the membership of
 Ianypubllc lbulilding under his care and supervision as he deems neces-     the House, speaking for their individual records, if in instances
 lsry for the pntrpos of quartering troops participating in the inaugural    of this kind they would ask unanimous consent to take the bill
cerenon(es to he held on March 4, 1929, but such use shall not continue      from the Speaker's table and consider the amendment, and that
after March 6, 1"2'.t Authority granted by this resolution may be            the Speaker then should put the amendment, and the RECOHin
exercised notwithstanding the provisions of the legislative, executive,      then would show that it was taken up by unanimous consent, and
and judicial appropriation act for the fiscal year ending June 30, 1003,     considered and agreed to. Instead of that the Journal will
approved April 28. 1902, prohibiting the use of public buildings in con-     show that the Member asked unanimous consent to take the bill
nection with liInaurgural ceremonies.                                        from the Speaker's table and agree to the amendment, and the
  'The SPEAKEI.     Does the gentleman from Indiana regard                   RECORD will show that the amendment was agreed to by unani-
thiss as nlemergency matter?                                                 mous consent. It is just as easy for the RECORD to show that it
  Mr. ELLIOTT. I do.                                                         was agreed to by the House, and that it was taken up by unani-
   Mr. SNELL.          This is the usual resolution passed under such        mous consent. I think that would be a much better procedure in
circumstancelIls?                                                            the House than the one that we are following.
 Mr. ELLIOITT. It is.                                                            Mr. SNELL. That is practically the same request that the
 Tie SPEAKER. Is there objection?                                            gentleman from Utah made.
 Mr. GARRE'I'T of Tennessee. Reserving the right to object,                     Mr. GARNER of Texas. Oh, no; it is not. He asked to take
Mr. Speaker, and I do not think I shall object, I understand                 it up and agree to the amendment.
the sole purpose of this is to care for troops that will be here                 Mr. SNELL. Is not that practically the same thing that the
 Iuring intllguration?                                                       gentleman stated?
   Mr. ELLIOTT.          Yes; National Guard troops from the differ-            Mr. GARNER of Texas. No; it is not. We may give unani-
ent States.                                                                  mous consent to take it from the Speaker's table and consider
  Mr. (GARRETT of Tennessee. It is not expected that any                     it, but it is another question as to whether we will agree to it.
part of the public buildings will be set aside for any other                     The SPEAKER. The Chair is inclined to think that the
purpllose?                                                                   request involves two affirmative propositions, one to take it up,
   Mr. ELLIOTT. No.                                                          and the other to agree to the amendment
   Mr. LOZIERI. Reserving the right to object, Mr. Speaker, I                   Mr. GARNER of Texas. That is correct.
want to call the attention of the House to some regulations by                  The SPEAKER. Is there objection to the request of the gen-
the I)istrict of Columbia Commissioners which in effect pro-                 tleman from Utah.
hilit owners of homes allowing guests to view the procession                    There was no objection.
from their windows and premises. I call attention to it in                      The SPEAKER. Without objection, the Senate amendment
order to indicate the reckless disregard of public and private               will be considered as having been agreed to.
rights lie District (CoIin)issioners are attempting to exercise in              There was no objection.
connection with the inauguration, evidently for the benetit of                  EXPORTATION OF ARMS, ETC., IN VIOLATION OF PACT OF PARIS
persons who have concessions for places from which the parade
maiyle       viewed.                                                           Mr. KORELL. Mr. Speaker, I ask unanimous consent to have
  The SPEA.KEll. Is there objection?                                         House Joint Resolution 381, to prohibit the exportation of arms,
  There was no objection.                                                    munitions, or implements of war to nations violating the pact of
   rTie House joint resolution was ordered to be engrossed and               Paris, withdrawn from the House Committee on the Judiciary
read a third time, was read the third time, and passed.                      to which it has been referred, and have the same referred to the
                                                                             Committee on Foreign Affairs. The chairmen of both commit-
                 HOSPITAL FOIl DISABLED MINERS,        UITAU
                                                                             tees have consented to the withdrawal and the rereference.
  Mr. COLTON. Mr. Speaker, I ask unanimous consent to                          Mr. SNELL. Mr. Speaker, a parliamentary inquiry.
take from the Speaker's table II. It.15732, making an additional               The SPEAKER. The gentleman will state it.




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   Mr. SNELL. Was the resolution properly referred in the                     with such amendments as may have been nflopted, and the previous
first place? I think that is the important thing to be considered             question shall be considered as ordered on the bill and the amendments
on a rereference of these matters.                                            thereto to final passage without intervening motion except one motion
   The SPEAKER. The Chair at the time this resolution was                     to recommit.
before him was in some doubt, because while this refers defi-                   The SPEAKER. Referred to the House Calendar and ordered
nitely to the question of the exportation of arms, and so forth,              printed.
there is a section in it which imposes a very severe penalty upon                            LOAD LINES FOR AMERICAN VESSELS
anyone who violates it. It imposes a penalty of a fine of not
                                                                                 Mr. SNELL. Mr. Speaker. I present another similar resolu-
exceeding $10,000 and imprisonment of not exceeding two years.                tion.
The Chair thought that was so important that it ought to be
consirlered by the Committee on the Judiciary rather than by                     The SPEAKER. The Clerk will report the resolution.
the Committee on Foreign Affairs.                                                The Clerk read as follows:
                                         It appears that a number of
similar resolutions. however, have gone to the Committee on                                            House Resolution 322
Foreign Affairs.                                                                 Resolved, That upon the adoption of this resolution it shall be in order
  Mr. SNELL. Then, it is a " border-line " proposition.                       to move that the House resolve itself into the committee of the Whole
  The SPEAKER.         The Chair thinks it is a very close question,          House on the state of the Union for the consideration of S. 1781, an act
but inasmuch as both chairmen have agreed to the suggestion                   to establish load lines for American vessels, and for other purposes.
of the gentleman from Oregon [Mr. KORELI. the Chair has                       That after general debate, which shall he confined to the nlt and shall
recognized him to make this request.                                          continue not to exceed one hour, to be equally divided and controlled
  Mr. SNELL. I think as a general proposition that bills and                  by those favoring and opposing the act, the act shall be read for amend-
resolutions which have been properly referred in the first place,             ment under tie 5-minute rule. At the conclusion of the reading of the
ought not to be rereferred, but with a " border-line " proposition            act for amendment the committee shall rise and report the act to the
like this, there may be exceptions.                                           House with such amendments as may have been adopted, and the pre-
   The SPEAKER. Yes. It is a very close question.                             vious question shall be considered as ordered on the act and the amend-
   Mr. GARRETT of Tennessee. Mr. Speaker, does the matter                     ments thereto to final passage without intervening motion except ono
go any further than merely an agreement between the two chair-                motion to recommit.
men, or is it done with a knowledge of some other members of
                                                                                The SPEAKER.         Referred to the House Calendar :nd ordered
 the respective committees?                                                   printed.
   Mr. SNELL. I understand that the Foreign Affairs Com-
                                                                                                      EXTENSION    OF IEMARKS
mittee has already taken it up and have had a hearing upon
it with the Secretary of Slate.                                                 Mr. CRAMTON.          Mr. Speaker. I ask unanimous consent to
   The SPEAKER. The Foreign Affairs Committee has a simi-.                    extend my remarks with reference to the proposed $24,(00,000
 lar bill before it on which they have had hearings, but not a.               appropriation for prohibition enforcement, and in doing so I
bill which imposes such severe penalties as this resolution.                  desire to include a letter to me from Bishop Cannon.             As I re-
   Mr. GARRETT of Tennessee. I am reluctant to object: but I                  ferred in my remarks to the bishop. in accordance with his
think that with bills of this nature, of large public import,                 request, I desire to insert the letter in the RECORD, and also I
where it is desired to have a rereference, the minority mem-                  desire to insert a statement from Dr. Clarence True Wilson on
bers should have an opportunity at least of knowing that such                 the same subject.
a plan is in progress. I understand it is satisfactory to tlhe                  The SPEAKER. Is there objection?
Committee on Foreign Affairs, and I was wondering in regard                     Mr. SCHAFER. Reserving the right to object, are the gentle-
to the Committee on the Judiciary. I do not know.                             men in favor of the $24,000,000?
   Mr. MONTAGUE. The gentleman mentioned the number of                          Mr. CRAMTON. There is some slight difference of opinion
the resolution; I do not know the title.                                      between them.
   Mr. GARRETT of Tennessee. It is a bill, I will say to the                    Mr. UNDERHILL. Mr. Speaker, I think that comes within
gentleman from Virginia, providing an embargo on the ex-                      the class of requests to which I have consistently objected, and
portation of munitions of war under certain circumstances.                    unless the gentleman can convince me to the contrary I shall be
  The SPEAKER.         The title of the bill is "To prohibit the              obliged to object.
exportation of arms, munitions, or implements of war to nations                  Mr. CRAMTON. I will say to the gentleman I do not think
violating the pact of Paris."      Clearly that subject is within the         this is within the class to which the gentleman has objected.
jurisdiction of the Committee on Foreign Affairs. The only                      Mr. HOWARD of Oklahoma.              But it comes within the class
reason the Chair referred it to the Committee on the Judiciary                to which I object.
was because there was such a heavy penalty for the violation                    The SPEAKER.          Objection is heard.
of the statute.                                                                    EXTENSION    OF HATCH AND SMITH-LEVER         ACTS TO ALASKA
  Mr. GARRETT of Tennessee. Mr. Speaker, I shall not object                     Mr. HAUGEN.         Mr. Speaker, I ask unanimous consent to take
to the request; but may I make this public statement, that I                  from the Speaker's table the bill II. R. 13882, with a Senate
hope in the future that gentlemen who are desirous of securing                amendment, and concur in the Senate amendment.
these transfers from one committee to another will give the                     The SPEAKER. The gentleman from Iowa asks unanimous
minority some notice of it before making the request, at least.               consent to take from the Speaker's table the bill H. R. 13882,
If gentlemen will be kind enough to give me notice, I will try                with a Senate amendment, and concur in the Senate amendment.
to get in touch with the minority members so that it can be                   The Clerk will report the bill and the Senate amendment.
taken up with the minority members before the request is ever                    The Clerk read as follows:
made. I shall not object to this.
   The SPEAKER. Is there objection to the request of the gen-                   A bill (II. R. 13882) to extend the benefits of the Hatch Act and the
tleman from Oregon that this bill be rereferred-                              Smith-Lever Act to the Territory of Alaska.
   Mr. DYER. I will ask the gentleman if he will not withdraw                    The Senate amendment was read.
the request temporarily, so the committee may have an oppor-                     The SPEAKER. Is there objection?
tunity to look at it on Monday?                                                  Mr. BEGG. Reserving the right to object, Mr. Speaker, what
   Mr. KORELL. I will be glad to do so.                                       is the parliamentary status of that bill?
                    FEDERAL RADIO COMMISSION                                     The SPEAKER. It is a House bill with a Senate amendment.
   Mr. SNELL. Mr. Speaker, I present a privileged report from                 The request of the gentleman from Iowa is to take the bill from
the Committee on Rules.                                                       the Speaker's table and concur in the Senate amendment.
                                                                                 Mr. BEGG. What is the Senate amendment?
   The SPEAKER. The gentleman from New York presents a
privileged report, which the Clerk will report.                                  Mr. HAUGEN. It is to strike out the word "and."
  The Clerk read as follows:                                                     The SPEAKER. Is there objection?
                                                                                 There was no objection.
                          House Resolution 321                                   The SPEAKER. The question is on concurring in the Senate
   Resolved, That upon the adoption of this resolution it shall be in order   amendment.
to move that the House resolve itself into the Committee of the Whole            The Senate amendment was concurred in.
House on the state of the Union for the consideration of II. R. 15430, a                           QUESTION OF PRIVILEGE
hill continuing the powers and authority of the Federal Radio Commis-
sion under the radio act of 1927, and for other purposes. That after            The SPEAKER. The Chair will recognize the gentleman from
general debate, which shall be confined to the bill and shall continue        Tennessee [Mr. REECE] on a matter of very great importance to
not to exceed two hours, to be equally divided and controlled by those        the House.
favoring and opposing the bill, the bill shall be read for amendment            Mr. REECE. Mr. Speaker, the Committee on Military Af-
under the 5-minute rule. At the conclusion of the reading of the bill         fairs directed me to make a favorable report to the House on
for amendment the committee shall rise and report the bill to the House       H. R. 8305. I made the report yesterday and I notice that no




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mentlon of it appears in the RECORD this morning. If any par-                  committee reported, after repairing to the office of the chairman, that
liamentary reason has presented itself to the Speaker as to                    he was not there, but that his secretary was advised of the object of
why the report should not be accepted I should like opportunity                the committee's visit, and the chairmmtn's secretary stated she would
it discuss lihe qu(stioln.                                                     endeavor to get in communication with him. She later advised she had
   Tim' SPEAKER. The Chair will be glad to hear the gentle-                    done so and that he was on his way to the office. The chairman did
man.                                                                           not appear in the committee room during the meeting.
   Mr. ('CISP. Is it a matter of privilege?                                       The following bills were favorably reported by unanimous vote:
   The SI'EAKER. It is a parliamentary inquiry as to why the                      II. R. 15703, H. R. 11105, H. R. 17095, H. R. 16408, H. R. 17034,
Speaker has not referred the bill to the Union Calendar.                       H. R. 12960, H. R. 15562, II. R. 14449, H. R. 12333, S. 4461, H. R.
   Mr. ('ISI'.   Would not the best way to present the matter to               15209, H. R. 9238, II. R. 12674, II. R. 13052, H. R. 13872, H. R. 14021,
the Speaker e for thie gentleman fromn Tennessee (o rise to a                  II. R. 14137, H. I. 14723, II. R. 15405, H. R. 15655, H. R. 15656, H. R.
question (if the privilege o'i the HIiouse?                                    15680, HI. R. 16364, II. J. Res. 339, H. J. Res. 362, H. R. 16258, II. R.
   Tlie SPEAKER. That would not involve the privilege of the                   16291, II. R. 16685, H. R. 16732, H. R. 17017, H. R. 4824, and II. R.
 lHouse.                                                                       9320.
                                                                                  Mr. WuRnzIAcl then relinquished the chair to Mr. REECE, the next
   Mr. ('ISP1.   I understand this is a matter of privilege in the             ranking majority member, and moved to reconsider the motion by Mr.
house itself. If he rises to : question of privilege in the House
                                                                               HIILL to report H. R. 8305, with the recently submitted recapture amend-
and presented the imutter tihe Speaker ought to bring it before
                                                                               ments, without recommendation, which had been adversely acted upon
fli('   iHouse for consideration.                                              by the committee on February 7. The secretary called the roll. The
   The SPEAKER. The C(hair thinks that in presenting a ques-
                                                                               following members voted "aye":
tion of lpersonal privilege tile Member is not required, in the first
                                                                                  Ayes, 11: Mr. Wurzbach, Mr. Reece, Mr. Speaks, Mr. Walnwright, Mr.
place. to make a motion, hut must state the reason which would
                                                                               IIoffman, Mr. Fisher, Mr. Wright, Mr. Garrett, Mr. Hill, Mr. Chapman,
give hiin general privilege.
                                                                               and Mr. Boylan (proxy).
   Mr. ('CISP'. Does not that apply to- a case of personal privi-
                                                                                  The following member voted "nay " :
lege?
                                                                                  Nay, 1: Mr. Quin.
   The SPEAKER. It is specifically held that it does not apply                    Whereupon the Chair declared the motion to reconsider had prevailed.
in (the case of personal privilege, but it does apply to a privi-                 Mr. QUIN then made the point of order that two-thirds were required
leged r(solultion. I read from section 734 of the Manual:                      to reconsider the motion. The Chair overruled the point of order.
   in preseniting a question of personal privilege the Member is not re-       Mr. WURZnACnresumed the chair.
quired, in lthe first instance, to make a motion or offer a resolution, but       Mr. REECE moved that the committee report H. R. 8305 with the
such is not the rule in presenting a case involving the privilege of the       amendments agreed upon by the Muscle Shoals subcommittee and the
House.                                                                         recently submitted recapture amendments, as amended, to the House
    Mr. IIE(GG.      Mr. Speaker, is it a parliamentary inquiry that           with a favorable recommendation. The roll was called on Mr. REECE'S
is IrolMHnidedlt   tio tle Speaker as to why he did so?                        motion, and the following members voted "aye ":
    Tim SI'IEAKEli.       Tl'e ('hair thinks so. Of course, it is the             Ayes 11: Mr. Wurzbach, Mr. Reece, Mr. Speaks, Mr. Hoffman, Mr.
duty of tie ('hair to refer hills to tie appropriate calendar if               Fisher, Mr. Wright, Mr. Garrett, Mr. McSwain, Mr. Hill, Mr. Chapman,
they are regularly reported from the committee. In this case                   and Mr. Boylan (proxy).
the' ('hair has some doubt ;andl lins not referred the bill to the                The following Members voted " nay ":
Union ('alendar. The ('liir will he glad to hear a discussion of                  Nays 2: Mr. Wainwright and Mr. Quin.
the ma,tter, as tle Chair regards it as of much importance, on                    The Chair declared the motion carried.
which thlere are no plrecrtedettis.                                               The committee directed Mr. REECE to submit the report on II. R. 8305
                                                                               to the HIouse.
    Mr. REEhCE. Mr. Speaker. the Committee on Military Af-
                                                                                  The committee, upon motion of Mr. WAIXWRIGHT, voted to have
fa:irs lmet in the regulair omlmittee room on Tlhursday, which
                                                                               hearings on . It. 14038 and the war history bill by Mr. ANDREWS at
wais the regular meeting day of tile committee.
                                                                               Its next regular meeting, Tuesday, February 19, at 10.80 o'clock. There-
    T'he (ommittee for a period of years 1ms Iheld out Tuesdays
                                                                               upon the committee adjourned.
and ThursdaIys as regular meeting days of the committee, and                                                                  B. CARROLL REECE,
by mulunlI understanding of the nemlbership these are our regu-                                                                     A cting Secretary.
lir days, and that information is carried in various publications.
    The Congressional Directory lists a number of committees                      The above three pages is a correct report of the proceedings
anil states their regular meetings drly, under the remark-                      of the committee, and the original copy is signed by 11 of the 12
    ('Coniitltes other than those mentioned meet upon the call of the           members present.     The other member, I understand, agrees that
chairmen.                                                                       the proceedings are correctly reported.
                                                                                  Mr. COOPER of Wisconsin. Will the gentleman yield?
   In this list occurs the Committee on Military Affairs, listing                 Mr. REECE. Yes.
its regular mueting days as Tuesdays and Thursdays. The                          Mr. COOPER of Wisconsin. I notice in that report a state-
('ommittee oni Military Affairs also lublishes a little pamphlet                ment that one or two members were present by proxy. Just
which contains the naimes of the members of the committee and                   what is meant by "proxy"? What do you mean by members
the vairiots suhconmmittees, and on the front page of the pam-                  voting by proxy in a committee meeting?
phlet appears the following under the head, " Regular meet-                       Mr. REECE. Only one member was present by proxy, and
ings ":                                                                         in accordance with the rules of the committee he had submitted
   'Tuesdays and Thursdays at 10.30 n. m. and on the call of the                a proxy in writing and handed it to one of the members, the
chalirniman.                                                                    proxy stating how his vote should be cast.        The member hold-
   Accorlingly, on Thursday, last, the committee assembledI in its              ing the proxy submitted it to the acting chairman to have it
coiinmittce room. A quorumin was present and tle chairnan was                   properly recorded before the committee.
 ibetiil. Tlie ranking meImber of tlt'e committee called the meet-                Mr. COOPER of Wisconsin. Was there a quorum present?
                                                                                  Mr. REECE. There was a quorum present without it; there
ing to order.    I think it mniy Ih' well for ime at this place to read
for the infornmltion of the Speaker the minutes of tie com-                     were 12 present without the proxy, 11 being required to make a
mittee. I read:                                                                 quorum.
                                                                                  Mr. GARRETT of Texas. If the gentleman from Tennessee
   The Committee on Military Affairs met in regular session Thursday,           will permit, the practice in the committee for at least 12 years
Fl'ernu:ry 14, in the appointed committee room. The meeting was                 has always been, when bills have been considered and hearings
called to order by Mr. Wru'aziACe, the ranking majority member, pre-            had, and a member desired to leave the city to go home or else-
siding in the absence of the chairman. The roll was called, and the             where, who had his mind made up on that particular legislation,
following niemlibers answered to their names :                                  that the committee has always granted him the right to leave
   Mr. Wurz.bach. Mr. IReece, Mr. Speaks, Mr. Wainwright, Mr. Hoffman,          his written proxy with the chairman of the committee, direct-
Mr. Quin, Mr. Fisher. Mr. Wright. Mr. Itoylan (proxy), Mr. Garrett,             ing some member to cast his vote for or against, which was
Mr. MeSwain. Mr. Hill, and Mr. Chapman.                                         done in tils case, some having voted for and some against the
   ''le clhairman announced. 13 members having answered to their names,         former action taken in the consideration of this bill.
a quorumIi
    1       was present, and the meeting opened for the consideration of          Mr. DYER. That can only be done by the unanimous con-
business.                                                                       sent of the committee, under the rules of the House.
   Mr. IIEECE was designated as acting secretary to record the proceed-          Mr. REECE. There was no objection raised to the proxy, I
ings of the imeeting. the regular clerk being absent. On motion, a              might add incidentally.
conmmittee of three memiersis was appointed to notify the chairman that          Mr. COOPER of Wisconsin. Suppose a proxy were given to a
a quorum was present in the committee room, this being the regular              man to vote in his discretion. Would that be proper under
meeting day of the conmmittee; that there was business to be transacted         your rule?
by the conmmitcee; and that the chairman be requested to preside. This            Mr. REECE.       It would, under our form of procedure.




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   Mr. COOPER of Wisconsin. In other words, if a member of                   Mr. MAPES. In the case of the meeting of the Military
the committee were not there at all but was in the city of New             Affairs Committee were the absent members notified of the
York, and he handed over to another member of the committee                meeting?
in writing authority to vote in his discretion, that would be                Mr. REECE. They were not notified in writing, but, accord-
legal under your rules?                                                    ing to nm. understanding, it was generally known there was
   Mr. REECE. That would be legal. Of course, as a matter                  going to be a meeting on this day, it being the regular meeting
of fact, there is always a direction as to how the vote shall be           day of the committee. The clerk, however, did not notify the
east.                                                                      committee members.
   Mr. TILSON. Mr. Speaker, I do not wish to interpose a point               Mr. MAPES. As far as the gentleman knows did the absentee
of order, but it seems to me that the question of a proxy does             members have notice of the meeting and have a chance to
not enter into this question at all, and it simply befogs the              exercise the privilege of attending or not as they saw lit?
issue. Since the question of a proxy has nothing to do witlh                 Mr. REECE. They had constructive notice, this being the
the point to be decided it should not be discussed at this time.           regular meeting day of the committee.
   Mr. LUCE. Will the gentleman yield?                                       Mr. BACON. Will the gentleman yield?
   Mr. REECE. Yes.                                                           Mr. REECE. Yes.
   Mr. LUCE. Has this committee actually met on each Tues-                   Mr. BACON. What is the usual time of meeting of the
day and Thursday during the session?                                       committee in the morning?
   Mr. REECE. It has met on a majority of these days. I am                   Mr. REECE. Ten thirty.
not prepared to say that it has met on every one.                            Mr. BACON. What time did the committee meet at this
   Mr. LUCE. The matter is of such vital consequence to other              time?
committees that I would ask the gentleman to correct us if we                Mr. REECE. We met at 10.30. We were called to order at
are wrong in supposing that there must be a call?                          10.30 or approximately that time.
   Mr. GARRETT of Texas. Let me say to the gentleman that                    Mr. STOBBS. Will the gentleman yield?
the practice in the Committee on Military Affairs for the past               Mr. REECE. Yes.
12 years has been to meet on Tuesdays and Thursdays unless                   Mr. STOBBS. On all your other regular meet ing days the
by unanimous consent those days were passed over. If the                   card which the gentleman has referred to has gone out as a
committee met on Tuesday, and it were desired not to have a                notice, and on this particular day this card did not go out?
meeting on Thursday, by unanimous consent the Thursday meet-                 Mr. REECE. No; I am not prepared to say it has gone out
ing was passed over until the next Tuesday.                                on all occasions, but ordinarily it has gone out.
   Mr. HUDSON. Will the gentleman yield?                                     Mr. STOBBS. In other words, the custom is to have that
   Mr. REECE. I prefer to complete my statement, if the gen-               card go out to each member of the committee, even if it is
tleman will permit me to do so.                                            a meeting on a regular meeting day; is that true?
   Mr. HUDSON. I desire to ask a short question. During this                 Mr. REECE. Yes; that is the general custom.
session has the committee ever met on any of these days with-                Mr. LAGUARDIA and Mr. BEGG rose.
out a call by the chairman?                                                  Mr. LAGUARDIA. Can the gentleman state on how many
   Mr. REECE. The custom has been for the clerk to send out                Tuesdays and Thursdays during the present session of this
notice of the meeting. I have one of the notices in my hand.               Congress no meeting was held and no notice sent out?
The card which is sent out is captioned:                                     Mr. REECE. There have been but few, if any, Tuesdays
   Notice of meeting of the Committee on Military Affairs. The Com-        and Thursdays when we have not had meetings, except very
mittee on Military Affairs will meet at a certain hour on a certain day.   early in the sessions.
By direction of the chairman.                                                Mr. LAGUARDIA. As a matter of fact, would not the records
                                                                           of the committee show that you had meetings on 10 of the
   The card is signed by the clerk. That is not a call but merely          regular days where the notice was sent out, and nine of these
a notice that the committee is going to meet on those days.                days, no notice having been sent out, and on three of these days
   Mr. HOWARD of Nebraska and Mr. HUGHES rose.                             the rooms of the committee were occupied by subcommittees,
   Mr. HOWARD of Nebraska. Will the gentleman yield?                       thereby making 10 of these days regular meetings of the com-
   Mr. REECE. I should prefer to go ahead.                                 mittee on proper notice and 12 of these days no meetings of the
   Mr. HUGHES. I would like to ask the gentleman a short                   full committee and no notices sent out?
question.                                                                    Mr. REECE. I am not prepared to verify that statement.
   Mr. REECE. I would like to go on with my statement, and                   Mr. BEGG. Will the gentleman yield for a question right
I will ask that I be permitted to do so. Strange to say there              on that point?
are few precedents on this question. There is one, however, of               Mr. REECE. I yield to the gentleman and then I shall yield
 which doubtless the Speaker is aware, which is very nearly                the floor.
parallel to the situation presented here. This appears in                    Mr. HOWARD of Nebraska. I do not want to be persistent,
Hinds' Precedents, Volume IV, paragraph 5488:                              Mr. Speaker.
   On June 7, 1906, Mr. James A. Tawney, of Minnesota, proposed lo           Mr. BEGG. I should like to ask the gentleman this question:
report from the Committee on Appropriations a bill to supply a certain     What was the reaction on the minds of the members of the
deficiency in an appropriation.                                            committee if they received no notice on this particular day ofl
   Mr. John J. Fitzgerald, of New York, made the point of order that       a committee meeting? What was the customary reaction if they
 the report was not properly authorized.                                   received no notice?
   It appeared in debate, by the undisputed statement of Mr. Tawney,   Mr. REECE. Of course, I can not give the reaction on any
that the committee was not formally called together, but that a ma- Member's mind except the Member speaking, and I have
jority of the committee were present at the time and authorized the always-
report.                                                                Mr. BEGG. I will make the question easier.
  On this statement the Speaker overruled the point of order.          Mr. REECE. No; I will answer the gentleman.
  Mr. Speaker Cannon was in the chair.                                 Mr. BEGG. Did the committee member report at the meeting
  Mr. Oscar W. Underwood, of Alabama, having appealed, the appeal room if there was no notice to find out if there was going to be
was laid on the table.                                              a meeting? What has been the custom?
                                                                       Mr. REECE. I have gone on the assumption that there was
  There are other precedents dealing with a report being sub- going to be a meeting of the Committee on Military Affairs
mitted when some question of irregularity was charged, but so on Tuesdays and Thursdays. If I received no notice, I assumed
far as I have been able to ascertain the questions involved in the responsibility to check up and see if there was going to be
these precedents are not on all fours with the one involved a meeting. I think a majority of the Members have done
here. There is a drift in all the rulings toward permitting the likewise.
report to be filed when it was authorized by a majority of the         Mr. BEGG. Was that the common practice, that committee
members of a committee meeting in the committee room.               members if they failed to get a notice either by telephone or
  Mr. NEWTON. Will the gentleman yield there?                       personal appearance at the committee room showed up just
  Mr. REECE. Yes.                                                   the same?
  Mr. NEWTON. In this particular case, however, Mr.                    Mr. REECE. The assumption has been we would have a
Tawney was the chairman of the committee, was he not?               meeting on the designated days unless the committee had
  Mr. REECE. He was chairman of the committee, but I can ordered otherwise.
not understand how the presence or the absence of the chair-           Mr. BEGG. Then why the notice?
man would affect the validity of the meeting of the committee.         Mr. REECE. Merely to call the attention of the Members to
  Mr. MAPES. Will the gentleman yield?                              the meeting of the committee, that they may not overlook it.
  Mr. REECE. Yes.                                                   It is on the same principle, in my judgment, as the ringing of




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 the hells 1.i minutes before the House convenes. The bells are     Mr. LAGUARDIA. Can the gentleman state how many bills
  rung merely to call the attention of the Members of the House besides the bill that this question was raised on were reported
  to thel fact that the House is about to convene; but the House out   during the Thursday meeting?
  would c(onvene il regular session even though the bells should    Mr. REECE. About 30 bills. I might say that these were
  not he rung.                                                   mostly private bills which had been passed upon by the sub-
     Mr. IIHOWARI) of Nebraska and Mr. LAGUARDIA rose.           committees.
     Mr. LAGUARDIA. Will the gentleman yield further?                Mr. MORIN. Mr. Speaker, when my colleague began his
    Mr. REECE. I yield first to the gentleman from Nebraska.      statement I thought that the point was raised on the legality of
    Mr. HOWARD of Nebraska. I would like to ask the gentle- the alleged meeting that met in the committee room on Thurs-
 man from Tennessee to state whether the committee report day, but by the questions propounded by the gentleman from
 which he Ilis bee,i divulging was a report of an executive New York [Mr. LAGUARDIA], referring to the meeting on Tues-
 meeting of tlie cominittee.                                      day, I am compelled to make some explanation to the House as
     Mr. REECE. I presume this was an executive session.          to what was done on that day.
     Mr. II(\WAv\I) of Nebraska. I am not raising the point of       I appeared at the committee room at 10.30 Tuesday morning.
 order.                                                           for the reason that on Monday afternoon members of the com-
    Mr. REECE. I feel this action would meet with the approba- mittee had asked me on the floor of the House if we were to
 tion of I li members of the committee, and that the Members have a meeting on Tuesday. I informed them that there was no
 of lihe House are entitled to the information.                   business that 1 knew of to bring before the committee, and there-
    Mr. HOWARD of Nebraska. I am not raising the point of fore I did not see the necessity of calling the committee together
 order, but I may, however, if you do not give me a chance. I on Tuesday.
 simply desire to call the attention of the gentleman and the        Mr. JOHNSON of Indiana. Mr. Speaker, will the gentleman
 Memnbers of the Ihouse,generally to the fact that once upon a yield?
 timn I stood here and inadvertently,-perhaps, divulged a little     Mr. MORIN. In just a minute. Later in the day, or in the
 bit of ile secrecy of an executive meeting of my committee. I evening, I heard that a member of the committee had called
 was called to order and tli Speaker properly rebuked me and up other members by telephone and had told them that there
 took me off the floor momentarily, but he let me back again would be a meeting on Tuesday. I decided then that while it
 pretty soon. I am not going to make the point of order, but was not called according to the established custom of 16 years,
 I merely wanted to call attention to it.                         during which I have been a member of the committee, and not-
    Mr. 1IEGG. One more question, if the gentleman will yield. withstanding that on the day previous Mr. GLYNN, chairman of
 Did any lmember of the committee get notice by telephone or a one of the subcommittees, had made arrangements with the
 request by telephone or otherwise to attend the meeting?         chairman of the Military Affairs Committee to use the com-
    Mr. REECE. That I can not state.                              mittee room that day for a subcommittee meeting, I concluded
    Mr. LAGUARDIA. Can the gentleman tell us at what time that I would appear, and that if there were a quorum of mem-
 this alleged meeting actually commenced doing business?          bers present I would telephone the remaining members, and if
    Mr. REECE. I can not state the exact time. It was between they desired a meeting 1 was willing to have it
 10.30 and 11 o'clock; I think it was very shortly after 10.30.     There was no one present when I appeared in the room at
    Mr. LAGUARDIA. What time did it adjourn?                     10.30 o'clock. I walked across the room to my private office,
    Mr. REE('E. It adjourned before 12 o'clock.                  looked at a letter; then I returned to the committee room. At
    Mr. LAGUARDIA. This was on Thursday-was there a meet- 10.35 o'clock Mr. GLYNN came in. Mr. WuazaAcu came in also.
 ing of the committee the Tuesday preceding?                     At a quarter of 11 I asked Mr. GLYNN if he had anything par-
    Mr. IlEECE. A quorum was not present, and the chairman ticular on his mind and he said that he would like to have
 adjourned the meeting.                                          the committee room for a meeting of his subcommittee. I then
    Mr. LAGUARDIA. Any business done?                            said, "Well, there is no quorum present, and it looks as though
    Mr. REECE. Not officially, except some of the subcommittees there will not be." I then called the committee to order and
 held meetings.                                                  requested the clerk of the committee to make a note of those
    Mr. LAGUARDIA. Any bills reported out on Tuesday?            who were present. As there was not a quorum present I declared
    Mr. ItEECE. A majority of the members assembled in the the committee adjourned, and turned the room over to Mr.
 committee room after the committee was adjourned, and the sub- GLYNN for a meeting of his subcommittee. I had an appoint-
 committees reached an agreement with reference to the bills nent with the chairman of the Senate Committee on Military
 that were before them.                                          Affairs, to make arrangements for conferences on seven bills
    Mr. LAGUARDIA. As a matter of fact, did the meeting of we had in conference.
 members who remained in the room after the adjournment of          Mr. WRIGHT. Mr. Speaker, will the gentleman yield right
 the regular meeting-d(id they report any bill?                  there?
    Mr. REECE. None were reported to the House.                     Mr. MORIN. No; I will not yield now. I went to see Senator
    Mr. LAGUAIDI)A. Did tlhat meeting of members which re- REED and remained at his office until about 10 minutes of 12
 mained in the room after the regular meeting adjourned recess o'clock. I then came back to the House, and after transacting
 to meet on Thursday?                                            some business in the House returned to my office and was in-
    Mr. REE('E. There is some doubt about the discussion that formed that after I had left that morning another subcommittee
 took place on that question. but members were generally agreed had come in and held hearings. At 20 minutes of 12 the sub-
 that the comlnlittee having been formally adjourned it would be committees concluded their work, and those present decided ti
 best not to undertake to transact business on that day but wait organize a meeting of the committee with Mr. WURZBACH acting
 until Thursday. the next regular meeting day, when the com- as chairman. At 15 minutes of 12 o'clock Mr. GLYNN, chairman
mittee would reasseimble.                                        of the subcommittee that had a large number of bills before it,
    Mr. LAGITARDIA. When I asked the question my colleague left the room.
from Texas nddledl his head,                                        I did not ask him whether there were any bills reported be-
    Mr. WIRZ'AIACIH. If the gentleman will yield, I think this fore he left or not. At 10 minutes of 12 Mr. CHAPMAN left
is a fair statement. On Tuesday the chairman of the committee the room. So the committee organized then in a few minutes,
 [Mr. MoiIN] it 10.30 o'clock came into the committee room and according to the minutes which the Speaker has in his hand,
announced that there was no quorum present and adjourned and reported out 21 bills. At 5 minutes of 12 there was a dis-
the meeting. Within five minutes thereafter, after the chair- cussion as to whether or not they would take the Muscle
man announced that there was no quorum present, members Shoals bill up at the next meeting, and the minutes will show
(came in; and my impression is that there was a quorum pres- that on motion of a member present they agreed              to recess.
ent within 15 or 20 minutes after the chairman had left the The motion was made by Mr. WRIGHT that the meeting recess
room. It is my recollection that at this meeting the secretary until 10.30 o'clock Wednesday morning. After the discussion
of the conunittee being present was directed to notify members of that motion Mr. WRIGHT amended his motion to have the
to be present t the meeting to be held on Thursday.              committee meet at 10.30 o'clock Thursday morning.
    Mr. LAGUARDIA. That was after the regular meeting had           When I saw the minutes of the meeting I wrote to the
adjourned?                                                       Speaker making a formal protest against any of the bills re-
    Mr. WURZBACII. After Mr. MonIN had left the hall.            ported by this meeting being placed on any calendar of the
    Mr. LAGUARDIA. Could you tell me if the personnel of the House. Now, as to the meeting on Thursday: No request was
conlnittee who met on Thursday was the same as those who made to me by any member of the committee to have a meeting
remained in thie room on Tuesday.                                on Thursday, as has been the custom in the committee for the
    Mr. REECE. Additional members were also present. Per- 16 years that I have been a member of that committee. I had
mit me to add that the committee on Thursday met as a new knowledge of this meeting only as being a continuation of an
committee meeting and not as after a recess.                     illegal meeting by a group of committee members. I did not




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get to my office until about a quarter to 12 o'clock. having                          Mr. DYER. And if he never called it, they never could nrcet.
important matters to attend to elsewhere. In the belief that the                      Mr. REECE. Is it the gentleman's view that if the chairman,
meeting in the committee room was a continuation of the illegal                     because of illness or some other reason, failed or refused to call
meeting of Tuesday, of course, I decided not to appear in the                       a meeting of his comnittee that con;mmittee would be helpless to
committee room and take part in what I fully believed to be                         consider legislation during the Congr.ss?
an illegal meeting.                                                                    Mr. MORIN. I think the chairman would assign somebody
  I have been a member of the Committee on Military Affairs                         else to call the meeting. I would under those cireulustnuces.
for 16 years. There has never been a meeting of that com-                              Mr. HILL of Alabama. Will the gentleman yield?
mittee except by the call of the chairman, regardless of what                          Mr. MORIN. Let me finish mly statement.
days are set for regular hearings. The gentleman stated it has                         Mr. SPEAKS. Will the gentleman yield for a brief question
been the custom to meet on regular meeting days, Tuesdays and                       on that very point?
Thursdays, for 10 or 12 years. I shall refer to the minutes of                        Mr. MORIN. I refuse to yield at this particular time. For
the meetings that run back for 10 or 12 years, having examined                      information of Members of the House I read from minutes of
them carefully, and give this information to the House.                             the present Congress beginning il December the number of
  In the Sixty-seventh Congress the regular meeting days were                       coinmittee meetings held and the days on which they were
set for Tuesdays and Thursdays, and were not observed. In the                       held.
second session of the Sixty-seventh Congress, beginning De-                           On the following regular meeting days of this session of Con-
cember 6, 1921, the chairman stated the committee would meet                        gress falling on a Tuesday or a Thursday no meetings were
regularly and only meet on call. On December 7, 1922, in the                        lheld by the Military Atfairs Comnlittee: December 4. December
Sixty-eighth Congress, it was agreed that the chairman should                       6. Decemler 13, December 18, January 3, January 5, January
call all meetings. No meeting days were set, but we met always                      15, and January 24--eight regular meeting day..
on the call of the chairman. In the Sixty-ninth Congress, when                         On the following days of this session of Congress falling on
we organized the committee, and I became chairman, I presented                      a Tuesday or ta T'llhursday meetings were held by the full com-
some rules that I wished the committee to adopt by means of                         mittee on the call of the chairman: Decemlber 11, lDecembner 20,
which I thought we might expedite business and have the mem-                        January 8, January 17. January 22, January 29. January 31,
bers become more interested in the committee hearings. I shall                      February 5, and February 7-nine so-called regular meeting
refer to those later.          At the first committee session in the                days.
Seventieth    Congress no        mention    is   made in       the committee           On the following regular meeting days of this session of Con-
minutes of any fixed regular meeting days. When I became                            gress falling on a Tuesday or a Thursday meetings were held
chairman of the committee at the first session of the Sixty-                        by subcommittees of the Committee on Military Affairs: De-
ninth Congress in December. I outlined my policies to the conm-                     cenlber 18, Suhcomlnittees Nos. 3 and 5; January 15, Sublom-
mittee and asked if they would not approve and adopt them,                          mittee No. 2: and January 24, Subcommittees Nos. 2 and 4.
and I shall ask the Clerk to read the minutes of that meeting.                        On the following days of this session of Congress meetings
  The SPEAKER.           Without objection, the Clerk will read.                    were held by the Committee on Military Affairs on the call of
  The Clerk read as follows:                                                        the chairman on January 11, January 25, February 1, February
                                             FRIDAY, December 18,192.;.             2, February 4, and February 7, these dates not falling on a
                                                                                    Tuesday or a Thursday.
   The first meeting of the Committee on Military Affairs of the House
                                                                                       Now. the gentleman from Tennessee Ias referred to a call.
of Representatives in the Sixty-ninth Congress was held this date in the
committee room. The committee was called to order by the new chair-                 Tile only evidence he seems to have thlat there are regular meet-
                                                                                    ing days on this committee in thle Seventieth Congress is the
man, Hon. JOHN M. MOaIS, of Pennsylvania, at 10.40 witl aill the
                                                                                    record of a previous Congress. Of course that cal not lie re-
members present with the exception of Mr. Hill, of Maryland, Mr.
                                                                                    lied upon, because the Congressional Directory of the Sixty-
Frothingham, and Mr.        cSwA.     The chairman made a short state-
                                                                                    eighth Congress--
ment outlining his policy as chairman, and asking the cooperation of
every member. lie also stated each subcommittee would be given an
                                                                                      Mr. WRIGHT.      Mr.
                                                                                                       . Speaker, will the gentleman yield there?
                                                                                      Mr. MORIN.     I can not yield just now.
opportunity to consider the bills referred to each one, and would be
                                                                                      It is evident that it was just copied from some previous book.
expected to take care of any bill reported to the House when it came
                                                                                    Before each issue of the directory is published the Joint Com-
up for consideration.
                                                                                    mittee on Printing send a query to the clerk of each committee.
   H. F. Sedgwick was appointed clerk, William E. Murray, assistant
                                                                                    So far as the Military Affairs Committee of the House is con-
clerk, and Raymond L. Franklin, janitor for the committee, on motion
                                                                                    cerned, the clerk gives the meetinlg days as Tuesday anti
of Mr. Fisher and unanimous vote. The chairman of the various sub-
                                                                                    Thursday as a matter of form. As to the meeting days of
committees were named as follows: Mr. MObIN, No. 1; Mr. JAMri, No.
                                                                                    the committee and tle meeting dys of thsuibcommittees in
2; Mr. RANSLEY, No. 3; Mr. Hill of Maryland, No. 4; Mr. Frothingham,
                                                                                    the Sixty-ninth Congress. the Congress in which we did desig-
No. 5; Mr. W'CnzBACH, No. 6; Mr. REECl, No. 7; Mr. SPEAKS, No. 8;
                                                                                    nate Tuesdays and Thursdays on the call of the chairman, the
and Mr. WAINWRIGHT, No. 9.                                                          regular meeting days are not stated except. on the back:
   The chairman asked the members to notify the clerk of the commithe
                                                                                    " Regular meeting days on Tuesdays and Thursdarys."
ahead of time when it was expected to bring up any measure for con-                   Now, as to the meeting held on Thursday, 1 will say to the
sideration by the committee.                                                        Members of the House that no request was made of me to call
   It was agreed the committee should meet on Tuesdays and Thursdays
                                                                                    a meeting on that day, or to have a meeting.
at 10.30 o'clock, on call of the chairman. The motion was made by Mr.                 Mr. MICHENER.        Mr. Speaker, will the gentlemanI yield?
JAMr~S and carried unanimously.                                                       Mr. MORIN. Yes.
   On motion of Mr. JAMES, agreed to by the committee, the following                  Mr. MICHENER. Was the regular committee clerk present
resolution   regarding   the    reporting   of   private   bills   was   adopted:
                                                                                    at tills so-called "rump" meeting?
"cResolved, That private bills which were reported favorably by the
                                                                                      Mr. MORIN. On Tuesday?
Committee on Military Affairs and placed on the calendar during the                   Mr. MICHENER. Yes. W'ere the records of that meeting
Sixty-eighth Congress and failed to become law, and which have been
                                                                                    reported in the regular minute book?
reintroduced at the present session of the Congress, be, and the same are             Mr. MORIN. They were noted by the clerk and a memo-
hereby, again reported by the said committee, the new reports to be                 randum of the same was handed to the Stpeaker.
made by the members of the subcommittees having charge of private                     Mr. MICHENER. And did the chairman read those minutes
bills, and to be named by tie chairman of the said subcommittee."                   before the meeting of the committee here complained of?
  Mr. DYER. Will the gentleman yield for a question?                                  Mr. MORIN.     I (lid.
  Mr. MORIN. Let me complete my .statement.                                           Mr. MICHENER. Then, the chairman had knowledge that
  Mr. DYER. Just one question coming out of the minutes.                            his committee was to meet on the regular committee meeting
  Mr. MORIN. One question.                                                          day in the regular room, at the regular meeting hour, and pur-
  Mr. DYER. The minutes say the committee shall meet on a                           posely absented himself from the meeting?
certain day of the week on the call of the chairman. Does the                         Mr. MORIN. No. The only knowledge I had of any              lleet-
chairman of the Committee on Military Affairs claim that that                       ing was that a recessed meeting of the meeting on Tuesday,
committee could not meet on those days or any other day unless                      which I considered was illegal, was to be held, and I declined
the chairman called the meeting?                                                    to take any part in it. I did not absent myself intentionally.
  Mr. MORIN. 1 do not know of any rule by which they could,                            Mir. MICHENER. The majority of the committee met and
and I have been a member of the committee for 15 years, and                         attempted to get a meeting of the whole committee. They
there have been no meetings of the Committee on Military                            served notice on the chairman on that date?
Affairs, to my knowledge, either on regular or irregular days,                        Mr. MORIN.     No; they tdid not.
without a call from the chairman.                                                     Mr. MICHENER. The chairman's clerk was present?
  Mr, REECE. Will the gentleman yield-                                                Mr. MORIN. The chairman's clerk was not present.




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  Mr. MICIIENEf.      They reported the minutes to the chair-           On Thursday of last week, at a meeting of the Military
man. The chairmiamai   read the minutes. IIe then had notice          Affairs Conmmittee, the legality of which is not in dispute, a
that the ,'inilitlee would meet on Thursday-the regular?              motion was made to report the so-called Muscle Shoals bill
  Mr. MORIN.      The minutes of Tuesday?                             to the House without recommendation; that motion failed.
   Mr. MICHIIENEIR. Yes.                                              Now, it becomes significant, in view of the motion to recon-
   Mr. MORIN. - Yes ; that is right.                                  sider made on Thursday of this week. as to whether that motion
   Mr. MICIIENER. They decided that the majority of the               was legal or not. First, however, tie Chair wants to lay down
colmittee lhadbusiness and wanted a committee meeting. The            what he thinks is a sane and sensible rule-there being none in
cha:irmlin: was Ihen present in the city?                             existence that the Chair knows of-as to the legal status of a
   Mr. MORIN. I was at the adjourned meeting of the regular           meeting of a committee. The gentleman from Pennsylvania
meetin;;g at a quarter of 11.                                         states that in his recollection there have been no meetings of
   Mr. MICHIENER. The gentleman was in the city and was               the Committee on Military Affairs except those called by the
present and knew ltht the majority of the committee wanted            chairman. The Chair would be very loth, though, to hold that
to mneet on the regular committee day?                                it is necessary for any legal meeting of a committee that it
   Mr. MORIN. No.                                                     should be called by the chairman. The Chair believes there
   Mr. MICIIENER. And they determined to meet on the regu-            must be some other method of securing legality. Therefore
lar conmmitlee meeting day?                                           the Chair would not want to take the extreme position of
   Mr. MORIN. No. I (lid not know that there was any person           holding that a meeting of a conmnittee to be legal must have
inltle committee room except the subcommittee until I came            been held at the call of the chairman; on the other hand, he
back to mly office at 1 o'clock that afternoon.                       would not want to accept the other horn of the dilemma as
   The SPEAKER. In order that there may be no dispute as              laid down in section 26 of Jefferson's Manual, which provides:
to the facts, the gentleman from Tennessee said specifically that       A committee meet when and where they please, if the House has not
this meeting was not the result of a rump meeting, but it was         ordered time and place for them, but they can only act when together,
a regular meeting on the regular day at the regular time.             and not by separate consultation and consent-nothing being the report
  Mr. MORIIN.        If we follow the rules of the committee during   of the committee but what has been agreed to in committee actually
the Sixty-ninth Congress, Tuesdays and Thursdays were agreed          assembled.
up ll as regulir meettilg days, but by tilecall of the chairman;
 ,noregular meeting days were designated for the Seventieth             The Chair would not want to hold that a committee might
                                                                      imeet and transact business at any time or place.
('Cngress. There have been no meetings held and no group of
nmelbers has attempted to have a meeting on Tuesday or Thurs-           In this case tle Chair understands it to have been for many
day exc'ept by call of the chairman until last Tuesday.               years, at least 20, the practice to carry this language in the
   Mr. IIOWAlRD of Oklahoma. Mr. Speaker, will the gentleman          Congressional Directory, under the heading:
yield for a question?                                                   Meetings days of House committees: Committees other than those
   Mr. MOI IN. Yes.                                                   mentioned meet upon call of the chairman.
   Mr. IIOWARD of Oklahoma. Does the gentleman maintain                 And there, among other committees, it is stated that the
that there have not been any meetings of this committee during        meeting days of the Committee on Military Affairs are Tuesdays
the Sevenitieth Congress except by his call? In what way did          and Thursdays. In the pamphlet containing the subcommittees
the gentleman issue his call?                                         of the Committee on Military Affairs it appears, on the first
  Mr. MORIN.      Notices were sent out by the chairman not later     page:
tlila tireday before, notifying the members of the committee             Regular meetings, Tuesdays and Thursdays, at 10.30 a. m., and on
tiraIt there woul(ld lie a meeting on a certain date and certain
                                                                      call of the chairman.
lhour.
    Mr. IIOWARI) of Oklahoma. Is not that the practice of all           Query: If a majority of the committee assembled at 10.30,
tie (clnmnittoes of the House?                                        approximately, on Tuesday or Thursday morning and acted
    Mr. SPEAKS rose.                                                  together as a committee-a quorum always being present-is
    The SPEAKER. For what purpose does the gentleman from             their action legal or otherwise? There is no question in the
(thin rise?                                                           Chair's mind about the illegality of the proceedings of the Com-
  Mr. SPEAKS.         For the purpose of making an observation,       mnittee on Military Affairs on last Tuesday. It appears that the
which I feel should appear in the RECORD. It is unfortunate           chairman of the committee came to the committee room at
 lthat many facts and circumstances bearing upon the question at      approximately 10.30 a. m.     He found only two other members
issue have not been clearly presented for the Speaker's consid-       present, and in about a quarter of an hour, having waited for a
eration and for the inflornriation of Melmbers of the House.          quorum, adjourned the meeting on the ground that there was no
    The genitleman from Peninsylvania [Mr. MORIN], chairman of        quorum present.
                                                                        Tie rest of the proceedings taken from that point on, in the
thleMilitary Comnrittee. holds tthe view that the committee could
                                                                      opinion of the Chair, are entirely illegal, whether a quorum
not ltreet for the transaction of business without his authoriza-
                                                                      was in fact present or not. The Chair would think from the
tion. It' this position is correct, could not the chairman prevent
                                                                      facts that a quorum was not present until the time when action
consideration of any bills referred to his committee? This is
                                                                      was taken by that committee, but whether that be true or not,
plr;ictically tihe only question involved in the controversy.
                                                                      in the opinion of the Chair there could be no legal meeting
   Mr. GARRETT of Tennessee. Mr. Speaker, before the Chair            of that committee     following the adjournment for lack of a
rules, I would like to mnlke this inquiry: The inquiry of thle gen-   quorum.
tlem:an fronm Tennessee [Mr. RlrCE I was addressed wholly to            Now, we come to Thursday of this week. It seems to be
lihe question of the proceedings on last Thursday, was it not?        undisputed that 12 members of that committee assembled in the
   The gentleman fromn TTennessee [Mr. REECE] made no inquiry         regular committee room at 10.30. the time noted as being the
as to the proceedings of the preceding Tuesday, but that matter       regular time for a meeting on Thursday, and proceeded to do
wa.s brought into the REcoRD by inquiries made by other gentle-       business. Query: Was their action legal or not? Now, an-
men upon the floor. I should like to inquire if under those cir-      other question comes in there, which is a little perplexing. Wls
cuiiistainces the Chair would feel inclined to extend the parlia-     the motion to reconsider the vote by which the Muscle Shoals
mentary inquiry to both days and define the status of the pro-        bill failed to be approved in order on Thursday, a regular meet-
ce'edings on both days?                                               ing day having occurred between? There is no rule the Chair
   The SPEAKER. The Chair intends to refer to both days and           canl find governing the motion to reconsider in committees, and
 ihe preceding Thursday as well.                                      yet it can be conceived that it might be of very great im-
  The Chair has given a great deal of thought to this question,       portance. The Chair thinks that there being no rule the rule
and he has had the advice and cooperation of a number of the          of the House should apply as to motions to reconsider in com-
leading parliamentarians of the House-the gentleman from              mittees, and we all know that a motion in the House to recon-
Colnnecticut [Mr. TILsoNl, the gentleman from New York [Mr.           sider must be entered either upon the day or the day following
SNEI.LI, the gentleman from Tennessee [Mr. GARR-rr], the gen-         the legislation to which it refers. The Chair would think,
tleman from Georgia [Mr. CRISP], and others, and, of course,          applying by analogy to that a motion to reconsider must be
the advice and cooperation of our very competent parliamen-           made on the day of the committee meeting or the next commit-
tarian, Mr. Deschler.                                                 tee meeting in order to be valid. Now, was Tuesday a day
  It seems ralher extraordinary that we have been unable to           which should be counted in determining the days elapsing since
find any precedent directly in point. Apparently, this situation      the action by the committee?
has not occurred in the last 100 years. There are some con-             The Chair is not absolutely certain whether a motion to re-
flicting decisions, but none of them touch precisely the same         consider in this case was necessary and does not feel it in-
point raised here.                                                    cumbent upon him to decide the point; but for the purposes of




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the argument, the Chair proposes to assume that that motion             necessary to have record votes on various matters that camne up,
was necessary in order to make in order the next proposition            but no member was permitted to cast his vote in the form of
to report a bill favorably, as the committee did, a quorum being        a proxy except by unanimous consent of the committee itself.
present in all legal form.                                                 Mr. DENISON. And that should be made of record, of course.
   The Chair thinks that so far as a business meeting was con-             The SPEAKER. Yes.
cerned, that the meeting on Tuesday was on a dies non-that                 Mr. McSWAIN. Mr. Speaker, a parliamentary inquiry.
it meant nothing. Had anybody been present who desired to                  The SPEAKER. The gentleman will state it.
make a motion to reconsider, he could not have done it, because            Mr. McSWAIN. Mr. Speaker. I have personal knowledge
there was not a quorum present.                                         that on Thursday, about 12.30, I filed a report from this com-
   Therefore the Chair is of the opinion that Tuesday must not          mittee session that has been under discussion, with regard to a
l)e counted as a day according to the rules in the House, but           bill of which the gentleman from North Carolina [Mr. IB'L-
the motion to reconsider was valid on Thursday, although a              WINKLE] is thle author. The author of the bill is very anxious
meeting had been held between.                                          that that bill should appear on the Consent Calendar on Mon-
   Now, that motion having been legal, was the action taken             day, if possible. I rise to ask whether or not the bill having
by the committee, under those circumstances in reporting the            been filed within the time, it will have been on the Consent
Muscle Shoals bill and other bills, legal? In the opinion of            Calendar three days by the Monday se:sion.
the Chair it was, as applied to last Thursday, of course.                  The SPEAKER. Was that a bill considered on Tuesday?
  The precedents are conflicting. The decision cited by the                Mr. McSWAIN. It was considered on Thursday.
gentleman from Tennessee [Mr. REECE] was specifically over-                The SPEAKER. The bill was not consilered on Tuesday at
ruled some years later by Chairman Campbell, who held, on               all?
July 18, 1921, RECORD, 4016, that the majority members of a                Mr. McSWAIN. I do not think so. It had only one consid-
standing committee having met informally, a quorum of the               eration.
committee havihg been present and authorized certain com-                  The SPEAKER. Did tie committee order the bill reported
mittee amendments, that since the meeting had not been reg-             on Thursday?
ularly called, the action taken by the informal meeting was                Mr. McSWAIN. Yes.
invalid.                                                                   The SPEAKER. At what time?
  The Chair does not think that this is a sensible and sane way            Mr. McSWAIN. I think about 11 o'clock. I am not sure
of solving the question of the legality of committee meetings           exactly what time it was, but it was during the session-after we
of the House. The Chair does not think it is necessary that             met and before we adjourned.
the meetings should be called by the chairman provided the                 The SPEAKER. The Chair thinks that bill would be legally
custom of that committee has been for many years to fix a               on the calendar, but no bill or resolution that was reported out
definite day or days for meeting and a time for meeting.                at the alleged meeting on Tuesday has any standing whatever.
  The Chair would prefer to follow in this case the decision of            Mr. COOPER of Wisconsin. Mr. Speaker, owing to some con-
Speaker Cannon, who overruled a motion to outlaw proceedings            fusion here I could not understand the reply of the Speaker to
taken under those circumstances. He would prefer to follow              the question of the gentleman from Illinois [Mr. DENISON] as to
this decision rather than the decision of Mr. Campbell, and the         proxies. Was it the Speaker's ruling that a menmber of a com-
Chair is not quite certain that that decision is in direct point,       mittee can give a general proxy to another member of the com-
because it occurred during the consideration of a tariff bill           mittee?
where the Ways and Means Committee was in perpetual session                The SPEAKER. Not at all. The Clair is not called upon to
practically and was offering something like 200 committee               rule upon that. but the Chair is of the opinion that a proxy
amendments to the bill.                                                 on one particular vote must have the unanimous consent of the
   So the Chair thinks that 12 members of the committee having          committee.
assembled on a regular day f.t the regular time stated, were               Mr. COOPER of Wisconsin. Can a member of that commit-
competent to act in this instance.                                      tee appoint a proxy orally, or is he required to make the ap-
   Under the circumstances the Chair will refer the bills re-           pointlment in writing and have it recorded?
ported on Thursday, the Muscle Shoals bill and the other bills, to         The SPEAKER. The custom in the Ways and Means Com-
the appropriate calendar, but the Chair will hold that all pro-         mittee was for some member of the committee to ask unanimous
ceedings had on Tuesday were illegal and will not refer any of          consent thlat another member who was absent might ble per-
those bills to the calendar.                                            mIitted to vote by proxy.
  Mr. GARRETT of Tennessee.        Mr. Speaker, I venture to sug-          Mri. COOPER of Wisconsin. Suppose the member wlose
gest, if I may, that it would be proper for them to go in the           vote has been recorded by proxy comes in afterwards and says
RECORD in connection with the ruling of the Speaker, because
                                                                        that his position was misunderstood and a mistake made.
I apprehend this is going to be a very important precedent-             Ought not the proxy to be in writing and copied into the
the provisions of paragraph 3 "f rule 10, which reads as follows:       minutes of the committee?
  At the commencement of each Congress the House shall elect as            Mr. SNELL. Mr. Speaker, does the Chair mean to make this
chairman of each standing committee one of the members thereof; in      a ruling on proxies?
the temporary absence of the chairman the member next in rank in          The SPEAKER. The Chalir has made no ruling, it is merely
the order named in the election of the committee, and so on, as often   a matter of opinion. It is entirely a question for the House.
as the case shall happen, shall act as chairman; and in case of a         Mr. CHINDIILOM. Mr. Speaker, when the Cha:ir says "co1m-
permanent vacancy in the chairmanship of any such committee the         mittee," it is assumed by tile Speaker that a majority, or
House shall elect another chairman.                                     quorum, of that committee is present?
  The SPEAKER. The gentleman suggests that the decision                   The SPEAKER. Of course, a proxy could not be counted in
be put following this paragraph?                                        making up a quorum.
  Mr. GARRETT of Tennessee. Yes; or that it be put some-                  Mr. LUCE. Mr. Speaker, as a member of a committee dur-
where in connection with the decision,                                  ing my service here, which has a stated meeting day, and said
  The SPEAKER. The Chair will state that the parliamen-                 meeting day having been perfectly perfunctory, never having
tarian will in all probability include this decision in the new         been observed, would it be possible for the Chair in elaborat-
edition of the House rules and manual.                                  ing his admirable ruling to qualify the responsibility of a mem-
  Mr. TILSON. Mr. Speaker, this is a decision of considerable           her of such committee as to whether he is to be put on notice
importance. I therefore ask unanimous consent that the Speaker          by the publication of a meeting without a call from the chair-
may have permission to elaborate his decision and buttress it           man?
by precedents as he may see fit in giving his ruling.                     The SPEAKER. The Chair has not gone to the full extent
  The SPEAKER. Is there objection to the request of the                 of that; he thinks that wherever the circumstances are such
gentleman from Connecticut?                                             that members of the committee feel it necessary to procure
  There was no objection.                                               legislation and they have a quorum present, that that meeting
  Mr. DENISON. Mr. Speaker, I desire to submit a parlia-                is legal if it occurs in the committee room on the regular day
mentary inquiry.                                                        of the meeting.
  The SPEAKER. The gentleman will state it.                                Mr. LAGUARDIA.        I hope the inquiry propounded by the
  Mr. DENISON, Is it proper practice in meetings of com-                gentleman from Massachusetts will not limit the liberal ruling
mittees of this House for members who are not present in                of the Speaker.
person to authorize others to vote for them in the transaction                               PREVENTION OF INFLUENZA
of the business of the committee?
   The SPEAKER. Only by unanimous consent of the committee                Mr. EDWARDS. Mr. Speaker, I ask unanimous consent to
itself. When the Chair was a member of the Ways and Means               extend my remarks in the RECORD on one of the bills that I hsve
Committee that was very often done, because it was rather               introduced.




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     The SPEAKER.             Is there objection to the request of the        grown in this country? What efforts are being made by our
 gentleman from Georgia?                                                      country in that direction except by privately endowed institu.
     There was no objection.                                                  tions? Why not the Government establish the most modern
     Mr. EI)WARI)S. Mr. Speaker, I appeared and was heard                     laboratories in the world, attract the most able doctors and sci-
 before the Appropriations Committee this morning on the fol-                 entists that can be had and set them to work at the cost of
 lowilng bill :                                                               the Government on efforts to discover the cause of " flu " and its
                                                                              cure? The same thing can be followed to great advantage with
 A    111 (I. R. 15339) to combat and prevent influenza in the United
                                   States                                     respect to all diseases of mankind, and the aid would be ,f
                                                                              great help to the doctors and scientists generally. No greater
     Be it enacted, etc., That there is hereby appropriated the sum of        body of men can be found than the doctors, but what they need
 $25,00(0,000, or so much thereof as may be necessary, out of any money       is money and an agency through which to work.
 in the Treasury not otherwise appropriated, to be immediately available,        Visualize, if you can, what an army of 30,000 people is? Sup-
 to be expended by the Surgeon General of the Public Iealth Service,          pose it is found, as it possibly will be, that flu is a prevent-
 in an effort to combat and prevent an epidemic of influenza in the           able disease.   Suppose it is found that it is an easily curable
 Unlted States, which now threatens our country, with full authority          disease. Then we will look back over the epidemics of T11s
 to the Surgeon Genrral of the Public Health Service to add to his force      and 1928 and wonder why it was we had not bestirred our-
 as great a number of physicians and other personnel as in his judgment       selves sooner, especially when we wake up to the fact that .t
 may he necessary and to work in conjunction with the various State,          great many of those who died in those epidemics could have
 county, and municipal health authorities throughout the country in an        been saved in the first place from having the flu and, in the
 effort to check the spread of this disease and in getting up, printing,      second place, that many of those who developed and died of
 and distributing bulletins to the people on how to prevent and treat         it could have been cured and saved to their loved ones and to
 inllullin a.                                                                 society. But more important than looking back after the water
    A hearing was requested by me oni this bill at the time of its            has gone over the wheel is to look forward. We are told that
  introduction. The committee to which it was referred is one of              within 8 or 10 years we will have another outbreak of tlhe
 the hlrdest-worked committees of tie House and has been quite                flu. We have occasional outbreaks of it in localities, but we
busy in         1(li short scession,   so this is the first time I have had   have had only the two general epidemics. Let us look ahead
an oplolrtlunity of binig heard before the committee in question              and try to work out something that will solve not only this
on my bill.                                                                   disease and prevent and stop it, but let us wake up the fact
  At the hearing I made a statement which in effect is the same               that the Government is not doing half enough to help the medi-
as I am now making. I am anxious that my views on this                        cal men in their noble work. Many doctors give up their lives
matter be known to the Members of the House and for that                      fighting disease. It costs a great deal of money and time to be-
reaison         I have sought this opportunity to get them in the             come a doctor. Generally they are men of small means, many of
ItEcoIn).                                                                     them poor. They are often unable to dig into matters, makel
     My bill seeks an appropriation, as stated therein, with which            investigations and researches. The Government, through a
to study the flu and with which to try to prevent flu epidemics               central head, such as the Public Health Service, ought to have a
iand with which to try to find a cure.                                        corps of doctors, scientists, and chemists working all the while,
   You are all as familiar with this subject as I am. It is your              with plenty of funds behind them, to ascertain and print more
clause, as it is mine. The epidemic came in 1918, and we will                 about diseases, their prevention, cure, and eradication. Much,
never know what an awful toll it took in life and cost of                     with the limited means that have been allowed, has been done.
money. We were told then there would be a recurrence of it                    Every once in a while we read of where some foundation or
in about 10 years. The cycle ran true to form, and we had                     individual has offered a reward for a cancer cure. What is the
another epidemic of the flu in 1928-29. The last or present                   Government doing? We have the examples of Walter Reed and
opidemic, while nothing like as bad as the one in 1918, was                   others who have sacrificed and died that others might live, and,
terrific and from newspaper articles and estimates from what                   as I have said, great progress has been and is being made. The
seem to le good authorities there were approximately 30,000                   idea I have in mind is, why not speed up this important tiling
deaths as a result of the flu. I have not seen an estimate as                 and make more certain discoveries and cures.
to what it has cost thus far in dollars and cents and in lowered                 Some will say: "This is paternalism." I say it is no more
vitality and loss of production. It will run into the hundreds                paternal than to study plant diseases and to combat them att
of mnillions of dollars.                                                       Government expense; nor is it any more paternal than to study
  Despite (1te fact that we were told in 1918 there would be                  and combat the diseases of cattle, sheep, hogs, and other ani-
inotlher epidemic in 10 years of the flu, we were not prepared                mals. It is no more paternal than the study of chicken diseases,
for the epidemic tliat struck the country the latter part of last             and to work out and disseminate cures for sorehead, mites, pip,
year.      While the wave has reached its crest and it is on the              and the like, witl which the fowls are afflicted; and by far it is
wane, there is still considerable of it over the country yet.                 more important than bird refuges, and we just passed a bill a
" What is everybody's business is nobody's business." The                     few days since to establish a bird and wild-life refuge in every
matter was left to the medical profession, without concert of                  State of the Union. It will cost $10,000,000 in about six or
nction and without funds for the specific purpose with which to               eight years, to save the quail, and the like, for the sportsman's
make research, tests, and experiments, and the result is there is             pleasure. It was argued in that it would be well also for
not much more information on the subject than before.                         our people as it would give them " the great outdoors." It will
  I am in no sense criticizing the doctors. Many of them, no                  all help; but we better realize before it is too late that such
doubt, have found how to successfully treat it, while, perlaps,               legislation for the preservation of "woodpeckers" and other
many more have not. The point is that the people ought to                     birds, while called "wise conservation," is not the very highest
know something about it and how to prevent and treat it.                      conservation that we can effect. The conservation of human
When this last epidemic occurred the idea occurred to me that                 life, of health, and of happiness is the most important thing on
I would get ten or fifteen thousand copies of a bulletin on the               that subject we can address our thoughts to.
Sflu " anld send them out to people in my district that they                     Only recently, a doctor wrote me in an effort to secure a copy
might learn something of it. but those bulletins could not be                 of a medical article printed in the Philippines on the treatment
gotten from any Iureau. folding room. document room, or depart-               of malaria. I understand good results have been gotten by tlo
meint of tile Governmenlt. There were plenty of books and bul-                treatment he wanted this article on. I tried to get a copy of
lotins oin hog cholera, horse colic, the boll weevil. hollow horn,            that particular article, and the only one I was able to find in
and other diseases of cattle, horse, and swine, but I was unable              my search is in the library of the Surgeon General of the Army
to get a single bulletin on the " flu." I did manage to get 25 or             and, of course, he would not let that go out, and properly so.
50 copies on the common cold, or some such subject, from the                  Now, if we had funds available whereby the Public Health
Public Health Service. This is in no sense a criticism of the                 Service could have such publications printed in bulletin form
 'lublic Health Service nor any of the other health services of               and available to be sent on request, great good would come
the Government. If on any body, the criticism is on Congress                  from it. In fact, as I have said, there should be a recognized.
itself for not providing money for this thing 10 years ago with               established governmental health service, and it in turn should
which to make exhaustive studies and to make available data                   have the name and address of every doctor and medical student
and literature tlat could be had by the people on the subject.                in the United States; and as a matter of interest, a new dis-
No appropriation, as I understand it, has as yet been made by                 covery, a new and successful treatment develops, a bulletin on
the Congress for this subject. What is of more importance, and                the subject should be sent them. Then the bulletins on flu and
what should be of more concern to a nation, than the health and               other diseases, their prevention and treatment, should be avail-
happiness of its people?                                                      able for distribution to the people. There are many sections in
   From yesterday's Star I clipped an article which states that               the rural parts of the country where there are no doctors. If
(ermnan scientists have discovered a plant in Mexico from which               the people knew there was a bureau or governmental service
ia .ure for " flu" can be made. What is this plant? Can it be                 from which literature on such subjects could be gotten, they




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 would seek the information and I believe would profit by it.         ment to the Senate amendment numbered 4. which your con-
 Those behind the book and magazine trusts will oppose this           ferees proposed and the Senate conferees agreed to, has for its
 idea and, of course, call it paternalism. If it is paternalism to    purpose more clearly defining the original intention of Congress
 save thousands of lives from preventable diseases then paternal-     when, in the act approved February 1S, 1928, it was provided
ism of that kind is worth while.                                      for the razing of the old cadet mess hall and otherwise preparing
   This medical or health service I am trying to give you an idea     the site for the new cadet barracks. Since the passage of the
about ought also to be able to get from other doctors many good       above-mentioned act, a difference of opinion has arisen as to the
ideas. Some of the very best doctors in the world are to be           exact location intended by Congress in the act of February 18,
found in the country sections, practicing in rural parts of the       1928. In order to clear up this matter and make it definitely
country.                                                              certain that the new cadet barracks shall be located in exact
   Useful information should be gotten regardless of where it         accordance with the intention of Congress as disclo,sed in the
conies from, and they ought to be able to draft the best talent       hearings before the Committee on Military Affairs, the amend-
that can be found and put it to work for the benefit of our popu-     ment to the Senate amendment numbered 4 was agreed to by
lation, in trying to stamp out disease, and in trying to find cures   the conferees.
and treatments. To my mind, there is nothing more important                                              J.ox M. Mo0IN,
than this very thing. If we depend upon some rich fellow to                                                   W.   FRANK J.AMES,
leave a foundation, just to perpetuate his name. we will go along                                          JOHN J. MCSWAIN,
like we have been going. Great good has been done in this way,                                   Managers on the part of the Hous-.
but this is the business of the Government. and while bequest and
foundations should be encouraged, we just as well be frank              The conference report was agreed to.
about it and admit we are not making the progress we should.                 DEFINING THE TERMS "CHIILD"       AND " CIILDREN "
We all know that more can be done and we likewise know it               Mr. MORIN. Mr. Speaker, I call up the conference report
should be done.                                                       on the bill (H. R. 12449) to define the terms "child " and
   The present epidemic, we are told, is about over, so it is prob-   "children" as used in the acts of May 18, 1920, and June
ably too late for this particular epidemic, but let us prepare for    10, 1922.
the epidemic that is certainly ahead. Something should be done          The Clerk read the conference report.
in advance of these epidemics. It is no use to lock the stable          The conference report and statement are as follows:
door after the horse has been stolen. An ounce of preven-
tion is worth a pound of cure. Let us act and obtain all the in-                            CONFERENCE   REPORT
formation we can get on the flue as well as on other preventable        The committee of conference on the disagreeing votes of the
diseases and get it in such shape that it can be disseminated to      two Houses on the amendments of the Senate to the bill
the people that they may in turn protect themselves and families      (H. R. 12449) to define the terms "child"      and "children"   as
as far as possible. It will save thousands of lives and millions      used in the acts of May 18, 1920, and June 10, 1922, having met,
upon millions of dollars in cost incident to illnesses and deaths.    after full and free conference have agreed to recommend and
Let us try the use of a little prevention as well as try to work      do recommend to their respective Houses as follows:
out some cures. It can and should be done.                              That the House recede from its disagreement to the amend-
APPROPRIATIONS FOR CONSTRUCTION AT TILE MILITARY ACADEMY,             ments of the Senate numbered 1 and 2, and agree to the same.
                        WEST POINT                                                                     JOHN M. MORIN,
  Mr. MORIN. Mr. Speaker, I call up the conference re-                                                   W.   FRANK JAMES,
port on the bill (H. R. 11469) to authorize appropriations for                                           JOHN J. MCSWAIN,
construction at the United States Military Academy, West                                         Managers on the part of the House.
Point, N. Y.                                                                                           DAVID A. REED,
  The Clerk read the conference report.                                                                FRANK L. GREENE.
  The conference report and statement are as follows:                                                    DUNCAN     U.   FLETCHER,
                                                                                              Managers on the part of the Senate.
                       CONFERENCE REPORT
   The committee of conference on the disagreeing votes of the                               STATEMENT
two Houses on the amendments of the Senate to the bill (H. R.       The amendments of the Senate to this measure are merely
11469) to authorize     appropriations  for  construction  at the to clarify the meaning of the language and thereby make
United States Military Academy, West Point, N. Y., having definite the intention of Congress as respects this legislation.
met, after full and  free conference  have  agreed  to recommend  Therefore your conferees agreed.
and do recommend to their respective Houses as follows:                                                 JOHN M. MORIN,
   That the House recede from its disagreement to the amend-                                            W. FRANK JAMES,
ments of the Senate numbered 1, 2, and 3, and agree to the same.                                        JOHN J. MCSWAIN,
   Amendment numbered 4: That the House recede from its                                      Managers on the part of the House.
disagreement to the amendment of the Senate numbered 4, and
agree to the same with an amendment as follows: Insert in           The conference report was agreed to.
lieu of the language stricken out by the Senate the following:                          MORRIS FOX CHERRY
"Provided, That the new cadet barracks heretofore authorized
to be constructed shall be erected on the site of the old cadet     Mr. MORIN. Mr. Speaker, I call up the conference report
mess hall, the street face of the said barracks to be in pro- (H. R. 12538) for the benefit of Morris Fox Cherry.
longation of the street face of the west academic building,         The Clerk read the conference report.
leaving an open area on the north side of said barracks so          The conference report and statement are as follows:
that the said barracks can be supervised from the present south
cadet guardhouse: And provided further "; and the Senate agree                           CONFERENCE REPORT
to the same.                                                        The committee of conference on the disagreeing votes of
                                    JOHN M. MORIN,                the two Houses on the amendments of the Senate to the bill
                                    W. FRANK JAMES,               (H. R. 12538) for the benefit of Morris Fox Cherry having met,
                                    JOHN J. MCSWAIN,              after full and free conference have agreed to recommend and
                          Managers on the part of the House.      do recommend to their respective Houses as follows:
                                    DAVID A, REED,                  That the House recede from its disagreement to the amend-
                                    W. H. MCMASTER,               ment of the Senate, and agree to the same with an amendment
                                    DUNOAN U. FLETCHER,           as follows: In lieu of the amendment of the Senate insert the
                           Managers on the part of the Senate.    following: "That no back pay or allowances shall accrue by
                                                                  reason of the passage of this act"; and the Senate agree to the
                           STATEMENT                              same.
   Amendments Nos. 1, 2, and 3, made by the Senate, have                                            JOHN M. MORIN,
been agreed to by your conferees because a further investigation                                    W. FRANK JAMES,
of this matter discloses the fact that the primary need at West                                     JOHN J. MCSwAIN,
Point is for quarters for the officers and noncommissioned offi-                          Managers on the part of the House.
cers who are now inadequately provided for, rather than for a                                       DAVID A. REED,
veterinary hospital and the alterations to the west academic                                        FRANK L. GREENE,
building. It is. the opinion of your conferees that these latter                                    DUNCAN U. FLETCHER,
projects can be postponed until some future date. The amend-                              Managers on the part of the kSenate.




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                                   STATEMENT                                        The conferees, believing these recommendations should be fol-
                                                                                  lowed, have agreed to the amendments of the Senate bringing
     'his is a private bill passed by the House without the usual                 the measure within the purview of the said recommendations.
proviso providing that no back pay, pension, bounty, or allow-
ance shall he held to have accrued prior to the passage of the                                                                  JOHN M. MoRIN,
;It. The Senate added the amendment, and because of the fact                                                                    W. FRANK JAMES,
the bill is for the benefit of a World War veteran your con-                                                                    JOHN J.    MCSWAIN,
 'ferces agreed to an amendment without the words "pension" or                                                   Managers on the part of the House.
" bhounty.''
                                            JOHN M. MORIN,                          The SPEAKER.           The question is on agreeing to the con-
                                            W. FRANK JAMES,                       ference report.
                                            JoHN J. MCSWAIN,                        The conference report was agreed to.
                               Managers on the part of the House.                                   PERMISSION TO ADDRESS THE HOUSE
                                                                                    Mr. SEARS of Florida. Mr. Speaker, I ask unanimous con-
   T''l     conference report was agreed to.                                      sent to address the House for 10 minutes.
IA'rI'I.E    FIF:LS O(F   nItICES ('ROSS ROADIS,   MISS.,   AND TUPELO,   MISS.     The SPEAKER. The Chair will recognize the gentleman
  Mr. MORIN. Mr. Speaker, I call up the conference report                         later. There is a special order for this morning.
upion the bill (II. R. 8736) to provide for the inspection of the                                            ORDER OF BUSINESS
lntile lields :if Brices Cross Roads, Miss., and the battle field                           The SPEAKER. The Chair recognizes the gentleman from
of Tupelo, or Harrisburg, Miss., and move its adoption.                                  Massachusetts [Mr. CONNERY] for 30 minutes under a special
  TI' SI'EAKER. Tie gentleman from Pennsylvania calls up                                 order of the House.
 a c(,onference report upon the bill II. R. 8736, which the Clerk                           Mr. CONNERY. Mr. Speaker, in arising at this time to dis-
 will report.                                                                            cuss a question of momentous importance to the industries of
    The' Clerk read the conference report.                                               our country, a question of vital importance to the workers of
    The conference report and statement are as follows:                                  our country especially, I trust the Members of the House will
                                                                                         bear in mind*that I am here representing a constituency made
                              CONFERENCE REPORT                                          up almost exclusively of industrial workers, many of whom
   Then (co,mittee of conference on the disagreeing vores of the have been unable to find employment at their chosen trade or
two Houses on tihe amendments of the Senate to the bill (H. R. vocation for long periods of time. Their present plight is due
8736) to provide for the inspection of the battle field of Brices almost entirely to our present tariff legislation.
Cross Roads, Miss., and the battle field of Tupelo, or Harris-                              I speak not as a Democrat nor as a Republican. During the
burg, Miss., having met, after full and free conference have last election both parties honored me with their nomination for
agreed to recommend and do recommend to their respective Congress. Therefore I can truthfully appeal to the member-
Houses as follows:                                                                       ship of both parties and ask that they bear in mind that my
   That the House recede from its disagreement to the amend- speech is not delivered for political effect or political advantage
ment of the Senate numbered 1, and agree to the same.                                    to either party.
                                                  JOHN M. MORIN,
                                                                                            The workers of my district-the shoe workers of Lynn, the
                                                   W. FRANK JAMES,
                                                                                         textile workers of Lawrence, and the leather workers of Pea-
                                                   JOHN J. McSwAIN,
                                                                                         body-all have suffered the loss of an opportunity to earn a
                                    Managers on the part of the House.
                                                                                         livelihood for, in some cases weeks and in many cases months,
                                                                                         due entirely to the heavy importations of foreign-made goods
                                                   DAVID A. REED,                        which can and are being imported under our present tariff and
                                                   FRANK L. GREENE,                      landed in our country at costs which are in many cases less
                                                   DUNCAN U. FLETCHER,                   than one-half the actual labor costs of making the same com-
                                    Managers on the part of the Senate.                  modities in America. We can and we should make these com-
                                                                                         modities in America.
                                      STATEMENT
                                                                                            Iuring the recent national election both political parties
    In the report of the Secretary of War of a study and investi- promised that the present tariff law would be changed and that
gation of battle fields in the United States for commemorative the workers of America would be protected in their opportunity
purposes, together with his recommendations for further opera- of securing employment.
tions, as provided for in section 2 of the act of Congress ap-                              The Democratic platform dealing with the tariff, in part, read:
proved June 11, 1926, there is recommended for the battle fields                            Actual difference between the cost of production at home and abroad,
placed inl class 11B the following:                                                      with adequate safeguards for the wage of the American laborer.
   With respect to the battle fields in this classification, the area to be
inclluded need hI' only    sufficient     to  suitably    contain  a   marker tablet, or
                                                                                            And the Republican platform, in part, read:
mionument, and detailed surveys are not required until such time as the                     We realize fully that there are certain industries which can not now
nacquisition of the land is undertaken. If Congress determines that any successfully compete with foreign producers because of lower forcirn
litlle in this classification should bh commemorated, the proper method wages and a lower living cost abroad, and we pledge the next Republican
woul be to erect a monument, tablet, or marker to indicate the loca- Congress to a revision of these schedules to the end that American labor
tion of the battle field. to fence the land required. and to build an in these industries may again command the home market, may maintain
approlnel thereto.      Twenty-seven battles, engagements, and campaigns                 its standard of living, and may count upon steady employment in its
in this classification have been studied and investigated, and as a result accustomed field.
the following information is furnished with respect to each. It will                        The Ways and Means Committee are now hearing those who
ble noed1 that the estimated cost of commemoration varies widely. This are appealing for protection to American industries. Manufac-
varlallion is made because it is felt that distinctions in this class may turers and workers meet upon a common ground. The American
 i fitililngly indicated by the type of memorial.                                        manufacturer, with his capital invested, in many cases the
Brices Cross Itoads. Miss. (reference, H. R. 8736 and                                    accumulation of a lifetime, is asking for tariff legislation which
   108o(i. 70th C'ong.) :                                                                will permit him to sell the products of American labor in com-
       lMethod of ollnillenloratlon-----------------             - Marker.
      land required ------------------------                        1 acre.              petition with the cheaply produced goods of Europe and Asia.
      Cost of land required-- ----------------                   - Free of cost to the The representatives of the workers are appearing before the
                                                                       United States.    same committee asking that tariff legislation be enacted which
      Estimnated cost of commemoration-                ..-----     $5.000.               will permit the members of their organizations to obtain and to
      Estimated annual maintenance cost--------- $2o0.                                   retain much needed employment.
      Attitude of local community: The owner of the                                         The workers fully realize that unless the manufacturer can
          lutn ii question states that he will be will-                                  sell the products of American labor that the American workers
          ing to cede to the United States free of cost
          tle amount of Innd required.                                                   will be unable to find employment.
Tupelo. Miss. (reference, II. It. 8736 and H. R.                                            We hear considerable talk of our foreign trade. What does it
   10oSS. 70th Cong.):
      Method of conimmemorationn--------------                     Marker.
                                                                                         consist  of so far as manufactured goods go? Do you realize that
      Land required ----------------------------                      acre.              we consume more than 90 per cent of our own products? We
      Cost of land required------------------------                Free of cost to 1     have a foreign trade in so far as manufactured goods go of less
                                                   ....-.......    $5
                                                                       united States.
                                                                       000.
                                                                                         than 10 per cent of what we produce, and were much of what
      Estimated cost of commemoration
      Estimnated annlual maintenance cost---------                 $20O.                 we are now importing shut out I do not believe that we would
      Attitude of local community: The land Is                                           have any great trouble in consuming almost 100 per cent of the
          owned by the United Daughters of the Con-                                      manufactured goods which we produce.
          federacy, at Tupelo,    Miss..     who  will    cede  to
          the United States, free of cost, the required                                     The other day one of my constituents, in writing me about
         amount of land.                                                                 the fact that neither he nor his two brothers had been able to




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obtain employment-and they are all skilled tradesmen-in-               These shoes are women's shoes and we all know that when we
closed in his letter a cartoon drawn by a former Member of          purchase women's shoes to-day that we pay prices which would
this body, former Congressman John Baer, which tells the story      permit the manufacturer to employ American workers in the
in a very few words.                                                production of the shoes. These shoes. because the uppors are
   This cartoon shows that we in America consume 92 per cent        composed of materials other than of leather, are taxed under
of the goods we manufacture and we export only 8 per cent.           our present tariff law at 35 per cent upon their foreign value.
If our workers had steady employment, they could consume a          And what is the value the foreign manufacturers of these shoes
large part of this 8 per cent.                                      place on these shoes? An average value, according to the Gov-
   During the last decade the inventive genius of America has       ernment's own figures, of less than 30 cents per pair. Is it any
made available to America and to the world labor-saving devices     wonder that skilled American shoe workers are unable to lind
which make possible the turning out by 2 or 3 men or women          employment at their trade?
what years ago it took 20 or 30 and sometimes 50 men to turn           That which is true of women's shoes is also true of men's
out in the same length of time.                                     shoes. As an instance of what the makers of American umen's
  And, while I am referring to machine production, bear in          shoes are up against, let me cite you the case of a prominent
mind that the latest and most up-to-date machinery is now in        shoe manufacturer, formerly operating a shoe plant in Brooklyn,
use by most of our European and Asiatic competitors.                 and who is now manufacturing shoes in England and selling
   Yet even with the handicap of machine production the              these shoes to those who formerly purchased the shoes which he
American workers, differing somewhat from the attitude in           produced in Brooklyn.
past years of the workers of other countries, have hailed the          This manufacturer was no novice. His family lhad been mak-
new labor-saving machinery as a godsend, as in many cases it        ing shoes in America for three generations and his name was a
las made the work of the tradesmen a bit easier.                    byword with American shoe retailers as a producer of lfrst-
  To-day, and for the past few years, we have in America an         class men's shoes.
army of unemployed workers.                                            When he found that he could not compete against the prod-
    America, perhaps the richest country in the world, with some    uct of foreign labor producing all-leather shoes, which under
of our citizens rolling in wealth and with many of them able        our present laws are admitted free of any duty, he closed down
 to spend fabulous sums of money to bring to America the art        his factory, and without much thought eliminated from their
 treasures of the world, yet we have in our country to-day mil-     jobs some three or four hundred highly skilled American smhoe
 lions of skilled American tradesmen who are unable to find         workers.
 employment, and therefore many millions of American families          He leased a factory in the shoe-manufacturing center of
are to-day in want or the recipients of charity.                    northern England at a rental so small that it makes one laugh,
    The American workers are not charity seekers. They believe      and he then proceeded to employ English shoemakers to make
that it is holier to give than to receive. Yet our people must      shoes according to his specifications for the American market.
live. The mouths of the little ones must be fed and our chil-       He did not bother with the English market, even though the
dren must be sheltered.                                             shoes were made in England.
    The shoe workers of my home city of Lynn, skilled workers          After having some samples made he hied himself to America
of which there are no better any place in the world, find that      and proceeded to offer his shoes to the American retailers at
their American market is taken away from them, due to the           prices which were less than he himself had been able to manufac-
fact that our present laws permit the importation of shoes          ture them for in his own factory in Brooklyn. To-day lie is ex-
from Czechoslovakia and France, and the sale of the product         porting to America thousands of pairs of first-class shoes at
of the labor of those countries in distributing houses less than    prices which are lower than our American shoe manufacturers
30 miles from Lynn at prices which are less than the labor          can compete with. Of course, the shoe retailer gets the shoes
costs of producing the same shoes in my home city.                  cheap, but I have not yet been able to find that the saving
    Does such a condition permit the statement that we in Con-      through the lesser cost of the shoes is passed on to you and me
gress are playing fair with our American workers? Does such         when we make our purchases.
a condition permit the statement by Members of this House,             The English shoe workers have profited, but what about the
Irrespective of what party we may belong to, that we are carry-     American shoe workers who are unable to find employment as a
ing out the pledges which we made to the workers of our             result of many such cases as I have just referred to?
country during the last national election?                             The city of Lawrence, which is in my district, is located on
    During the year 1923, the first full year under the present     the banks of the Merrimack River only 26 miles from the city
 tariff law, the total importation of women's shoes from all        of Boston, and the cost of carting wool to Lawrence is almost
countries was about 115,000 pairs. Last year the importations       as great as is the cost of transporting the finished textiles from
of women's shoes from Czechoslovakia alone was more than            foreign countries to Boston and New York.
1,500,000 pairs. In addition to the women's shoes which we             There are about 25,000 textile-mill workers living in Law-
Imported from Czechoslovakia, we imported also another million      rence, all of whom are dependent upon the mills of that city
pairs of shoes from other European countries.                       for employment. When fully employed, while a thrifty and a
    A sinister condition. Thousands of competent and highly         saving class of people, realizing the need of providing for the
skilled shoe workers of Lynn and other American cities out of       rainy day, they earn an average of something like $25 a week.
employment, and we import 1,500,000 pairs of women's shoes          Lawrence is one of the 100 largest cities in our country, and
from Czechoslovakia alone.                                          the living costs in a city, as you all know, are greater than the
    And why are these shoes imported instead of being made          cost of living in a small town or mill village.
here?                                                                  Not only are the mill workers dependent upon the operating of
    They are imported because they can be delivered to the dis-     the mills for their employment, but many other industries in
tributing houses of our country at prices which are much less       Lawrence are dependent upon the prosperity of the mill workers
than even the labor costs of similar shoes made in America.         for their own prosperity.
    Last year a shoe manufacturer, with a plant in Czechoslovakia      Surely assistance is needed when you find a city with less
employing more than 12,000 shoe workers, shipped into America       than 100,000 residents which has more than 500 vacant stores
more than 1,000,000 pairs of shoes. The head of this foreign        and with some 2,500 tenements empty.
shoe company holds membership in the Chamber of Commerce of            I do not need to call your attention to the fact that our relief
Lynn and some years ago he, together with several of his asso-      department has had many calls upon it under the conditions
ciates, were employed in the shoe factories of my home city,        which exist at this time.
where they learned how to make good shoes efficiently.                 The workers of Lawrence are not responsible for the condi-
    The workers in this Czechoslovakia shoe factory receive         tions which prevail. They have only their labor to sell and
wages per week ranging from $13.50 down to less than $5.            they are entitled to an opportunity of disposing of their labor
While these wages may be looked upon as low in America they         under conditions which will permit them to live properly.
will average with what skilled workers receive in Czecho-              Surely, if they have no employment and they have no income
slovakia.                                                           because the employment which they previously had, and through
    On the other hand the shoe workers of Lynn, who are not paid    which they had a weekly income, has been transferred to workers
any too much, receive in wages from four to six times the wages     in foreign countries it does not make for better feelings toward
paid shoe workers in Czechoslovakia.                                the Government or those officials of the Government who,
   In addition to the more than 2,600,000 pairs of women's          through the passage of laws which deprived the workers of em-
leather shoes, which last year were imported from European          ployment, brought about this pitiful condition.
countries, we also imported more than 1,000,000 pairs of shoes,        The textile workers of Lawrence, where we have the finest
the chief value of which was in the uppers composed of materials    mills and most up-to-date equipment the market affords, have
other than leather.                                                 suffered to such an extent that in the hearings before the Ways
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:ind Means Connmittee it was testified that at least 4,500 mill                                                 It is only a few years ago since our Government in purchasing
operatives have left that city. The textile workers of Law-                                                   airplane cloth awarded a contract to an English manufacturer
rence are c(nce'ded by nulmufacturers to be as competent and                                                  because of the fact that the price which he quoted for the same
as proficieint as any in the world; and yet these workers for                                                 material was a few dollars less than the price quoted by a
the past four or live years have been unable to secure em-                                                    manufacturer operating a large textile plant in the city of
ploynment for more than two and three days per week.                                                          Lawrence.
   While the textile workers of Lawrence receive an average                                                     In my investigation of the imports of shoes and the value
  fi less than $25 per week when employed, the product of their                                               placed upon them by the foreign producers I came across somne-
labor conies in c,ilpetiion with thle product of the labor of                                                 thing which startled nie.
England, Germany, Czechoslovakia, and Italy, where the wages                                                     We, here in Congress, are charged with legislating in the in-
paid to the textile mill workers are from one-half to one-sixth                                               terests of the American people. And yet I found that tileshoes
what Ilie (workiers iof La,;wreice receive.                                                                   which are imported from foreign countries, and which. because
    L( t imecite you as ian illustration some of the wages paid to                                            of the fact that they are made wholly of leather, come in duty
mill workers in England and Germany:                                                                          free, were valued by the foreign shoe manufacturers at an aver-
j':nii'n(l   : W\ooil spinIrs,            n'-------------------------------                       $11. 00     age value of more than $2 per pair. The shoes of which the
                                                                                                              uppers are composed of materials other than leather, and upon
                 w
            Wpiolrs,
       Wo\\'ol                     '_-_--          -------------------------                       10. 00     which there is a tariff protection of 35 per cent, were imported
         , ,I[lpillnrrw.s.
       \\'W                    WII,IIn II._-_--
                                            .     _ .-            .---
                                                          _----- ----              -      -   -          80
           n<l: : Wools W ;Iv       _..        -------------------                                  U. 00     at an average value of less than 30 cents per pair.
( ;].ngl:l
     rll;il.y                                                                                                    IUpon inquiry I found that while these shoes are imported
        w\o,l w,eavt'rs.       wi---------------------------------                                 10.        into America for sale in America when the Governnent places
        \\l         :IV'.-;, \         ------------                      ------------               !    1
1:n,_In't: W\\()orsl( spinier; --------------------.                                                7. 71     the duty on these shoes the duty is placed on the foreign value
                                                                                                              of these shoes. Without hesitancy I can say that it is impos-
             spinners,
       W\\rsltel                      t------- .----
                                     imen                 -          --------------                11. 20     sible for American shoe workers to colmpete with shoes, with
       \\'sted spinners,            wone                                               -
                                                         ...----------------------------            6.28
                                                                                                              cloth uppers, produced for anything like 30 cents per pair plus
     Sinre tlie pa:ssa.ge of the presen't tariff law, no less tlan three                                      any duty which might be imagined if that duty is based upon a
large c(oti  (11  mills in Lawrencce have closed their doors, and their                                       value of 30 cents per pair.
 worI kers have heen forced t<o look for work in some other                                                     That which is true of shoes is also true of the textiles pro-
intdust ries.                                                                                                 duced in Lawrence and the tanned leather of Peabody.
     The %wagespitl lo the cotton-nmill workers of Lawrence will                                                The result of this system of foreign valuation is, to my mild,.
runi fro'i threel to live iimes t11( wages paid to cotton-mill                                                that the Government is defrauded of the taxes which it should
workers ill (house count ries from which millions of yards of                                                 collect, the workers are deprived of their opportunity of seue'-
coiltoil clollt is Ieing imported at the present time, due to the                                             ing work because they can not compete with the products of
factt thalt ihse fireigin-woven cott(on cloths can be laid down in                                            foreign labor on the basis of foreign value of the product, and
 the storcthoulses of American mtnerchaints for less than the cost of                                         the American manufacturer is denied 1anopportunity of operat-
pr)'odicinig (<ilmi:tI'al>le Amleric'an-nade cotton goods.                                                    ing his plant and employing American workers. In America 'we
     Th'l' mill workers of :Lawvrence realize (hat the present tariff                                         can not produce these commodities where labor costs formn a
  :laiw  is not protecti've. andl their knowledge comes from the fact                                         large part of thlietotal costs unless adequate and proper tariff
 that since the passage of tie tpresent tariff law the importations                                           protection is afforded the products of American labor.
of li(n w\vetn w(oolens have e;ach year exceeded by almost 50 per                                                In looking through the past actions of the House on tariff
cenit the ioiplirt:ltions of these line woolens in those years iiu-                                           legislation I noticed that when the present tariff act was
metdiately preceding the enactment of the present law.                                                        adopted the House, upon recommendation of the Ways and
     I'eaol,tly, (oneof tihe centers of the tanning industry of our                                           Means Committee, based the duties on the basis of the American
('(contry. is also located in lmy district, and there is hardly a                                             valuation instead of the foreign value.
  llayi;psses Ihlat I do not receeive at least 10 or 15 letters asking                                          Wh'en the bill was finally adopted in the Senate the American
wlichl will 'Congress pass a tariff bill which will protect Ameri-                                             valuation was eliminated and duties were continued on the
c;tin w'orkers inI their' empltoyllment.                                                                      basis of the foreign value-that is, all of those commodities
     lTh'l wages of tlie ta1nner'y workers of Peabody will average                                            which were imported into America were made dutiable on the
 better than ;lt cents per ihour, and tlie product of their labor                                              basis of their value in the country where they were produced
com'lpetles in the mtarkets of Anlerica with the product of Euro-                                             except in so far as the law applied to the products of the chem-
 I'pea     labor, where the wages paid will run fromi as low as 10                                            ical dyestuff industry, and, in the importations of these corm-
cents in hour in ('zechoslon ukia and1 Rilumaia to 15 and not                                                 modities, the importers had to pay duty based upon the value of
 moii'e than 25 ('ents per hour in France, Gerntany, Holland, and                                             comparable American-made goods-American valuation.
 Itelgiiiin.                                                                                                     As to whether or not the system recommended by the Ways
     For inslanue, tlie ilmportati(ons of ealf and kip leather have                                           and Means Committee and adopted by the House was a proper
 intcreased from less thani$3,i(5(1,(000 in 1923 to more than $14,-                                           one, it will interest you to know that I had the pleasure while
0(,tilt).0 in 1928, an increase of imore than 400 per cent.                                                   attending the hearings of the Ways and Means Connmittee
     Thi t:nlnery workers of Peltlody and other leather centers                                               recently to hear a representative of the cotton-fabric glove
 have leen denied an oppor tunity to secure employmenlt. Why?                                                 industry make the flat-footed statement to the committee that
 Sitlmply lit ('nuse thehusers of these goods can secure themn cheaper                                        had the same phraseology been written into that section of the
 in foretign tciuntlries and plalce thetl in their factories in America                                       tariff which dealt with cotton-fabric gloves as had been inserted
for less I lan the same goods canl be manufactured for in                                                      into the section covering chemical dyestuft's. that the American
Americ.a.                                                                                                      cotton-fabric glove industry would to-day be in a flourishing
      Finiii' ted aelf' skin had somine protection from 1846 up to the                                         condition similar to that of the chemical-dyestuff industry in-
 passage of tlihe tariflt act of 1913, and since then it has been on                                           stead of being almost eliminated.
   lie free list. It ioay interest you to know that the total im-
 portlations tlihe yeanr this etlmmodity was first placed on the free                                             I noticed that the representatives of every labor organizatiion
 list aiiottnledi to less thian $130.(0).    Last year the importations                                        affiliated with thle American Federation of Labor, wlhen pre-
                                                                                                               senting their case before the Ways and Means Committee. de-
 ,tuitiinted to imore thian $14.t)00.0(l0. Is it any wonder that the
 wo,rkers of Pealbody are p)lrayiitg for somie action on the part of
                                                                                                               manded and have explained why, if the workers of America
('otiigl'ress?
                                                                                                               are to receive real protection, the duties must be based upon
   \VWhat is the cure for this intolerable condition? The cure is                                              the American valuation system.
for Congress to enact as speedily as possible a tariff law which                                                 To my mind there is no logical reason why we should give
will pro'tect, the employiment opportunity of American workers.                                                special privilege to one industry, as has been done in the pro-
   Soe may tcontend that the American people should purchase                                                   tection afforded to the chemical industry, and deny similar pro-
the product of American labor in preference to the products of                                                 tection to our other industries.
foreign labor.                                                                                                   The records furnished by the Government show that tie
   Hlowever. we are living in a world where selfishness prevails                                               chemical industry is one of the few industries which during
to an extent beyond any reasoning on the part of many. We                                                      the past years has had almost complete control of the American
find that the buyers seek to secure what they want at the lowest                                               market and which, since the passage of the present tariff act,
possible figure. Even our Government, under the false cry of                                                   has been able to build up a real export trade.
economy, purchases what it needs, even for our Army and Navy,                                                    We are Americans and we presumably are interested in
in foreign countries if (the foreigners will quote a price lower                                               American workers and American industries whether they be
than tlie American manufacturer.                                                                               industrial or agricultural.
  And, yet, it is the American manufacturer and the American                                                     I trust that when the Ways and Means Committee make their
workers who pay the taxes which support this same Govern-                                                      recommendations to this House that we may have the privilege
mlent.                                                                                                         of adopting a tariff bill which will really protect the employ-




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ment opportunities of American workers, and that the rates              Mr. CONNERY. Oh, yes. I am in favor of protecting the
which they see fit to recommend will be based upon the value          workers and industries of my district against destructive foreign
of the articles in America-American valuation.                        competition.
   Let us take care of America. Those in control of the des-            Mr. BUSBY. Will the gentleman let me follow up the
tinies of our competitors seem to be able to take pretty good         thought that he suggested?
care of themselves. [Applause.]                                         Mr. COOPER of Ohio. Mr. Speaker, will the gentleman yield?
   Mr. JOHNSON of Washington. Mr. Speaker, will the gentle-             Mr. CONNERY. I yield to the gentleman from Ohio. I will
man yield?                                                            be glad to yield later to my friend from Mississippi [Mr. Busny].
   Mr. CONNERY. I yield.                                                Mr. COOPER of Ohio. The gentleman from Massachusetts
   Mr. JOHNSON of Washington. The gentleman referred to               has made a line speech, as he always does, a logical speech.
employment conditions in his district. Does the gentleman know          Mr. CONNERY.       I thank the gentleman.
1hat with the very limited immigration that we are now getting          Mr. COOPER of Ohio. The gentleman comes from a great
from European countries, about 1,000 a month from England,            manufacturing district where they make a lot of shoes. I fully
Scotland. and Germany, settle in New England, there to find no        approve of everything that he has said. While I have no shoe
employment? That is to say, with the limited immigration,             manufacturers in my district we have some leather lanunlfac-
New England factory cities can not take care of those who             turers. I am going to go along with the gentleman on shoes.
arrive and settle in those sections.                                  but I am wondering if he will go along with us for a tariff on
   Mr. CONNERY. That is true at present. There is no work             leather?
to be had for them in Lawrence, Lynn, or Peabody.                       Mr. CONNERY.      I certainly will. I read in my statement
   Mr. McCORMACK. Mr. Speaker, will the gentleman yield to            facts showing where at Peabody, in my district, one of the
me there for a moment?                                                greatest leather centers in the country, lhe tanners were being
   Mr. CONNERY. Yes; I am glad to yield to my distinguished           practically driven out of the business by foreign competition inl
colleague from Massachusetts, who delivered such a wonderful          leather.
speech on the national-origins clause the day before yesterday.         Mr. JONES. Will the gentleman yield?
   Mr. McCORMACK. Might not that condition be caused by                 Mr. CONNERY. I will.
the fact that American capital is being sent over to Europe              Mr. JONES. Would the gentleman vote for a tariff on hildes?
and is subsidizing European capital to compete with American            Mr. CONNERY. I will say to the gentleman-and I believe
capital ?                                                             that I am voicing the sentiments of the shoe workers and nmnu-
   Mr. CONNERY. My colleague's statement is absolutely cor-           facturers of my district-that we woull prefer. if it were pos-
rect. Mr. Speaker, I repeat again, on a pair of shoes on which        sible, free hides; but first of all we believe that a duty on hides
there is no duty, the valuation that is put on is $2 a pair foreign   inures to the benefit of the packers only and not the farmers.
valuation. On a pair of shoes on which there is a duty, shoes         But if the Congress considers there should be a duty on hides
with uppers other than leather, the foreign valuation is 30 cents     for the benefit of the farmers every shoe manufacturer and the
a pair. How can American manufacturers compete with labor             workers in my district are willing to have a duty placed upon
costs and overhead on shoes which are brought in at the foreign       hides if Congress will give us a compensatory tariff on shoes.
valuation of 30 cents a pair? That is what we mean when we               Mr. JONES. The gentleman does not think that the packers
say that we are striving for an American valuation of goods           get all the benefit?
so that the American manufacturers and American labor may be             Mr. CONNERY. The gentleman knows the packers get the
protected against this unfair foreign competition.                    hides.
   Mr. BUSBY. Mr. Speaker, will the gentleman yield?                     Mr. JONES. They, of course, buy the animal in many in-
   Mr. CONNERY. Yes.                                                  stances, but as one of the parts of the animal it affects the price
   Mr. BUSBY. The gentleman spoke a moment ago about the              paid the producers.
unemployment of the textile workers in New England in his               Mi. CONNERY.       Bought on the hoof. The gentleman is not
section of the country?                                               going to tell me the farmer gets the benefit of the tariff on hides.
   Mr. CONNERY. Yes.                                                    Mr. JONES. There is no tariff on hides. In many instances
   Mr. BUSBY. Does the gentleman know that the average                the animal is skinned on the farm or ranch. Besides, in other
spindle hour for New England is about 5/, active hours per            instances the animal is slaughtered locally. But even when
spindle per day, while in the South the average active spindle        sold to the packer, a tariff would go into the price.
hour is about 12%, per spindle each day?                                Mr. CONNERY. I think the gentleman realizes that it will
    Mr. CONNERY. Yes; and in Massachusetts we have a                  inure to the benefit of the Chicago packers alone. What I want
48-hour law, and if the southern mills would follow that              to say is that if the Congress wishes to put a tariff on hides, we
we would not be so much troubled with foreign competition.            are not going to find fault. We favor the farmer getting a tariff
We do not work women and children in Massachusetts over 48            on the farm products which lie sells. I am not standing here
hours a week.                                                         saying, Give me justice and nothing for the rest of the country.
    Mr. BUSBY. We do not work women down there. Our men               That is not our principle. My constituents are out of work,
work and are not idle.                                                they are hungry, their children are hungry, and if Congress
    Mr. CONNERY. The gentleman knows they work far more               wants to put a protection on hides in the belief that it helps the
than 48 hours in the southern mills.                                  farmer, I am not going to object.
   Mr. BUSBY. They use three shifts.                                     Mr. JONES. Does not the gentleman think that if we are
    Mr. CONNERY. I talked with a gentleman who just came              going to have a tariff law it should be a uniform tariff--one on
back from the South, who made a tour of the mill sections,            articles which come through the customhouse---
and he said that he saw them coming in and going out, and that          Mr. CONNERY. Yes; I do.
they worked sometimes as long as 60 hours, without three                Mr. JONES. On raw products as well as on the finished
shifts.                                                               articles? It should not be a special-privilege tariff.
    Mr. BUSBY. Let me explain to the gentleman that those               Mr. CONNERY. I think that we should have a tariff that
special investigators who go South to find out a certain condition    will protect every manufacturer and every worker and every
never report any condition when they go back except the condi-        farmer in the country who needs protection.
tion that they went there to see, and the facts do not come out         Mr. JONES. On jute, hides, and all raw material?
in those reports.                                                       Mr. CONNERY. On everything which really needs protec-
    Mr. CONNERY. The gentleman to whom I referred merely              tion.
 went on a visit to the South, and is not in the wool business,          Mr. SEGER. We have mills in the district I have the honor
 cotton business, nor connected with them at all. He told me          to represent that are going South on account of cheaper taxa-
about living conditions in the South, and he said that the people     tion and lower wages. The gentleman comes from Brooklyn,
in Lawrence and Lynn and Peabody could not live on the food           does he not?
that those mill workers in the South get as a result of the cheap        Mr. CONNERY. From Brookline? No; I come from Lynn.
 wages and long hours they work.                                         Mr. SABATH. Mr. Speaker, will the gentleman yield?
    Mr. MORGAN. Mr. Speaker, will the gentleman yield?                   Mr. CONNERY. Yes.
    Mr. CONNERY. Yes.                                                    Mr. SABATH. The gentleman has given the House valuable
    Mr. MORGAN. Is it not a fact that the destructive competi-        information relative to the importation of shoes from Czecho-
 tion in the textile industry is due to the cloth that is imported    slovakia and Yugoslavia and other countries of Europe. Can
 from Italy, and that that is the main trouble with your woolen       the gentleman give us the number of shoes exported to those
 mills?                                                               countries from this country?
    Mr. CONNERY. Yes; some from Italy and some from Eng-                 Mr. CONNERY. The number is almost negligible that we
 land, Germany, and other countries of Europe.                        export. It is not worth putting in the text. There is no ex-
    Mr. MORGAN. The gentleman is, therefore, in favor of pro-         port of shoes to Czechslovakia and Yugoslavia that amounts
 tection?                                                             to anything worth putting in the RECORD.




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     Mr. YON.           IMr.Speaker, will the gentleman yield?                    I am not interested at all in the packers; I am interested in the
     Mr. ('ONNEltY.             Yes.                                              farmers. I want to see tile farmers protected.
    Mr. 1YON.         'There is one question that I would like to asl:              Mr. JONES. I want to say in that connection that the
of the geitie
            (         iii;ii.   I   have been a    shoe man-inot   a   manufac-   farmer sells the whole animal to the packer. The packer in
turer. Init :1        alelar--:i.lnd I aun synmpathetic with the sinte indus-     turn sells to others. The packer is an intermediate agent. If
try. W\ile I          was inl IHoslon not long ago one of the big leather         he can get more for tlie hides, lie can pay more for tileanimal.
Iliien oitlined       the situation relative lo the supply of lhather.            That is elemental.
IH     said that:      lie suppldy had decrea:ed from 1920 from 13,000),-           Mr. CONNERY. And when the packers get the animal they
00l' down to less than 2,1)tX,100I of the available supply. The                   skin hinl and dispose of the hide.
urgent retluir•leiielt at that tiue was to use low-cut shoes.                       Mr. JONES.      I want to say to my friend that hides can be
'hl'y were bringi.ii. in substitutes for leather, and at the same                 brought in free from other places. These packers have big
lime they were asking protection on shoes, all the while know-                    plants in other countries-in South America and elsewhere-and
ing that \when they asked protection on shoes the producers                       they can bring hides in free of duty. The same is true of other
of hihles and leather are entitled to protection on hides.                        concerns which use hides.
    Mr. (C(ONNERY. If lie gentleman will examine the record,                       The SPEAKER pro tempore.            The time of the gentleman from
he will lind Iliat tlie l,.(0.0()00 pairs of shoes that came in last              Massachusetts has expired.
yiulr flro    ( 'zecho'slovakia paid no tariff at all. There was no                                     DEPOIhTATION    OF ALIENS
dilty nil ilhein at all.                                                             Mr. JOHNSON of Washington. Mr. Speaker, I move that
    .Mr. Y(N. I understandl         that those slhoes are made where a
                                                                                  tlie HIouse resolve itself into the Committee of thle Whole House
grl'eat leal of extra work is pillaced Iupon thelll. alld those shoes
                                                                                  on the state of the Union for the further consideration of the
so Inlde carry duily; and thle majority of thie shoes iuallnllac-
tedl'(l arif Ihi" tliat genleral ('charactel r of mnlanufacture. As I say,        bill (S. 5()94) making it a felony with penalty for certain
                                                                                  aliens to enter the United States of America under certain con-
I want to do thie     t,        ir thing and believe in doing the fair thing       litions in violation of law.
for tlie slh eilanullllilttI
                          i    erl'.
                                                                                     Thlielmotion was agreed to.
     AMr. ('(ONNEIRY.     I will say to the gentleman that I believe
                                                                                     Accordingly til    eouse resolved itself into tileCommittee of
  liimlty tlhat if Conllgres. does nlot put a tariff on boots and ;hoes
                                                                                  the W\\hiole House on tlie state of the Union for the further coin-
 lthe shoe industry in my city will be wiped out within the next
five ye•ris.     1 am not saying that for effect. I know what I am                sidei'ation of the bill S. 5094. with Mr. BAcoN in the chair.
                                                                                     The Clerk read the title of the bill.
talking hbout.
                                                                                    Mr. JOHNSON of Washington.             Mr. Chairman, before we
     Mr'. S('IAFEIt. Mr. Chairman, will the gentleman yield?                      proceed with the reading of the bill, I ask unanimous consent
     Mr. ('ONNERY. Yes.                                                           that I may be permitted to address the conmmittee for three
     Mr. St'IIAFEIt.        In the district tlit I have the honor to              minutes.
rep(resent we have a greatlman;y shoe manufacturers and tan-                        The CHAIRMAN. The            gentleman from Washington asks
neries. I want to have a tariff which will protect these indus-                   unaniimous consent to proceed for three minutes. Is there
tries and labor eimplloyed therein from unfair competition of                     objectiion?
foreign products. I will, however, oppose a tariff on shoes if                      There was no objection.
tile shoe manufatl'urers keep up their propaganda for a tariff on                   Mr. JOHNSON of Washington.            Mr. Chairman and gentle-
slioe,. allnd opposition to a tariff on hides and finished leathers.              men,  when the comnnittee was about to rise last night an agree-
   Mr. ('O NNEIIY. Every shoe manufacturer that I have talked                     ment was reached by which we agreed to proceed with Senate
with has hardly menltioned the question of hides. If you will                     bill 5004 to-day in accordance with the rule under which we
ask tihe about it, you will find they will say to the Committee                   were operating. As we were about to rise. it was apparent
on Ways and Means when they appear before it next week,                           that amendllents would le offered to provide for a paragraph
" If you see it to put a lduty on hides, all we ask is to have a                  which would include violators of certain parts of the liquor
compenlsatory tariff pl:ced oil shoes." I will say to the gentle-                 laws.   They would be alien violators, of course.       One or more
man t at thahe ]propmamandal   that lie mentions certainly does not               MJembers had sent to the Clerk's desk amendments to that
conle from my dist.lrict.                                                         effect, and your Committee on Immigration, after surveying the
  Mr. MORGAN. Mr. Speaker, will the gentleman yield?                              situation and feeling rather of the opinion that an amendment
  Mr. ('ONNERY. Yes.                                                              of some kind along that line would he voted, met this morning
  Mr. MOIG•IAN.       If we destroy the shoe factories and the                    and perfected an amendment. I think, in fairness to the gen-
tanneries, will not the hide market he wiped out ultimately?                      tleman froml Georgia [IMr. TARVEU], who w'as claiming recogli-
  Mr. ('ONN,EY. Yes; because there will be nobody to buy                          tion at the time we made the agreement, that his proposed
hides.                                                                            amendment might as well be read, after which the chairman
  Mr. Me('OIIMAACK.          Does the gentleman know where the                    of the committee w'ill offer the committee amendment as 'l
capital coines frotl that is piut into the manufacture of these                   substitute.
shoes in ('zechoslovakia ?                                                           Mr. EDWARDS. Will the gentleman yield?
  Mr. CONNEIY. I believe that the capital that is behind the                        Mr. JOHNSON of Washington.           Yes.
Czechoslovakia. shoe manufactures                   comes from     the United       Mr. EDWARDS. Is the proposition the committee has agreed
States. The mlllnalulturers here have put money into business                     on, in effect, the amendment as offered by the gentleman front
over there, hecause they say they can not compete here, and                       Georgia ?
with cheap labor costs over there they can, and thereby throw                      Mr. JOHNSON of Washington. I think it is rather more
thousands out of emtployment in the United States. That is                        embracing.
admlitted by business men in New York.                                             Mr. BRIGGS. It relates not only to violations of the prohi-
     Mr. LOZIElt.           Mr. Speaker, will the gentleman yield?                bition laws but to other violations?
     Mr. CONNERY.               Yes.                                                Mr. JOHNSON of Washington.             In order to save time I
   Mr. LOZIIEIt. Is it not a fact that in the last few years mil-                 will read the amendment. It will add one more classification,
lions of dollars
          oll
            of     American money have been loaned to cou'n-                      and it will be as follows:
tries in Europe in order that European industry may come in
competition with donlmestic products here?                                           (9) An alien who is convicted of manufacturing, selling, or trans-
     Mr. ('ONNERY.              I understand so.                                  porting intoxicating liquor, for which he is sentenced to imprisonment
   Mr. MORGAN. I)oes the gentleman stand oil the Democratic                       for a term of one year or more, or who is convicted of manufacturing,
                                                                                  selling, or transporting intoxicating liquor, for which he is sentenced
platform, where protection is demanded?
  Mr. ('ONNERY. I certainly stand on the Democratic plat-                         to imprisonment for a term which, when added to the term or terms
form, which deinands that our industries be protected.                            to which sentenced under one or more previous convictions of manu-
                                                                                  facturing, selling, or transporting intoxicating liquor, amounts to one
   Btut, of course, the Democratic platform says we should have
                                                                                  year or more. This subsection shall apply only in the case of offenses
protection.        I have no argument with my distinguished friend
                                                                                  committed after the enactment of this act.
from Texas on that point.
   Mr. JONES. Thle occasion for my question was this: I re-                         Mr. LOZIER. Will the gentleman yield?
ceived a printed letter-and I am sure all the Members received                      Mr. JOHNSON of Washington. Yes.
it-from the National Boot & Shoe Manufacturers' Association                         Mr. LOZIER. In other words, the language makes the terms
urging a tariff on boots and shoes and urging free hides.                         cumulative: that is, adds one to the other?
Now. it seems to me it is going pretty far to ask the ranchmen                      Mr. JOHNSON of Washington. Yes; cumulative for liquor
and farmers who produce hides to sell their products in a free                    violations and separating them from general violations. With
market and att the same til e copel them to buy their supplies                    that explanation, I will ask that the Clerk read the bill.
in a protected market. Does the gentleman think that is fair?                       Mr. TARVER. Mr. Chairman, I offer an amendment.
   Mr. ('ONNERY.      No: I do not. And, I repeat. I beiieve a                      The CHAIRMAN. The gentleman from Georgia offers an
tariff on hides will only inure to the benefit of the packers, and                amendment, which the Clerk will report.




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  The Clerk read as follows:                                              deported even without trial or conviction, and the violators of
   Amendment offered by Mr. TARVER: Amend by adding a new para-           the prohibition laws of the country?
graph to be numbered " 2-A " after line 7, on page 3, as follows:           My amendment, as I have said. provides it shall apply only
   " 2-A. An alien who hereafter violates or conspires to violate any     to two classes of cases, those who manIufacture and those who
statute of the United States or of the several States by manufacturing    sell, and that it shall not apply to them unless there shall have
or selling intoxicating liquors for beverage purposes, and is convicted   been two convictions for the same offense.
of such offense in a court of record when such conviction is for a          I submit this presents to the committee the sole question of
second offense of the same character."                                    whether or not they believe aliens who have twice violated and
                                                                          been convicted of violating the prohibition laws of the country
   Mr. TARVER. Mr. Chairman and gentlemen of the commit-                  are desirable residents of the country and ought to be permitted
tee, the purpose of this amendment, of course, is to authorize            to remain here.
the deportation of those who have manufactured or sold intoxi-              Mr. SCHAFER. Will the gentleman now yield?
cating liquors in violation of the laws of the United States. It            Mr. TARVER. I yield to the gentleman.
does not affect any other class of violators of our prohibition             Mr. SCIIAFER. Why not also include those who are found
laws. It provides that conviction must be had in a court of               guilty of buying and transporting?
record and not only that but it must be a second conviction.                Mr. TARVER.      So far as I am concerned, I believe that vio-
It does not have anything to do with the length of the sentence     lators of the prohibition laws of the character indicated by the
that may be imposed, and I respectfully submit to you that an       gentleman should be included, but I have sought to put this
amendment such as was described by the chairman of the com-         amendment in such form as that any man who even pretends
mittee, the gentleman from Washington, will not have the effect     to believe in prohibition and in the enforcement of prohibition
of authorizing the deportation of a large majority of these alien   could give it:his support.
violators of our prohibition laws, for the reason that in those        I want to say to the House, in explanation of my own posi-
sections of the country where such violations are most rampant      tion, that I am sincerely an advocate of prohibition. I am
and where there are the largest number of alien violators of        offering this amendment as a friend of prohibition. I believe
the prohibition laws the judges who customarily pass upon such      that the eighteenth amendment to the Constitution of the Inited
cases do not impose sentences of the length of one year for the     States is the best legislation enacted by this Congress in the
offense of selling intoxicating liquors or for the offense of manu- last 50 years, and I do not believe that the wholesale violation
facturing intoxicating liquors, in the vast majority of cases.      of it in certain sections of this country any more calls for i!s
   The penalties imposed by the judges, range from a small fine     modification or repeal than that the wholesale machine-gun
to a few days in jail. The minimum punishment for a first of-       murders which we have been reading about, occurring in the
fense under the law may be as small as one (lay in jail or a        city of Chicago, require the repeal of the laws against murder,
penny fine. For a second offense, it may be as small as 30          and I believe that if you pass this amendment and write it into
days in jail or a fine, I believe, of $200.                         law, it will go a long way toward effectively enforcing the
   Now, I contend that an alien who has engaged in the business     prohibition statutes of this country, and it will rid the country
of manufacturing or selling intoxicating liquors to the extent      of some of the foreigners who have been carrying on this illegal
that he has been twice caught and twice convicted in a court        business in a wholesale way in certain sections of the count ry.
of record has no right to insist upon his being allowed to remain      If you adopt the amendment of the committee, adopted by
in this country.                                                    the committee since yesterday afternoon in order to prevent
   The bill as it is at present, without the amendment of the your adoption of a more vigorous amendment, you leave the
gentleman from Washington [Mr. JOHNsON], would require not matter almost where it is now, because there will be very few
merely one year's sentence but two years, and the amendment cases in which the aggregate penalties will be as much as 12
changes that condition to some extent, if it should be adopted, months in those sections of the country which stand most in
but only to the extent of requiring that the aggregate sentences need of legislation of this character. [Applause.]
shall be one year; and I submit to you that in those sections of       Mr. JOHNSON of Washington. Mr. Chairman, I desire to be
the country, the large cities, where these aliens ply their illegal recognized in opposition to the amendment.
trade, it would be a long, long time before you would find sen-        Gentlemen, this is quite a serious matter. The gentleman
tences in very many cases imposed by the judges in those juris- from Georgia has made a very earnest statement. We ought to
dictions aggregating 12 months.                                     analyze it. We are dealing with aliens, even though the words
   The question is, Do you consider an alien who engages in of his amendment have been reduced to two or three phases-
the business of violating the Constitution of the United States transporting and manufacturing-the facts remain that if an
and the laws enacted in pursuance of the Constitution of the alien should be fined once $5 for a violation in a court of record,
United States, a desirable citizen of the United States? If you and then again fined $5 you have provided that he must be
do not, then you ought to vote down the committee substitute deported provided the Secretary of Labor thinks him an unde-
and adopt this amendment.                                           sirable citizen.
   Mr. SCHAFER. Will the gentleman yield?                              Mr. TARVER. If the gentleman will yield, the police courts
   Mr. TARVER. No; I have not time to yield, I am sorry to are not courts of record.
say to the gentleman. I only have five minutes.                        Mr. JOHNSON of Washington. Is the gentleman sure? How
   The gentleman from Texas [Mr. Box] on yesterday made some about the State of California?
statement to the effect that the reason for not including a pro-       Mr. TARVER. I think there is no question but that police
vision of this kind was because it would result in placing in the courts are not courts of record in any State.
deportable class such a large number, in addition to those al-         Mr. JOHNSON of Washington. They have a different system
ready authorized to be deported, that they might not be properly in California.
handled under the appropriations which are now available. The          Mr. EVANS of California. If the gentleman will yield, I
same objection would apply to every other provisidn of this hill. want to say that the police court in California is not a court of
It is admitted that there are at least several hundred thousand record.
aliens in the United States subject to deportation under our           Mr. JOHNSON of Washington. Then I am mistaken. It is
laws who can not be deported for lack of sufficient appropria- agreed, however, that many of these offenses are punished by
tion. If the gentleman's argument is correct, then why should imprisonment for 30 days or 60 days, and with fines in propor-
we add any number to that class?                                    tion. You must understand that we are creating one or :,wo
   The CHAIRMAN. The time of the gentleman from Georgia additional classes of aliens who commit crimes of a serious
has expired.                                                        nature, and they must be proceeded against by the Secretary of
   Mr. TARVER. Mr. Chairman, I ask unanimous consent to Labor. This amendment which has been proposed would confer
proceed for five minutes.                                           so much possibility of a burden in the name of deportation that
   The CHAIRMAN. The gentleman from Georgia asks unani- the Department of Labor would be greatly interfered with and
mous consent to proceed for five additional minutes. Is there would have to have a third branch of the Government for this
objection?                                                          phase of prohibition enforcement.
   There was no objection.                                             Mr. CRAIL. Will the gentleman yield?
   Mr. TARVER. This bill, gentlemen of the committee, pro-             Mr. JOHNSON of Washington. Yes.
vides that an alien who is guilty-not convicted in a court of          Mr. CRAIL. As I understand the amendment, the alien would
record, but who is guilty of any sort of a violation of the laws first have to be determined to be an undesirable citizen-
of the United States against the handling of narcotics-shall be        Mr. JOHNSON of Washington. That would come after he
subject to immediate deportation upon order issued by the .was convicted.
Commissioner General of Immigration.                                    Mr. CRAIL. If he is an undesirable citizen, would it not be
   Why should there be such a tremendous distinction between better to deport him on a minor offense than to wait until he
the violator, in a small way, of the narcotic laws, who may be has committed a felony?




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  Mr. JOH*NSON of Washington.         If you carried it out in that       I grant that there are not as many arrests made, but we
detail, Ilie D,epartnment of Labor would not be able to function        know, and it can not be denied, and, in fact, it has been demon-
 it all. 'lTh wiork ;and burden on the department would be ter-         stated and proven on the floor of this House, that the prohibition
rible. I will ask the House to vote 1down the amendment offered         law is not being enforced in the South, and that the same south-
by the gentlemanl   fromn (eorgia mi
                                   id vote up the substitute which      ern hospitality of old still prevails.
I shall offer as,a commnitte amendlment.                                  Mr. LAGUARDIA. Mr. Chairman, I move to strike out the
   Mr. GII 'FOID. Will the gentleman yield?                             last word. I can understand the attitude of the gentleman from
   Mr. JOIINSON of Washinlgton. I yield.                                Georgia [Mr. TARVER1 in presenting his amendment.           After all,
   Mr. (;GI'FORD. Considering the various paragraphs, when              in these days of tariff revision and protection of American in-
it comnes to d(leportation to Iussia, we not having recognized          dustry, it is natural and logical that America's greatest and
 lie (Goverrnment in that country, what is the attitude of the          most profitable industry should be reserved to citizens of the
depii rtmen•t in th:it respect?                                          United States. [Laughter.]     The gentleman states that there
   Mr. JOIINOS)N of Washington. We would be unable to                   are thousands of bootleggers. Of course, we have not had the
deport.                                                                  benefit of the Census Bureau in classifying these bootleggers as
  \Mr. SAI'T'II. Mr. Chairman, the gentleman from Georgia is            to citizens and noncitizens, but again I want to point out to the
a prIolhibitionist and believes in lthe enforcement of the law, but,    House and to repeat at the risk of becoming tiresome, that you
 nliortluiiiately, ie is under the impression that all the violations    would not have thousands of bootleggers if you did not have
of Ilh liaw are co(,: itted by aliens. Now, I will say that many        millions of drinkers. It is because of the great demand for
aliens are arrested; they have no one to intercede for them;             liquor that you have this large number of bootleggers.       Just
 ihey have no influence, and when they are arrested they are            how the gentleman from Georgia [Mr. TARIVER] is going to dif-
fined. On tlie other hand, the influential citizens, in the gentle-     ferentiate between the alien bootlegger and the native con-
   an'lis Stat'e of (Georgia, or any other State, do the same thing:    sumer, I do not know. There can be no serious objection to the
  hliey imake it; they sell it: hey consume it. to a much greater       gentleman's amendment. In fact, I rather welcome it, because
extent thlian man y of the ;liens, but they very seldom are con-        it will answer a great many of the charges based upon misinfor-
victed or even arre'sted.                                               nation, that the bootlegging industry is in the control of aliens.
   What I want to bring home to you is that we have very                I assure the gentleman from Georgia that in his State, and in
stringent provisions in lihe present deportation act which pro-          many of the States of the Union, business is too good to be left
vides lfor ile deportation of aliens commnitting any kind of an         in the hands of aliens.
  lofeTn::e, wheiher it is violation of the Volstead Act or whether        Mr. TARVER. Mr. Chairman, will the gentleman yield?
it is larceny, robbery, or any otlher offense or crime. Now, why           Mr. LAGUARDIA. Yes.
should we have a special provision in tlhe act applicable to               Mr. TARVER. The gentleman on previous occasions Ilas
those wiho happen to violate the Volstead Act. a thing which has        made statements of this character concerning my State upon
bleii imade illegal only a few years and which up to the time           the floor of the House, and I rise to inform the gentleman now
Ibefore hy-triia hail taken possession of our legislative bodies,       that in my district in Georgia the prohibition laws are enforced,
was reioglizei to   (ie    legal all over the United States. Lo and     and if the gentleman will take the trouble on some occasion to
hiliold. It-daiy we must haliive a spechial law which must be much      visit my district, as I hope lie will, he will discover that to be
siron•igr hlian the law which applies to a man guilty of robbery,       true.   He will find that his charges made against my State at
lar(ceny.,   or any kind of a real crime against the laws of the        least are not correct.
State,s. It is to be regretted that people go or are carried away          Mr. LAGUARDIA. I shall permit the records of the gentle-
by blind prejudice to such an extent and can( not see the situa-        man's own State to speak for themselves, and if the gentleman
tion as It really should lie seen by sane and sensible men.             will consult them he will find an alarming increase in violation
    I feel that the present-day hysteria and intolerance on the         of both the Federal and the State prohibition laws, and I be-
part of cetrlain organlizatiois and individuals should cease, and       lieve that the conditions in the State of Georgia as to violation
tliat we sihould legislate sanely as men and not be overlorded by       of the liquor law is such that this House can take judicial and
aii origanization siiimply because a few yearls ago it was powerful,    legislative notice of it.
hut which now is fast disintegrating. It is to be regretted that           Mr. McCORMACK. Mr. Chairman, will the gentleman yield?
its accrediled ofliei:ils still ctiomie down here or by a word in-         Mr. LAGUARDIA. Yes.
fluence Melmbers of ('Congress who are elected by the people to            Mr. McCORMACK. Might I also call to the gentleman's at-
helieve that they iliust do as this organization tells them, re-        tention the fact that in the report of the provost marshal general
gardless iihow vici,ius.      otherwise   ihe organization will bring   to the Secretary of War on the operations of the selected-service
aboul their defeat. We ought to he big enough to say to all such        system, to December 20, 1918, one of the States mentioned where
organiizatiols and their agents that we are men who are sworn to        forcible resistance to the draft existed was the State of Georgia.
uphold the Constitution of tile United States, and who at the              Mr. LAGUARDIA. That has nothing to do with this, but
   isaie time have tlie right and privilege to cast our votes accord-   I want to say this about the State of Georgia in all fairness,
ing to the dictates of our conscience and not according to the          that the State of Georgia in so far as liquor conditions are con-
dictates of these prohibition leaders or people who really do not       cerned is no worse than other States of the Union.
know what it is all about, and arc being misled and used by the            Mr. TARVER. May I ask the gentleman a question?
professi,onal prohibitionists on one hand, and, on the other, the         Mr. LAGUARDIA.        Certainly.
 'st rict ionists, wh-lo are about as narrow-minded and bigoted, and      Mr. TARVER.       The statement of the gentleman made with
whii are forcing the legislation now before us.                         reference to violation of the liquor laws in Georgia was based
  Unlike tllle gentleimn froin Georgia, Florida, Washington, or         upon the records, I presume, indicating the number of distilleries
 lMain(e i am frank enough to admit     lihat there are nany viola-     seized?
tiiis of tie prohibition law in my Slate and in my city.                   Mr. LAGUARDIA. And the number of arrests and convic-
   I exceedingly regret to say that there are many bootleggers,         tions.
and manity killings among these bootleg gangs, something that             Mr. TARVER.       The fact that the law is enforced and that
was unheard of before prohibition. and for which the prohibition        violators of the law are arrested is no evidence to sustain the
law is re:sponsible. Tils, however, the professional prohibition-       gentleman's charge. The fact that in some sections of the
ist, or lthe prohibitionists on the floor of this House, dislike to     country violators go unpunished and no arrests are made does
concede, notwithstanding that it is a fact, and is recognized by        not sustain the contention that the law is not violated there.
 lhose wlio are not blinded with prejudice or who are not crazed          Mr. LAGUARDIA. I refuse to yield further and say as to
on lihe question of prohibition.                                        the gentleman's very clumsy innuendo as to my State, that
   In a measure. I do not blame certain gentlemen in trying to          he will find that in comparison to population, the conditions in
secure ia sp:ecial provision in this act, applicable to aliens guilty   the State of New York are better than in his State.
of violating the Volstead Act. I take it they want that lucrative         Mr. JOHNSON of Washington. Mr. Chairman, I call for the
busiiess lo be solely conducted by ;and be in the hands of native-      reading of my amendment, which I offer as a substitute for the
horn Aimericans.                                                        amendment offered by the gentleman from Georgia.
  In view otf tlie trelmendous implortation of liquors, it does not       The CHAIRMAN. The Clerk will report the substitute.
affec tlhe price of tleir native manufactured white mule and              The Clerk read as follows:
mloonshine, blca.use the greater importation of these liquors the          Substitute offered by Mr. JOHNsON of Washington for the amendment
lesser the price of white mule and moonshine, but surely they           offered by Mr. TARVER: Page 4, after line 9, and after subsection (S)
(call not lmaintain tlitt aliens are guilty of violating the prohibi-   already inserted by the committee amendment, insert a new subsection.
tion law in their respective States, because there are no aliens        to read as follows:
there, and, notwithstanding that fact, the records will show, that         "(9) An alien who Is convicted of manufacturing, selling, or trans-
there are as many stills confiscated as there are in any other          porting intoxicating liquor, for which he is sentenced to imprisonment
section in the United States.                                           for a term of one years or more; or who is convicted of manufacturing.




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selling, or transporting intoxicating liquor, for which he is sentenced to     Who in this day and generation is going to say that the boot-
imprisonment for a term which, when added to the term or terms to            legger is undesirable? How are you going to get by colnuol n
which sentenced under one or more previous convictions of manufactur-        sense on this proposition? I a:m not surprised tlhatthe gentlc-
Ing, selling, or transporting intoxicating liquor, amounts to one year or    man from Georgia I[Mr. TA~vElt] should offer his amendment.
more. This subsection shall apply only in the case of offenses commit-       He speaks of violations of the Volstead Act as being on a par
ted after the enactment of this act."                                        with violation of the narcotic act. Quite evidently there is a
  Mr. TARVEL.      Mr. Chairman, I make the point of order                   great difference.      Narcotics poison the minds of American
against the amendment when it is offered as a substitute. The                people, and the bootleggers are      lltering to the ordinary aple-
amendment vwhich I prolpose is to page 3 of the bill after line 7,           tiles of Americans. This aimeltlueunt can not only afnect the
adding a new paragraph to follow subsection 2 of section 1. The              violators; it affects their families also. It affects tlhouands
amendment proposed by the committee through its chairman is                  of men because they happen to sell booze a couple of limes and
to page 4 of the bill, and an entirely different part of the bill,           get caught. Here is an Americanl citizen buying liquor from
and can not le properly considered as a substitute for my amend-             an alien bootlegger. The alien bootlegger goes into the business
ment. There ought to be a vote upon my amendment, and then a                 in order to support his family. You give three cheers for the
vote upon the gentleman's amendment.                                         American violator. I suppose this amendment will prevail,
  The CHAIRMAN. Both the amendment and the substitute                        although it is nonsense on the face of it. The House was off
are offered to the same section. and the Chair thinks the substi-            its feed when by its vote it turned down the $240,000,000 addi-
tute is clearly germane and overrules the point of order.                     tional applropriation for prohiition enforcement. I congratu-
  Mr. JOHNSON of Washington.             I think this nitter has been         late all tile dry gentlemen on once more answering "lpresent"
fully debated and the committee las looked as carefully as it                 when the captains of the drys demand it. [Applause.]
could and given consideration to this. I think we should now                     The CHAIRMAN. The question is on the substitute offered
have a vote and proceed with the reading of the bill.                         by the gentlenmnl   from Washington for tie amendment offered
  Mr. EIDWARDS. Mr. Chairman, ladies, and gentlemen of the                    by the gentlenan from Georgia.
con'mittee, it is unfortunate thali in the consideration of matters              The question was taken, and tie substitute was agreed to.
here we should at any time legislate with respect to what has                    The CHAIRMAN. The question now occurs on the amend-
happened in this State or that State. We should, at least, be                 mtent as amended.
broad enough to approach legislative matters in the interest of                  The question was taken, and the amendiment as amended was
the whole country. Every once in a while slurs are made at                    agreed to.
some State. The gentleman from Massachusetts, very unkindly,                     Mr. SABATH. Mr. Chairman, I offer ;a amendment.
so far as the statement that Georgia resisted the draft, put it                  The ('IAlRMAN. The Clerk will report the amendment
in the RECORD that Georgia resisted the draft. He read and                    offered by the gentleman from Illinois.
quoted from some War Department report. I do not care where                      The Clerk read as follows:
that statement emanates from, it does our great State an injus-                 Amendment offered by Mr. SAATII : Page :, line 18, after the word
tice. In the name of the great State I have the honor to, in                 " false," strike out the words "or misleading," so that paragraph 5 will
part, represent, I brand it as false. We just as well have this              read as follows:
thing out now as later. The statement is not true. There were,                  "(5) The alien who hereafter willfully enters the United States at
perhaps, men in Georgia, as there were men in Massachusetts,                 any time or place other than as designated by immigration officials, or
as well as other States, who objected to the draft, but the citi-            eludes examination or inspection by immigration officials, or obtains
zens of the great State of Georgia were as loyal to the Stars and            entry to the United States by the willfully false representation or the
Stripes as were those of the great State of Massachusetts.                   willful concealment of a material fact."
[Applause.]
  It is unbecoming a Menrber of this House to make these nasty                 Mr. SABATHI.       That is the amendment I submit.
digs and mean slurs at any of the States. As a Representative                  Mr. JOHNSON of Washington.           Mr. Chairman, I believe that
of the State that has thus been insulted, I resent the remarks,              the debate has closed onl all mendments to this section.
and whether they come from the War Department, or wherever                      The CHAIRMAN. The gentllman from Washington is cor-
they come from, I denounce them as unkind and unfounded.                     rect. The question is on the amendment of the gentleman from
[Applause.] The people of a whole State ought not be indicted                Illinois.
by tie War Department report because of the attitude of some                    The question was taken, and the amendment was rejected.
of its citizens. I claim no superior patriotism for Georgians                   The CIAIRMAN. The Clerk will read.
but they are patriotic, and the State of Georgia is one of the                  Mr. HUDSON. Mr. Chairman, a parliamentary inquiry.
great sovereign States of this Union, and is entitled to proper                 The CHAIRMAN. The gentleman will state it.
respect here and elsewhere.                                                     Mr. IIUISON. The House has adopted an amendment of the
  Mr. BLACK of New York. Mr. Chairman, I rise in opposition                  committee. Would it now be proper to offer an amendment to
to the amendment.                                                            that amendment adopted by the committee?
  Mr. JOHNSON of Washington. Mr. Chairman, I move that                          The CHAIRMAN. The Chair thinks not.
all debate on this section and all amendments thereto close in                  Mr. HUDSON. It is part of the section, is it not, and would
five minutes.                                                                it not he in order to amend it?
  The CHAIRMAN.           The gentleman from Washington moves                  The CIIAIIIMAN. Tie gentleman should have offered an
that all debate on this section and all amendments thereto close             amendment to the amendment when it was plnding. It Is too
in five minutes. The question is on agreeing to that motion.                 late now. The Clerk will read.
  The motion was agreed to.                                                     Mr. SABATH. Mr. Chairmnn. I offer the following amend-
   The CHAIRMAN. The gentleman from New York is recog-                       ment: On page 4 strike out thb "ten " and substitute "live"
nized.                                                                       for it.
  Mr. BLACK of New York. Mr. Chairman and gentlemen of                          Mr. JOHNSON of Washington. Mr. Chairman, that amend-
the committee, supplementing the remarks of the gentleman                    ment was offered yesterday and voted down.
from Georgia [Mr. EDWARDS], I want to say that we saw in                        Mr. EDWARDS. Mr. Chairman, I make the point of order
New York City a great number of men of alien blood march                     that there is no amendment pending. The gentleman has not
forth to the war and perform nobly, as did those living in other             sent it to the desk in writing.
cities and States. When the leaders of the immigration re-                      The CIAIRMAN. The point of order is sustained. The
strictionist movement and the drys get together they can fur-                Clerk will read.
nish a melting pot that would satisfy a witch burner. This                      The Clerk read as follows:
amendment is another tower to hypocrisy in America.                             SEc. 2. For the purposes of subsections (0) and (7) of section 1-
  I am surprised that the chairman of this Committee on Immi-                   (a) No conviction shall serve as a basis for deportation proceedings
gration and Naturalization has capitulated to the drys. This                 unless such conviction is in a court of record and the judgment on such
matter has nothing whatever to do with the immigration bill.                 conviction has become final;
The committee refused to have anything to do with it at first,                  (b) In the case of a sentence for an indeterminate term in which the
hut   they    are now panic-stricken      when the gentleman         from    minimum term under the sentence is less than one year, the term
Georgia [Mr. TARVER] offers his amendment, so that immigra-                  actually served shall be considered the term for which sentenced; and
tion is going to be tainted with the corruption of prohibition.                 (c) An offense of which an alien, after conviction, has been uncon-
But I am not much surprised. I think the Labor Department                    ditionally pardoned, shall not be considered an offense.
is one of the best departments in Washington; and if there is
any gravy in this thing, I think they ought to have some of it.                Mr. JOHNSON of Washington. Mr. Chairman, I offer a com-
That department will be as much corrupted as any other de-                   mittee amendment.
partment with which the prohibition fanatics have come in                      The CHAIRMAN. The gentleman from Washington offers an
contact.                                                                     amendment, which the Clerk will report.




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  The Clerk read as follows:                                                             Mr. BURTNESS. Will the gentleman yield?
                                                                                         Mr SABATH. Yes.
            i
   Coln nittee  aniin•llltlll'nt offered by Mr. JOHNSON of Washington: On                Mr. BURTNESS. What offense committed in the past does
page -. line 10, strike out "(0) and (7)" and insert in lieu thereof                  the gentleman claim is punishable by this section?
"(t;), (71, (S), .ndl 19)."                                                              Mr. SABATH. It provides for deportations which took place
  'The c,iotlnilttee anI ndment was agreed to.                                        before the enactment of this act.
  The( Clerk read as follows:                                                            Mr. BURTNESS. But the act which is punishable is the at-
                                                                                      tempt to come in again, is it not?
   S'i.:'. ;. ()      If any alien has Iben arrested and deported in pursuance           Mr. SABATH. No; that is not the fact. This is the provi-
of law, he shall be excluded from admission to the United States                      sion, that if at any time a man has been deported, for instance,
wlhether' such d(eportation took place before or after the enactment of               for overstaying his leave, we will say, three, four, or five years
this       Iat, and If li' enters or attempts to enter  the United States after
                                                                                      before this law was enacted, he should not be punished under
tin expiration of      00    days after the enactment of this act, he shall be        this act. I say that sucl a stringent provision should not apply
guilty ii, a f'lony and              conviction thereof shall, iunless a different
                                 )upon                                                to him in view of the fact that when he was ordered deported,
peInit:, is otherwise expr.'sly provided by law, lie punished by imprison-            years ago, this was not the law of the land. That is my posi-
lientl Ifr not more th:in two years or by a line of not more than $1,000,             tion.
or by 1o,l i siucll fin an;id lmprisolnment.                                             Mr. BLANTON. Will the gentleman yield?
    (blit lr       the purposes of this section any alien ordered deported               Mr. SABATH. Yes.
 (whether before or after tilt einactlinint of this act) who Ihas left the              Mr. BLANTON.        There are thousands of Mexicans who have
Ulitedl S:ltats shall be conssidered to haive been deported In pursuance              come across the line unlawfully and who are now within the
of law, irreslpective of tie source from whicl the expenses of his trans-             United States. Has not the Congress the right to pass a law to
portalion were deifrayed or of itheplace to which he departed.                        deport themn?
   (c) An alien subject to exclusion from admission to the United                       Mr. SABATH. There is no question about that.
States under this section who is employed upon a vessel arriving in the                 Mr. BLANTON. Is that ex poste facto?
United States shall not be entilled to any of the landing privileges                    Mr. SABATH. No.
aillowed by law to sematen.                                                             Mr. BLANTON. Can not Congress provide for the deportation
     (d) So much of section 3 of the immigration act of 1917 (U. S. C.                of any certain class of people?
lit le S. se. 13:1(.1)) as reads as follows: " persons who have been                    Mr. SABATH. Yes.
delported under any of tle provisions of this act, and who may again                    Mr. BLANTON. It is not ex poste facto if it applies to a
seck admission within one year from the date of such deportation unless               whole class.
prior to their reeihmarkation at a foreign port or their attempt to be                 Mr. SABATH. I agree with the gentleman that there are
admitted fromn foreign contiguous territory the Secretary of Labor shall              many of them here in violation of the law and that they should
have coisentid to to eir re;applylng for admission" is amended to read                be deported.    We have embodied such a provision in this act and
as follows : " pelrsons who have been excluded from admission and de-                 tlat is being taken care of. There is no question about that.
ported in pursuaiinc    of law, and who may again seek admission within                 Now, I am again going to appeal to the gentlemen of the
one year     fromi   tie date   of siuch   deportation,   unless   prior to   their   committee to grant my request for an amendment of paragraph
reemnlbarklution at a place outside the United States or their attempt                5 of section 2, which I believe should be eliminated.
to be admtitted from foreign contiguous territory the Secretary of Labor                The CHAIRMAN.         The question is on the amendment offered
hits consented o toheir reapplying for admission."                                    by the gentleman from Illinois.
    (et So muchl of section 18 of the immigration act of 1917 (U. S. C.                 The question was taken, and the amendment was rejected.
title S. (sec.154) its reads as follows: "or knowingly to bring to the                  The Clerk read as follows:
IUniteil States at any time within one year from the date of deportation
any alien rejected or arrested and deported under any provision of this
                                                                                        SFE. 6. Proceedings for the deportation of an alien made deportable by
                                                                                      this act may be begun at any time after the entry of such alien, with-
act, unless prior to reemibarkatlon the Secretary of Labor has consented
                                                                                      out regard to any of the periods prescribed in the immigration act of
that suth ali'en shall reaplply for admission, as required by section 3
hereof " is aniendetd to read tas follows: " or knowingly to bring to the             1917; but no proceedings based on subsection (6) or (7) of section 1
                                                                                      of this act shall be begun after the expiration of three years after the
United St:ates any alien excluded or arrested and deported under any
                                                                                      termination of the imprisonment.
provision of law until such time as snuch alien may be lawfully entitled
to reapply for admission to the United States." The amendment made                      Mr. JOHNSON of Washington.              Mr. Chairman,     I offer   a
by this subsection shall take effect on the expiration of 60 days after               committee amendment.
the en.atnrent of thills act, but the provision amended shall remaln in                  The CHAIRMAN. The gentleman from Washington offers
force for the collection of any line incurred before the effective date of            an amendment, which the Clerk will report.
sueli atmendnent.l                                                                       The Clerk read as follows:
   Mr. SAIIATII. Mr. Chlirmain I offer an aminendment.                                   Committee amendment offered by Mr. Johnson of Washington: Page 7,
   The ('IIAIRMAN. The gentleman from Illinois offers an                              line 20, strike out "(6) or (7)" and insert in lieu thereof "(6), (7),
iinmtemlienit. which lte Clerk will report.                                           (8), or (9)."
   Ti ('Clerk read as follows:                                                          The committee amendment was agreed to.
                                                                                        Mr. CROSSER.        Mr. Chairman, I ask unanimous consent to
  Amcndment offered by Mr. SA.iAI : Page 4. line 24, strike out all
                                                                                      return to section 5 to offer an amendment striking out the word
after Iit'  word " deported." on line 24, all of line 25, and up to and
                                                                                      " of," in line 14. and inserting the word " to."
including tlie word "or," in line 1, page 25, so that provision (a), sec-
                                                                                         The CHAIRMAN. The gentleman from Ohio asks unani-
tion ::. will read as follows:
                                                                                      mous consent to return to section 5, for the purpose of offering
   " Si:t. :1 (ia If any alien has been arrested and deported after tihe              an aunendment. Is there objection?
enniiclt'nt of tils act, and if ie enters or attempts to enter the United               Mr. JOHNSON of Washington. Mr. Chairman, I object, pend-
States after the expiration of 60 days after the enactment of this act, he            ing a statement as to what the amendment is.
shall le guilty of at felony, and upon conviction thereof shall, unless a               Mr. CROSSER. It is for the purpose of correcting the lan-
dliferenl penalty Is otherwise expressly provided by law, be punished by              guage, changing the word " of," in the last part of line 14, and
imprisonment for not more tlhan two years or by a fine of not more                    making it "to."  It is not good English as it stands.
than $1,001n, or by both siclh line and Imprisonment."                                  Mr. JOHNSON of Washington. I will have to object to that.
   Mr. SAIIAATII. MIr. Chairman, I hope the chairman and the                          Mr. Chairman. The last several bills contain that language.
memibers of the committee will agree to this amendment. I feel                          Mr. CROSSER. If they do contain such language in like
they are interested in drafting a law that will be upheld by                          connection, they were wrongly phrased, and I insist that the
the courts. As this section is now drafted there is no question                       English at least should be proper. There is no reason why we
Ihat it is a retroactive provision, because it provides for the                       should use wrong phraseology or bad grammar merely because
punislment of those who have committed offenses, long before                          there are other matters in dispute.
                                                                                        Mr. JOHNSON of Washington.              Let us avoid     diction and
the adoption of this act. My amendment provides for the same
deport'ation but for offenses conunitted by those who have been                       grammar in this connection.
depoirted since the adoption of this law or this act, so as to make                      Mr. CROSSER. But the diction in this case is important.
it lawful, and make it legal, and so the courts will uphold it.                          Mr. JOHNSON of Washington. I object, Mr. Chairman.
   I do not believe it should be the policy of this House to pass                        Mr. COOPER of Wisconsin. Mr. Chairman, I ask unanimous
laws that are retroactive or exposte facto, laws which the courts                     consent to return to subparagraph (6) of section 1, on page 3,
have frequently held are void. For that reason I am hopeful                           because it seems to me, from a reading of the two or three
the chairman and the committee will agree to this amendment.                          lines there, that there is a contradiction. It provides that one
It will strengthen the provision; it will make it absolutely legal,                   of the aliens who may be deported is-
and I feel justice requires that we should not enact legislation,                      An alien who is convicted of any offense (committed after the enact-
as I have stated, which is retroactive.                                               ment of this act and at any time after entry).




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   If this provision were enacted into law to-day, the alien could        5,000 a day.   They are not here illegally, because they come
 not be convicted, under the first language, unless the offense           under the law and because there is no restriction against them.
 was committed after to-day; but the next language provides               There is no quota.
that he shall not be convicted unless his offense is "committed             Mr. BLANTON. What about the head tax?          They do not pay
 after the enactment of this act and at any time after entry."            the head tax required by law.
Suppose he came in a year ago?                                              Mr. SCHAFER. Will the gentleman yield?
   Mr. TILSON. The gentleman will notice that the language                  Mr. BLANTON.      I yield to the gentleman from Wisconsin.
is inclusive. Two distinct things must take place. The offense              Mr. SCHAFER. These Mexicans also come into Wisconsin
must be committed after the enactment of this act and it must             in droves, and take the places of Amlrrican citizens in the fac-
be committed after entry.                                                 tories and on the farm. Often we se e the spectale of w;r vet-
   Mr. COOPER of Wisconsin. Then say so, and leave out the                erans walking the streets unable to obtain elmploym,ent because
words " at any time," because his entry may have been a year              of the unfair cc,mpetitio of cheap Mexican labor.
ago, and "any time after entry " means any time within that                 Mr. BLANTON. Why does not the energetic. enterprising
ye:r.                                                                     300-p,ound Member from Wisconsin put some of his energy into
   Mr. TILSON. It provides " at any time after entry" and                 action along tlat line and stop it?
something else-" after the enactment of this act."                          Mr. SCHAFER. If the gentleman will read the hearings lie
   Mr. COOPER of Wisconsin. It is a direct contradiction in               will see thalt I appeared before the Immigration Committee in
language to say " after enactment of this act and at any time             behalf of the Box bill. which would put the nationals of Mexico
after entry."                                                             under the quota restrictions.
   The CHAIRMAN. The gentleman from Wisconsin asks                          Mr. LAGUARDIA.       Even the p):lylient of the head tax would
unanimous consent to return to subparagraph (6) of section 1,             not disturb this influx for the reason that tle sugar-beet grow-
on page 3. Is there objection?                                            ers and the railroads would pay the head tax in order to get the
   Mr. JOHNSON of Washington. I shall have to object, Mr.                 Mexicans in.   You have got to stop it.
Chairman.                                                                   Mr. BLANTON. Why does not the committee stop it?
   The CHAIRMAN. Objection is heard.                                        Mr. LAGUARDIA. Because the influence of the sugar-beet
   Mr. SABATH. Mr. Chairman, I did not have the time to                   growers and the railroads is too strong.
prepare the amendment I desired, so I move to strike out the                Mr. JOHNSON of Washington.          Does the gentlemian know
last word, and I fully recognize it matters not how carefully             why it has not been stopped?
the amendment might be prepared, it will not receive much                  Mr. BLANTON. Yes.
consideration to-day. Still, I want to bring it to your attention           Mr. JOHNSON of Washingiton.        In my opinio,. the employ-
for just a few moments.                                                   ment of a quota on both borders and contiguous territory in
   Section 6 provides:                                                    South America and in Central America is inevitable, but you
   Proceedings for the deportation of an alien made deportable by this    have not the laws in accord witl it that will permit it without
net may be begun at nny time after the entry of such alien, without       several preliminary amendmnlents.
regird to any of the periods prescribed in the immigration act of 1917.     Mr. BLANTON. If the gentleman from Washington will go
                                                                          down to the international bridge at Brownsville, or if he will go
   The present law provides when these deportations can be had.           to the one at Laredo, or at El Paso, or any of those international
Tils proposed law says, regardless of the time that the alien             bridges-
may have resided in the United States, he should be deported.               Mr. JOHNSON of Washington.         I have been to several of
Now, there may be men who have resided here for 12, 15, 18, or             them.
20 years. He may be a married man, and may have three, four,                 Mr. BLANTON. And stand there, he will see the hordes that
or five children born in the United States, and he may be guilty          come across the bridges with no intention of ever going back,
of making a little home brew at home, yet some neighbor who                coming across to get jobs of Americans, and if lie would ride up
does not like his looks reports him, and he is convicted, and              and down the Rio Grande River for miles and see them coming
then is convicted, perhaps, a second time, for taking a drink             in in hordes, the gentleman would take some action to stop it.
with a friend. Under this provision of the hill it matters not             I am sorry that he is not going to be able to take much ad,li,o
whether that be ascertained 3, 5, or 10 years hence, or whether            along that line, but somebody else in his place ought to do it,
it has occurred 10 years ago, le can be apprehended and de-                and it ought to be stopped, and if we do not do it we are going
ported. I just want you to know what you are voting on to-day.             to have Americans starving to death in the Hoover adminis-
   Mr. BLANTON. Mr. Chairman, I rise in opposition to the pro              tration.
forma amendment. There is one good thing the bill does, and                  Mr. LAGUARDIA. And a bringing down of a standard of
that is that some Mexicans who have come into the United                   wages.
States unlawfully within the last five years may be deported                 Mr. BOX. Mr. Chairman, I move to strike out the last word.
if the department can get enough money to apprehend them.                    Mr. JOHNSON of Washington. W\ill the gentleman yield
But how about those who came in six, seven, or eight years ago?           to lmefor a moment?
There were thousands that came across the border unlawfully.                 Mr. BOX. Yes.
You can go up and down the Mexican border in Texas for 10                    Mr. JOHNSON of Washington. Mr. Chairman, I move that
and 15 miles and you will not see a house, and sometimes you              all debate upon this section and all amendments thereto close
will not see an immigration agent for 40 miles. They can wade             in five minutes.
across the river in lots of places. They come into Texas by                  The motion was agreed to.
hordes all of the time. If you take the Texas & Pacific Rail-                Mr. BOX. Mr. Chairman and gentlemen of the committee, you
road, that runs from Texarkana to El Paso, 900 miles, you                 have been discussing for a few minutes a matter with which I
will find that practically every section hand is a Mexican.               as one member of the committee have been wrestling for some
Take the hotels close to the border, and practically all the              years. I have not been inclined to inject that question into his
employees who work in the hotels are Mexicans. Take many                  debate because it is not the question at issue, but the situa-
of the stores, and the employees are Mexicans because they can            tion pointed out by gentlemen during this debate exists. It is a
get them for a stipend by the month. They are taking away                 very serious condition. It seriously embarrasses the whole pur-
jobs from American citizens. I am surprised that this com-                pose of the immigration law. There are conditions created by the
mittee would permit that to exist any longer.                             incoming of people from Mexico and other American countries
   I know that my friend Judge Box has been making a just                 which it was and is the purpose of the immigration laws to pre-
fight against this situation for years. He gets a little hand-            vent. The law is poorly enforced, mainly because the appro-
out now and then from the committee, but it does not help him             priations made for the border patrol are not adequate. There
much. Why could not the committee have put a provision in                 are great sections that under present provisions can not he ade-
here, and why could not the Appropriations Committee give the             quately guarded. There are many interested in the importation
department enough to apprehend the thousands of these Mexi-               of these poor peons. They are often imported and left in pitiful
cans who are in Texas now unlawfully and put them back                    condition. They do take the places of American workmen, who
across the Rio Grande and keep them there? Then you would                 are already put to it to find jobs; in fact, there are hundreds
not have the report coming in here from Austin, Tex., and many            of thousands, possibly millions, of Americans out of employ-
olher places that many Americans are going to be without jobs             ment now. They are raising a serious race question. During
and many Mexicans are to be without jobs until another cotton             this month a riot occurred at a point in Texas where a crowd
crop comes in.                                                            of white men who had been superseded by Mexicans, and who,
   Mr. SABATH. Will the gentleman yield?                                  after having notified the Mexicans to leave, fired into the camps
   Mr. BLANTON. I yield.                                                  of the Mexicans. This Congress ought to have statesmanship
   Mr. SABATH. Mexicans can come over here by the thou-                   enough in it to look over the past and see what grave problems
sands-they do not come illegally, they come because there is              have been injected into our national life by the importation for
no quota against them; they could come in by the-thousands or             labor purposes of great numbers of people essentially different




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                                                                                                                                       of 74    1
fr imnus in character, lii so. al position, and otherwise. We are                         etrnment, or who advocate the assassination of public officials, or who
 ibrnt'('(lilig atllill(hr '  one ((f thos(e gireat race questions. We are                advocate or teach the unlawful destruction of property; person.s who are
degraldilln labor. We are               defeal
                                           ing all of the essential purposes of           members of or affiliated with any organization entertainng and teaching
tll    iiii(i"graliiin laws. These facls explain why I have worked                        disbelief in or opposition to organized government, or who advocate or
s( haird ill coinlillee ia'll before this Iloulle and everywhere                          tiach the duty, necessity, or propriety of the unlawful assaulting or
        I1 get Ihis stubject :talequiately (dealt with. Seeing this big
      *el,,                                                                               killing of any olficer or officers, either of specific individuals or of
<iuel-ti(n, while I have the honor to remtain one of you iand on                          oliiccrs generally, of the Government of the United States or of any
 liii c(inlmittee, I shall contiulll to press it on y.i for attention.                    other organized government, because of his or thci: official character,
V'e i:iveilit'          opposition of thei clas.-es imenttioned.                          or who advocate or teach the unlawful destruction of property, prosli-
     l'Pri'tically every big beet-sugar maiituf:licturer in the country                   tues, or persons coming into the United States for the purpose of prosti-
o|p,,'-         il, and every (Cliss A railroad except one in the I'nitedt                tution or for any other immoral purpose; persons who directly or indi-
Stlt,-        il;iii atrc'd h(lfore youIr cm'intllitlee arid oppollsetl the passage       rectly procure or attempt to procure or import prostitutes or persons for
otf this bill Ibecause thely want Iheir cheap subservient labor.                          the purpose of prostitution or for any other immoral purpose; persons
M;any otiher sel i Il atid powerful influences have arrtyed Ithem-                        whli are supported by or receive in whole or in part the proceeds of
solvei' .:;iainst tIh restriction of this immiigration.  As against                       prostitution ; persons hereinafter called contract laborers, who have been'
suIch influtences. a few ileni, thinking only of the public welfare,                      induclted, assisted, encouraged, or solicited to migrate to this country Ly
ar( noit strong            enoutlgh   to get aitioln evin when they have justice          offers or promuiscs of employment, whether such offers or promises a;.
aiin      pat riot ic ionsiderations of every kind on their side.                         true or false, or in consequence of agreements, oral, written, or printed,
        .Mr. \V. T. FIT'I'Z(;FtALD. Mr. C'hairman, will the gentleman                     express or implied, to perform labor in this country of any kind, skilled
                                                                                          or unskilled ; persons who have come in consequence of advertisemen!ts
        1Mr. I1(OX.       Yes.                                                            for laborers printed, published, or distributed in a foreign country;
        .Mr. \V.   T'. ITIZ(A;ILAI).             Anotlier feature I suggest to the        persons likely to become a public charge (this clause excluding aliins
gi,tilille; is fromni imoral staiidloint. They are poisoning the                          on the ground likely to become a public charge has been shifted from
Antri ican (citiz il. Theiy are   io a 'iass that comie across the                        its position in section 2 of the immigration act of 1907 to its present
liin whiel are very ltunesirable fronl that standpoint alone.                             position in section 3 of this act in order to indicate the intentioniif
     Mr. It        )X.
                     'The glent nianll fron Ohio is correct. I had the                    Congress that aliens shall be excluded upon said ground for economic as
privilege oI' making a state 'enlt covering several hours before                          well as other reasons and with a view to overcoming the decision of the
  liie 'milliiittee•. And\ I t'ried to place befori'e the colllnittee some                Supreme Court in Gegiow v. Uhl, 239 U. S. 3 (S. Rept. 352, 64th
o Iei' f'iits linat hliave coime to miy knowledge. They are badly                         Cong., 1st sess.)); persons who have been deported under any of the
iiilfeield will tuberculosis and othiler diseases; there are manly                        provisions of this act, and who may again seek admission within one
p:!ii,pes al o)ng tiein;
                       ll      there are many criminals; they work for                    year from the d(ate of such deportation, unless prior to their reemt;brka-
lower wamges; they are oblje(tio table as inlnligrants when tried                         tion at a foreign port or their attempt to be admitted from foreign con-
by the lests applied to othler aliens. Of course I atin not talking                       tiguous territory the Secretary of Labor shall have consented to their
:iibout I-( I,etter cila ss of ieiop)le of our neigthboringO      countries,              reapplying for admission; persons whose tickets or passage is paid fur
l)it I am ittlking ItliSit tlie poor unfortunate beings who are                           with the money of another, or who are assisted by others to come, un-
lpverly tIricken it d dlrifl'tin ahiout tlie      lcountry hunting for work               less it is affirmatively and satisfactorily shown that such persons do not
atl liy price lIile oflten they are induced to come here by, our                          belong to one of the foregoing excluded classes; persons whose ticket
 wliw pIieple, \lwo employ then for a while and then leave them                           or passage is paid for by any corporation, association, society, munici-
to (Iril't frln  one place to another, the victimns of all kinds of                       pality, or foreign government, either directly or indirectly, stowwaays,
stitferiiig nd mlist re;ittnent. We will correct this evil solme time,                    except that any such stowaway, if otherwise admissible, may 'be ad-
pet'rhaps after it is too late. ithough I hope we will deal with it                       mitted in the discretion of the Secretary of Labor.        (See rule 3, sub-
in    (inet, to remnedy tlie situation before it becomes much worse                       division 0.)
tliin il inow is.
                                                                                      In addition to the aliens who are by law now excluded from
   ''lThe C1 IAIRMAN. The time of the gentleman from Texas
lhias texpirted. All tlinme ltas expired, and the Clerk will read.
                                                                                   admission into the United States, the following persons shall
                                                                                   also be excluded from admission thereto, to wit:
   Tlie ('Clerk read as follows:
                                                                                      All aliens over 16 years of age, physically capable of reading, who
   i,:1'. 7. If ily aliein Is liaill' to dleportation upon any grounld  ispecified
                                                                                   can not read thie English language, or some other language or dialect,
in ;i(ny iiir;igr:iaph of this nat. he shaill lie deported whether or not lie is
                                                                                          including Hebrew or Yiddish (see rule :3, subdivision N) : Provided, That
liilh,  toi dl'portation upon il ground specified in any other paragraph of
                                                                                          atny admissible alien, or any alien heretofore or hereafter legally ad-
 'iis act or in any oiliher law. and any alien who is liable to deportation
                                                                                          initted, or tny citizen of the United States, may bring in or send for
  tIii| a1giroi1nd spleciied in any law o)ther tlhn this act shall le deported
                                                                                          his fattlher or grandfather over 55 years of ago, his wife, his mother,
wh.lthelr or not he is li:ilble to deportation upon a ground specificd in
                                                                                          his grandmother, or his unmarried or widowed ctaughter, if otherwise ad-
this     act.
                                                                                          missible, whether such relative can read or not; and such relative shall
   Mr. FRlEE. Mr. ('hairnmn, I move to strike out the last                                be permitted to enter.
word.      lMr. llhairman and members of tile committee, a great
deatt hals b,een said in tlie last few inouieits about the situation                        In addition the Mexican is required to pay a head tax of $8.
on tlie Mexican lbrder. Since we have adopted the quota plan                              I believe we could keep out most Mexicans to which objection
oli inimigratioin we have watched the borders on the Pacific                              has been made to-day if we simply enforced the laws above
(iiast antil lontle Atlantic cltost very thoroughly, and it is. indeed,                   mentioned. [Applause.]
ditlicuilt for lihe aliens to get through those borders, but we                            Mr. EDWARDS. Will the gentleman yield?
Ihale not looked after thle borders 1t the north or south. It is not                        Mr. FREE.       I will.
tle fiiull of tlie Depairtmenit of Labor. I think we have as fine                            Mr. EDWARDS. Would the passage of the Box Act accom-
a lot of nmen aloniig those borders as we could possibly get, but                         plish what thle gentleman has in mind?
we hav'e nt enought, nor do we provide enough money to enable                                Mr. FREE. No sir. Unless we provide the money to enforce
tlie ldepartentit to protect those borders. The question of Mexi-                         it. The reason I took my feet to-day is this. We have a feeling
c'an immiigration has been mentioned here to-day. I would like                            here that by passing a law you will stop immigration. Unless
to see hle laws we have at the present time enforced. Mexican                             you back it up with the money for enforcement and the pro-
inluigr'ants are stubject to the following provisions to-day:                             tection of your borders it will not mean a thing. We are not
  That tli following classes of allens slall be excluded from admission
                                                                                          enforcing the laws we have to-day on the northern and southern
                                                                                          borders of our country.
into the United States: All idiots, imbeciles. feeble-minded persons, epi-
leptics, insane persolns; persons who have had one or more attacks of                       Mr. EDWARDS. Why not? We have the money.
insanity at any time previously: persons of constitutional psychopathic                     iAr. FREE. The committee has been criticised because we
Inferiority;         persons     with   chronic   alcoholism;   paupers;   professional   have not done anything in reference to this situation. We have
bicgars; vagrants; personls allicted with tuberculosis in any form or                     been appealing to this House for eight years to my personal
with a loathsome or dangerous contagious disease; persons not compre-                     knowledge for money to protect the borders. We had an in-
hended within any of the foregoing excluded classes who are found to                      crease of a million dollars in the last Congress, but why pass
  Iband are certilied by the examining surgeon as being mentally or                       another law when we do not enforce those we already have on
physically defective, such physi-'al defect being of a nature which may                   our statute books?
nffec't the ability of such alien to earn a living; persons who have been                   Mr. EDWARDS. How much will it take?
convicted of or admit having committed a felony or other crime or                           Mr. FREE.       Several million dollars in addition to what we
misdemleanor involving iloiral turpitude; polygamists, or persons who                     have at the present time.
practice polygamy or believe in or advocate the practice of polygamy;                       Mr. EDWARDS.              Why not put it   up to the Appropriations
anarchists, or ipersons who believe in or advocate the overthrow by                       Committee?
force or violence of the (overnment of the United States, or of all                         Mr. NEWTON.            Will the gentleman yield?
forms of law, or who disbelieve in or are opposed to organized gov-                         Mr. FREE.       I will.




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  Mr. NEWTON. What the gentleman has said about the               Mr. BLACK of New York. Mr. Chairman, I move to strike
borders is also true of getting rid of undesirables-we ought to out the last word.
have more money to deport them.                                   The CHAIRMAN. The gentleman from New York is rteog-
  Mr. FREE. Absolutely. We have investigated, and there are nized.
over 200,000 people in this country who should be deported.                   Mr. BLACK of New York. Mr. Chairman, I want to make a
We only deport a few and from the places where they can be                  very friendly siggi•stion to the men from the border States,
easily found.                                                               which I hoipe will be taken in good part. For about six years
   Mr. HUDSON. Will the gentleman yield?                                    you have been passing legislation to regulate conditions in New
   Mr. FREE. I will.                                                        York City, telling us how to raise a family. what to( eai and
   Mr. HUDSON. Does the gentleman not recognize that if we                  what to drink, and when to eat with a knife and when1 oeat
can have a coordination of the enforcement departments that                 with a fo,rk. In the meantime you have been neglecting your
have to do with enforcement laws we might have sufficient                   own doorsteps. I say, keep you hi:nds off N,ew York Ifr a
money to enforce those laws, but as long as we have a system                while an(d see that you enact a little good. wholesome int i     ln:
thlt puts four different groups of enforcement officers on the              legislation for the bwnefit of your own constituents. [Applanue.
borders, each one to do a litle particular thing while allowing               The CHAIRMAN. The Clerk will read.
the violation of any of the other laws, we will have the very                 The Clerk resumed and completed the reading of thie hill.
conditions suggested.                                                         The CHAIRMAN. The question now is on ngreeing to tlihe
   Mr. FREE. That would help a great deal. I want to say                    substitute to the Senate bill as amended.
concerning the men along the border, that they have been                      The committee substitute for the Senate bill was agreed to.
cooperating to a remarkable degree, and they are a fine lot of                The CHAIRMAN. Under the rule, the cotmniittee anuto;mati-
men, and they are doing the job as best they can; but we need               cally rises and reports the bill to the -louse.
more of them and more authority to cooperate.                                 Accordingly the committee rose; and Mr. TtI.sON. as Speaker
   Mr. HUDSON. I am not complaining about the inefficiency                  pro teoiipore. having assumed tihe chair, Mr. BACON, Chairman
of these gentlemen. I am simply complaining of the fact that                of the Committee of the Whole HI-ouse on thel state of tle Union,
from the deviousness of the law their activities are made in-               having under consideration the bill (8. 5094) making it a felony
efficient. The law makes them inefficient. A man in one de-                 with penalty for certain aliens to enter the United States of
partment of the service has not a right to arrest a man for                 Anmeria under certain conditions in violation of law. reported
doing something ihat does not come within his jurisdiction.                 that that committee had directed him to report the same back
The whole thing is wrong in theory and in practice.                         to the House with an aimondinent, willt the recommendation tlat
   Mr. FREE. I agree with the gentleman.                                    the amendment le agreed to and that the bill as amended do
   Mr. SABATI.       Mr. Chairman, it is believed from what we              pass
hear that we receive a tremendous immigration from Mexico.                     The SPEAKER pro tempore. Under the rule, the previous
I have been asked by a number of Members how it is that our                 question is ordered, and the question is on agreeing to 1he
present restriction of immigration admits only 165,000, and, not-           amendment.
withstanding that, over 300,000 arrived last year? There is no                 The amendment was agreed to.
restriction, no quota, on Mexico, Canada, Central and South                    Mr. JOHNSON of Washington. Mr. Speaker, I ask that the
America, Cuba, and the West Indies, and for that reason they                title be amended.
can come in in as large numbers as they desire. But they should                The SPEAKER pro tempore. That can be done after the
be, and they are, subject to the literacy test and to the provi-            passage of the bill. The question is on the third reading of the
sions of the law of 1917. I agree that if the law is rigidly                Senate bill.
enforced on the Mexican border hundreds of thousands could                     The Senate bill was ordered to le read a third time, and was
not have qualified or have been admitted.                                   read the third time.
   But do not lose sight of this fact: What applies to Mexico in               Mr. LAGUARDIA. Mr. Speaker, I offer a motion to recommit.
a great measure applies also to Canada. Why, last year alone                   The SPEAKER pro tempore. Is the gentleman opposed to
we received from Canada-though our total immigration from                   the bill?
entire Europe was but 165,000-81,506 of which a record is made.                Mr. LAGUARDIA. I am.
 So it is not only immigration from Mexico, but also from Canada,              The SPEAKER pro tempore. The gentleman fron? New York
because what the gentleman from Massachusetts said a moment                 offers a motion to recommit, which the Clerk will report.
ago is true; there are thousands of our own people unemployed                  The Clerk read as follows:
in Massachusetts, and why should we permit that tremendous-                    Mr. LAGUARDIA moves to recommit the bill to the Commlllne on Immi-
number to come in here without the quota from Canada and                    gration with instructions to report back the bill forthwith with the
Mexico?                                                                     following amendments:
   I introduced, three times, and advocated unsuccessfully, a bill             Page 3, line 20, after the word "offense," insert " Involving moral
placing Mexico, South and Central America, Canada, Cuba, and                turpitude."
the West Indies under quota as it is applicable to European im-                On page 4, ;ine 3, after the word "offense," insert " involving moral
migration. We need a few more men on our border line. I                     turpitude."
know the chairman of the Committee on Immigration and Natu-                                                            Mr. Speaker, I move the
                                                                                Mr. JOHNSON of Washington.
ralization has tried to secure larger appropriations, and he did.           previous question on the motion to recommit.
I have advocated the proposition of the gentleman from Michi-                   The previous question was ordered.
gan [Mr. HUDSON], who spoke a little while ago on the centrali-                The SPEAKER pro tempore. The question is on agreeing to
zation of our forces and activities along the border line. I do not
                                                                            the motion of the gentleman from New York to recommit the
know why we should have a revenue patrol, and an immigration                bill with instructions.
patrol, and a prohibition patrol on the border, one not cooperat-              The question was taken, and the motion to reconnnit was
ing with the other. They can be merged into one, and then we                rejected.
would have efficient control, and that would control not only                  The SPEAKER pro tempore. The question is on the passage
immigration but also prohibition and revenue violations and                 of the bill.
other violations that are going on. I hope, therefore, that the                The question was taken, and the bill was passed.
chairman will be strong enough to convince the Treasury Depart-                 On motion of Mr. JOHNSON of Washington, a motion to recon-
ment and the Department of Labor and other officials, who have              sider the vote by which the bill was passed was laid on the
the power, to bring about unification that it be done.                      table.
   Mr. JOHNSON of Washington. Mr. Chairman, I move that                       The SPEAKER pro tempore. Without objection, the title
all debate on this section be now closed.                                   will be amended.
   The CHAIRMAN. The gentleman from Washington moves                          There was no objection.
that all debate on this section be now closed. The question is                Mr. SABATH. Mr. Speaker, I ask unanimous consent to
on agreeing to that motion.                                                 extend and revise the remarks I have made from time to tim(e.
   The motion was agreed to.                                                  The SPEAKER pro tempore. The Chair is informed that all
   The CHAIRMAN. The Clerk will read.                                       Members have that right for six days.
   The Clerk read as follows:
                                                                                          DRY VALLEY ROAD--CONFERENCE         REPORT
   SEc. 8. Upon the final conviction of any alien of any offense in any
court of record of the United States or of any State or Territory it           Mr. WAINWRIGHT.           Mr. Speaker, I present a conference
shall be the duty of the clerk of the court to notify the Secretary of      report on the bill (S. 3881) to provide for the paving of the
Labor, giving the name of the alien convicted, .the nature of the offense   Government road, known as the Dry Valley Road, commencing
of which convicted, the sentence imposed, and, if imprisoned, the place     where said road leaves the La Fayette Road, in the city of Ross-
of imprisonment, and, if known, the place of birth of such alien, his       ville, Ga., and extending to Chickamaugua and Chattanooga
nationality, and the time when and place where he entered the United        National Military Park, constituting an approach road to said
States.                                                                     park, for printing under the rule.




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EQI'.AI.IZ\ATIN      r   TItI: R.\K OF OFFICERS IN THE ARMY AND NAVY-             19,267 such cases; January 31, 1928, 17.829: and September 30,
                                         'E REPoR
                                ('ON.'I:RE:                                       1928, 16,253. Hospital construction now under way will provide
  Mr. M\llIN.            .lr.    Spliikr.r, I present a conference report on      1.690 beds within the next 12 months. Additional construct ion
Iho- iill (II. It. ')(1i)        to equalize the rank of officers in positions    for which the money has been appropriated will provide inl
of Lreil resiiniiii:iility in the Armnny and Navy for printing under             excess of 2,000 more. No name, with residence, of any veteran
 lhe rule.                                                                       shown to be suffering from an injury or ailment resulting from
                                                                                 service in the war that calls for hospitalization, who is unable
       (ONSTItICT'li:N          AT MILITARY I'OSTS---C'ONFEREN'E REI'ORT
                                                                                  to get it, is brought to our attention.
   .Jir. M1IltN. Mr. Speaker, I present a conference report on.                     The SPEAKER pro tempore. The time of the gentleman
Il-hill (II1. It. 1 >i>25) tIo authorize aippropriations for construc-           from Massachusetts has expired.
tion al military posts. and( for other purposes, for printing under                 Mr. RANKIN. Mr. Speaker, I ask unanimous consent to
 lie rule.                                                                       address the House for five minutes.
                                    MINORITY   VIEWS                                Mr. ALLGOOD. Will the gentleman from Massachusetts
   Mr. NEWTON. Mr. Speaker, I ask unanimous consent to sub-                      yield for a question?
mit I•lt views of hlie minority of the Committee on Interstate                      Mr. LUCE. Will the gentleman from Mississippi allow me
iaid Foreign Commerce on Senate bill :1723, to aimend and re-                    to answer the question first?
enait snbdivision (a) of section 209 of the transportation act,                     Mr. RANKIN. Yes; if the gentleman has the time.
1920.                                                                               Mr. ALLGOOD. Do I gather from what the gentleman has
  ''The SPEAKER pro tempore. Is there objection to the request                   said that we do not need any more legislation to secure the
of the geintleia(1.u from Minnesota?                                             needed hospitals?
  'IThere was no ohject ion.                                                        Mr. LUCE. No legislation is necessary to secure the allot-
                   I1)SIPITAL       CONSTRIUCTION   LEGISLATION
                                                                                 ment of $2,000,000 now at the command of the Veterans' Bureau.
                                                                                    The SPEAK'ER pro tempore. Tle gentleman from Mississippi
    Mr. LUCE. Mr. Speaker. I ask unaiimious consent to address                   asks unanimous consent to address the House for five minutes.
tlite House for three minuites in order to give it certain helpful               Is there objection?
       tion.
iI'•,riail                                                                          Mr. IRWIN. Mr. Speaker, reserving the right to object, I anm
   The SI'EAKER pro temnpore. The gentleman from Massachu-                       going to ask unanimous consent to take up the Private Calendar
                      conlsent to proceed for three minutes. Is
seits asks uianilimious
                                                                                 for one hour this afternoon, and while I do not want to
I here (hijectl ion ?                                                            object-
  '!'here W\as nmoioljecetiiºi.
                                                                                    Mr. RANKIN. I submit with all deference that the gen-
   Mri. LUCE. Mr. Speaker, various Members of the House are                      tleman ought not to shut me off. I have only asked for live
receiving letters and telegrams in considerable number ex-                       minutes.
postulating ibecause of the failure of the Committee on World                       Mr. IRWIN. I am not going to object.
War Veterans' Legislation to present a hospital construction                        Tie SPEAKER pro tempore. Is there objection to the re-
program; . II may be of service to Members if I very briefly                     quest of the gentleman from Mississippi?
explain tilhe situation. This Congress has within a month ap-                       There was no objection.
proplriated $S,(00)0,000 for new hospital construction and $3,250,000               Mr. RANKIN. Mr. Speaker, I do not agree with the views of
for extensions, alterations, repairs. et cetera, making a total                  the gentleman from Massachusetts [Mr. LUCE]. On the other
of $11.25(0,00( available for construction purposes in the coming                hand, I thoroughly agree with the veterans' organizations that
fiscal year. The Veterans' Bureau informs us that this is as                     are asking for the passage of this bill for the further con-
 imuch as it can wisely expend in the 12 months onward from                      struction of hospitals which they deem necessary, and which I
  ihe1st of July next. Additional authorizations now, therefore,                 deem necessary, for taking care of our disabled ex-service
woultl not result in the expendituire of a dollar more of money                  meu.
before July 1, 1930; on the other hand, it might do harm to the      As to the prolosition of waiting until the Congress takes over
welfare of the soldiers themselves. in view of the probability    the old soldiers' homes, I desire to say that in the first place
of flavor:ble action within a year on a measure which has         that is merely a remote probability, because the Grand Army of
 ieen under consideration this week by the Committee on Ex-       the Republic opposes our taking over those homes, and the
penditures in the Executive Departments, the measure contem-      chances are it will be a good many years before we arrive at
plating liheturning over of the soldiers' homes to the Veterans'  that point.
Itureia.    There are 10 of these, each with large tracts of land, • Mr. LUCE. Will the gentleman yield?
and there would be great economy to the Government if it             Mr. RANKIN. Yes.
couhl take advantage, in tle further construction of veterans'       Mr. LUCE. The gentleman is in error in his statement, I
hospilals, of the land in question, together with the water,      think, about the Grand Army of the Republic. It favors the
sewerage, lighting systems, and other necessities that need not   taking over of the hospitals.
 )e freshly provided or built new from the ground up. It is          Mr. RANKIN. Oh, well, we thought that before, at least you
estimated roughly that by adding to these homes or building       people did. We men from the South did not agree with you. but
upon their lands we can get tw\ice as many beds for the same      you brought it in on one bill and the representatives of the
money as if we built absolutely new hospitals. In view, then,     Grand Army of the Republic managed to have it stricken out,
of lhestrong probability that this change in the organization     and they will do it again in all probability.
of tle agencies for serving the soldiers of all wars will be         Besides, a great deal of this hospital need is in a section of
brought about by next winter. and will make possible a con-       the country that has no old soldiers' homes and where we could
siderable revision of the building program of the Veterans'       not use them, even if you were to take them over. So I submit
 Ilureau. greatly to the advantage of all concerned, we will do   that if we are going to take care of these men as they should
well to make haste slowly.                                        be we ought not to delay this proposition but should call the
   Since nothing whatever is to be accomplished in the way of     Veterans' Committee together, take this bill up, and report it
pr:actical results by immediate action, it seems reasonable that  out, and pass it at this session of the Congress.
we await tlhe   changed situation of affairs a year from now and     Oh, they say it would be some time before we could spend the
 lth'nprovide tih money that is needed and that is certain to be  money. Why, the American Legion of the State of Kentucky
provided in ample time. No veteran will suffer by this delay      came before our committee three or fours years ago and some
but, in my judgment, many veterans will gain.                     of us got behind them to help them get a hospital. They have
   The SIEAKERI pro tempore. T he time of the gentleman from      just now decided on its location and perhaps purchased tle
Massachusetts has expired.                                        ground on which to place it. So the longer you delay providing
   Mr. IL('E. Mr. Speaker, I ask unanimous consent to proceed     for the appropriation of the money for the building of these
for one addit ional minute.                                       hospitals, the longer you are going to defer the day when these
 'The SPEAKER pro tempore. Without objection It is so             men will be properly cared for.
ordered.                                                             I can not agree with the conclusion reached by the gentleman
    'Therewas no objection.                                       from Massachusetts [Mr. LUCE], and I want to serve notice
   311r.LI(CE. I desire also to state that of the money we have now that I shall continue to insist that the Veterans' Committee
recently appropriated $2.000,000 has not been allocated, and that be called together and that this bill be reported out and passed
gentlemen concerned with particular exigencies, feeling there at this session of the Congress. [Applause.]
is pressing need for immediate action, have open to them the               APPROPRIATIONS FOR THE INTERIOR DEPARTMENT
doors of the Federal Board of Hospitalization. That board
with the money already at its commnl d can take care of the          Mr. CRAMTON. Mr. Speaker, I present a conference report
ne;'ds which seem to le nmost urgent.                             on the bill (H. R. 15089) making appropriations for the De-
   It imay be useful to add that there were hospitalized December partment of the Interior for the fiscal year ending June 30,
31, :125, 21,899 service-connected cases; December 81, 1926, 1930, and for other purposes.




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1929                       CONGRESSIONAL
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            GEORGE WASHINGTON MEMORIAL BUILDING                       support and public subscription to the fund is necessary in
  Mr. FISH. Mr. Speaker, I ask unanimous consent to address           order that the seven or more millions of dollars needed nay be
the House for three minutes in order to make an announcement.         made quickly available.
  The SPEAKER pro tempore.        The gentleman from New York            I believe most sincerely that no project has ever been called to
asks unanimous consent to address the House for three minutes.        public attention that will so readily find sympathy and response
Is there objection?                                                   as will this proposition to suitably honor the memory of George
  There was no objection.                                             Washington. I have made this statement here to-day in order
    Mr. FISH. Mr. Speaker, the Hon. Charles Evans Hughes is           that you ladies and gentlemen will know about the project, and
 to make a radio address on Washington's Birthday at 7.30 next        I take this opportunity to urge the entire American people to
 Friday evening soliciting funds for the erection of the George       learn more of this plan from Mr. Hlughes on Friday evening next.
 Washington memorial building here in Washington.                     [Applause.]
   The site on the Mall, as you know, was donated by the Con-                               TIlE PRIVATE CALENDAR
 gress and the foundations have already been built. It is now           Mr. IRWIN. Mr. Speaker, I ask unanimous consent to I;ke
 proposed to raise $7,000,000 from the American people in order       up the Private Calendar for one hour and consider such bills
 to have the building finished by 1932, the two hundredth anni-       as are not objected to, the bills to be considered in the House
 versary of George Washington's birth.                                as in Conmnittee of the Whole.
   The American Legion originally did not look with much favor           The SPEAKER pro telpore (Mr. TILSON).          The genilemnal
 on the project because it believed it might interfere with the       from Illinois asks unanimous consent to take up for not ex-
 raising of the $5,000,000 American Legion fund for the disabled      ceeding one hour bills on the Private Calendar unioljecled to,
 soldiers and the orphans. So far as I know, there would be           consider them in the House as in Committee of the Whole, be-
 no objection on the part of the American Legion at the present       ginning at the star, or where the call last left off.           Is there
 time, although I am not authorized to speak for the Legion.          objection?
 1 am very glad to indorse the project personally and to help           Mr. HUDSON.         Reserving the right to object, and I shall
il any way within my power to further the construction of the         not object, I want the RECORD to show that we have not the
 George Washington memorial building by 1932.                         bills before us for prolper objection, if there are any ob-
   1 have been requested to make the following statement and          jectionable features.
take this opportunity to call attention to current plans for            Mr. RANKIN. Reserving the right to object, Mr. Speaker,
completing the erection in the city of Washington of the me-          I do not have anything on the Private Calendar, but it does
morial edifice to George Washington:                                  not seem to me that we ought to take up the calendar at 4
   As you will recall, in 1913 Congress donated a suitable and        o'clock in the afternoon on Saturday. when none of the Mem-
desirable tract of land on which, according to the terms of the       bers of the House have been notified. However, I am not
bill giving the site, was to be erected an edifice in honor of        going to object.
George Washington. The work of planning and erecting the                The SPEAKER pro tempore.            The Chair will state that it is
building was intrusted to a group of well-known Americans             the desire of every Member, especially the chairmen of the com-
who formed themselves for that purpose into a corporate entity        mittees who have bills in charge, that all of their bills shall
known as the George Washington Memorial Association.                  be considered. The gentleman from Illinois, the chairman of
   The members of this association have labored long and well         the Committee on Claims, has made this request.                 Is there
at; their task. In 1921, with elaborate ceremonies in which           objection?
the then President of the United States played the leading              There was no objection.
part, the corner stone was laid, and at the present time the                                     ROBERT O'HAOAN
foundations are completed.
   It is particularly interesting to note that in determining exact      The first bill on the Private Calendar was the bill (II. R.
                                                                      13812) for the relief of Lieut. Robert O'IIagan, Supply Corps,
plans for the memorial edifice the association accepted as its
guide a desire expressed by George Washington himself.          In    United States Navy.
                                                                         The Clerk read the title of the bill.
various messages to Congress and in other public pronounce-
                                                                         The SPEAKER pro tempore. Is there objection?
ments and by a statement in his will, Washington urged the
                                                                         Mr. SEARS of Florida. Reserving the right to object, I
establishment of an institution for the general diffusion of
                                                                      ask that the bill be read.
knowledge, and also recommended the promotion of science,
literature, and art.                                                     The Clerk read the bill, as follows:
   With the foregoing in mind, the association plans to have an          Be it enacted, etc., That the Comptroller General Is authorized and
auditorium in the edifice which will seat 11,000 people and be        directed to credit to the accounts of Lieut. Robert O'Hagan, Supply
available, under the administration of the Smithsonian Institu-       Corps, United States Navy, in the amount of $716.70, representing cer-
tion, for use by conventions of all groups of people and for all      tain payments made by such officer and disallowed on final settlement
purposes, whether patriotic, commercial, political, social, and       of his accounts, as follows: All items listed In statement of differences
educational.                                                          No. M-23393-N, dated August 13, 1927, except (1) item No. 40, first
  Thus the expressed wish of Washington will find fulfillment         quarter, 1924; (2) items Nos. 2, 8, and 45, second quarter, 1924; (3)
in this memorial, and also the auditorium with its large seating      items Nos. 198, 264, 278, and 281, first quarter, 1925; (4) items Nos.
capacity, will supply a long-felt need in the city of Washington.     2, 8, and 9, first quarter, 1926; (5) item No. 15, second quarter, 1926;
Such a large meeting place is especially needed at this time in       and (6) partial refund in the sum of $21 of item No. 69, first quarter,
a connection to which I will later refer.                             1924.
   It is also planned to house permanently in the George Wash-          The SPEAKER pro tempore.            Is there objection?
ington memorial a collection of priceless mementoes, documents,         There was no objection.
records, and trophies associated not only with Washington per-         The bill was ordered to be engrossed and read the third lime,
sonally, but with all phases of the history of the United States.     was read the third time, and passed.
'I'his museum which the memorial will contain will become of           A motion to reconsider was laid on the table.
national importance.                                                                         GILPIN CONSTRUCTION CO.
  Public interest in this George Washington memorial project
is widespread at this time, because it is now evident that such         The next business on the Private Calendar was the bill (S.
a building as this memorial will be vitally needed in 1932 in         1530) for the relief of the Gilpin Construction Co.
order that the international and great celebration which will           The Clerk read the title of the bill.
                                                                        The SPEAKER pro tempore. Is there objection?
be held on Washington's Birthday in that year may be contained
                                                                        Mr. SClHAFER. I object too he consideration of this bill.
within its spacious rooms and in the midsf      its most appro-
                                                                        Mr. McDUFFIE. Will the gentleman reserve his objection?
priate surroundings. February 22, 1932, will be tile two hun-
dredth anniversary of the birth of Washington, and it is ex-            Mr. SCIIAFER. A bill involving $80,00)( of the people's
                                                                      money ought not to be called up and considered in this way. I
pected that the celebration of that day will far exceed any
memorial exercise ever held anywhere. Foreign devotees of             object.
                                                                                              ARTHUR WALDENMEYER
Washington will join with our own American patriots in paying
honor to the memory of our first President.                             The next business on the Private Calendar was the bill (S.
  A plan has been devised by the George Washington Memorial           2439) to amend the military record of Arthur Waldenmeyer.
Association for going ahead with the construction of the edifice         The Clerk read the title of the bill.
so as to have it completed by February, 1932.          The Hen.          The SPEAKER pro tempore. Is there objection?
Charles Evans Hughes will deliver a radio address at 7.30 p. m.,         There was no objection.
Friday next, which is Washington's Birthday, over a nation-              The Clerk read the bill, as follows:
wide chain of stations. I understand that Mr. Hughes will ex-           Be it enacted, etc., That in the administration of the pension laws
plain details of the memorial and will also point out that public     or any laws conferring rights, privileges, or benefits upon persons honor-




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                                                   CON(i'ISSLO_XNAL RECORD-IIOUSEPHILIP                                           A. SCHOLL   FEBRUARY 16
                                                                                                The next business on tie Private Calendar was the bill (II. I.
 nly disch:i rged from the T'nited States Army, Arthur VWa:ildetn        Iyert                14110) for the relief of Capt. Philip A. Scholl, Finance Do-
 shiall \i.    livid and considered to have lain lhooralily (d,li-lrg.s  d as "               partinent, United States Army.
 prlivi te, t'oiiiinny F, Secouid Ite,nitient Infaintry. 'nit.'ild Slates Army,                 The Clerk read the title of the bill.
 on      a:irch 21, 1900; but no pension. pay, or bounty shall be lheld to                      The SPEAKER pro tempore. Is there objection to the pres-
 Ilave I'ertled prior to tthe passage of this act.                                            ent consideration of the bill?
    liThe lill wrfs ordered to he reenl a thirid tim', was rend the                             There was no objection.
                                                                                                The Clerk read the bill, as follows:
 Ithid litne, aind Ipssed.
    A imoioin to reconsid(''r wais laid on thlle iitble.                                        Be it enacted, etc., That the Comptroller General of the United States
   T'1h1e title wat-     nielnllde;.                                                          be, and lie is hereby, authorized and directed to credit the account of
                                 J'L.iC.S VICTOR K1L"L.EII                                    Capt. Philip A. Scloll, Finance Department, United States Army, on
                                                                                              account of the loss of public funds for which lie was responsiblj
    'lihe next hni'intess on the lPrivate Caleniiiar was                      the bill        amlountiiig to $225.22. and which represents     payments made in good
 (II. IR. 127tI7) for the relief of Julius Victor Keller.                                    faith to enlisted men of the Regular Army, and are now determined to,
    The C('lek read the title of the hill.                                                   have been erroneous; the enlisted men so paid are no longer in tli'
    T''he I'iAKEIt pro teliittori.    Is there objection?                                    service of tile United States, and collection from them after numerous
   'Tii'hIt.iitIcicnted,    itc., Tliat in the adminiistration of any
                wais no objection.                                          laws coinferring
                                                                                             attempts has failed.
   Therights.    privileges,
            ('lerk   re;il 1heand bill, Ibeelits  pol hlonorably discharged soldiers
                                         as follows:
     .l1litus V'iclor Keller, who was :i nieihel)r of ('inompany C, Seventh Itegi-             The bill was ordered to be engrossed and read a third time.
     ie'ntl      niited States Infantry, and formirlly assigned to Company G,                 was read the third time, and passed.
     Third Itogimenit IUnited States Infantry, United Slates Army, shall                       A motion to reconsider the vote by which the bill was passed
      hlerelfl'tr hle held aind considered to havei been honorably discharged                 was laid on the table.
      froiii tle iiiillilry ser'vice of tlheUnited States ass a private and member                                         GEORGE   EVANS
     of ('ompany c. S\'venih legiment United Slates Infantry, on the 12th
                                                                                                 The next business on the Private Calendar was the bill
     day (it' (ictil,.r, 157S. lie hlving tnlisted as Julius Keller: Procihdld,
                                                                                              (II. R. 2818) for the relief of George Evans.
     'l'liit   nio lIItIty, back pay, pension, or allowance shal! be leld to have
                                                                                                 'The Clerk read the title of the bill.
     Iincr'i il prior to     lhe passige of this art.
                                                                                                 The SPEAKER pro tempore. Is there objection to thei
          The   bill   wias ordered to lie engrossed and read a third time,                   present consideration of the bill?
     was read tlihe third time. antl passed.                                                     There was no objection.
      A liotioil to reco nsider was laid on the table.                                          The Clerk read the bill, as follows:
                                       IIO.ME( C. IAYIIII.I.                   Be it enacted, etc., That in ttih administration of the compensation
          The Inext bulsiness on the Private Cilellda;r was (liebill (H. It. laws and laws conferring rights and privileges upon honorably dis-
          for (11ierelie ofI iolner
      !.153-                                      C('.
                                                    Ritayhill.                                charged soldiers, sailors, marines, etc., their widows and dependent rela-
       The (C'lerk reild tle title ofithe bill.                                               tires. George Evans shall hereafter be held and considered to have been
       AIr. II('ISN. Mr. Clhairin;ll. I ask                                                   honorably discharged from Company M, Eleventh Regiment United
                                                                 itinaihnimous consent that
    thie hill go over w iliont prejudice.                                                     States Infantry, as a private on November 27, 1002.
          There \w'asno objection.                                                               With the following committee amendmIent:
                                                             ,
                                          .loi   N LAW'.F.                                       Line 9, after the  tigures" 1902," insert "*: Provided, That no bounty,
                                                                                              kick pay, pension, or allowance shall be held to have accrued prior
      'Ti' next blsinhess on tlhe Private ('alendar was the bill (II. R.                      to the passage of this act."
    127t,8) for tlie reliefof John H. Lawler.
      The Clerk reail the litle of the bill.                                                    The committee amendment was agreed to and the bill as
      The S'PE.AKiE     pro tenpore. Is there objection to the pres-                          amended was ordered to be engrossed and read a third time.
    ent consi(dration iof tlie bill?                                                          was read the third time, and passed.
      There was no objection.                                                                   A motion to reconsider the vote by which the bill was passed
      The Clerk read lile bill, as follows:                                                   was laid on the table.
                                                                                                                        IMRS. ANNIE GAFFNEY
                                                                                                 The next business on the Private Calendar was the hill
    le it <nactrld, etc.. That in the administration of tlhe             pension laws         (II. R. 12325) to authorize and direct the United States Em-
.olhn   II. iawler shall helr'afler lie held and considered              to have been         ployees' Compensation Commission to pay compensation to Mrs.
hlionorahly discharaged from the military service in Hospital            Corps, United        Annie Gaffney for the death of her son, William Leo Gaffney.
States Army: P'rovrided. That no pension shall accrue                    prior to the            The Clerk read the title of the bill.
passage of this act.                                                                             The SPEAKER pro tempore. Is there objection to the
   Witlh (lhe followinff conmittee amendments *
                                                                                              present consideration of the bill?
                                                                                                 Mr. HUDSON. Mr. Speaker, reserving the right to object, I
   L.ine 6. after the word "Arimy."            insert " March 26, 1599," and strike           wish the chairman of the committee handling this bill would
out all of line 7 and instert " That no back pay, bounty, pension, or                         give .some explanation of this matter of compensation.
allowance shallli' litld to have accrued prior to the passage of this act."                      Mr. IRWIN. Mr. Speaker, the facts in the case are thlt
   The committee amendmentts were agreed to and the bill as                                   William Gaffney was employed at Hog Island, Pa.. by thie
amended was ordered to be engrossed and read a third time,                                    laid-up fleet. On August 2, 1925. he was on duty. This was
was read (Iie third time, and passed.                                                         on Sunday. He had to report for duty in the morning. Ile
  A motion to reconsider the vote by w'hich the bill was passed                               was not permitted to leave the yard or the ship, but the weather
was laid (on te         table.                                                                was very warm, and the officer permitted him to go in swim-
                                   .Jost:I'e     IIRTTEN                                      nming. He was on duty. He was not permitted to go outside
                                                                                              because he was on duty for the purpose of looking after fires
   The next bill on the Private Calendar was the bill (II. R.                                 antd the menacing of shipping.
1:5-4(i) for the relief of .Joslephlratten.                                                      Mr. HUI)SON. Then he was not on furlough?
   ThIe Clerk read thlie title of the bill.                                                     Mr. IRWIN.       He was on active duty.
   The SI'PEAIKER' pro tempore. Is there objection to the pres-                                  Mr. DARROW. Is it not true also that they encouraged
enl consideration of tlie bill?                                                               these boys there to engage in these activities because they were
   There was no object ion.                                                                   required to Ie there in case of emergency?
   Tie Clerk rend the hill, as follows:                                                         Mr. IRWIN. That is true. They encouraged them to enter
   lie it rnitctcd, etc.. That in the administration of any laws conferring                   into a little swimming contest and things of that kind. The
rights,   privileges, and benetits uponl    honorably   discharged soldiers,                  gentleman from Pennsylvania is correct. The officers encour-
Joseph Iratlent.    who was a lmember of 'ompalny F'. Sixth IRegiment                         aged the boys to get out and play baseball and go in swimming.
United States Infantry. slihall hereafter be helil and ecn sidered to have                    but they were on duty all of the time.
bleen discharged honorably fromn the nmilitary service of the United                            Mr. HUDSON. I am sure that the gentleman has made the
States as a private of that organization on the 26th day of April, 180:):                     record clear that this man was on duty at this time. I wilh-
 !'roi i,dd. T'hat no bounty. back pay. pension, or allowance shall be held                   draw the reservation of objection.
to have accruled prior to theI passage of this act.                                             The SPEAKER pro tempore. Is there objection to the pres-
                                                                                              ent consideration of the bill?
 The bill was     'orderedto le engrossed and read a third time,
was read the Ilhird time, and passed.
                                                                                                There was no objection.
   A motion to reconsider the vote by which the bill was passed
was laid on the table.




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                                             RECORD-IIOUSE                                                             Page 66 of 74                 3625
   The SPEAKER pro tempore. Without objection, the Clerk                     A motion to reconsider the vote by which the bill was passed
will read the amendment, which strikes out all after the enact-            was laid on the table.
ing clause.                                                                  Mr. lHUI SON. ML'. Speaker. I ask unanimous consent that.
   There was no objection.                                                 the House return to Calendar No. 809.
   The Clerk read as follows:                                                The SPEAKIEI           pro tempore. Is there objection to the re-
   Strike out all after the enacting clause and insert:                    quest of the gentllematn? [After a pause.] The Clhair hears
                                                                           none.
   "That the Secretary of the Treasury be, and lie is hereby, authorized
                                                                             Mr. HUDSON. 1 ob,.ijc tl            and 1 asked it be laid over a
and directed to pay, out of any money in the Treasury not otherwise         nonilent algo, as I did lnot have the bill before m'e.      I no\w have
appropriated, to Annie Gaffney, the sum of $55 per month for 96 months
                                                                           thliebill and I have no objeclion.
from tie date of death of her son, William Leo Gaffney, who was acci-
                                                                             Tile SPEAKER pro tlelu~Iie. Tile Clerk will report the bill.
dentally drowned on August 2, 1925, at the Hog Island Shipyard, Phila-
                                                                             The Clerk read as follows:
delphia, I'a., while on duty as a reserve watchman in the laid-up fleet,
said monthly payments to be paid through the United States Employees'                A bill (11. It. 4053) for the relief of Homer C. Rayhill
Compensation Commission."                                                     Be it enacted, etc., That in the administration of any laws conferring
   The committee amendment was agreed to; and the bill as                  rights,   privileges,   and    beneflts   upon   honorably   discharged   soldiers,
amended was ordered to be engrossed and read a third time,                 Homer C. Iayhill, late of Twenty-second Battery, United States Field
was read the third time. and passed.                                       Artillery, shall hereafter be held and considered to have been honor-
   A motion to reconsider the vote by which the bill was passed            ably discharged from the military service of the United States as a
was laid on the table.                                                     private of said battery of the United States Field Artillery on the
   The title was amended to read: "A bill for the relief of Annie          26th day of April, 1902: Proridcd. That no bounty, pension, pay, or
Gaffney."                                                                  allowances shall be held as accrued prior to the passage of tilts act.
                         J. D. BALDWIN                                      The bill was ordered to be engrossed and read a third time,
  The next business on the Private Calendar was the bill (II. R.           was read the third time, and passed.
13132) for the relief of J. D. Baldwin, and for other purposes.             A motion to reconsider the vote by which the bill was passed
  The Clerk read the title of the bill.                                    was laid on the table.
  The SPEAKER pro tempore. Is there objection to the pres-                                               CHARLES ROBERT CONROY
ent consideration of the bill?
  Mr. SCHAFER. Mr. Speaker, reserving the right to object                     Mr. JENKINS. Mr. Speaker, I ask unanimous consent to
in order to state that I reported this bill as chairman of a sub-          return to the first bill back of tile star. Calendar No. 759. It
committee. We amended the bill by reducing tile amount from                is Mr. Mua'u,lHY's bill (H. h. 15060) who is in tile hospital. I
$100 to $80. I now find that the $20 we thought would be paid              think there was only one objection to it before, and I think that
to this undertaker will not be paid to him because the father              objection has been satisfied, and      I will be glad to have unani-
                                                                                                             ,
of the dead man would have a prior claim, so I am going to ask             nlons consent for that purpos. .
that the amount provided in the committee amendment be in-                    The SPEAKER pro tempore. The gentleman from Ohio asks
creased from $81) to $10). I am giving this notice to the House            unanimous consent to return to Calendar No. 759, the first bill
before the bill passes the objection stage.                                back of the star. Is there objection to the request of the gen-
  The SPEAKER pro tempore. The Clerk will report the bill.                 tleman ?
  The Clerk read as follows:                                                  Mr. SCHAFER. Reserving the right to object, have all the
                                                                           objectors to the bill on that occasion withdrawn their objec-
  Be it enacted, etc., That the sum of $100 be, and the same is hereby,    tions?
appropriated to cover bill rendered by J. D. Baldwin (undertaker),            Mr. HUDSON. I was the objector, as Mr. MURPHY was not
1522 Richmond Street, Brunswick, Ga., for services in the preparation      on the floor.
and shipment of the body of J. D. Harrell, who died while working on          Mr. SCIIAFER. Has the gentleman looked into the matter
the Government dredge Bannard, and which funeral expenses were             and willhdraws his objection?
incurred at the request of the captain of said dredge.                        Mr. HUDSON. I do.
  The committee amendment was read, as follows:                               Mr. SCIIAFER. I shall not object.
  Page 1. line 3, strike out all of lines 3 down to and Including the         The Clerk read as follows:
word " by" in line 4 and Insert in lieu thereof:                              Re it enacted, etc., That the Secretary of War be, and he is hereby,
  "That the Secretary of the Treasury be, and he is hereby, authorized      authorized to reinstate Charles Robert Conroy as a cadet in the United
and directed to pay, out of any money in the Treasury not otherwise         States Military Academy in the class of 1932: Provided, That this shall
appropriated, and in full settlement against the Government the sum of     not operate to increase         the corps of cadets at said academy        as now
$80 to."                                                                   authorized by law.
  Mr. SCHAFER.         Mr. Speaker, I move to strike out the $80              The Iill was ordered to ie engrloss.ed and read a third time,
in the committee amendment and insert in lieu thereof $100.                was read the third time, and passed.
   The SPEAKER pro tempore. The Clerk will report the                         A motion to reconsider the last vote was laid on the table.
amendment.                                                                                 MARY L. ROEBKEN AND ESTHER M. tROEBKEN
   The Clerk read as follows:
                                                                              T'Ie next business on the Private Calendar was the bill (S.
   On page 1, line 8, amend the committee amendment by striking out        200) for the relief of Mary L. Roebkin and Esther M. Roebken.
" $80 " and inserting in lieu thereof "$100."                                The title of the bill was read.
  The amendment was agreed to.                                               The SPEAKER pro tempore. Is there objection to the present
  The bill as amended was ordered to be engrossed and read                 consideration of the bill?
a third time, was read the third time, and passed.                            There was no objection.
  A motion to reconsider the vote by which the bill was passed               The SPEAKER pro tempore.                   The Clerk will report the bill
was laid on the table.                                                     for amendment.
                                                                             The Clerk read as follows:
                          MEADOW BROOK CLUB
                                                                              Be it enacted, etc., That the Secretary of the Treasury be, and he Is
   The next business on the Private Calendar was the bill (H. R.
                                                                           hereby, authorized and directed to pay, out of any money in the Treas-
14823) for the relief of the Meadow Brook Club.                            ury not otherwise appropriated, the sum of $2,500 to Mary L. Roebken
   The Clerk read the title of the bill.
                                                                           and Esther M. Rocbken, in full settlement of all claims for damages
   The SPEAKER pro tempore. Is there objection to the pres-                growing out "of a collision of an Army ambulance, operated by the
ent consideration of the bill? [After a pause.] The Chair hears            United States, with a Ford car in which said Mary L. Roebken and
none.                                                                      Esther M. Roebken were riding on Sixteenth Street, in the city of
   The Clerk read as follows:                                              Washington, D. C., on July 20, 1924.
   Be it enacted, etc., That the Secretary of the Treasury be, and he is      Src. 2. That no part of the amount appropriated in this bill in excess
hereby, authorized and directed to pay, out of any money in the Treasury   of 8 per cent thereof shall be paid or delivered to or received by any
not otherwise appropriated and in full settlement against the Govern-      agent or agents, attorney or attorneys, on account of services ren-
ment, to the Meadow Brook Club the sum of $2,700.11, the same being        dered or advances made in connection with said claim. Any person or
the amount necessarily expended by it in repairing damages to one of its   persons violating the provisions of this act shall be deemed guilty of
stables resulting from the crashing of an Army Air Service airplane on     a misdemeanor, and upon conviction shall be fined in any sum not
or about June 8, 1928.                                                     exceeding $1,000.
 The bill was ordered to be engrossed and read a third time,   The bill was ordered to be read a third time, was read the
was read the third time, and passed.                         third time, and passed.




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 A motion to reconsider the last vote was laid on the table.                      With committee amendments as follows:
 T'l'   S'EAKERI pro lemiiore. The Clerk will report the                          Page 1, strike out lines 9 and 10.
nxl ihill.                                                                        On page 2, strike out lines 1 and 2.
                            FREIDERICK D. SWANK
                                                                                  The SPEAKER pro tempore. The question is on agreeing
  Th'I next bInsintess       thllePrivate Calendar was the bill (S.             to the committee amendments.
5S4) for the relief of Frederick D. Swank.                                        The committee amendments were agreed to.
  The' litl  of the hill was road.                                                The bill as amended was ordered to be engrossed and read
  T'l' S"':PEAKERlro     teinpore. Is there objection to the present            a third time, was read the third time, and passed.
coni(:di r:ltio.l   of the hill?                                                  A motion to reconsider the last vote was laid on the table.
   'T'h(rl'tw;is no oljheclion.                                                   Amend the title so as to read: "A bill to authorize and direct
    Th''lSI'EAKEIt pro tetlliil,e.      The Clerk will report the bill          the Secretary of the Interior to convey title to Lucile Scar-
for ;i;tu i lt,
            incil.                                                              borough for section 29, township 26 south, range 37 east, Newv
   Tlhe (C'rk read as follows:                                                  Mexico principal meridian, upon the payment to the Government
     Ier it cmei'd etc.. That (lie Secretary of the Treasury is hereby          of $1.25 per acre."
 authorlizd and dirc'ted• to pay, out of any inoney in the Treasury not            The SPEAKER pro tempore.            The Clerk will report the next
 othllrwis, ailpr,i  riited. to Frederick D. Swank, his heirs or assigns, the   bill.
 suIn ofl' $'-2,0(º)for extra time and services required and materials fur-                               ANNIE   E.   SPRINGER
 niishidlby lim in rIrioving oil residue from the wreck of the oil tanker          The next business on the Private Calendar was the bill (H. R.
Alrlde . inler,mi,,. and the sum of $250 for services and materials fur-        16406) to repeal a provision of law granting a pension to Annie
IiIsLed in niinl:aling lights upon the wreck during the period of his           E. Springer.
contract willi tle United States for the removal of such wreck. The               The title of the bill was read.
 ancceptance of sulch     sumsI shalll be in full satisfaction of all claims       The SPEAKER pro tempore. Is there objection to the pres-
agaliil   t he I'nlt d St.les with respect tb such removal of oil residue       ent consideration of the bill?
and muainuti nnce of lights.                                                      There was no objection.
  Sit.:. ". That julrisdiction is hereby conferred upon the District Court        The SPEAKER pro tempore. The Clerk will report the bill
of tlih I'nited Sitate for the Northern District of California to hear,         for amendment.
(determiii,,   and r•ndIer judgment upon the claim of said Frederick D.           The Clerk read as follows:
Swanik iaglinl til' Illited States for the reasonable value of all serv-
Icls and Inllierilis furnished by him for which the United States is               Be it enacted, etc., That so much of the act entitled "An act granting
fouild legally lliable under his contract with the United States for the        pensions and increase of pensions to certain soldiers and sailors of the
relllva:l Ill I lie wreck of the oil tanker Aldcn Anderson; except that         Civil War and certain widows and dependent children of soldiers and
IhI.re .linl i be deducted from any such judgment all sums paid prior           sailors of said war," approved May 24, 1928, as reads "The name of
to tlle approval of tils act to said Frederick D. Swank with respect to         Annie E. Springer, widow of William Springer, late of Company 0,
siuchl reniovli. S•ucl claim slall be1instituled prior to January 1, 1930.      Second Regiment West Virginia Volunteer Cavalry, and pay her a
Appeals from any jidgmennt rendered upon such claim shall be had as             pension at the rate of $30 per month," is hereby repealed.
In thie cais of claims over which such court has jurisdiction under               The bill was ordered to be engrossed and read a third time,
paragralpi l20   of sectiln 24 of the Tudictln Code, as amended.                was read the third time, and passed.
   'The   ill was ordered to be read a third time, was read the                   A motion to reconsider the last vote was laid on the table.
third lime, and passed.                                                                                JAMES J.   WELSH ET AL.
   A moltion to reconsider the last vote was laid on the table.
   The SPEAKER pro tenmpore. The Clerk will report the next                       Mr. WARREN. Mr. Speaker, the bill S. 1500, the last bill on
                                                                                the calendar, I objected to, Calendar No. 753, for the purpose of
bill.
                                                                                further study.    I would like to withdraw my objection and ask
                           CAPT. WILL II. OORDON
                                                                                to return to that bill.
  The next business on the Private Calendar was the bill (S.                      The SPEAKER pro tempore.               The gentleman from North
2S21) for ihe relie f of Capt. Will H. Gordon.                                  Carolina asks unanimous consent to rettirn to the bill S. 1500,
  The title of the bill was read.                                               Private Calendar No. 753, back of the star. Is there objection?
  The SPEAKiERt pro temnpore. Is there objection to the present                    There was no objection.
consileration of tle bill?                                                         The SPEAKER pro tempore. The Clerk will report the bill
   There was no objection.                                                      by title. '
   The SPEIAKER pro tempore.            The Clerk will report the bill             The Clerk read as follows:
for amen
      i   llmlent.                                                                A bill (S. 1500) for the relief of James J. Welsh, Edward C. F. Webb,
   The Clerk read as follows:                                                   Francis A. Meyer, Mary S. Bennett, William McMullin, Jr., Margaret
   Be it enrctc., etc'.,
                      That the Secretary of the Treasury be, and he is          McMullin, R. B. Carpenter, McCoy Yearsley, Edward Yearsley, George II.
hercliy, authorized and directed to pay, out of any money In the Treas-         Bennett, Jr., Stewart L. Beck, William P. McConnell, Elizabeth J. Mor-
ury not otherwise appropriated, to Capt. Will II. Gordon, of Plattsburg         row, William B. Jester, Josephine A. Haggan, James H. S. Gem, Herbert
Barracks. N. Y., the sum of $472, in full compensation for stoppage             Nicoll, Shallcross Bros., E. C. Buckson, Wilbert Ratwley, R. Rickards,
against pay of said Capt. Will II. Gordon, covering the loss of 20              Jr., Dredging Co.
pistols for whichi he was held pecuniarily responsible in accordance with          The SPEAKER pro tempore. Is there objection to the pres-
iuvestiga:: tilllo a:il recoinlllenlll tion of the inspector general.           ent consideration of the bill?
   Tlhe Itill was order(d to he read a third time, was read the                    There was no objection.
third time. and passed.                                                            The SPEAKER pro tempore. The Clerk will report the bill
   A lmotion to reconsider lhelast vote was laid on the table.                  for amendment.
   The SPEAKER pro tempore. The Clerk will report the next                        The Clerk read as follows:
bill.                                                                             Be it enacted, etc., That the Secretary of the Treasury be, and he is
                            LUCII.E SCARBOROUGH                                 hereby, authorized and directed to pay to James J. Welsh, $1,168.62;
   The next business on the Private Calendar was the bill (H. R.                Edward C. F. Webb, $5,480; Francis A. Meyer, $1,375.83; Mary S.
                                                                                Bennett, $1,366.67; William McMullin, jr., $361.75; Margaret McMullin,
3:15S2) autlhorizing and directing the Secretary of the Interior
                                                                                $334; R. B. Carpenter, $108.33; McCoy Yearsley, $746.67; Edward
to issue a patent to Lucile Scarborough.
                                                                                Yearsley, $746.67; George H. Bennett, jr., $388.55; Stewart L. Beck,
   The title of the lill was read.
                                                                                $3,142.25; William P. McConnell, $7,300; Elizabeth J. Morrow, $827.50;
  The SPEAKEI pro tempore. Is there objection to the present
                                                                                William B. Jester, $698.50; Josephine A. Haggan, $1,327.09; James
consideration of the bill?
                                                                                H. S. Gam, $605.44; Herbert Nicoll, $200; Shallcross Bros., $4,060;
   There was no objection.
   Thei SPEAKER pro tempore.                                                    E. C. Buckson, $100; Wilbert Rawley, $7,382.70; R. Rickards, Jr..
                                        The Clerk will report the bill          Dredging Co., $2,200, out of any money in the Treasury not otherwise
for aienlll(ilenllt.
                                                                                appropriated, by reason of the losses and damages caused, respectively.
  Thie Clerk read as follows:
                                                                                to the said James J. Welsh, Edward C. F. Webb, Francis A. Meyer, Mary
   lie it enacted, etc., That the Secretary of the Interior is hereby au-       S. Bennett, William McMullin, jr., Margaret McMullin, R. B. Carpenter,
thorized and directed to issue a patent to Lucile Scarborough, upon the         McCoy Yearsley, Edward Yearsley, George H. Bennett, Jr., Stewart L.
payment of $1.25 per acre, for all of section 29, township 26 south,            Beck, William P. McConnell, Elizabeth J. Morrow, William B. Jester.
range :37east, New Mexico principal meridian, the lands embraced In             Josephine A. Haggan, James H. S. Gem, Herbert Nicoll, Shallcross
her homestead application 038429, filed In the Roswell (N. Mex.) land           Bros., E. C. Buckson, Wilbert Rawley, R. Rickards, Jr., Dredging Co.
office on May 7, 1917.                                                          resulting from the flooding of the lands of said claimants during the




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years 1924, 1925, and 1926. owing to the settlement and breaching of a      pensation     for any   and   all   s,ivices,   labor. and    materials   furnished
dike erected by the Federal Government inar the southeasterly entrance      t(heIreunde   ror extra tlhreto.
of the Chesapeake & Delaware Canal in New Castle County, in the                With the follo'wing         'itmittle anueinttlent:
State of Delaware.
                                                                                 Strike out all nfler the einieting clause' and insert lthefollowing:
   With a committee amendment as follows:                                       " That the Secrelr  ty of the Treasury be. and he is hereby, authorized
  I'age 1, line 4. after the word " pay." insert "out of any money in        to pay to Gilpin Construction Co.. of Astoria. Oreg.. out of any money
the Treasury not otherwise appropriated, and in full se;tlement against     in the Treasury nuo otherwise appropriated, the sum of $104.7.17.70. in
the I.;vernment."                                                            full settlemenlt Iund!.r Navy D)epartmlent Htureaiu of Yards and Docks Con-
                                                                             tract No. 4i15. dateid February 17. 192:i. for the furnishing of all labor
   The SPEAKER pro tempore. The question is on agreeing to
                                                                            and mlaterials anil       it'e construction of four timber piers, one timber
the Comniittee aimenldient.
                                                                            Inllkllea• , two )lrshi lllklleadis,  a raiiroad track. iand for t1ie dredging of
   The com,nmittee aliiendllent was agreed to.
                                                                             tlie channel and turning b:tsilaltthe Na'vy slllllarine       and dlestroyel'r Ihiase
   The hill as amendeld was ordered to be read a third time.
                                                                            at Astoria. (reg.. saidlsium to include liitlidaled      dtliamages assessed, r's-
was read the third time, and passed.
                                                                            ervations withheld.             coipelnsati on for any andl all services, lalor,
                                                                                                          llland
   A motion to reconsider the last vote was laid on the table.
                                                                            and materials fu'lrnished tuitrendelr or extra thereto."
   The SPEAKER pro tempore. The Clerk will report the next
hill.                                                                        The cennllitlee utitI'ndenlt was ag reed to.
                         LOTTIE A. IIOWIIALL                                 The bill as iameluled was ordervil to le read a third time,
  The next business on the Private Calendar was the bill                    was readthe thtird  time. and passed.
(H. R. 16407) to repeal the provision of law granting a pension              A motion to rectonsider tle vote by which the bill was passed
to Lottie A. Bowhall.                                                       was laid on the table.
  The Clerk readl the title of the bill.                                                                    FRANK FANNING
  The SPEAKER pro tempore. Is there objection to the pres-                    The next business on the Private Calendar was the bill (II. R.
ent consideration of the hill?                                              3252). for the relief of Frank Fanning.
  There was no objection.                                                     The Clerk read the title of the bill.
  The Clerk read the bill, as follows:                                        The SPEAKER pro temtpolre. Is there objection to the present
  Be it enacted, etc.That
                 ,        so much of the act entitled "An act granting      consideration of the Iill?
pensions and increase of pensions to certain soldiers and sailors of the      There was no objection.
Civil  War and certain widows and dependent children of soldiers and          The Clerk read the bill. as follows:
sailors of said war," approved December 23, 1924. as reads " The name          le it enacted, etc., T'hat in the administration of any ltws caioferring
of Lottie A. Bowhall, widow of Nathan .Bowhall. late of Company E,          rights, privileges, and benefits upon honoirally discharged soldiers, Frank
Twentieth Regiment New York Volunteer Cavalry, and pay her a pen-           Fanning. wlo was a member of Troop 1. Fifteenth Regiment United
sion at the rate of $30 per month," is hereby repealed.                     States Cavalry. shall lhere:lfter he held and considered to have been
  The bill was ordered to be engrossed and read a third time,               discharged honorably from tihe milit:ry service of the United States as
was read the third time, and passed.                                        a private of that organization onl tie 27th day of August, 101: I'ro-
 A motion to reconsider the vote by which the bill was passed               rided. That no bounty. Iack pay, pension, or allowance shall be held
was laid on the table.                                                      to have accrued prior to the passage of this act.
                          JOSEPH FRANKLIN                                     The bill was ordered to he engrossed and read a thitrd time,
  The next business on the Private Calendar was the bill (H.                was read the third time, and passed.
R. 2255) for the relief of Joseph Franklin.                                   A motion to reconsider the vote by which the bill was passed
  The Clerk read the title of the bill.                                     was laid on the table.
  The SPEAKER pro tempore. Is there objection to the present                                           FRANCIS X.       CALLAIIAN
consideration of the bill?                                                    The next business on the Private Calendar was the bill
  There was no objection.                                                   (IH. R. 15220) for the relief of Francis X. Calhlaan.
  The Clerk read the bill, as follows:                                        The Clerk read the title of the bill.
  Be it enacted, tcl., That In the administration of any laws conferring      The SPEAKER pro tempore. Is there objection to the pres-
rights, privileges, and benefits upon honorably discharged soldiers and     ent consideration of the bill?
dependents, Joseph Franklin, who was a member of Company K, Eighth            Mr. WARREN. Mr. Speaker. I object.
Iegiment United States Infantry, and transferred to Troop D, Seventh          Mr. WAINWRIGIIT. Mr. Speaker. I understand that is
Regiment United States Cavalry, shall hereafter be held and considered      only an objection to the consideration of the bill.
to have been honorably discharged from the military service of the            Mr. WARREN. That is all.
United States as a member of the latter organization on the 24th day of                                    ANNIE M'COLGAN
November, 1800: Provided, That no bounty, back pay, pension, or allow-
ance shall be held to have accrued prior to the passage of this act.          The next business on the Private Calendar was the bill (II. It.
                                                                            2425) for the relief of Annie McColgan.
  The bill was ordered to be engrossed and read a third time,                 The Clerk read the title of the Iill.
was read the third time, and passed.                                          The SPEAKER pro tempore. Is there objection to the pres-
  A motion to reconsider the vote by which the bill was passed              ent consideration of the bill?
was laid on the table.                                                        There was no objection.
                     GILPIN   CONSTRUCTION     CO.                            The Clerk read the bill, as follows:
  Mr. HAWLEY. Mr. Speaker. I ask unanimous consent to re-                     Be it enacted. etc., That the Secretary of the Treasury be, and he is
turn to Calendar No. 804, Senate bill 1530, for the relief of the           hereby, authorized and directed to pay to Annie McColgan, of Phila-
Gilpin Construction Co.                                                     delphia,   'Pa.,widow of Peter McColgan, who, while a civilian employee
   The SPEAKER pro temlxnre. The gentleman from Oregon                      of the Ordnance I)epartment, United States Army. in the discharge of
asks unanimous consent to return to Calendar No. 8(4. Is there              his duties and without fault or negligence. was killed by the explosion
objection ?                                                                 of fuzes at the Frankford Arsenal, Philadelphia, Pa., on February i,
   Mr. SCHAFER. Mr. Speaker, reserving the right to object,                 1903, the sum of $7,500, being the sum recommended to be paid her
I objected to this bill a few moments ago. Since that time I                by the board of officers appointed to investigate said explosion by the
have had an opportunity to obtain my records and get certain                commanding officer at Frankford Arsenal on February 6, 1003.
information. I shall not object.
   The SPEAKER pro tempore. Is there objection?                               With the following committee amendment:
  There was no objection.                                                     Page 2,     line 1, strike out "$7,500"          and insert in lieu thereof
   The Clerk read the bill, as follows:                                     "$5,000."
   Be it enacted, etc., That the Secretary of the Navy be, and is hereby,     The committee amendment was agreed to.
authorized and directed to pay to Gilpin Construction Co., of Asto-           The bill as amended was ordered to lie engrossed and read a
ria, Oreg., $112,990.32, out of any money In the Treasury not other-        third time, was read the third time, and passed.
wise appropriated, and in full settlement of any and all claims against       A motion to reconsider the vote by which the bill was passed
the United States arising out of and/or in connection with Navy Depart-     was laid on the table.
ment Bureau of Yards and Docks Contract No. 4615, dated February 17,
                                                                                                            CLARA E. WIGHT
1923, for the furnishing of all labor and materials and the construction
of four timber piers, one timber bulkhead, two brush bulkheads, a rail-       The next business on the Private Calendar was the bill (H. R.
road track, and for the dredging of the channel and turning basin at        7417) for the relief of Clara E. Wight.
the Navy submarine and destroyer base at Astoria, Oreg., and as comn-         The Clerk read the title of the bill.
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                                                    RECORD-IIOUSE              of 74    16
   'Tle MIEAKEIt pro temnpore. Is there objection to the pres-                                        Whereas said officer either stole said money, or permitted it to be
 (uitcin idil   ti
                ration  of the bill?                                                               stolen : Therefore
   There \v;s naº objection.                                                                          Be it enacted, etc., That the Secretary of the Treasury be, and lie is
    'iT'h, Clerk read the bill, as follows:                                                        herrby, authorized to pay, out of any money in the Treasury of the
                                                                                                   United States not otherwise appropriated, to Grover Ashley the sum
   BH'it enact' d, etc., That the Secretary of the Treasury be, and he is
                                                                                                   of S815.15.
 hereby.        luthlorizltf an d directed to pay, out of any money in the Treasury
 not otherwise appropriated, to Clara E. Wight, the sminof $5,000 ill                                The bill was ordered to be read a third time, was read the
 full  coinpl,nrsaltio for the death of her son, Ralph L. Wight, who was a                         thild time, and passed.
 civiliiin iinployee! of the Navy, and Was overcomn by gas and burned                                A motion to reconsider was laid on the table.
 while working in submarine S'-i at the iavy yard, Portsmouth, N. 11.,                                                     TIIEOIOI:E .J.IHILLMAN
 on January 10, 1919, as a rc.ullt of which lie died January 15, 1919.                               The next business on the Private Calendar was the bill (H. R.
        Willh the following commniittee                 iaendinlent:                               G613) for the relief of T. J. Hillman.
        !'age   1, liin    ii, strike out     "'5,0')   0 "   and   insert   in   lieu   thereof      The Clerk read the title of the bill.
                                                                                                      The SPEAKER pro tempore. Is there objection to the present
                                                                                                   consideration of the bill?
     The c'ommiitl(e           lllnlllldenltwas agreed to.                                            There was no objection.
     Theli hill as aiiiended was ordered to be engrossed and read                                     The Clerk read the bill, as follows:
 i   Ithird lime, was real the third tinme, and passed.
                                                                                                      Be it enacted, etc.. That in the admnlistration of any laws conferring
     A Iiotioil te reconisiter tile vote by which the bill was passed
                                                                                                   rights, privileges, and benefits upon honorably discharged soldiers, T. J.
 was Iaid on (lie lable.
                                                                                                   ltillman, who was a membler of Company C, Third Regiment United
                                     ViKTOt     Pf,,'rrHSSON                                       States Infantry, shall hereafter be held and considered to have been
                                                                                                   honorably discharged from the military service of the United States
  The nextl husiness on the Private (alendar was the bill (H1. R.
                                                                                                   as a private of that organization on the 23d day of December, 1898:
8253:)  Ifor Ihe rt l iefof the heirs of Viktor Pettersson.
                                                                                                   Provided, That no bounty, back lty, pension, or allowance slhall ie
  Tlh ('lerk rioal lhel    tit ii of the bill.
                                                                                                   held to have accrued prior to the passage of this act.
  Th'leSlI'I';ANEI{ pro tempore. Is there objection to the presi-
ent consideration of the bill?                                                                        The bill was ordered to le engrossed and read a third tinle,
   Mr. sClIIAFEI.        Mr. Speaker, I object to the consideration of                             was read the third time, and passed.
this bill ai the present time.                                                                        A motion to reconsider was laid on the table.
                                       W. J. SIIIRLEY                                                                           CHRISTOP1HER COWT
     'Thenext lmnsiness on the Private Calendar was the bill (H. R.                                   The next business on the Private Calendar was the bill (II. R.
10197) forI thie relief of W. J. Shirley.                                                          10250) for the relief of Christopher Cott.
  The ('lerk real tihetitle of the bill.                                                              The Clerk read the title of the bill.
  Th'e SI'EAKIE pro  t   itenipore. Is there objection to the present                                 The SPEAKER pro tempore. Is there objection to the pres-
consideration ofl'tlhe bill'?                                                                      ent consideration of the bill?
        'liere was nit objectiion.                                                                    There was no objection.
     'i'The Clerk read tile bill, as follows:                                                         The Clerk read the bill, as follows:
     lIe it , nrcted, etc., That the Secretary of the Treasury be, and lhe is                         He it etnuctcd. etc., That in the administration of any laws conferring
                                                                                                   rights. privileges, and benefits upon honorably discharged soldiers,
hirehy, authorized and directed to pay, out of any money in the Treas-
                                                                                                   Christoph,er Cott. who was a private in Company G, Third Regiment
urly int otllirwise appropriated, to W. J. SliIrley the sum of $100
                                                                                                   I'ennsylvania Volunteer Infantry. shall hereafter be held and considered
in reinmlhurs mientcfor value of his personal property destroyed by fire
                                                                                                   to have been honorably discharged from the military service of the
 in tlih military service of the United States at Btrest, France, on the
                                                                                                   United States as a private of said company on the 5th day of August,
21'sl day of July, 1919, and for whihl      loss lie was In no wise re-
                                                                                                   1»01: Provided, That no bounty, back pay, or allowances shall be held
sponsible.                                                                                         as accrued prior to the passage of this act.
     Wiill      tihe following (collllittee alendmlllent:
                                                                           With the following committee amendment:
     I'a:•,e    . line (;. strilk   out "$100"      and Insert " $60.77."
                                                                           Page 1, line 5, strike out "Company G, Third Regiment, Pennsyl-
    Them(cllitllee     anlnl(dllellt wIs agreed to.                    vania Volunteer Infantry" and insert "Company M, Ninth Regiment
        l,ill a:samnndedtI was ordered to lie engrossed and renld United States Infantry."
    'Th'e
a third lime. was read the third time, and passed.
                                                                           The committee amendment was agreed to.
    A lmoltin to recon'sider was laid on the table.
                                                                           The bill as amended was ordered to be engrossed and read
                               (aOVKE ASuH EY                          a third time, was read the third time, and passed.
                                                                           A motion to reconsider was laid on the table.
    The next business on tile Private Calendar was the bill (S.
1121) for tlie relief of Grover Ashley.                                                                S. W. GREER
    Thle ('lerk readl the title of the bill.                               The next business on the Private Calendar was the bill
    The SI'E.\KEIl pro tlempore. Is there objection to the present      (II. R. 10999) granting an honorable discharge to S. W. Greer.
conslliderlation of tlie hill'?                                            The Clerk read the title of the bill.
    Mr. S'CIAFEIR. Mr. Speaker, reserving tie right to object,             The SPEAKER pro tempore. Is there objection to the pres-
I wonlll like to get a lillle info'rnmllion on this bill. Can the eot consideration of the bill?
gentlemilan ill a few w(ords give lustie reasons this bill has been        There was no objection.
favorably rnported?                                                        The Clerk read the bill, as follows:
   Mr. PEAl\VY. Mr. Speaker. I will say to the gentleman that              Be it enacted, etc., That in the administration of any laws conferring
(lte report coivers all of tile reasons why the committee acted rights, privileges, and benefits upon honorably discharged soldiers,
favorably upon      this bill.                                         Samuel W. Greer, private, who was a member of Company M, Third
   Mr. SC'IIAFER. I mean brief reasons. We are taking up Regiment Kentucky Volunteer Infantry, shall hereafter be held and
th(elrivate Calendar without           uinch notice and I have not had              to have been discharged honorably from the military service
n chaliice lto ri,tl the report of 11 piages. Has the War Depart- considered
                                                                       of the United States as a private of that organization on the 161h
   entlt favoralily re'ommnended(1 it?                                 day of May, 1899: Proridcd, That no bounty, back pay, pension, or
   Mr. PEAVEY. A hoard of officers passed upon this question allowance shall be held to have accrued prior to the passage of this
favorlbly.                                                             act.
   Mr. S'IIAFEIt. And the Secretary of War, too?
   Mr. PEAVEY. Yes.                                                        With the following committee amendment:
   Mr. S('IIAFER. I shall not object.                                      Page 1, line 9, strike out " 16th day of May, 1899," and insert " 1st
   The SPEAKER pro teulpore. Is there objection?                       day of December, 1898."
   Tlchre was no objection.                                                Amend the title.
     The (lerk read the bill, as follows:                                                            The committee amendlnent was agreed to.
     Whereas Grover Ashley was a private in the Eightieth Field Artil-                               The bill as amended was ordered to be engrossed and read
lery, American i:Exp,editlonary Forces; and                                                        a third time, was read the third time, and passed.
   Whllereas, wlhile under arrest, he was relieved of a sum of money                                 A motion to reconsider was laid on the table.
amounting to $815.15 by officer of the day, Second Lieut. Charles 8.                                Amend the title so as to read, "A bill for the relief of S. W.
Allen ; and                                                                                        Greer."




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                                    OLIVER EI.i.SON                                       With the      following committee amendment:
  The next lilsiness oi the Private Calendar was the bill (H. R.                          Strike out   all after the eniactin..l clause and insert:
11614)    for the relief of Oliver Ellison.                                               "That in     the administration of any laws conferring rights, priv-
  The     Clerk read the title of the bill.                                            ileges, and     benefits upon honorably dislularged soldiers, .lamets 1'.
  The     SPEAKER pro tempo»re. Is there objection?                                    Cornes. who was a      nemnber of Company K, Twenty-stecond     liegintent
  Mr.     WARREN. I object.                                                            New York Volunteer Cavalry, shall hiereafterr Ie held and considered
                                                                                       to have been discharged honorably from the military service of the
                              CHARLES W. BENDURE                                       United States as a :-'econd lieutenant of that or0anizati,n on the 301th
  The next business       on     the Private C:alendarn was the bill (II. R.           day of September. 1S65i: Provided. That no bounty, hack pay, pension.
11715) to correct the military record of Charles W. Bendure.                           or allowance shall be held to have accrued prior to tiin passage of this
  The Clerk read the title of the bill.                                                act."
  The SPEAKER pro temlni»re. Is there objection?                                         The comnlititee amendment was agreed to.
  There was no objection.                                                                The bill as amended was ordered to be engrossed ;11nd rt'ea
  The Clerk read the bill, as follows:                                                 a third time. was retid( the third time, and passed.
   Re it cnarted, etc., That in the administration of any laws conferring                A motion to reconsider was laid on the table.
rights, privileges, and benefits upon honorably discharged soldiel's.                                              DENNIS W. SCOTT
C'harles W'. Bendure. who was a memnber of Company K, Fourteenth Regi-                   The next business on the Private        Calendar   was the bill (II.   R.
ment United States Infantry, shall hereafter ie held and considered to                 13737) for the relief of De)nnis \. Scott.
have been discharged honorably from the military service of the                           The Clerk read the title of the bill.
United States as a private of that organization on the 10th day of                        The SPEAKER pro tetipore. Is there objection?
.Tuly, 1902: Prorided, That no bounty, back pity, pension, or allowance                   There was no objection.
shall lbe held to have accrued prior to the passage of this act.                          The Clerk read the bill, as follows:
  The bill was ordered to be eenrossed and read a third time,                              ie it enacted, etc., Tli't the act for the relief of Dennis W. Scott.
was read the third time. and passed.                                                   approved April 21,      )1925',le amended to read as follows: That ill ti
  A imotion to reconsider hle vote was laid on the table.                              administration of any laws conferring rilglts, privileges, and beneftls
  Amend the title so as to read: "A bill for the relief of Charles                     ulpon honorably dischlariged soldiers, IDennis W. Scott. who was a nmember
W. Bendure."                                                                           of Company 1, Thlirty-second IRegimient United States Volunteer In-
                                       SAMUEL S.IS                                     fantry, shiall her(after lie held and contsidered to have bIeen honorably
                                                                                       discharged from the militalry service of the United States as a private
  The next business on the Private Calendar was the bill (H. R.                        of that organization on the 30th day of March, l•)01: Protrilded, That
12053) to correct the military record of Samuel Slis.                                  no bounty. back pay. pension, or allowance shall be held to have accrued
  The Clerk read the title of the bill.                                                prior to the passage of this act.
  The SPEAKERlpro tempore. Is there objection.
  There was no objection.                                                               The bill was ordered to le engrossed and read the third time,
  The Clerk read the bill. as follows:                                                 was read the third tine. and passed.
                                                                                        A nlotion to reconsider was laid on the table.
  Be it enacted, etc.. That in the administration of any laws conferring                                             GEORGE 0. 1'RA'T
rights,   privileges,   and    bii•'fits   upon   honorably   discharged   soldiers,
Samuel Slis, who was a private in Company G, Thirtieth Regiment             The next h',iness on tlhe Private Calendar was the bill
United States Infantry, sliall hereafter lie held and considered to have (II. R.. 72,S2 for the relief of George O. Pratt.
been honorably discharged from the military service of the United           The Clerk read the title of the bill.
States as a private of said organization on March 2, 1904 : Prorided,       The SPEAKER pro tenlpore. Is there objection to the pres-
That no bounty, pension, pay, or allowance shall accrue prior to passage ent consideratioln of the bill?
of this act.                                                                Mr. WARREN. Mr. Speaker, I object.
                                                                                 IIENRY E THOMAS, ALIAS CIIRISTOPIIER TIMMERMAN
   The bill was ordered to be engrossed and read a third time,
was read the third time, and passed.                                        Thle next business on the Private Calendar was the bill
   A motion to reconsider was laid on the table                          (H. R. 9001) to correct tile military record of Henry E. Thomas,
  The title was amended.                                                               alias Christopher Tinmnerinan.
                                                                                         The Clerk read the title of the bill.
                               DENNIS IT. SULLIVAN                                       The SPEAKER pro tempore. Is there objection to the pres-
  The     next business on the Private Calendar was the bill (H. R.                    ent consideration of the bill?
14197)    for the relief of Dennis II. Sullivan.                                         There was no objection.
  The     Clerk read the title of the bill.                                               The Clerk read as follows:
  The     SPEAKER pro tempore. Is there objection?                                       Be it enacted, etc., That in the administration of any laws con-
  There was no objection.                                                              ferring rights, privileges, and benefits upon honorably discharged
  The Clerk read the bill, as follows:                                                 soldiers. Henry E. Thomas, alias Christopher Timmerman, who was a
                                                                                       member of Company F, Forty-first Regiment New York Volunteer In-
   Be it enacted, etc., That in the administration of any laws conferring              fantry, shall hereafter be Iheld and considered to have been discharged
rights, privileges, and benefits upon honorably discharged soldiers,                   honorably from the military service of the United States as a member
Dennis H. Sullivan, who was a member of Company M, Thirtieth Regi-                     of that organization on the 9th day of December, 18i65: Proarided,
ment United States Infantry, shall hereafter be held and considered                    That no bounty, back pay, pension, or allowance shall be held to have
to have been discharged honorably from the military service of the                     accrued prior to the passage of this act.
United States as a private of that organization on the 13th day of
November, 1902: Provided, That no bounty, back pay, pension, or al-                      The bill was ordered to be engrossed and read a third time,
lowance shall be held to have accrued prior to the passage of this act.                was read the third time, and passed.
                                                                                         A motion to reconsider the vote by which the bill was passed
 The bill was ordered to be engrossed and read a third time,                           was laid on the table.
was read the third time, and passed.                                                     The title was amended to read : "A bill for the relief of Henry
 A motion to reconsider was laid on the table.                                         E. Thomas, alias Christopher Timmerman."
                                  JAMES P. CORNES                                                                  WILLIAM H. JOHNS
  The next business on the Private Calendar was the bill (H.                             The next-business on the Private Calendar was the bill (II. R.
R. 5264) for the relief of James P. Cornes.                                            13263) for the relief of William I. Johns.
  The Clerk read the title of the bill.                                                  The Clerk read the title of the bill.
  The SPEAKER pro tempore. Is there objection?                                           The SPEAKER pro tempore. Is there objection to the present
  There was no objection.                                                              consideration of the bill?
  The Clerk read the bill, as follows:                                                    There was no objection.
  Be it enacted, etc., That in the administration of any laws conferring                 The Clerk read the bill, as follows:
rights, privileges, and benefits upon honorably discharged soldiers,                     Be it enacted, etc., That the Secretary of the Treasury be, and le
.Tames P. Comes, late of Company C, Twenty-second Regiment New                         is hereby, authorized and directed to pay, out of any money in the
York Volunteer Cavalry, shall hereafter be held and considered to have                 Treasury not otherwise appropriated, to William H. Johns, of Gettys-
been duly enlisted and discharged honorably from the military service                  burg, of the county of Adams, and the State of Pennsylvania, the sum
of the United States as of the dates of enlistment and discharge of                    of $887, the estimated cost of restoring to their former condition after
said company and regiment.                                                             being vacated by the United States Army certain tracts of land which




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                                                                                   __I_·___            _____·_
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                    CONGR ESSIONA        Filed 10/19/20 Page 71FEBRUARY
                                     IECORD-HOUSE               of 74   16
w\<re c~,ciinld by the United States Army under leases from claimant               of Claims.    I notice that the Secretary of War in the final
diatedJuly 1, 191s, as a part of Camp Colt, near Gettysburg, Pa.,                  paragraph in his letter states:
during tIli World War.                                                                The eircumstances surrtuoinding this entire    case do not appeal to
  'l'li bill was ordered to be engrossed and read a third time,                    ire as justifying a favorable recommendation      from the War Depart-
was real the third time, and passed.                                               ment upon the contemplated legislation, and       I therefore recommend
  A m1i ion io reconsider the vole by which the bill was passed                    that the bill be not favorably reported by your   committee.
\vas laid on the table.                                                              Mr. HUDSON. And does not the bill also take away one of
                                      (;EOI'GE W.   POREY                          the defenses from the Government?
   'The next. business on lhe I'rivate Calendar was the bill (H. R.                  Mr. SCIIAFER. It does.
15,-)!t:) for he relief of (George W.-Posey.                                         Mr. STRONG of Kansas. But the report of the committee
   The ('CIlk ri'nl lihetitleof lte hill.                                          does not waive that defense in the bill. We strike that out, so
   'The SI'.\AKEIi piro telmpoe. Is there objection to the pres-                   that there is no objection upon the part of the War Department,
ent consideratolino of tlie bill?                                                  except as to the statute of limitations. We have stricken out
    Thlerv' w\'asno (tljeti,ton.                                                   their right to waive that defense.
   The (Cl.rl; read tli hill, as follows:                                            Mr. SCHAFER. Does the gentleman from Kansas [Mr.
   IHt it    , nj1ct id, tlr., Th1a    in the administration of the pension laws   STRONG), chairman of the War Claims Comniittee, believe that
(;cori.       I'oseyy. lait of ('otmpany A, Twentieth Regiment, and of
            \\.                                                                    the objection of the Secretary of War as contained in his letter
('coi,paly I;.Thirty-fifth lt imentl   Wisconsin Volunteer Infantry, shall         of January 7, 1929, appearing in the report, has been overcome
licr,.illltr Iheliell Iand coniildord to have been honorably discharged            by the incorporation of the committee amendment?
from tI miilitary service of the United States: Provided, That no pen-                 Mr. STRONG of Kansas. I do in everything except the
sinn shall accruei prior to the passage of this act.                               waiving of the statute of limitations, and of course you have
                                                                                   to waive that if it is sent to the Court of Claims.
     \ith tihef'ol,lowintg conlmiltee amendments:                                     Mr. SCIIAFER. I will not object in view of that statement.
   I.nii 5, after the word " States," insert " the 24th day of July, 1865."           The SPEAKER. Does the gentleman from North Carolina
Also sliikte  oiit "Th'lli no pension shall accrue prior to the passage of         insist upon his objection?
lhii acl " and lnsert " T'hat no back pay, bounty, pension, or allowance              Mr. WARREN. I withdraw my objection.
snhall bihhlld to have iacerued prior to the passage of this act."                    The Clerk read as follows:
   The'otilnIiltee   amendments were agreed to and the bill as                        Be it enacted, etc., That the Court of Claims ot the United States be,
:aiiniitied was ordered to be engrossed and read a third time, wnas                andihereby is, given jurisdiction to hear and determine the claim of
read lie Ihird time, and passed.                                                   Margaret W. Pearson and John R. Pearson, her husband, of Jackson-
   A nmt ico to reconsider the vote by which the bill was passed                   ville, Fla., and to render judgment against the United States for com-
wais laid on the table.                                                            pensation for the use, occupancy, and possession of a tract of land
                         BIRI'TISII
                               ST'EAMSHIP                   (
                                                    " KYL-EAKIN
                                                                                   belonging to the said Margaret W. Pearson and John R. Pearson, her
                                                                                   husband, situated in Duval County, Fla., during the period from De-
  The next business on the Private Calendar was the bill (H. R.                    comber 10, 1920, to November 5, 1921; and for waste or danmlge to the
1lill7) lo aulnltrize Ithe paymeint of an indemnity to the owners                  inheritance, if any, attributable to the United States while in possession
of tleh British steamship li/lcekin for damages sustained as a                     of said land.
result of a collision between that vessel and the U. S. S. William                    Sec. 2. Said claim shall not be considered as barred because of any
O' Iricn.                                                                          existing statute of limitations with respect to suits against the United
  Th1 ('lerk read the title of the bill.                                           States; nor because of any tort committed by any agent of the United
  The S'EAKEI pro tempo)re. Is there objection to the present                      States resulting in damage or waste to the inheritance; nor because of
consideration of the bill?                                                         noncompliance with section 3744, Revised Statutes.
  Thelre was no objection.
  The ('lerk read the bill, as follows:                                               The committee amendment was read as follows:
   lie it cn,tlctl, tct., That the Secretary of the Treasury be, and he is            Page 2, after the word " States " strike out the remainder of line (i,
lihreby, tlirected to pay to Chr. Salvesen & Co., 29 Great Bernard Street,         all of line 7, and part of line 8 down to and including the word
I.eithi, Scotland, care of the British Embassy, Washington, D. C., the sum         "inheritance."
(of  s:i,ls l.:;. ,r so inich thereof as may be required to purchase exchange        The question was taken and the amendment was agreed to.
niti i,n   exc'ed the amiount of £715 sterling 19 s. 8 d., In full and final         The bill as-amended was ordered to be engrossed and read the
se(ll innit o tf the claim of the said Chr. Salvesen & Co. for damages             third time, was read the third time, and passed.
 -sustlaind by the British steamship Kyleakin in a colllson with the                 A motion to reconsider the vote by which the bill was passed
IU.S. S. 'illia'inm O'lri,'     in Barry Roads, Cardiff, Wales, on November        was laid on tie table.
20. 1!I17; alnd there is hereby ai. ihorized to be appropriated, out of any          The SPEAKER pro tempore. The time the House authorized
 imotny in the Treasury not otherwiee appropriated, a sufficient sum to            for the consideration of these claims has expired.
carry out tihe purpose of this act.                                                ANNIVERSARY    OF TIIE DESTRUCTION OF THE BATTLESHIP "MAINE"
 The lill was ordered to be engrossed and read a third time,                          Mr. LEAVITT. Mr. Speaker, yesterday, at Fort Myer, the
was read the third time, and passed.                                               observance of the anniversary of the sinking of the Maine was
 A nm,oion to reconsider the vote by which the bill was passed                     held, and I ask unanimous consent to extend my remarks in
was laid on the table.                                                             the RECORD by including a short oration delivered by the Cuban
                  MAl~R;.\IRE'   W. IEAIRSON AND JOHN R. PEARSON                    lambnsslaor on0 that occasion.
                                                                                      Thin SPEAKER pro tempore. Is there objection to the re-
    The next business on the Private Calendar was the bill (S.                     quest of the gentleman from Montana?
 1(I1S) for tie relief of Margaret W. Pearson and John R.                             Mr. EI)WARDS. Mr. Speaker, reserving the right to object,
I'e 'rtsonl.                                                                       has the gentleman the remarks of the other speakers on that
    The ('lerk read Ihe title of the bill.                                         occasion':
    The SI'PEAKER1 pro temprle. Is there objection to the present                     Mr. LEA VITT. I have not.
consideratiot of the hill?                                                            Mr. EDWARDS. I have no objection.
    Mr. S('IIAFElt. Mr. Speaker, I object.                                            Mr. LEAVITT. Mr. Speaker, yesterday at Fort Myer there
    Mr. WAIrIlEN. Mr. Speaker, I object.                                           took place the annual observance held on the anniversary of the
    Mir. ACKERIIMAN. Mr. Speaker, will tihe gentle'niin reserve                    sinking of the battleship Maine. It was an observance held
his objection ?                                                                    under the leadership of the veterans of the war with Spain
     IMr. SCIIAF'ER. Yes; but there is an adverse report from                      and was attended by Col. Orestes Ferara, the ambassador
the Secretary of \War.                                                             from Cuba, and Commander in Chief Col. W. L. Grayson, of the
    Mr. A('KER:IMAN. I understand that an amendment has                            Spanish War Veterans.
helen added which obviated that.                                                     Colonel Ferarra, who was a distinguished soldier in the army
    Mr. SD(
          SCAE.A         I)oes the amendment which has been in-                    of his country when the United States engaged in that war in
corp(lorited iii(t. alli o(f Ith objections of tile Secretary of War?              the cause of humanity, and who has continued to serve Cuba
    lMr. A('KERMAN. I understand that it did. This is merely                       with distinction and signal honor as her ambassador to our
a bill to give the parties an opportunity to be heard in the                       Republic, delivered an oration worthy of the occasion, of his
(ourt      tl' Clainms. No money is appropriated in the bill. It is                country, and of the heroes of the Maine, in whose memory our
simnply a right to try the nmtter out before the Court of Claims.                  two friendly nations thus joined in tribute.
  Mr. S('IIAF1ER.                Yes: but we do not always send every                I ask that as a mark of our appreciation the address of
claim iltht conies knocking at the door of Congress to the Court                   Ambassador Ferara may be printed in the RecoK  u;




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ADDRESS OF COL. ORESTES FERAJRA, CUBAN AMBASSADOR TO THE UNITED               to think that in a dificult hour we should once more see the triumph
  STATES, AT FORT MYER, VA., FEBRIARIY 13, 1929, TII  THIRTY-FIRST            of self-interest over right, of ambition over justice.
  ANNIVERSARY OF TIIE DESTRUCTION OF TIlE BATTLESHIP " MAINE"                    The situation in Cuba, which was produced in 1SOS and which had
   This event, which year after year we assemble to commemorate, far          its epilogue in 1902, came as a triuml.hant answer to all these dioulhts.
                                                                              The island of Cuba, since the time of Jefferson, had been the object
fron losing with the passing of time its hallowed significance, actually
                                                                              of much thought by the United States. Its geographlical situation
grows in importance and forms a bond, ever stronger and more inti-
                                                                              throughout a century aul a half had belen cionsidered as essential to
mate, between the United States and Cuba.
                                                                              the defense of the I'nited States.     Nevertheless, in the moment when
   Wheni in history such a transcendent event occurs to a nation.
                                                                              the United Stales could have taken Cuba, annexing her as booty of
augmenting its prestige, enhnicing its power, bringing it greatness in        war, it did not do so. And listening to the voice of its inliaitalnts
IanIy fields-such an event in time assumes majestic proportions. And
the consequences which derive from it inlluence profoundly the deed           the United States helped Cuba to freedonm guided lhr first steps, nur-
                                                                              tured her economic life, and, routing the unbelievers, left Cuba as free in
which c:iuscd them.
   In IIabana Iarbor, on the 15th of February, 1898, a formidable             her own government as she is free geographically, as free as nature
                                                                              made her by giving her no other frontiers than the sea.
man-of-war, beautiful and severe in its sheath of armor, was destroyed
                                                                                 This noble deed has echoed in tie minds of the statesmen of tile
by n terrible explosion.    With it, on tllt   tranquil and smiling Tropic
                                                                              Americas and in the hearts of its peoples, and ever since there has
night, many lives were s:crificed to the lionor and glory of their country.
                                                                              been forming, with the natural slowness with which collective beliefs
There was weeping for the dead. and the sighing of bereaved mothers
                                                                              are created, a spirit which breathes conlihlnce, security, and friendship.
was heard over the southern seas. With the martyrs to duty, as their
                                                                                 This explains the recent great successes of Pan Americanism, the
mortal remains were borne to their last resting place, went the benedic-
                                                                              late conference at IIabana and at Washington, and their results. Be-
tion of two peoples, Cuban and American.
   The necessities of the moment compelled severe measures. An armed          cause of this there awaits us a future, not alone of concord but of
struggle between two nations ensued, which settled once and for all           political and economic understandings.       Iecause of this this hemi-
a colonial conflict that had been impoverishing two peoples-one, the          sphere will point the way for the world; not easy, certainly, but indi-
colonizer, Sp:in ; the other, Cuba, which, having reached its majority,       spensable to progress, of human solidarity.
aspired to liberty and self-government.                                          The dead of the 15th of February, 1898, are sponsors for tlhse
   Victory came soon.                                                         benefices. That tragic night has been transformed into a radiant day
                                                                              for civilization.
   Out of the trials of war the United States emerged more powerful
                                                                                 Reverently we salute the memory of those who died to create a new
and more united than ever. Cuba achieved to freedom, her people happy
                                                                              America and to better the destinies of men.
and grateful.    The world had seen something strange and new-and
                                                                                 I thank you.
great because of its disinterestedness. A nation had shed the blood of
its citizens witiout aspirations of conquest, without greed of terri-                      CONFERENCE     REPORT-EAST      TAWAS,    MICH.
tory, without a wish for aggrandizement. The cause of civilization tri-
                                                                                Mr. IIAUGEN.        Mr. Speaker, I present a conference report
umphed in many ways-in the creation of a power able to join force
                                                                              on the bill (H. R. 10374) for printing under the rules.
with justice; in the birth of a new nation; in an example to the world
                                                                                The SPEAKER pro temlpore. The Clerk will report the bill
of altruisIn and of virtue.
                                                                              by title.
   These results constitute a magnificent epitaph to those whose lives
                                                                                The Clerk read as follows:
were wiped out by the terrible explosion. The blood that was spilled
yielded a rich benefice. More, even though for 31 years those heroes             A bill (H. R. 10374) for the acquisition of lands for an addition
have been figures of glory and ininortality, a new felicity yet rises         to the Beal Nursery at East Tawas, Mich.
from their sacrifice.                                                                                  SENATE HILL REFERRED
   Thle Americas to-day are united in growing amity, in a continuing
labor of peace and love. This hemisphere has listened to the imperative
                                                                                A bill of the Senate of the following title was taken from
                                                                              the Speaker's table and under the rule referred as follows:
command imposed by the tradition of more.than a century; has realized
that it is consecrated to liberty and concord ; and that the setting of an
                                                                                S. 5514. An act for the relief of E. Gellermlan, doing         business
example of public virtue, the forging of international bonds Inspired by
                                                                              under the name of the Lutz-Berg Motor Co., at Deliver Colo.;
                                                                              to the Committee on Claims.
morality and strengthened by right, is an act of the highest nobility.
   The Americans are creating new principles of friendship among                                           ADJOURNMENT
nations; are carrying to the distrustful field of international interests       Mr. IRWIN.        Mr. Speaker, 1 move that the House do now
the definitions of standards of good and of evil, of justice and of in-       adjourn.
justice-and this in spite of opportunism and of self-interest.         New      The motion was agreed to; accordingly (at 5 o'clock and 13
precepts are being written; moral obligations are being assumed; mani-        minutes p. in.) the House adjourned until Monday, February
festations, not of alliances, but of solidarity, are being made; codes are    18, 1929, at 12 o'clock noon.
being drafted to resolve the conflicts always possible among groups;
laws to resolve difficulties are being voluntarily accepted.   That which                        COMMITTEE HEARINGS
yesterday seemed the tightly inclosed field of national justice is entering
into the vast dominion of international justice.
                                                                                Mr. TILSON submitted the following tentative list of com-
   The shadow of the tragedy of the Mainle spreads beneficently over
                                                                              mittee hearings scheduled for Monday, February 18, 1929, as
tlhese noble efforts.                                                         reported to the floor leader by clerks of the several committees:
   The victims of the Maine were a sacrifice to the independence of                              COMMITTEE ON WAYS AND MEANS
Cuba. Had it not been for their supreme gift, who knows what would                                     (10 a. m. and 2 p. m.)
have been the course of events?                                                 Tariff hearings as follows:
   Cuba, becoming independent with the aid of the United States and             Sundries, February 18, 19.
by the will of American statesmen .and the American people, is a                Free list, February 20, 21, 22.
living proof that force need not be feared when it is animated and              Administrative and miscellaneous, February 25.
controlled by right. That a nation overpoweringly strong need not                                 COMMITTEE ON THE JUDICIARY
be regarded with suspicion, if it does not abuse its power, resort to
                                                                                                             (10 a. m.)
violence, or give way to selfishness.
   Many times in the past had the United States helped to independence          Proposing an amendment to the Constitution to exclude aliens
other American nations, and these services had been remembered with           in counting the whole number of persons in each State for
infinite gratitude. But the love of country, like all the loves which         apportionment of Representatives among the several States
turn into passions, caused many to think, as was natural: What would          (H. J. Res. 102 and H. J. Res. 351).
happen when the great Nation of the North, with its tremendous power,         COMMITTEE ON INTERSTATE AND FOREIGN COMMERCE-SUBCOMMITTEE
unchallengeable in the field of force, should have a justified excuse for                              ON BRIDGES
expanding to the south? Would it hold back, denying itself the fruits                                        (10 a. m.)
always conceded to victory?       Could it resist the enthusiasms of the
moment, the aspirations of the multitude excited by military triumphs?
                                                                                 Authorizing the city of Wheeling, W. Va., to construct, main-
   Could prudence, reflection, and a high concept of duty, of a duty
                                                                              tain, and operate a free highway bridge across the Ohio River
never lived up to before, dominate the great Nation when its combined
                                                                              at or near Wheeling, W. Va. (H. R. 16981).
forces, military and economic, should have within its grasp the destinies
                                                                                           EXECUTIVE COMMUNICATIONS, ETC.
of another?
   These questions, not mere manifestations of suspicion, but of proper         Under clause 2 of Rule XXIV, executive communications were
 foresight, were an obstacle to American harmony.        The extraordinary    taken from the Speaker's table and referred as follows:
greatness of the United States was a cause of admiration, doubtless,            858. A letter from the Secretary of the Navy, transmitting pro-
on the part of other sister republics, but at the same time inspired          posed draft of a bill to authorize the President to fix the cloth-
anxiety.    Accustomed to see by the example of milleniums that the           ing allowance for enlisted men of the Navy; to the Committee
strong did not recognize the rights of the weak, it was not irrational        on Naval Affairs.




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    {59. A letter from the Secretary of the Treasury, transmitting      Mr. GAMBRILL: Committee on Naval Affairs. S. 150. An
 draft, ofia proposed bill providing that the physician in charge    act for the relief of former officers of the United States Naval
 of the Narcotics Division of the United States Public Health        Reserve Force and the United States Marine Corps Reserve
 Service shall while so serving he an Assistant Surgeon General      who were released from active duty and disenrolled at places
 in that service; to the Committee on Interstate and Foreign         other than their homes or places of enrollment; with amend-
 Coilnierce.       -                                                 ment (Rept. No. 2578).      Referred to the Committee of the
    S(i0. A letter from the chairman of the Personnel Classifica-    Whole House on the state of the Union.
 lion lBo:rd. Iranismitting report of the Personnel Classification      Mr. IALE: Committee on Naval Affairs. H. R. 17128. A
 Board on lite survey of the field service (II. Doc. No. 602);       bill to amend section 11 of the act approved February 28,
 to the 'onmmlittee on Printing and ordered to be printed.           1925, entitled "An act to provide for the creation, organization,
                                                                     administration, and maintenance of a Naval Reserve and a
                                                                     Marine Corps Re''erve"; without amendment (Rept. No. 2579).
    REI'ORT'S OF COlMMI''TTEES ON PUBLIC BILLS AND                   Referred to the Committee of the Whole House on the state of
                     RESOLUTIONS                                     the Union.
          claulse 2 of Rule XIII,
      lUnder
    Mr. SNEI.L: 'Coiiiittee on Rules. H. Res. 321. A resolu-         REPORTS      OF COMMITTEES ON PRIVATE BILLS                  AND
 tion providing for the consideration of H. It. 15430. A bill                            RESOLUTIONS
 continuing the powers and authority of the Federal Radio Com-         Under clause 2 of Rule XIII,
 mission under the radio act of 1927, and for other purposes;  Mr. IRWIN: Committee on Claims. H. R. 4813. A bill for
 witlhut amenilment (Ilept. No. 2551). Referred to the House the relief of Clara
                                                                                 Thurnes: with an amendment (Rept. No.
 (Calendar.                                                  2555). Referred to the Committee of the Whole House.
     Mr. SNELL: Committee on Rules. H. Res. 322. A resolu-     Mr.  UNDERHILL:
  tion providing for the consideration of S. 1781. An act to
                                                                                   Committee on Claims. H. It. 4801. A
                                                                     bill for the relief of Jack Mattson; without amendment (Rept.
establish load lines for American vessels, and for other purposes;   No. 2556).   Referred to the Committee of the Whole House.
 without aomendulment (Rept. No. 2552). Referred to the House           Mr. IR\VIN: Committee on Claims. H. R. 14952. A bill to
Calenda r.                                                           reimburse the estate of Mary Agnes Roden; with an amendment
   Mr. I)AIOWlt(\\': Committee on Naval Affairs. S. 2410. An          (Ilept. No. 2557). Referred to the Committee of the Whole
act to amnend section 1440 of the Revised Statutes of the United     House.
States: without amendment (Rept. No. 2553). Referred to the             Mr. UNDERHILL: Committee on Claims. S. 5453. An act
 'ominilt  ee of tlie Whole House on the state of tileUnion.         authorizing the payment of Government life insurance to Etta
   Mr.     LI.IO1TT: Committee on Public Buildings and Grounds.      Pearce Fulper; without amendment
It. t. 17129. A bill to authorize the sale of the Government                                                  (Rept. No. 2558).    Re-
                                                                     ferred to the Committee of the Whole House.
prolerlty acquired for a post-office site in Binghamton, N. Y.;         Mr. SINCLAIR: Committee on War Claims. H. R. 10912. A
without amelnndmlent (Rept. No. 2554).     Referred to the Commit-   bill to reimburse or compensate Capt. John W. Elkins, jr., for
tee of the Whole HIouse on the slate of the Union.                   part of salary retained by War Department and money turned
   Mr. tlEECI(E: Committee on Military Affairs. H. R. 8305. A        over to same by him; without amendment (Rept. No. 2559).
  hill to authorize and direct the Secretary of War to execute a     Referred to the Committee of the Whole House.
lease with Air Nitrates Corporation and American Cyanamid               Mr. LOWREY: Committee on War Claims. H. R. 13801. A
Co., Iand for other purposes; with amendment (Rept. No. 2564).       bill for the relief of John Bowie; with an amendment (Rept. No.
Referred to thle Committee of the Whole House on the state of        25(0). Referred to the Committee of the Whole House.
the Union.                                                              Mr. PEAVEY: Committee on War Claims. H. R. 15424. A
   Mr. McS\AIN: Committee on Military Affairs. I. R. 14449.          bill for the relief of Dr. W. H. Parsons; without amendment
A bill to establish a national military park to commemorate the      (Rept. No. 2561).       Referied to the Committee of the Whole
 Battle of Kings Mountain; without amendment (Rept. No. 2565).       House.
 Referred to tie Committee of the Whole House on the state of           Mr. BUSHONG: Committee on Claims. H. R. 8097. A bill
tlie Union.                                                          for the relief of Gilliam Grissom; without amendment (Rept.
   Mr. WRIGIIT: Committee on Military Affairs. S. 4461. An           No. 2562). Referred to the Committee of the Whole House.
act to pirovide for tilepolicing of military roads leading out of      Mr. GARRETT of Texas: Committee on Military Affairs.
tlie District of Columbia ; withou     e  et (Rept. No. 2566).
                                      idment                         H. R. 17034. A bill for the relief of James Albert Couch, alias
Referred to the Committee of thle Whole House on the state of        Albert Couch; without amendment (Rept. No. 2563). Referred
the Union.                                                           to the Committee of the Whole House.
  Mri. WiItIGHT: Committee on Military Affairs. H. R. 15656.           Mr. SPEAKS: Committee on Military Affairs. H. R. 12674.
A hill to provide for the erection of monuments at Dalton,           A bill authorizing the President of the United States to present
Resaca. Cassville, and New Hope Church, in the State of Georgia,     in the name of Congress a congressional medal of honor to
in .commemoration of these historic points and battle fields of      Capt. Edward V. Rickenbacker; without amendment (Rept. No.
the Shermnian-.lohnston cam•paign in 1864, and to provide for the    2568). Referred to the Committee of the Whole House.
erection of markers at other points of historic interest along the     Mr. WURZBACH: Committee on Military Affairs.             H. R.
Sherman-rJohnston line of march; without amendment (Rept.            16291. A bill for the relief of Stephen Cole, alias Steven Cole;
No. 2567). Referred to the Committee of the Whole House on           without amendment (Rept. No. 2569).      Referred to the Com-
the statest of the Union.                                            mittee of the Whole House.
   Mr. I)ALLINGER : Co,mmittee on Expenditures in the Execu-           Mr. SPEAKS: Committee on Military Affairs.        H. R. 16732.
tive l)epamrlments. S. 56(i21. An act to repeal paragraphs 127       A bill to correct the military record of Thomas W. Bath; with
and 128 of the act entitled "An act to discontinue certain re-       amendment (Rept. No. 2570).    Referred to the Committee of the
ports now required by law to be made to Congress," approved          Whole House.
May 29. 1928: without amendment (Rept. No. 2575). Referred
to the ('Committee of the Whole House on the state of the Union.                  PUBLIC BILLS AND RESOLUTIONS
   Mr. GRAIIAM: Committee on the Judiciary. S. J. Res. 196.
A joint resolution authorizing    and  requesting the President  of    Under clause  3 of Rule XXII, public bills and resolutions were
thie United States to take steps in an effort to protect citizens' Introduced and severally referred as follows:
of the United States in their equitable titles to land embraced        By Mr. COOPER of Ohio: A bill (H. R. 17140) to extend the
in territory to lie transferred from the State of Oklahoma to the times for commencing and completing the construction of a
State of Texas and from the State of Texas to the State of bridge across the Mahoning River at or near Warren, Trumbull
Oklahoma as per decree of the Supreme Court of the United County, Ohio; to the Committee on Interstate and Foreign
States in the case of Oklahoma against Texas (1926, 272 U. S. Commerce.
21, p. 38), and to give the consent of Congress to said States        Also, a bill (H. R. 17141) to extend the times for commencing
to enter into a compact with each other and with the United and completing thie construction of an overhead viaduct across
States relating to such subject matter; with amendment (Rept. the Mahoning River at or near Niles, Trumbull County, Ohio;
No. 2576). Referred to the House Calendar.                          to the Committee on Interstate and Foreign Commerce.
   Mr. MILLER: Committee on Naval Affairs. S. 5544.             An    By Mr. BRITTEN: A bill (H. R. 17142) to authorize the
act to increase the membership of the National Advisory Com- President to fix the clothing allowance for enlisted men of the
mittee for Aeronautics; without amendment (Rept. No. 2577).         Navy; to the Committee on Naval Affairs.
Referred to the Committee of the Whole House on the state of          By Mr. PORTER: A bill (H. R. 17143) making the physician
the Union.                                                          in charge of the narcotic division of the Bureau of the Public




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Health Service an Assistant Surgeon General; to the Committee     in the Lankford bill (II. R. 78) or similar measures; to the
on Interstate and Foreign Commerce.                               Committee on the District of Columbia.
   By Mr. KORELL: Joint resolution (H. J. Res. 422) to pro-           11262. Also, petition ,of tie Ninth Avenue Baptist Church.
hibit the exportation of arms, munitions, or implements of war Charlotte, N. C.. with 2,000 present, urging the enactmlent of
to nations violating the pact of Paris; to the Committee on legislation to protect the people of the Nation's Capital in their
Foreign Affairs.                                                  enjoyment of Sunlday as a day of rest in se\.venl, as provided in the
   By Mr. CHINDBLOM: Joint resolution (H. .T. Res. 423) to Lankford bill (II. R. 7S) or similar measures; to he Committee
postpone the taking effect of the national-origins provisions of on the District of Columbia.
the immigration act of 1924, as amended; to the Committee on          11263. Also. petition of the superintendent. faculty, and stu-
Immigration and Naturalization.                                   dents of the public school of Bissemer City, N. C., 577 lpresent,
   By Mr. LEAVITT: Resolution (H. Res. 323) to provide for urging the enacttnent of legislation to protect the peopCle of the
the printing as a public document certain communications and Nation's Capital in their enjoyment of Sunday as a day of rest
a report with reference to the relations of forestry to the con- in seven, as provided in the Lankford bill (II. R. 75) or similar
trol of floods in the Mississippi Valley; to the Committee on measures; to the Committee on the District of Columbia.
Printing.                                                             11264. Also, petition of the principal, faculty, and students
                                                                   of Bessemer City Public School, Bessemer, N. C.. with -121 pres-
                            MEMORIALS                              ent, urging the enactment of lcgislation to protect the people
                                                                   of the Nation's Capital in their enjonylment of Sunday as a (lay
   Under clause 3 of Rule XXII, memorials were presented and of rest in seven, as provideil in the lalilkford bill (I. It. 78) or
referred as follows:                                               similar measures; to the Colmiltte 1on the District of Colunbia.
   Memorial of the Legislature of the State of Wyoming, ,peti-        11265. Also, petition of the North Carolina Conference of Con-
tioning the Department of Agriculture of the Government of gregational Churches. representiing 15.0t!O in session ill ('hi1r-
the United States to open certain lands in tile Teton National     lotte, N. C., September 27, 1928, urging the enactlmelt of legis-
Forest, in Teton County. Wyo.. for the purpose of slhep graz- lation to lrotect tie people of the Nation's Calpital in lth'ir en-
ing; to the Committee on the Pubilic Lands.                        joylnent of Sunday as a day of rest in seven, as provided in(th
   Memorial of thLegsle
                      Lisltu      of the State of Texas, urging Lankford bill (II. It. 78) or similar neasures ; to the Committee
Congress to take action relative to the feasibility of a 10-year   on the District of Columbia
cooperative program for the control of predatory animals within        112(6i. Also, Ipetitionl of the pastor and 235 (present and vot-
the United States; to tle Committee on Agriculture.                ing) memnbers of the Mayl( Methodist Elpiscolpal Chulrcl of
   Memorial of the Legislature of the State of Ohio, favoring Gast oria, N. C., urging the enactment of legislation to protect
the distribution of broadcasting facilities equitably in accord- tile lpeoplle of the Nation's Capital ill their enjoymeint of Sunday
ance with the population of States; to the Committee on the as a day of rest in seven, as provided in the Lanklord bill II. It.
Merchant Marine and Fisheries.                                     78) or similar measures; to te Co        ommtteitte   te District of
                                                                   Columbia.
             PRF ATE BILLS AND RESOLUTIONS                             11267. By Mr. W. T. FITZGERALD: Memnorial of Linla
   Under clause 1 of Rule XXII, private bills and resolutions Camp, No. 38, Spanish War Veterans, reclommllending tle enalct-
were introduced and severally referred as follows:                 nment of legislation granting increased pensions; to tlhe ('om-
   By Mr. CORNING: A bill (H. R. 17144) granting an increase mittee on Pensions.
of pension to Julia Mackintosh; to the Committee on Invalid            1126t8. By Mr. O'CONNELL: Petition of the American Wire
Pensions.                                                          Weavers Protective Association, makers of Fourdrinier wire
   By Mr. CULKIN: A bill (H. R. 17145) granting a pension to cloth, favoring a 90 per cent ad valoreln duty; to thie Commit tee
Lillian B. Miner; to the Committee on Invalid Pensions.            on Ways and Means.
   By Mr. ROY G. FITZGERALD: A bill (H. R. 17146) granting             112619. Also, petition of American Federation of Labor, Wash-
 a pension to Joseph B. Turner; to the Committee on Pensions.       ington. D. C., favoring the passage of Senate bill 1462, providing
   By Mr. FULMER: A bill (H. R. 17147) granting a pension for final surveys and investigation of all matters conlected with
to Dixie L. Powell; to the Committee on Pensions.                  the proposed Columbia Basin reclamation project; to the Com-
   Also, a bill (H. R. 17148) granting a pension to A. G. Ma- mittee on Irrigation and Reclamation.
gruder; to the Committee on Pensions.                                  11270. By Mr. JOHNSON of Texas: Petition of A. Burr Jones,
   By Mr. HOPE: A bill (II. R. 17149) granting an increase of of Marquez, Tex., indorsing House bill 146f76 and urging its
pension to Caroline Bartz; to the Committee on Invalid Pen-        passage;    to the Commit tee on Pensi(ons.
sions.                                                                 11271. By Mr. LINDSAY: Petition of Montizona Copper Co.,
   By Mr. MAPES: A bill (H. R. 17150) granting a pension to New York City, urging protection for commercial manganese
 Bertla Gokey; to the Committee on Invalid Pensions.               industry; to tie Committee on Ways and Means.
   By Mr. MORGAN: A bill (H. R. 17151) granting a pension to           11272. Also. petition of Douglas I. McKay, commander, Ameri-
 Sarah C. Cunningham; to the Committee on Invalid Pensions.        can Legion, New York State Department, urging meeting of
   By Mr. MURPHY: A bill (H. R. 17152) granting an increase full membership of veterans' committee in order tiat prompt
 of pension to Jessie Virginia Ridgley; to the Committee on and favorable reporting of American Legion's hospital bill,
 Invalid Pensions,                                                 authorizing funds for hospital in New York State. be made; to
   By Mr. SIMMONS: A bill (H. R. 17153) granting a pension the Committee on World War Veterans' Legislation.
 to J. Phillip Horn; to the Committee on Pensions.                     11273. By Mr. LUCE: Petition of Milford Chamber of Com-
   By Mr. ZIHLMAN: A bill (H. R. 17154) granting a pension merce, Milford, Mass.; to the Committee on Ways and Means.
 to Mamie Hershberger; to the Committee on Invalid Pensions.           11274. By Mr. McCORMACK: Petition of President William
   Also, a bill (H. R. 17155) granting a pension to Amanda E. Green, American Federation of Labor, Washington. D. C., urg-
 Wagner; to the Committee on Invalid Pensions.                     ing early and favorable consideration of Senate bill 1462, pro-
   Also, a bill (II. R. 17156) granting a pension to Ella E. viding for final surveys and investigation of all matters con-
 Smith; to the Committee on Pensions.                              nected with the proposed Columbia Basin reclamation project,
   Also, a bill (H. R. 17157) granting a pension to Bertie Cleve- so that construction of this project may start at an early date,
land; to the Committee on Invalid Pensions.                        thus releasing much private capital for investment in tie North-
   By Mr. BEERS: A bill (H. R. 17158) granting an increase of west, with attending employment for men and women; to the
pension to Elizabeth A. Deaver; to the Committee on Invalid Committee on Irrigation and Reclamation.
 Pensions.                                                             11275: By Mr. VINCENT of Michigan: Petition of citizens of
                                                                   Ithaca and Owosso, Mich., protesting against any change in the
                                                                        present tariff on hides and leathers used in the manufacture of
                       PETITIONS, ETC.                                  shoes; to the Committee on Ways and Means.
  Under clause 1 of Rule XXII, petitions and       papers were laid       11276. By Mr. WELCH of California: Petition of retail shoe
on the Clerk's desk and referred as follows:                            dealers of San Francisco, Calif., protesting against any increase
  11260. By Mr. Adkins: Petition of retail         shoe dealers of      in the tariff duties on hides and leathers; to the Committee on
Sullivan, Ill., protesting against any change in   the present tariff   Ways and Means.
on hides and leather used in the manufacture       of shoes; to the       11277. By Mr. WHITTINGTON: Petition of the Board of
Committee on Ways and Means.                                            Supervisors of Coohoma County, Miss., asking that the open
 11261. By Mr. BULWINKLE:            Petition of the Christian          hunting season for wild duck, wild geese, and other wild
Church, Gastonia, N. C., with 140 present. urging the enactment         migratory wild fowl should be extended from February 1 to
of legislation to protect the people of the Nation's Capital in         February 15 of each year in the zone of which Coohoma County,
their enjoyment of Sunday as a day of rest in seven, as provided        Miss., is a part; to the Committee on Agriculture.




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